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 9
10                          UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12
13    MICHELE VIVES, as the Permanent          Case No.: 2:24-cv-01317
14    Receiver for the Estate of 1inMM
      Capital LLC and its affiliates and       COMPLAINT FOR:
15    subsidiaries,
                                                  (1) AIDING AND ABETTING
16                                                    FRAUD;
                        Plaintiff,                (2) AIDING AND ABETTING
17                                                    BEACH OF FIDUCIARY
                                                      DUTIES;
18                 v.                             (3) NEGLIGENCE; AND
                                                  (4) AVOIDANCE AND
19                                                    RECOVERY OF
      CITY NATIONAL BANK, an RBC                      FRAUDULENT
20    Company,                                        TRANSFERS
21                      Defendant.
                                               JURY TRIAL DEMANDED
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 1                 Michele Vives, the Court-appointed permanent receiver (the “Receiver” or
 2    “Plaintiff”) for the estate of 1inMM Capital, LLC (“1inMM Capital”), 1inMM
 3    Productions, LLC (“1inMM Productions”), and One N Million Productions, LLC
 4    (“One N Million Productions”) (collectively, the “1inMM Entities” or the
 5    “Receivership Entities”), hereby alleges and complains against City National
 6    Bank (“Defendant” or “CNB”) as follows:
 7                                 PRELIMINARY STATEMENT
 8                 1.    The Receiver brings this action solely in her capacity as the Receiver
 9    for the 1inMM Entities.
10                 2.    This action seeks avoidance and recovery of at least $63,286,439.07
11    in actual fraudulent transfers that Zachary Horwitz aka Zach Avery (“Horwitz”)
12    caused the 1inMM Entities to transfer to CNB as repeated payments on a personal
13    line of credit, Acct No. x9641 (the “Horwitz LOC”), that CNB allowed Horwitz
14    to use to fund his massive Ponzi scheme.
15                 3.    This action also seeks avoidance and recovery of actual fraudulent
16    transfers that the 1inMM Entities made to CNB as the initial transferee in the
17    form of deposits of investor funds at CNB after CNB was well on notice that
18    Horwitz was engaged in fraudulent activity using the 1inMM Entities’ accounts
19    at CNB. The total amount of investor deposits into the 1inMM Entities’ accounts
20    was $710,489,295.50.
21                 4.    This action further seeks to recover damages in an amount according
22    to proof at trial that were caused by the conduct of CNB in aiding and abetting
23    both the fraudulent scheme run by Horwitz through the 1inMM Entities and the
24    breaches of fiduciary duties by Horwitz.
25                 5.    This action also seeks to recover damages in an amount according
26    to proof at trial that were caused by the negligent conduct of CNB in
27    unreasonably maintaining a banking relationship with Horwitz and the 1inMM
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 1    Entities, in failing to terminate the relationship in light of the ongoing fraudulent
 2    scheme, and in providing deficient and atypical banking services for the 1inMM
 3    Entities.
 4                 6.   In the Ponzi scheme that Horwitz orchestrated through the 1inMM
 5    Entities from 2013 to April 2021, Horwitz lured in over $710 million from
 6    victims under the false pretense that he was acquiring distribution rights to films
 7    that he was selling to companies like Netflix, HBO, and Sony for distribution in
 8    Latin America. However, in reality, Horwitz did not sell even one such right and
 9    had no relationship whatsoever with Netflix or HBO or similar companies.
10    Instead, he funded his scheme using investor dollars and repeated advances on
11    the Horwitz LOC and then diverted that money for fraudulent purposes, such as
12    paying fictitious returns to aggregators of investor groups and to fund extravagant
13    purchases and expenses for his own benefit. Horwitz ran a classic Ponzi scheme
14    through the 1inMM Entities and used both investor dollars and monies borrowed
15    from CNB to fund the scheme.
16                 7.   The thread that holds together a Ponzi scheme like the scheme that
17    Horwitz ran is the ability of the fraudster to obtain funds to pay earlier investors
18    promised returns. The success or failure of a Ponzi scheme is tied to the ability
19    or inability of the operator of the scheme to continue the fraud and to attract new
20    money into the scheme. Ponzi schemers use financial institutions both to handle
21    the banking and to add an air of credibility to the scheme.
22                 8.   CNB knowingly allowed itself to be used by Horwitz as part of the
23    façade that enabled Horwitz to perpetrate the fraudulent scheme and to steal
24    money from the 1inMM Entities. CNB handled all of the banking for the Ponzi
25    scheme and maintained, monitored, and reviewed all of the business and personal
26    accounts of Horwitz through which nearly all of the over approximately $710
27    million of victim funds was run.
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 1                 9.    CNB knowingly and substantially assisted Horwitz in the operation
 2    of his fraudulent scheme. CNB seeded Horwitz’s Ponzi scheme with over $63
 3    million in loan proceeds from the Horwitz LOC, knowingly allowing him to use
 4    CNB’s money to bridge the gaps when Horwitz could not get new investor money
 5    in fast enough to pay promised returns to earlier investors. In the face of the
 6    extremely high velocity of cash moving among Horwitz’s personal accounts, the
 7    Horwitz LOC account, and the accounts of the 1inMM Entities (which was
 8    almost always done on a same day basis in large, round numbers), CNB also
 9    knowingly allowed Horwitz to hide cash at the bank from his and the 1inMM
10    Entities’ creditors. CNB knowingly allowed Horwitz to maintain a credit balance
11    on the Horwitz LOC, for months at a time, in an amount more than 65% higher
12    than Horwitz’s $1,140,000 limit. For example, in January 2016, CNB allowed
13    Horwitz to stash as much as $1,889,043.84 in the Horwitz LOC account, and he
14    kept a credit balance with an average of $1,136,642 for as long as almost two
15    months.
16                 10.   CNB knew that Horwitz repeatedly arranged for funds from the
17    1inMM Entities to be transferred to his personal account so that he could pay
18    down the Horwitz LOC account, only to turn around and immediately borrow on
19    the Horwitz LOC from CNB again. He did this more than 200 times in the span
20    of eight years, transferring a total of more than $63 million from the 1inMM
21    Entities to his personal account and then to the Horwitz LOC account and, each
22    time he did these transfers on a nearly concurrent basis, most on the same day in
23    the same amounts. Each one of those transfers to CNB was an actual fraudulent
24    transfer, avoidable and recoverable by the Receiver.
25                 11.   Horwitz ran more than $200 million through his personal accounts,
26    most if not all which came from the 1inMM Entities and over $64 million of
27    which CNB advanced on the Horwitz LOC to fund the scheme. With the intent
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 1    to hinder, delay and defraud creditors, Horwitz continually borrowed on the
 2    Horwitz LOC to pay earlier investors promised returns, and then in the name of
 3    the 1inMM Entities, he brought new money in from new investors to pay down
 4    the Horwitz LOC so he could free up credit to borrow when he next needed to
 5    pay returns to investors. Not one of these dollars flowing through CNB related to
 6    the business model Horwitz had described to CNB, and CNB knew that.
 7                 12.   Hundreds of millions of dollars were moving through CNB in ways
 8    that were entirely incompatible with any legitimate business. CNB had actual
 9    knowledge of the fraudulent nature of the transactions occurring among the
10    business accounts, Horwitz personal accounts, and the Horwitz LOC account.
11    CNB also knew there was no economic or business reason for the transfers among
12    the personal and business accounts or to stash substantial sums in the Horwitz
13    LOC account. CNB had actual knowledge of the hundreds of highly suspicious
14    transactions that Horwitz ran though the personal and business accounts.
15                 13.   The repeated and egregious badges of fraud in the money transfers
16    among the business and personal accounts, along with the total absence of any
17    legitimate banking transactions that would be consistent with the stated business
18    model of the 1inMM Entities, and CNB’s own inquiries to Horwitz, demonstrate
19    CNB’s actual knowledge that Horwitz was breaching his fiduciary duties and
20    running a fraudulent scheme. CNB provided substantial assistance, and was
21    indeed critical, in legitimizing the scheme and in facilitating it. CNB monitored
22    and reviewed the activity in Horwitz’s personal and business accounts and on the
23    Horwitz LOC account yet failed to intervene and failed to stop feeding the
24    scheme with new loans.
25                 14.   The assistance that CNB provided to the Ponzi scheme supported
26    the entire enterprise by allowing Horwitz to continue to lure in new investors and
27    use CNB funds to pay fictitious returns and conceal the fraud. CNB was well-
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 1    positioned to stop the fraud and Horwitz’s ongoing breaches of fiduciary duties.
 2    Instead, CNB substantially assisted the wrongful conduct.
 3                 15.   CNB engaged in a pattern of behavior that demonstrated its
 4    knowledge of the fraudulent scheme, which enabled the fraudulent scheme to
 5    continue for years, causing innocent investors to lose tens of millions of dollars.
 6    CNB ignored numerous red flags and fraudulent activity.
 7                 16.   CNB desired to gain more business from Horwitz, collect substantial
 8    fees and interest on the Horwitz LOC, and to cross-sell its suite of banking
 9    services. CNB was making money on the Horwitz LOC, knowing that Horwitz
10    was immediately transferring large round dollar amounts to the 1inMM Entities,
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      and then pulling money back from those entities to repay the Horwitz LOC.
                                                                                      -
14                 17.   CNB knew there was no way that Horwitz could have been using
15    millions of dollars for personal purposes, and the bank knew he was over-paying
16    the Horwitz LOC account by hundreds of thousands of dollars on occasion to
17    park money at the bank in classic money laundering patterns. CNB actively
18    monitored the accounts, bent the rules, and engaged in atypical banking
19    procedures to accommodate and assist Horwitz to run hundreds of millions of
20    dollars through the bank in his fraudulent scheme.
21                 18.   For years, CNB allowed Horwitz to maintain the illusion that the
22    1inMM Entities were a success, until April 5, 2021, when the scheme was
23    terminated by the authorities. The SEC sued to freeze the assets, stop the fraud,
24    and to ultimately place the 1inMM Entities into Receivership. The Department
25    of Justice also filed an indictment against Horwitz on April 5, 2021. Horwitz
26    pleaded guilty to one count of securities fraud and was sentenced to 20 years in
27    prison and ordered to pay $230,361,884 in restitution.
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 1                 19.   By the time Horwitz’s scheme was unveiled, CNB had allowed over
 2    $1 billion to run back and forth and through Horwitz’s business and personal
 3    accounts at CNB, leaving the 1inMM Entities with tens of millions of dollars of
 4    losses and allowing Horwitz to take over $32 million from the scheme for the
 5    benefit of himself, his family, friends, and related businesses.
 6                 20.   Horwitz, purportedly on behalf of the 1inMM Entities, as early as
 7    2013, employed a complex web of fraudulent tactics that included self-dealing,
 8    fabricating fictitious distribution contracts with Netflix and HBO, among others,
 9    falsifying records, abusing the Horwitz LOC to float the scheme, and making
10    substantial transfers among his personal and business accounts. All the while,
11    investors unknowingly invested over $710 million into the fraudulent scheme.
12                 21.   Following the Receiver’s appointment, she undertook a detailed
13    investigation into the 1inMM Entities’ business conduct prior to April 5, 2021.
14    The Receiver’s investigation uncovered the details of the pervasive fraud that
15    existed from the inception of Horwitz’s scheme run through the 1inMM Entities.
16    Based on detailed findings, the Receiver discovered that, under Horwitz’s
17    direction and control, the operations of the 1inMM Entities were a total sham and
18    the operations were run by Horwitz as a classic Ponzi scheme.
19                 22.   Following Horwitz’s sentencing, the Department of Justice
20    reported:
21                 For more than five years, Horwitz raised millions of dollars from
                   investors, many of whom were personal friends, based on false claims
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                   that their money would be used to acquire film distribution rights,
23                 which then would be profitably licensed to online platforms such as
                   Netflix and HBO.
24
25                 But the whole business was a lie. In reality, Horwitz’s company
26                 neither acquired film rights nor entered into any distribution
                   agreements with HBO or Netflix. The purported copies of film
27                 licensing agreements and distribution agreements were fake.
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 1                 Instead of using the funds to acquire films and arrange distribution
 2                 deals, Horwitz operated 1inMM Capital as a Ponzi scheme, using
                   victims’ money to repay earlier investors and to fund his own lavish
 3                 lifestyle, including the purchase of his $6 million Beverlywood
 4                 residence, luxury cars, and travel by private jet
 5                 23.   The bank statements of the CNB Accounts that show the massive
 6    flow of funds through Horwitz’s personal and business accounts demonstrate that
 7    Horwitz’s representations about the nature of his business activity were false.
 8    CNB has no defense of ignorance. CNB reviewed and questioned Horwitz about
 9    the bank accounts and took no action in response to incomplete, inconsistent, and
10    incomprehensible explanations that CNB received from Horwitz.
11                 24.   CNB failed to use the information that it obtained from its own
12    investigation to do what industry regulations require – to close the account and
13    stop the massive fraudulent scheme. Instead, CNB accepted over $63 million of
14    transfers in repayment of its loans, and over $710 million in deposits made at
15    CNB of property of the 1inMM Entities, all made with the actual fraudulent intent
16    to hinder, delay, and defraud the creditors of the 1inMM Entities.
17                 25.   CNB engaged in negligent practices, including failures to establish
18    effective risk management and internal controls, violations of the Bank Secrecy
19    Act (BSA) and 12 CFR Part 9, and deficiencies in its policies and procedures,
20    including third-party risk management, enterprise change management, internal
21    controls testing, regulatory issues management, operational risk event reporting,
22    fraud risk management, and payments systems operations. CNB’s negligent
23    conduct allowed Horwitz to run a classic Ponzi scheme.
24                                   JURISDICTION & VENUE
25                 26.   This Court has jurisdiction over this proceeding under 15 U.S.C.
26    § 77v(a), and 15 U.S.C. § 78aa because the proceeding is ancillary to the SEC
27    1inMM Action.
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 1                 27.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because
 2    the acts and conduct that form the basis of Receiver’s causes of action occurred
 3    primarily in California.
 4                 28.   Horwitz and the 1inMM Entities were all located in California.
 5                 29.   CNB is based in California with its headquarters located in Los
 6    Angeles, California so personal jurisdiction is appropriate pursuant to 28 U.S.C.
 7    § 1391(c).
 8                 30.   California has a materially greater interest than any other State in
 9    enforcing the rights and remedies granted under the California laws invoked in
10    this Complaint. These rights and remedies promote strong fundamental public
11    policies of the State of California.
12                                             PARTIES
13                 31.   Plaintiff Michele Vives is the Permanent Receiver for the 1inMM
14    Entities. Plaintiff is a federally appointed receiver acting pursuant to Federal Rule
15    of Civil Procedure 66, the provisions of 28 U.S.C. §§ 754, 959, and 1692, as well
16    as this District Court’s April 5, 2021 Preliminary Injunction and Order
17    Appointing Permanent Receiver in the SEC 1inMM Action (the “Receivership
18    Order”).
19                 32.   The Court appointed the Receiver to marshal and preserve all assets
20    of the 1inMM Entities. The Receiver is authorized and empowered to investigate
21    claims and commence legal actions for the benefit and on behalf of the
22    Receivership Entities as the Receiver deems necessary and appropriate.
23                 33.   The Receiver is authorized to file this action pursuant to the
24    Receivership Order.
25                 34.   The Receiver has standing to bring this action pursuant to Title 28,
26    United States Code, Section 754, which provides that “[a] receiver appointed in
27    any civil action or proceeding involving property, real, personal or mixed,
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 1     situated in different districts shall . . . be vested with complete jurisdiction and
 2     control of all such property with the right to take possession thereof [and] shall
 3     have capacity to sue in any district without ancillary appointment.”
 4                  35.   Defendant City National Bank is an “insured depository institution”
 5     as that term is defined in 12 U.S.C. § 1813(c)(2), is a national banking association
 6     within the meaning of 12 U.S.C. § 1813(q)(1)(A) and is chartered and examined
 7     by the Office of the Comptroller of the Currency (“OCC”). CNB is headquartered
 8     in Los Angeles, California and is a subsidiary of Royal Bank of Canada.
 9                                       RELATED PARTIES
10                  36.   Horwitz orchestrated the fraudulent scheme alleged in this
11     Complaint and was the founder, 100% owner, managing member, and Chief
12     Executive Officer of each of the 1inMM Entities.
13                  37.   1inMM Capital was formed on September 13, 2013. The Operating
14     Agreement of 1inMM Capital describes its purpose as “general consulting.”
15     Horwitz represented to CNB that 1inMM Capital was purportedly in the business
16     of acquiring and licensing distribution rights in specific movies, primarily from
17     Latin America, to major media companies. Horwitz described the primary
18     business activity of 1inMM Capital as “feature film finance.”
19                  38.   One N Million Productions was formed on July 25, 2012 by Horwitz
20     and was the initial business that Horwitz brought to CNB when he initiated his
21     banking relationship with CNB. Horwitz described the primary business activity
22     as “Film production.” One N Million Productions was the predecessor to 1inMM
23     Productions and stopped using a CNB account in this name in 2016.
24                  39.   1inMM Productions was formed on January 10, 2013 by Horwitz
25     purportedly to raise a film fund to produce and finance elevated genre films under
26     $5 million for global audiences.
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 2                  40.   Rogue Black, LLC is a film finance and production company in
 3     which Horwitz owned a 50% membership interest and invested approximately
 4     $21.5 million with using funds from the 1inMM Entities.
 5                  41.   LayJax Ventures LLC is an angel investment company in which
 6     Horwitz owned a 50% interest, which invested in early startup business ventures.
 7     Using 1inMM funds, Horwitz caused LayJax to invest $2.5 million with twelve
 8     separate startup business ventures that LayJax had sourced.
 9                  42.   ZJH Enterprise, LLC (“ZJH”) is a California limited liability
10     company that was formed in 2014. Horwitz is the managing member. Horwitz
11     transferred $2,686,945.00 from his CNB personal account (x5270) to 14 different
12     investment entities in which ZJH had an interest between December 1, 2016
13     through November 22, 2019.
14                  43.   MJLZ Trust is a trust formed by Horwitz which owned the $5.5
15     million house that Horwitz purchased using investor funds.
16                               INFORMATION ALLEGATIONS
17                  44.   Allegations made in this Complaint are based on information and
18     belief. Plaintiff’s information and belief is based on, inter alia, the investigation
19     conducted by Plaintiff and Plaintiff’s attorneys after their retention. Each and
20     every allegation and factual contention contained in this Complaint has
21     evidentiary support or, alternatively, is likely to have evidentiary support after
22     reasonable opportunity for further investigation and discovery by Plaintiff and
23     her counsel.
24                             FACTS COMMON TO ALL COUNTS
25                  A.    Procedural History of Receivership
26                  45.   On April 5, 2021, the United States Securities and Exchange
27     Commission (“SEC”) brought an emergency action in the United States District
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 1     Court for the Central District of California (the “Court”) pursuant to authority
 2     conferred on it by Section 20(b) of the Securities Act, 15 U.S.C. § 77t(b), and
 3     Sections 21(d) and 21(e) of the Exchange Act, 15 U.S.C. §§ 78u(d) and 78u(e).
 4     The action sought to restrain and enjoin Horwitz and 1inMM Capital, LLC
 5     (“1inMM Capital”) from engaging in the acts, practices, and courses of business
 6     described in its Complaint filed that day. SEC v. Horwitz and 1inMM Capital,
 7     LLC, No. 2:21-cv-02927 (C.D. Cal.) (the “SEC Action”).
 8                  46.   The SEC also sought an emergency asset freeze, which the Court
 9     granted on April 5, 2021.
10                  47.   Also on April 5, 2021, the United States Attorney’s Office for the
11     Central District of California filed a criminal complaint charging Horwitz with:
12     (1) five counts of securities fraud, in violation of Section l0(b) of the Exchange
13     Act, SEC Rule l0b-5, and 15 U.S.C. §78ff; (2) six counts of wire fraud, in
14     violation of 18 U.S.C. § 1343; and (3) two counts of aggravated identify theft, in
15     violation of 18 U.S.C. § 1028A(a)(l). United States v. Horwitz, No. 2:21-cr-
16     00214-MCS-1 [Dkt. 25] (the “Criminal Action”). Horwitz was indicted on May
17     4, 2021.
18                  48.   Horwitz pleaded guilty to one count of securities fraud as set forth
19     in the Plea Agreement for Defendant Zachary Joseph Horwitz [Criminal Action
20     Dkt. 45]. Horwitz was sentenced to 20 years in prison.
21                  49.   On January 14, 2022, the Court appointed Michele Vives of Douglas
22     Wilson Companies to serve as permanent receiver over 1inMM Capital and its
23     affiliates [SEC Action Dkt. 70].
24                  50.   On February 7, 2024, the SEC filed a Consent of Zachary Horwitz
25     to Entry of Final Judgment in the SEC Action [SEC Action Dkt. 313] and the
26     Final Judgment as to Defendant Zachary J. Horwitz was entered on February 15,
27     2024 [SEC Action Dkt. 323] (the “Final Judgment”). The proposed Final
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 1     Judgment states that Horwitz is “liable for disgorgement of $62,847,901.05,
 2     representing net profits gained as a result of the conduct alleged in the
 3     Complaint.”
 4                  B.    Horwitz Operated a Ponzi Scheme Through The 1inMM
 5                        Entities
 6                  51.   Horwitz, a Los Angeles based actor, operated a Ponzi scheme
 7     through the 1inMM Entities, raising over $710 million from investors through
 8     several placement agents, and aggregators.
 9                  52.   Horwitz began the scheme in 2013 and it continued until the Federal
10     Bureau of Investigation (“FBI”) arrested him in 2021.
11                  53.   From beginning to end, CNB supported Horwitz and his fraudulent
12     scheme, providing all of the banking services that enabled the scheme to flourish.
13     Beginning as early as March 14, 2013, and continuing for eight years, CNB
14     substantially assisted Horwitz by lending him over $63 million of funds on the
15     personal revolving Horwitz LOC and permitting him to transfer those and other
16     funds at will between his business and personal accounts to fund his scheme in
17     patterns that clearly bore no relationship to the business Horwitz had represented
18     to CNB he was conducting.
19                  54.   Horwitz represented to CNB that he had experience and
20     relationships in the media content distribution industry, that he and 1inMM had
21     existing business relationships with HBO and Netflix, and that he could use his
22     experience and connections to acquire and sell distribution rights in movies to
23     Netflix and HBO for a profit.
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 3                  56.   In reality, neither the 1inMM Entities nor Horwitz had any
 4     relationship with either HBO or Netflix and never licensed any movie rights to
 5     either company. Horwitz admitted in his Plea Agreement that “1inMM Capital
 6     had not entered into the asserted distribution agreements with the online
 7     streaming platforms and the purported copies of the distribution agreements were
 8     fake.”
 9                  57.   Horwitz sold 1inMM Capital promissory notes to his victims. To
10     persuade his victims to make those investments, Horwitz showed victims
11     numerous fictitious documents to substantiate his claimed deals with HBO and
12     Netflix, including numerous fake movie distribution agreements and emails. But
13     Horwitz had no actual business relationship with either Netflix of HBO.
14                  58.   In Horwitz’s Plea Agreement, Horwitz acknowledged:
15
                    To raise funds for 1inMM Capital’s purported business activities,
16                  [Horwitz] solicited investments from the investors by offering to sell
17                  them promissory notes issued by 1inMM Capital and signed by
                    [Horwitz]. The promissory notes guaranteed a specific payment on a
18                  specified maturity date, typically six or twelve months in the future.
19                  Each note listed the principal amount of money borrowed, which
                    typically ranged from approximately $35,000 to $1.5 million, as well
20                  as the specified amount to be paid at maturity, a calculated return that
21                  ranged from 25 to 45 percent.

22                  59.   Horwitz raised the funds for his scheme primarily from five
23     principal aggregators, namely JJMT Capital LLC (“JJMT”), Movie Fund LLC,
24     SAC Advisory Group, LLC, Vausse Films and Pure Health Enterprises (the
25     “Aggregators”). These Aggregators raised funds from more than 200 end-
26     investors, some of whom raised funds from further downstream end-investors.
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 1                  60.   Horwitz told the Aggregators, other investors, and CNB that the
 2     purpose of the 1inMM offering was to finance 1inMM’s acquisition and licensing
 3     of distribution rights in specific movies, primarily from Latin America, to major
 4     media companies, mostly Netflix or HBO.
 5                  61.   Horwitz represented to investors that he would use the proceeds
 6     from the promissory notes to purchase rights to specific movies, to license those
 7     rights to HBO or Netflix, and to use the profits to repay the note.
 8                  62.   Horwitz acknowledged in his Plea Agreement:
 9                  In connection with the sale of these promissory notes, [Horwitz]
                    falsely represented that 1inMM Capital would use the principal
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                    amount of money invested pursuant to each note to purchase
11                  distribution rights for the film(s) specified as collateral for the note.
                    [Horwitz] also falsely represented that 1inMM Capital would satisfy
12
                    its obligations under each note through the profits that 1inMM Capital
13                  would obtain by acquiring and licensing the distribution rights to the
14                  film(s) specified in each note. . . However, as [Horwitz] then knew,
                    his representations concerning 1inMM Capital’s business activities
15                  and the promissory notes themselves were false and deceptive
16                  because 1inMM Capital generally did not and would not acquire or
                    possess the film distribution rights for the films specified as collateral
17                  in the promissory notes, and 1inM Capital did not and would not enter
18                  into any distribution agreements with the online streaming platforms
                    for these specified films.
19
20                  63.   Horwitz represented to these Aggregators and victims that he and
21     1inMM would profit from these transactions by selling the movie rights to HBO
22     or Netflix at a profit in excess of the profits paid to investors, and that Horwitz
23     and 1inMM would retain this excess. Yet not one dollar of profits or, for that
24     matter, any other receipts, were ever received from HBO or Netflix.
25                  64.   Horwitz represented that revenue would be generated by receiving
26     a percentage of the gross receipts that HBO generated from exploiting film rights
27     and by retaining a portion of the profit margin from Netflix-specific transactions.
28     He further represented that additional revenue would be generated following the
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 1     repayment of notes used to finance the acquisition of content rights and the
 2     expiration of an initial 3-year sublicensing period with platforms such as HBO
 3     and Netflix. At that point, Horwitz would supposedly retain rights to that content
 4     for an additional period of years, which would enable him to continue licensing
 5     the content to other parties for his sole financial benefit.
 6                  65.   In fact, 1inMM had no revenue from those sources, or any legitimate
 7     business activity. Instead, Horwitz paid returns to existing investors solely from
 8     new investor money or money borrowed from CNB on the Horwitz LOC, thereby
 9     fraudulently raising more than $710 million before his Ponzi scheme collapsed.
10                  66.   Instead of acquiring and licensing movie rights, Horwitz diverted
11     and misapplied investor funds—the “movements of funds [were] consistent with
12     a Ponzi scheme,” the FBI concluded, as “incoming investor money was used to
13     repay investors for previous investments. In some instances, the investors were
14     repaid with their own money. In addition, funds were sent to the Horwitz personal
15     account.” The FBI thus found that the frequent transfers that kept 1inMM afloat
16     reflected “a Ponzi scheme rather than legitimate business along the lines of what
17     Horwitz described to his investors.”
18                  67.   Horwitz used the money loaned by CNB on the Horwitz LOC and
19     the money invested in the 1inMM Entities to pay earlier investors and also for
20     his own personal expenses including, but not limited to, extravagant trips to Las
21     Vegas, flights on chartered jets, payments for high-end automobiles, a
22     subscription service for luxury watches, and the purchase of a multi-million-
23     dollar home.
24                  68.   New investor dollars started to dry up in late 2019.
25                  69.   Horwitz and 1inMM then stopped making payments to investors for
26     the outstanding Promissory Notes.
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 1                  70.   The last payment Horwitz made on the Horwitz LOC was on
 2     November 14, 2019, and the last advance from CNB on the Horwitz LOC was
 3     on December 12, 2019.
 4                  71.   The unlawful and fraudulent nature of Horwitz’s enterprise was
 5     revealed on April 5, 2021, when the SEC filed a civil complaint, and the DOJ
 6     Action was filed based on Horwitz’s wrongful conduct.
 7                  C.    Involvement of Others
 8                  72.   Horwitz acted in his own interests and to the detriment of the
 9     1inMM Entities. Horwitz ran the scheme only for his own benefit. Horwitz totally
10     disregarded and abandoned the interests of the 1inMM Entities and looted their
11     assets for his own use. The 1inMM Entities realized no benefit from Horwitz’s
12     scheme.
13                  73.   Horwitz fully controlled the 1inMM Entities from 2013 to 2021, and
14     he adversely dominated the 1inMM Entities from their inception through the date
15     of his arrest on April 5, 2021. The 1inMM Entities in whose shoes the Receiver’s
16     now stands could not have discovered the fraudulent nature of the transfers made
17     to CNB or the wrongful conduct of Horwitz until the scheme was revealed on
18     April 5, 2021.
19                  74.   Horwitz, as the dominant and controlling management of the
20     1inMM Entities, was engaged in fraud and breaches of fiduciary duties. Horwitz
21     would not cause the 1inMM Entities to sue him or CNB, nor would he pursue
22     recovery of the fraudulent transfers made to CNB that he caused. Horwitz’s
23     control of management was so extensive that it precluded discovery of the
24     wrongful conduct by anyone else in management, and discovery could not be
25     made until the wrongful conduct of Horwitz ended. All statutes of limitations
26     were tolled because Horwitz’s wrongful conduct and his control made discovery
27     impossible by anyone else in management.
28
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                                               COMPLAINT
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 1                  75.   Julio Hallivis (“Hallivis”) and Gustavo Montaudon (“Montaudon”)
 2     were two other individuals who were in management of the 1inMM Entities. But
 3     Horwitz totally concealed his fraudulent scheme and his breaches of fiduciary
 4     duties from them. At all times prior to April 5, 2021, Hallivis and Montaudon
 5     were totally unaware of the fraudulent activity at the 1inMM Entities, of
 6     Horwitz’s breaches of fiduciary duties, and of the fraudulent transfers to CNB
 7     that Horwitz made and orchestrated.
 8                  76.   Had Hallivis and Montaudon been aware of the wrongful conduct of
 9     Horwitz, they could have taken steps to report and stop the wrongful conduct.
10                  77.   Hallivis was a film director and producer who worked with Horwitz
11     and 1inMM. Hallivis is identified as a principal at 1inMM Capital pursuant to the
12     1inMM Capital “Annual Report” from 2015.
13                  78.   In that Annual Report, Hallivis is described as a principal with the
14     following duties and responsibilities:
15                  Julio is responsible for bookkeeping, content acquisition, foreign
                    sales agent relations and head of our Latin America distribution arm.
16                  Julio has an unprecedented knowledge of film production that allows
                    him to have the ability of spotting projects at an early stage with the
17                  potential to become extremely profitable prior to being shopped at a
                    film market. With these tools, Julio works closely with foreign sales
18                  agents to pinpoint projects for acquisition prior to them going on the
                    market and eliminating the chance of a higher acquisition cost.
19                  Additionally, Julio has strong roots within the Latin American film
                    landscape that allows 1inMM Capital to get inside access into an
20                  extremely difficult territory to capitalize. Julio is a credited
                    commercial and film producer working with brands such as Porsche,
21                  Audi and Volkswagen prior to getting into film distribution.
22                  79.   Additionally, Montaudon is described as a principal with the
23     following duties and responsibilities:
24                  Gustavo is responsible for output deal relations with Netflix, Sony
                    and HBO. Gustavo is a veteran in the business of distribution and
25                  acquisitions for Latin America. With over three decades of
                    experience, his knowledge of the industry is unsurpassable. Gustavo
26                  founded Alebrije Entertainment, a leading programming distribution
                    company for high quality products for television. This venture
27                  allowed him to negotiate multiple successful output deals with
                    prominent companies such as Netflix, Sony Worldwide and HBO in
28
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                                                 COMPLAINT
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 1                  Latin America, in addition to distributing Mexican films in the United
                    States Hispanic video market. Prior to forming Alebrije
 2                  Entertainment, Gustavo   was Vice President of TV Distribution in
                    Latin America for 20th Century Fox for 28 years, where he oversaw
 3                  all sales of TV and Theatrical product in Latin America, including
                    Video On Demand, Pay-Per- View, Free TV, Basic Cable, Internet
 4                  and Syndication. Gustavo was credited for creating synergies
                    between Fox divisions in Mexico and Latin America to launch
 5                  Theatrical movies and DVD releases of movies, sequels, TV series
                    and the licensing of products.
 6
                          D.         The CNB Accounts and CNB’s Role in the Fraudulent
 7
                                     Scheme
 8                  80.        CNB had a long term and extensive relationship with Horwitz and
 9     the 1inMM Entities.
10                  81.        The following accounts were maintained by CNB for the benefit of
11     Horwitz and his business entities (collectively, the “CNB Accounts”) at various
12     times from 2013 through April 5, 2021, when the fraudulent scheme was
13     exposed:
14
        Bank Account Name                      Reference Name                  Account
15                                                                             Number
        1INMM Capital, LLC                     1inMM Business Account #1       XXXXX0290
16      1INMM Capital, LLC                     1inMM Business Account #2       XXXXX2944
17      Zachary Horwitz                        Horwitz Personal Account        XXXXX5270
        1INMM Capital, LLC                     1inMM Productions Account       XXXXX1130
18      Zachary Horwitz                        Horwitz LOC Account             XXXXX9641
        One N Million                          One N Million Productions       XXXXX0616
19      Productions, LLC                       Account
20      Rogue Black, LLC                       Rogue Black Account             XXXXX1710
        LayJax Ventures LLC                    LayJax Account                  XXXXX7302
21      MJLZ Trust                             MJLZ Trust Account              XXXXX0501
22                  82.        From 2013 through April 5, 2021, CNB opened and maintained both
23     personal accounts for Horwitz and business accounts for his entities. During the
24     time of the acts alleged herein, all of Horwitz’s banking was done at CNB.
25                  83.
26
27                                                                     CNB knew that Horwitz
28
                                                       19
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 1     was moving funds back and forth between his personal and business accounts.
 2                  84.   During the years 2013 through 2021—the approximate duration of
 3     the Ponzi scheme—more than $200 million flowed through Horwitz’s personal
 4     bank account.
 5                  85.   Horwitz repeatedly moved money in roundtrip transactions and
 6     transferred substantial sums back and forth among his personal and business
 7     accounts and the Horwitz LOC.
 8                  86.   During the eight-year life of his scheme, Horwitz spent over $32
 9     million on private plane travel, fancy cars, jewelry, a multi-million home, and
10     other luxury items, and spent money for the benefit of his friends, family, and
11     affiliates, using funds out of 1inMM’s accounts.
12                  Transfers from 1inMM Entities to Horwitz
13                  87.   On at least 375 occasions, from February 4, 2013 to April 2, 2021,
14     Horwitz transferred funds from the 1inMM Entities’ accounts to his personal
15     account (x5270), in amounts totaling at least $122,473,328.85, as set forth in
16     more detail in the following four paragraphs.
17                  88.   From October 9, 2013 through March 11, 2021, Horwitz transferred
18     the sum of at least $111,711,776.03 from the business account of 1inMM Capital
19     (Acct. No. 0290) to his personal account (Acct. No. 5270), in 313 different
20     transfers.
21                  89.   From March 14, 2018 through March 9, 2021, Horwitz transferred
22     the sum of at least $8,312,231.00 from the business account of 1inMM Capital
23     (Acct. No. 2944) to his personal account (Acct. No. 5270), in 20 different
24     transfers.
25                  90.   From March 14, 2013, through April 2, 2021, Horwitz transferred
26     the sum of at least $2,307,621.82 from the business account of 1inMM
27     Productions (Acct. No. 1130) to his personal account (Acct. No. 5270), in 32
28
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 1     different transfers.
 2                  91.    From February 4, 2013, through January 27, 2015, Horwitz
 3     transferred the sum of at least $141,700 from the business account of One N
 4     Million Productions (Acct. No. 0616) to his personal account (Acct. No. 5270),
 5     in 10 different transfers.
 6                  92.    A list of the funds that Horwitz directed to his personal bank account
 7     from the business accounts of l inMM Entities, virtually all of which are round
 8     even numbers, is as follows:
 9
10                    02/04/ 13       $10,000.00    x0616 OneNMM Productions   x5270 Personal
                      02/28/ 13        $3,000.00    x0616 OneNMM Productions   x5270 Personal
11
                      03/ 14/ 13      $58,875.00    xl 130 lnMM Productions    x5270 Personal
12                    03/21/13        $19,687.00    xl 130 lnMM Productions    x5270 Personal
                      05/30/13       $110,000.00    x0616 OneNMM Productions   x5270 Personal
13                    06/20/13        $88,700.00    xl 130 lnMM Productions    x5270 Personal
14                    09/23/ 13       $81,562.00    xl 130 lnMM Productions    x5270 Personal
                      10/09/ 13        $3,000.00    x0290 lnMM Capital #1      x5270 Personal
15                    10/ 15/ 13     $100,000.00    x0290 lnMM Capital #1      x5270 Personal
                      10/16/ 13        $1 ,000.00   x0290 lnMM Capital #1      x5270 Personal
16
                      10/25/ 13      $205,000.00    x0290 lnMM Capital #1      x5270 Personal
17                    10/31/13         $1,600.00    xl 130 lnMM Productions    x5270 Personal
                      11/ 12/ 13       $1 ,000.00   x0616 OneNMM Productions   x5270 Personal
18                    11/26/ 13       $50,000.00    x0290 lnMM Capital #1      x5270 Personal
19                    12/ 17/ 13       $2,400.00    x0616 OneNMM Productions   x5270 Personal
                      12/ 17/ 13       $8,000.00    xl 130 lnMM Productions    x5270 Personal
20                    12/31/13       $361 ,406.25   xl 130 lnMM Productions    x5270 Personal
                      01/23/ 14      $260,000.00    x0290 lnMM Capital #1      x5270 Personal
21
                      02/ 10/ 14      $70,000.00    x0290 lnMM Capital #1      x5270 Personal
22                    03/ 13/ 14     $105,000.00    x0290 lnMM Capital #1      x5270 Personal
                      03/20/ 14       $60,000.00    xl 130 lnMM Productions    x5270 Personal
23                    03/27/14        $37,000.00    x0290 lnMM Capital #1      x5270 Personal
24                    04/07/ 14      $210,000.00    x0290 lnMM Capital #1      x5270 Personal
                      05/01/14        $52,000.00    x0290 lnMM Capital #1      x5270 Personal
25                    05/07/ 14        $3,000.00    x0290 lnMM Capital #1      x5270 Personal
                      06/03/14       $221 ,000.00   x0290 lnMM Capital #1      x5270 Personal
26
                      06/05/ 14          $500.00    x0616 OneNMM Productions   x5270 Personal
27                    06/ 17/ 14     $165 ,000.00   x0290 lnMM Capital #1      x5270 Personal
                      06/24/ 14      $212,000.00    x0290 lnMM Capital #1      x5270 Personal
28
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                                                    COMPLAINT
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 1                  06/26/ 14      $1,000.00    x0290 lnMM Capital #1        x5270 Personal
                    06/26/ 14     $64,830.32    xl 130 lnMM Productions      x5270 Personal
 2
                    07/03/ 14    $107,000.00    x0290 lnMM Capital #1        x5270 Personal
 3                  07/ 14/14      $4,500.00    x0290 lnMM Capital #1        x5270 Personal
                    07/22/ 14      $1,100.00    x0616 OneNMM Productions     x5270 Personal
 4                  07/25/ 14        $400.00    x0290 lnMM Capital #1        x5270 Personal
 5                  08/06/ 14    $235,000.00    x0290 lnMM Capital #1        x5270 Personal
                    09/ 19/14     $50,781.25    xl 130 lnMM Productions      x5270 Personal
 6                  10/03/ 14     $40,000.00    x0290 lnMM Capital #1        x5270 Personal
 7                  10/03/14      $75,000.00    x0290 lnMM Capital #1        x5270 Personal
                    10/06/ 14     $25,000.00    x0290 lnMM Capital #1        x5270 Personal
 8                  10/06/14     $127,000.00    x0290 lnMM Capital #1        x5270 Personal
                    10/07/ 14     $30,000.00    x0290 lnMM Capital #1        x5270 Personal
 9                  10/ 14/14    $236,000.00    x0290 lnMM Capital #1        x5270 Personal
10                  10/31/14      $18,750.00    x0290 lnMM Capital #1        x5270 Personal
                    11/10/14       $1,200.00    x0290 lnMM Capital #1        x5270 Personal
11                  11/ 10/ 14    $10,700.00    x06 l 6 OneNMM Productions   x5270 Personal
                    11/ 18/14     $32,500.00    x0290 lnMM Capital #1        x5270 Personal
12
                    12/01/14      $37,000.00    x0290 lnMM Capital #1        x5270 Personal
13                  12/22/14     $335 ,000.00   x0290 lnMM Capital #1        x5270 Personal
                    12/24/ 14     $50,000.00    xl 130 lnMM Productions      x5270 Personal
14                  12/26/ 14     $36,000.00    x0290 lnMM Capital #1        x5270 Personal
15                  12/29/ 14        $250.00    x0290 lnMM Capital #1        x5270 Personal
                    12/29/14     $408,000.00    x0290 lnMM Capital #1        x5270 Personal
16                  01/05/ 15    $155,175 .00   x0290 lnMM Capital #1        x5270 Personal
                    01/07/ 15     $50,000.00    x0290 lnMM Capital #1        x5270 Personal
17
                    01/ 12/ 15    $81,100.00    x0290 lnMM Capital #1        x5270 Personal
18                  01/21/15      $36,000.00    x0290 lnMM Capital #1        x5270 Personal
                    01/26/ 15      $1,000.00    x0616 OneNMM Productions     x5270 Personal
19                  01/26/ 15      $2,000.00    xl 130 lnMM Productions      x5270 Personal
20                  01/27/ 15      $2,000.00    x06 l 6 OneNMM Productions   x5270 Personal
                    01/27/ 15     $61,000.00    x0290 lnMM Capital #1        x5270 Personal
21                  01/29/ 15     $33,000.00    x0290 lnMM Capital #1        x5270 Personal
                    02/02/15     $172,500.00    x0290 lnMM Capital #1        x5270 Personal
22
                    02/ 10/ 15     $4,000.00    x0290 lnMM Capital #1        x5270 Personal
23                  02/ 12/15    $265t000.00    x0290 lnMM Capital #1        x5270 Personal
                    02/ 17/ 15   $263,500.00    x0290 lnMM Capital #1        x5270 Personal
24                  03/02/15      $48,000.00    x0290 lnMM Capital #1        x5270 Personal
25                  03/ 10/ 15    $10,000.00    x0290 lnMM Capital #1        x5270 Personal
                    03/ 16/15     $19,000.00    x0290 lnMM Capital #1        x5270 Personal
26                  03/ 19/ 15     $4,500.00    x0290 lnMM Capital # 1       x5270 Personal
27                  03/30/15         $500.00    x0290 lnMM Capital #1        x5270 Personal
                    04/01/15     $148,000.00    xl 130 lnMM Productions      x5270 Personal
28                  04/01/15     $225 ,250.00   x0290 lnMM Capital #1        x5270 Personal
                                                    22
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 1                  04/02/ 15    $325,250.00    x0290 lnMM Capital #1     x5270 Personal
 2                  04/ 13/15     $97,000.00    x0290 lnMM Capital #1     x5270 Personal
                    04/22/ 15    $216,000.00    x0290 lnMM Capital #1     x5270 Personal
 3                  06/09/15     $253,500.00    x0290 lnMM Capital #1     x5270 Personal
                    06/09/ 15    $265,000.00    x0290 lnMM Capital #1     x5270 Personal
 4                  06/23/15     $266,500.00    x0290 lnMM Capital #1     x5270 Personal
 5                  07/01/15     $350,000.00    x0290 lnMM Capital #1     x5270 Personal
                    07/02/15      $51,480.00    xl 130 lnMM Productions   x5270 Personal
 6                  07/06/ 15    $532,750.00    x0290 lnMM Capital #1     x5270 Personal
                    07/31/15     $170,500.00    x0290 lnMM Capital #1     x5270 Personal
 7
                    07/31/15     $235,750.00    x0290 lnMM Capital #1     x5270 Personal
 8                  08/10/15     $416,000.00    x0290 lnMM Capital #1     x5270 Personal
                    08/24/ 15    $350,000.00    x0290 lnMM Capital #1     x5270 Personal
 9                  09/01/15     $266,750.00    x0290 lnMM Capital #1     x5270 Personal
10                  09/03/ 15    $490,750.00    x0290 lnMM Capital #1     x5270 Personal
                    09/08/ 15    $266,750.00    x0290 lnMM Capital #1     x5270 Personal
11                  09/ 14/ 15   $195,675 .00   x0290 lnMM Capital # 1    x5270 Personal
                    09/ 18/15    $102,450.00    x0290 lnMM Capital #1     x5270 Personal
12
                    09/21/15     $105,000.00    x0290 lnMM Capital #1     x5270 Personal
13                  10/05/15     $345,000.00    x0290 lnMM Capital #1     x5270 Personal
                    10/05/ 15    $680,650.00    x0290 lnMM Capital # 1    x5270 Personal
14                  10/09/15     $375,500.00    x0290 lnMM Capital #1     x5270 Personal
15                  10/ 15/ 15   $285,950.00    x0290 lnMM Capital # 1    x5270 Personal
                    11/09/15       $1,900.00    xl 130 lnMM Productions   x5270 Personal
16                  11/19/ 15    $258,650.00    x0290 lnMM Capital # 1    x5270 Personal
                    11/20/15     $675,500.00    x0290 lnMM Capital #1     x5270 Personal
17
                    11/24/ 15    $590,000.00    x0290 lnMM Capital # 1    x5270 Personal
18                  12/01/15     $485,650.00    x0290 lnMM Capital #1     x5270 Personal
                    12/02/ 15    $375,500.00    x0290 lnMM Capital # 1    x5270 Personal
19                  12/21/15       $2,800.00    xl 130 lnMM Productions   x5270 Personal
20                  01/04/ 16    $550,000.00    x0290 lnMM Capital # 1    x5270 Personal
                    01/04/ 16    $550,000.00    x0290 lnMM Capital #1     x5270 Personal
21                  01/ 19/ 16   $655,900.00    x0290 lnMM Capital # 1    x5270 Personal
                    01/19/16     $678,500.00    x0290 lnMM Capital #1     x5270 Personal
22
                    01/27/ 16    $690,500.00    x0290 lnMM Capital # 1    x5270 Personal
23                  02/ 10/16    $350,000.00    x0290 lnMM Capital #1     x5270 Personal
                    02/24/ 16    $385,500.00    x0290 lnMM Capital # 1    x5270 Personal
24                  03/28/16     $690,750.00    x0290 lnMM Capital # 1    x5270 Personal
25                  03/28/ 16    $725,500.00    x0290 lnMM Capital # 1    x5270 Personal
                    03/31/16     $100,000.00    x0290 lnMM Capital #1     x5270 Personal
26                  04/05/ 16    $780,250.00    x0290 lnMM Capital # 1    x5270 Personal
                    04/ 19/16    $680,750.00    x0290 lnMM Capital #1     x5270 Personal
27
                    04/25/ 16    $905,500.00    x0290 lnMM Capital # 1    x5270 Personal
28                  04/26/16     $210,000.00    x0290 lnMM Capital #1     x5270 Personal
                                                    23
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 1                  05/ 12/ 16   $615,000.00    x0290 lnMM Capital #1     x5270 Personal
                    05/ 12/16    $635 ,000.00   x0290 lnMM Capital #1     x5270 Personal
 2
                    05/ 16/ 16   $812,500.00    xl 130 lnMM Productions   x5270 Personal
 3                  05/20/16     $446,000.00    x0290 lnMM Capital #1     x5270 Personal
                    05/20/ 16    $910,500.00    x0290 lnMM Capital #1     x5270 Personal
 4                  05/26/16     $350,000.00    x0290 lnMM Capital #1     x5270 Personal
 5                  05/27/ 16    $960,750.00    x0290 lnMM Capital #1     x5270 Personal
                    06/ 10/16    $318,000.00    x0290 lnMM Capital #1     x5270 Personal
 6                  06/29/ 16    $912,565.00    x0290 lnMM Capital #1     x5270 Personal
                    07/25/16     $588,750.00    x0290 lnMM Capital #1     x5270 Personal
 7
                    07/27/ 16    $740, 105.00   x0290 lnMM Capital #1     x5270 Personal
 8                  07/28/16     $605,900.00    x0290 lnMM Capital #1     x5270 Personal
                    08/04/ 16    $610,750.00    x0290 lnMM Capital #1     x5270 Personal
 9                  08/ 11/16    $697,000.00    x0290 lnMM Capital #1     x5270 Personal
10                  08/ 16/ 16   $440,105 .00   x0290 lnMM Capital #1     x5270 Personal
                    08/ 19/16    $342,600.00    x0290 lnMM Capital #1     x5270 Personal
11                  08/22/ 16    $310,000.00    x0290 lnMM Capital #1     x5270 Personal
12                  08/24/16     $550,240.00    x0290 lnMM Capital #1     x5270 Personal
                    08/29/ 16    $390,000.00    x0290 lnMM Capital #1     x5270 Personal
13                  09/23/16     $515 ,000.00   x0290 lnMM Capital #1     x5270 Personal
                    09/23/ 16    $520,670.00    x0290 lnMM Capital #1     x5270 Personal
14                  09/27/16     $427,230.00    x0290 lnMM Capital #1     x5270 Personal
15                  09/30/16     $350,000.00    x0290 lnMM Capital #1     x5270 Personal
                    09/30/16     $390,800.00    x0290 lnMM Capital #1     x5270 Personal
16                  10/ 11/16    $636,000.00    x0290 lnMM Capital # 1    x5270 Personal
                    10/ 13/16    $990,820.00    x0290 lnMM Capital #1     x5270 Personal
17
                    10/ 18/ 16   $860,000.00    x0290 lnMM Capital #1     x5270 Personal
18                  10/24/16     $340,000.00    x0290 lnMM Capital #1     x5270 Personal
                    10/24/ 16    $877,230.00    x0290 lnMM Capital #1     x5270 Personal
19                  10/31/16     $810,550.00    x0290 lnMM Capital #1     x5270 Personal
20                  11/02/ 16    $762,000.00    x0290 lnMM Capital #1     x5270 Personal
                    11/08/16     $794,500.00    x0290 lnMM Capital #1     x5270 Personal
21                  11/14/ 16    $350,000.00    x0290 lnMM Capital #1     x5270 Personal
                    11/22/16     $820,000.00    x0290 lnMM Capital #1     x5270 Personal
22
                    11/29/ 16    $598,750.00    x0290 lnMM Capital #1     x5270 Personal
23                  11/29/16     $633,500.00    x0290 lnMM Capital #1     x5270 Personal
                    12/01/16     $271,500.00    x0290 lnMM Capital #1     x5270 Personal
24                  12/27/ 16     $40,000.00    x0290 lnMM Capital #1     x5270 Personal
25                  01/ 17/ 17   $605,500.00    x0290 lnMM Capital #1     x5270 Personal
                    01/23/17     $520,750.00    x0290 lnMM Capital #1     x5270 Personal
26                  01/24/ 17    $350,000.00    x0290 lnMM Capital #1     x5270 Personal
                    01/24/17     $730,000.00    x0290 lnMM Capital #1     x5270 Personal
27
                    01/24/ 17    $890,250.00    x0290 lnMM Capital #1     x5270 Personal
28                  01/26/17     $548,750.00    x0290 lnMM Capital #1     x5270 Personal
                                                    24
                                                COMPLAINT
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 1                  01/31/17     $100,000.00    x0290 lnMM Capital # 1    x5270 Personal
                    01/31/17     $925,500.00    x0290 lnMM Capital #1     x5270 Personal
 2
                    02/09/ 17    $400,000.00    x0290 lnMM Capital # 1    x5270 Personal
 3                  02/09/17     $935 ,950.00   x0290 lnMM Capital # 1    x5270 Personal
                    02/ 10/ 17   $520,310.00    x0290 lnMM Capital # 1    x5270 Personal
 4                  02/ 14/17    $625,450.00    x0290 lnMM Capital #1     x5270 Personal
 5                  02/ 14/ 17   $710,560.00    x0290 lnMM Capital # 1    x5270 Personal
                    02/21/17     $824,500.00    x0290 lnMM Capital #1     x5270 Personal
 6                  02/21/17     $873,550.00    x0290 lnMM Capital # 1    x5270 Personal
                    02/28/17     $610,700.00    x0290 lnMM Capital #1     x5270 Personal
 7
                    03/01/17     $845, 100.00   x0290 lnMM Capital # 1    x5270 Personal
 8                  03/ 13/17    $166,847.00    x0290 lnMM Capital #1     x5270 Personal
                    03/ 13/ 17   $575,000.00    x0290 lnMM Capital # 1    x5270 Personal
 9                  03/ 13/17    $705,800.00    x0290 lnMM Capital #1     x5270 Personal
10                  03/23/ 17    $764,000.00    x0290 lnMM Capital # 1    x5270 Personal
                    03/23/17     $830,800.00    x0290 lnMM Capital # 1    x5270 Personal
11                  03/29/ 17    $665,200.00    x0290 lnMM Capital # 1    x5270 Personal
                    04/03/17     $790,655 .00   x0290 lnMM Capital #1     x5270 Personal
12
                    04/05/ 17    $548,870.00    x0290 lnMM Capital # 1    x5270 Personal
13                  04/05/17     $597,000.00    x0290 lnMM Capital #1     x5270 Personal
                    04/05/ 17    $705,980.00    x0290 lnMM Capital # 1    x5270 Personal
14                  04/05/17     $946,500.00    x0290 lnMM Capital #1     x5270 Personal
15                  04/ 13/ 17   $935,850.00    x0290 lnMM Capital # 1    x5270 Personal
                    04/28/17     $912,500.00    x0290 lnMM Capital #1     x5270 Personal
16                  05/ 12/ 17   $655,250.00    x0290 lnMM Capital # 1    x5270 Personal
                    05/ 12/17    $720,240.00    x0290 lnMM Capital #1     x5270 Personal
17
                    05/ 12/ 17   $727,500.00    x0290 lnMM Capital # 1    x5270 Personal
18                  05/ 12/17    $876,000.00    x0290 lnMM Capital #1     x5270 Personal
                    05/ 18/ 17   $850,650.00    x0290 lnMM Capital # 1    x5270 Personal
19                  01/11/18     $550,000.00    x0290 lnMM Capital #1     x5270 Personal
20                  01/ 16/ 18   $990,000.00    x0290 lnMM Capital # 1    x5270 Personal
                    03/14/18     $125,000.00    x2944 lnMM Capital #2     x5270 Personal
21                  03/21/18     $950,000.00    x2944 lnMM Capital #2     x5270 Personal
                    03/28/18     $700,000.00    x2944 lnMM Capital #2     x5270 Personal
22
                    03/28/ 18    $800,000.00    x0290 lnMM Capital # 1    x5270 Personal
23                  03/28/18     $900,000.00    x2944 lnMM Capital #2     x5270 Personal
                    03/28/ 18    $900,000.00    x0290 lnMM Capital # 1    x5270 Personal
24                  04/09/ 18     $15,000.00    xl 130 lnMM Productions   x5270 Personal
25                  04/09/ 18    $300,000.00    x0290 lnMM Capital # 1    x5270 Personal
                    04/ 11/18    $715,870.00    x0290 lnMM Capital #1     x5270 Personal
26                  04/ 17/ 18   $650,000.00    x0290 lnMM Capital # 1    x5270 Personal
                    04/30/18     $107,000.00    x0290 lnMM Capital #1     x5270 Personal
27
                    05/01/18     $185,000.00    x2944 lnMM Capital #2     x5270 Personal
28                  05/07/ 18    $105,000.00    x2944 lnMM Capital #2     x5270 Personal
                                                    25
                                                COMPLAINT
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 1                  05/ 15/ 18   $957,500.00   x2944 lnMM Capital #2     x5270 Personal
                    05/ 16/ 18   $900,000.00   x0290 lnMM Capital #1     x5270 Personal
 2
                    05/ 16/ 18   $950,000.00   x2944 lnMM Capital #2     x5270 Personal
 3                  06/04/18     $100,000.00   x0290 lnMM Capital # 1    x5270 Personal
                    06/04/ 18    $200,000.00   x0290 lnMM Capital # 1    x5270 Personal
 4                  06/06/18     $150,000.00   x2944 lnMM Capital #2     x5270 Personal
 5                  06/ 19/ 18   $550,000.00   x2944 lnMM Capital #2     x5270 Personal
                    09/ 19/ 18   $950,000.00   x0290 lnMM Capital #1     x5270 Personal
 6                  09/24/ 18    $125,000.00   x0290 lnMM Capital #1     x5270 Personal
                    10/02/18     $100,000.00   x0290 lnMM Capital #1     x5270 Personal
 7
                    10/ 15/ 18   $950,000.00   x0290 lnMM Capital #1     x5270 Personal
 8                  10/22/18      $30,000.00   x2944 lnMM Capital #2     x5270 Personal
                    10/22/ 18    $735,000.00   x2944 lnMM Capital #2     x5270 Personal
 9                  10/23/18     $494,575.00   x0290 lnMM Capital #1     x5270 Personal
10                  10/24/ 18    $270,000.00   x0290 lnMM Capital #1     x5270 Personal
                    10/26/ 18     $55,000.00   x0290 lnMM Capital #1     x5270 Personal
11                  10/30/18      $20,000.00   x0290 lnMM Capital #1     x5270 Personal
                    10/30/18     $140,000.00   x0290 lnMM Capital #1     x5270 Personal
12
                    10/30/18     $995,750.00   x0290 lnMM Capital #1     x5270 Personal
13                  11/09/18      $75,000.00   x0290 lnMM Capital #1     x5270 Personal
                    11/09/ 18    $495,000.00   x0290 lnMM Capital #1     x5270 Personal
14                  11/ 14/18    $187,500.00   x0290 lnMM Capital #1     x5270 Personal
15                  11/16/ 18    $350,000.00   x0290 lnMM Capital #1     x5270 Personal
                    11/ 19/18    $550,000.00   x2944 lnMM Capital #2     x5270 Personal
16                  11/20/ 18    $475,000.00   x0290 lnMM Capital #1     x5270 Personal
                    11/26/18      $25,000.00   x0290 lnMM Capital #1     x5270 Personal
17
                    11/29/ 18    $995,000.00   x0290 lnMM Capital #1     x5270 Personal
18                  12/07/18     $150,000.00   x0290 lnMM Capital #1     x5270 Personal
                     12/14/18    $450,000.00   x0290 lnMM Capital #1     x5270Personal
19                  12/ 14/ 18   $730,000.00   x2944 lnMM Capital #2     x5270 Personal
20                  12/20/ 18     $50,000.00   x0290 lnMM Capital #1     x5270 Personal
                    01/14/ 19    $100,000.00   x2944 lnMM Capital #2     x5270 Personal
21                  01/ 15/ 19   $430,000.00   x0290 lnMM Capital #1     x5270 Personal
                    01/15/ 19    $950,000.00   x0290 lnMM Capital #1     x5270 Personal
22
                    01/ 17/ 19    $86,000.00   x0290 lnMM Capital #1     x5270 Personal
23                  01/17/ 19    $150,000.00   x0290 lnMM Capital #1     x5270 Personal
                    01/22/ 19    $450,000.00   x0290 lnMM Capital #1     x5270 Personal
24                  01/24/ 19    $650,000.00   x0290 lnMM Capital #1     x5270 Personal
25                  01/30/19     $450,000.00   x0290 lnMM Capital #1     x5270 Personal
                    02/07/ 19    $650,000.00   x0290 lnMM Capital #1     x5270 Personal
26                  02/08/ 19    $200,000.00   x0290 lnMM Capital #1     x5270 Personal
                    02/ 11/ 19   $152,000.00   x0290 lnMM Capital #1     x5270 Personal
27
                    02/ 12/ 19   $350,000.00   x0290 lnMM Capital #1     x5270 Personal
28                  02/ 19/ 19   $300,000.00   xl 130 lnMM Productions   x5270 Personal
                                                   26
                                               COMPLAINT
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 1                  02/20/ 19    $150,000.00   x2944 lnMM Capital #2     x5270 Personal
                    02/20/19     $950,000.00   x0290 lnMM Capital #1     x5270 Personal
 2
                    02/22/ 19    $800,000.00   x0290 lnMM Capital #1     x5270 Personal
 3                  02/25/ 19    $350,000.00   x0290 lnMM Capital #1     x5270 Personal
                    03/01/19     $300,000.00   x0290 lnMM Capital #1     x5270 Personal
 4                  03/ 13/19    $500,000.00   x0290 lnMM Capital #1     x5270 Personal
 5                  03/ 13/ 19   $600,000.00   x0290 lnMM Capital #1     x5270 Personal
                    03/ 14/19    $650,000.00   x0290 lnMM Capital #1     x5270 Personal
 6                  03/ 18/ 19   $425,000.00   x0290 lnMM Capital #1     x5270 Personal
 7                  03/20/19      $82,500.00   x0290 lnMM Capital #1     x5270 Personal
                    03/26/ 19    $370,000.00   x2944 lnMM Capital #2     x5270 Personal
 8                  03/29/19      $70,000.00   x0290 lnMM Capital #1     x5270 Personal
                    03/29/ 19    $500,000.00   x0290 lnMM Capital #1     x5270 Personal
 9                  04/03/19     $635,000.00   x0290 lnMM Capital #1     x5270 Personal
10                  04/08/ 19    $650,000.00   x0290 lnMM Capital #1     x5270 Personal
                    04/09/19      $50,000.00   x0290 lnMM Capital #1     x5270 Personal
11                  04/ 15/ 19   $790,000.00   x0290 lnMM Capital #1     x5270 Personal
                    04/ 15/ 19   $950,000.00   x0290 lnMM Capital #1     x5270 Personal
12
                    04/ 17/ 19   $190,000.00   x0290 lnMM Capital #1     x5270 Personal
13                  04/ 17/19    $950,000.00   x0290 lnMM Capital #1     x5270 Personal
                    04/24/ 19    $250,000.00   x0290 lnMM Capital #1     x5270 Personal
14                  04/24/19     $950,000.00   x0290 lnMM Capital #1     x5270 Personal
15                  05/08/ 19    $600,000.00   x0290 lnMM Capital #1     x5270 Personal
                    05/10/19     $102,000.00   x0290 lnMM Capital #1     x5270 Personal
16                  05/ 13/ 19    $76,000.00   x0290 lnMM Capital #1     x5270 Personal
                    05/22/19     $932,000.00   x0290 lnMM Capital #1     x5270 Personal
17
                    05/29/ 19     $50,000.00   xl 130 lnMM Productions   x5270 Personal
18                  06/03/19     $500,000.00   x0290 lnMM Capital #1     x5270 Personal
                    06/ 10/ 19   $900,000.00   x0290 lnMM Capital #1     x5270 Personal
19                  07/03/19      $50,000.00   x0290 lnMM Capital #1     x5270 Personal
20                  07/ 10/ 19   $690,000.00   x0290 lnMM Capital #1     x5270 Personal
                    07/16/19     $764,850.00   x0290 lnMM Capital #1     x5270 Personal
21                  08/ 12/ 19   $227,000.00   x0290 lnMM Capital #1     x5270 Personal
                    08/ 12/19    $900,000.00   x0290 lnMM Capital #1     x5270 Personal
22
                    08/28/ 19     $80,000.00   x0290 lnMM Capital #1     x5270 Personal
23                  08/28/19     $950,000.00   x0290 lnMM Capital #1     x5270 Personal
                    08/30/ 19     $50,000.00   x0290 lnMM Capital #1     x5270 Personal
24                  09/ 12/19    $105,000.00   x0290 lnMM Capital #1     x5270 Personal
25                  09/ 12/ 19   $950,000.00   x0290 lnMM Capital #1     x5270 Personal
                    09/ 13/19    $150,000.00   x0290 lnMM Capital #1     x5270 Personal
26                  09/ 17/ 19   $856,000.00   x0290 lnMM Capital #1     x5270 Personal
                    09/ 18/19    $300,000.00   x0290 lnMM Capital #1     x5270 Personal
27
                    09/27/ 19    $100,000.00   x0290 lnMM Capital #1     x5270 Personal
28                  09/27/19     $115,000.00   x0290 lnMM Capital #1     x5270 Personal
                                                   27
                                               COMPLAINT
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 1                  09/27/ 19    $950,000.00    x0290 lnMM Capital #1     x5270 Personal
                    10/02/19     $200,000.00    x0290 lnMM Capital #1     x5270 Personal
 2
                    10/03/ 19    $940,000.00    x0290 lnMM Capital #1     x5270 Personal
 3                  10/09/19     $204,000.00    x0290 lnMM Capital #1     x5270 Personal
                    10/09/ 19    $900,000.00    x0290 lnMM Capital #1     x5270 Personal
 4                  10/15/19     $600,000.00    x0290 lnMM Capital #1     x5270 Personal
 5                  11/13/ 19     $40,000.00    x0290 lnMM Capital #1     x5270 Personal
                    11/13/19     $500,000.00    x0290 lnMM Capital #1     x5270 Personal
 6                  11/ 14/ 19   $850,000.00    x0290 lnMM Capital #1     x5270 Personal
                    12/ 10/19    $250,000.00    x0290 lnMM Capital #1     x5270 Personal
 7
                    12/ 12/ 19     $1,000.00    x2944 lnMM Capital #2     x5270 Personal
 8                  12/ 12/19     $16,000.00    x0290 lnMM Capital #1     x5270 Personal
                    12/ 13/ 19    $11,000.00    x0290 lnMM Capital #1     x5270 Personal
 9                  01/13/20     $205,000.00    x0290 lnMM Capital #1     x5270 Personal
10                  01/21/20      $25,000.00    x0290 lnMM Capital #1     x5270 Personal
                    01/29/20       $3 ,000.00   x0290 lnMM Capital #1     x5270 Personal
11                  01/30/20       $3,000.00    x0290 lnMM Capital # 1    x5270 Personal
                    01/31/20       $3 ,000.00   x0290 lnMM Capital #1     x5270 Personal
12
                    02/03/20       $2,000.00    x0290 lnMM Capital #1     x5270 Personal
13                  02/07/20       $2,000.00    x0290 lnMM Capital #1     x5270 Personal
                    02/ 13/20      $1,000.00    x0290 lnMM Capital #1     x5270 Personal
14                  02/ 18/20      $5,500.00    x0290 lnMM Capital #1     x5270 Personal
15                  02/27/20       $1,000.00    x0290 lnMM Capital #1     x5270 Personal
                    03/03/20         $250.00    x0290 lnMM Capital #1     x5270 Personal
16                  03/03/20     $140,000.00    x0290 lnMM Capital # 1    x5270 Personal
                    03/05/20      $40,000.00    x0290 lnMM Capital #1     x5270 Personal
17
                    03/ 11/20     $25,000.00    x0290 lnMM Capital #1     x5270 Personal
18                  03/31/20       $7,000.00    x0290 lnMM Capital #1     x5270 Personal
                    04/07/20       $5,000.00    x0290 lnMM Capital #1     x5270 Personal
19                  04/ 13/20      $5,000.00    x0290 lnMM Capital #1     x5270 Personal
20                  04/ 16/20      $5,000.00    x0290 lnMM Capital #1     x5270 Personal
                    04/24/20      $70,000.00    x0290 lnMM Capital #1     x5270 Personal
21                  04/29/20       $5,000.00    x0290 lnMM Capital #1     x5270 Personal
                    04/29/20       $5,000.00    x0290 lnMM Capital #1     x5270 Personal
22
                    05/06/20       $6,100.00    x0290 lnMM Capital #1     x5270 Personal
23                  05/ 14/20      $7,300.00    x0290 lnMM Capital #1     x5270 Personal
                    06/01/20      $15,000.00    x0290 lnMM Capital #1     x5270 Personal
24                  06/10/20      $15,000.00    x0290 lnMM Capital #1     x5270 Personal
25                  06/ 16/20     $15,000.00    x0290 lnMM Capital #1     x5270 Personal
                    06/17/20      $10,000.00    x0290 lnMM Capital #1     x5270 Personal
26                  06/30/20       $5,000.00    x0290 lnMM Capital #1     x5270 Personal
                    07/08/20       $3,500.00    xl 130 lnMM Productions   x5270 Personal
27
                    08/24/20      $18,000.00    x0290 lnMM Capital #1     x5270 Personal
28                  08/31/20      $25,000.00    xl 130 lnMM Productions   x5270 Personal
                                                    28
                                                COMPLAINT
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 1                  09/01/20          $14,000.00    xl 130 lnMM Productions   x5270 Personal
                    09/ 14/20         $15,000.00    x0290 lnMM Capital #1     x5270 Personal
 2
                    09/ 15/20          $7,500.00    x0290 lnMM Capital #1     x5270 Personal
 3                  09/21/20           $5,000.00    x0290 lnMM Capital #1     x5270 Personal
                     10/02/20         $24,000.00    x0290 lnMM Capital #1     x5270 Personal
 4                   10/07/20          $7,500.00    x0290 lnMM Capital #1     x5270 Personal
 5                   10/ 13/20        $12,000.00    x0290 lnMM Capital #1     x5270 Personal
                     10/21/20         $20,000.00    x0290 lnMM Capital #1     x5270 Personal
 6                   10/30/20         $10,000.00    x0290 lnMM Capital #1     x5270 Personal
                     11/02/20         $20,000.00    x0290 lnMM Capital #1     x5270 Personal
 7
                     11/05/20          $5,000.00    x0290 lnMM Capital #1     x5270 Personal
 8                   11/10/20          $7,500.00    x0290 lnMM Capital #1     x5270 Personal
                     11/13/20         $12,500.00    xl 130 lnMM Productions   x5270 Personal
 9                   11/18/20          $6,400.00    x0290 lnMM Capital #1     x5270 Personal
10                   11/30/20          $7,000.00    x0290 lnMM Capital #1     x5270 Personal
                     11/30/20          $9,000.00    x0290 lnMM Capital #1     x5270 Personal
11                   12/02/20         $25,000.00    x0290 lnMM Capital #1     x5270 Personal
                     12/08/20          $7,500.00    x0290 lnMM Capital #1     x5270 Personal
12
                     12/ 14/20        $11 ,057.00   x0290 lnMM Capital #1     x5270 Personal
13                   12/22/20         $12,497.03    x0290 lnMM Capital #1     x5270 Personal
                     12/28/20          $5,000.00    x0290 lnMM Capital #1     x5270 Personal
14                  01/04/21           $6,500.00    x0290 lnMM Capital #1     x5270 Personal
15                  01/07/21          $10,000.00    x0290 lnMM Capital #1     x5270 Personal
                    02/03/21           $1 ,000.00   xl 130 lnMM Productions   x5270 Personal
16                  02/09/21           $1,000.00    xl 130 lnMM Productions   x5270 Personal
                    02/09/21           $2,500.00    x0290 lnMM Capital #1     x5270 Personal
17
                    02/ 12/21         $23,756.00    x2944 lnMM Capital #2     x5270 Personal
18                  03/01/21           $3 ,000.00   x0290 lnMM Capital #1     x5270 Personal
                    03/05/21           $2,000.00    x0290 lnMM Capital #1     x5270 Personal
19                  03/09/21          $49,975.00    x2944 lnMM Capital #2     x5270 Personal
20                  03/ 11/21         $12,000.00    x0290 lnMM Capital #1     x5270 Personal
                    03/ 11/21         $18,000.00    x0290 lnMM Capital #1     x5270 Personal
21                  03/ 12/21          $4,000.00    xl 130 lnMM Productions   x5270 Personal
                    03/ 15/21          $4,000.00    xl 130 lnMM Productions   x5270 Personal
22
                    03/ 16/21          $3,300.00    xl 130 lnMM Productions   x5270 Personal
23                  03/ 18/21          $2,500.00    xl 130 lnMM Productions   x5270 Personal
                    03/22/21           $1 ,700.00   xl 130 lnMM Productions   x5270 Personal
24                  04/02/21           $6,000.00    xl 130 lnMM Productions   x5270 Personal
25                  TOTAL        $122,473,328.85

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27
28
                                                        29
                                                    COMPLAINT
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 1                  Transfers from Horwitz to lin:MM Entities
 2                  93.     Horwitz, on at least 491 occasions, transferred funds from his
 3     personal account to the linMM Entities' accounts, in amounts totaling at least
 4     $90,253,659.82. These transfers too were virtually all even round numbers,
 5     which are identified as follows :
 6
 7
 8                  02/04/13     -$30,000.00    x5270 Personal   x06 l 6 OneNMM Productions
                    02/04/13     -$30,000.00    x5270 Personal   xl 130 lnMM Productions
 9                  02/22/13     -$20,000.00    x5270 Personal   xl 130 lnMM Productions
                    03/01/ 13     -$1,000.00    x5270 Personal   x06 l 6 OneNMM Productions
10                  03/04/13     -$65,000.00    x5270 Personal   xl 130 lnMM Productions
11                  03/05/13    -$112,500.00    x5270 Personal   xl 130 lnMM Productions
                    03/13/13      -$2,000.00    x5270 Personal   x06 l 6 OneNMM Productions
12                  03/13/13        -$500.00    x5270 Personal   xl 130 lnMM Productions
                    03/14/13     -$12,500.00    x5270 Personal   xl 130 lnMM Productions
13                  04/03/13     -$10,000.00    x5270 Personal   xl 130 lnMM Productions
14                  04/09/13     -$18,768.00    x5270 Personal   xl 130 lnMM Productions
                    04/11/13     -$21,000.00    x5270 Personal   xl 130 lnMM Productions
15                  04/16/13     -$31 ,840.00   x5270 Personal   xl 130 lnMM Productions
                    04/22/13      -$3,000.00    x5270 Personal   xl 130 lnMM Productions
16
                    04/29/13        -$550.00    x5270 Personal   xl 130 lnMM Productions
17                  05/06/13        -$100.00    x5270 Personal   xl 130 lnMM Productions
                    05/28/13      -$1 ,000.00   x5270 Personal   x06 l 6 OneNMM Productions
18                  05/29/13     -$25,000.00    x5270 Personal   xl 130 lnMM Productions
                    06/06/13    -$100,000.00    x5270 Personal   xl 130 lnMM Productions
19
                    06/26/13     -$20,000.00    x5270 Personal   xl 130 lnMM Productions
20                  07/10/13      -$4.000.00    x5270 Personal   xl 130 lnMM Productions
                    08/06/13     -$50,000.00    x5270 Personal   xl 130 lnMM Productions
21                  08/19/13        -$100.00    x5270 Personal   x06 l 6 OneNMM Productions
                    09/09/13      -$3,800.00    x5270 Personal   xl 130 lnMM Productions
22
                    10/08/13      -$5,000.00    x5270 Personal   x0290 lnMM Capital #1
23                  10/08/13      -$3,800.00    x5270 Personal   xl 130 lnMM Productions
                    10/08/13        -$300.00    x5270 Personal   xl 130 lnMM Productions
24                  10/25/13        -$400.00    x5270 Personal   xl 130 lnMM Productions
                    10/31/13      -$1 ,600.00   x5270 Personal   x0290 lnMM Capital #1
25
                    10/31/13      -$1,600.00    x5270 Personal   xl 130 lnMM Productions
26                  11/01/13         -$15.00    x5270 Personal   x06 l 6 OneNMM Productions
                    11/07/13      -$6,200.00    x5270 Personal   x06 l 6 OneNMM Productions
27                  11/15/13     -$42,000.00    x5270 Personal   xl 130 lnMM Productions
28                  11/21/13        -$250.00    x5270 Personal   xl 130 lnMM Productions
                                                         30
                                                     COMPLAINT
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 1                  12/ 10/ 13     -$5,900.00    x5270 Personal   xl 130 lnMM Productions
                    12/ 17/ 13    -$10,460.00    x5270 Personal   x06 l 6 OneNMM Productions
 2                  12/ 17/ 13     -$1,000.00    x5270 Personal   x0290 lnMM Capital #1
 3                  12/ 19/ 13         -$50.00   x5270 Personal   x06 l 6 OneNMM Productions
                    01/02/ 14        -$250.00    x5270 Personal   xl 130 lnMM Productions
 4                  01/07/14       -$2,900.00    x5270 Personal   xl 130 l nMM Productions
                    01/ 13/ 14   -$250,000.00    x5270 Personal   x0290 l nMM Capital #1
 5
                    01/ 16/ 14     -$1 ,700.00   x5270 Personal   x0290 l nMM Capital #1
 6                  01/21/14      -$41,154.00    x5270 Personal   xl 130 l nMM Productions
                    01/31/14         -$400.00    x5270 Personal   xl 130 l nMM Productions
 7                  02/03/ 14        -$350.00    x5270 Personal   xl 130 l nMM Productions
                    02/03/14           -$25.00   x5270 Personal   x06 l 6 OneNMM Productions
 8
                    02/ 10/ 14     -$3.800.00    x5270 Personal   xl 130 lnMM Productions
 9                  02/ 19/14    -$110,000.00    x5270 Personal   x06 l 6 OneNMM Productions
                    02/ 19/ 14    -$26,250.00    x5270 Personal   x0290 l nMM Capital #1
10                  02/21/ 14      -$1 ,750.00   x5270 Personal   x0290 l nMM Capital #1
                    02/21/14         -$100.00    x5270 Personal   x06 l 6 OneNMM Productions
11
                    03/05/14         -$500.00    x5270 Personal   xl 130 l nMM Productions
12                  03/ 10/ 14     -$6,000.00    x5270 Personal   xl 130 lnMM Productions
                    03/ 10/14      -$2,500.00    x5270 Personal   xl 130 l nMM Productions
13                  03/ 11/14     -$92,000.00    x5270 Personal   x0290 lnMM Capital #1
14                  03/20/14       -$1 ,666.67   x5270 Personal   x0290 lnMM Capital #1
                    04/02/ 14    -$260,050.00    x5270 Personal   x0290 lnMM Capital #1
15                  04/07/ 14      -$1 ,500.00   x5270 Personal   xl 130 l nMM Productions
                    04/07/ 14          -$30.00   x5270 Personal   x06 l 6 OneNMM Productions
16                  04/ 15/ 14         -$25.00   x5270 Personal   x0290 lnMM Capital #1
17                  04/ 16/ 14    -$25,000.00    x5270 Personal   xl 130 lnMM Productions
                    04/ 16/ 14     -$9,140.00    x5270 Personal   x0290 l nMM Capital #1
18                  04/21/14         -$300.00    x5270 Personal   x0290 lnMM Capital #1
                    04/28/14      -$58,000.00    x5270 Personal   x0290 l nMM Capital #1
19                  05/07/ 14      -$5,000.00    x5270 Personal   xl 130 lnMM Productions
20                  05/08/14         -$810.00    x5270 Personal   xl 130 l nMM Productions
                    05/ 15/ 14       -$500.00    x5270 Personal   xl 130 l nMM Productions
21                  05/ 15/14        -$350.00    x5270 Personal   x06 l 6 OneNMM Productions
                    05/ 19/ 14    -$10,000.00    x5270 Personal   xl 130 lnMM Productions
22                  05/ 19/ 14     -$8,000.00    x5270 Personal   x0290 l nMM Capital #1
23                  05/21/14       -$2,000.00    x5270 Personal   xl 130 lnMM Productions
                    06/02/14       -$2,850.00    x5270 Personal   x0290 l nMM Capital #1
24                  06/02/ 14          -$20.00   x5270 Personal   x06 l 6 OneNMM Productions
                    06/05/ 14        -$300.00    x5270 Personal   x0290 l nMM Capital #1
25                  06/06/ 14     -$3 7,250.00   x5270 Personal   x0290 l nMM Capital # 1
26                  06/09/ 14      -$2,270.00    x5270 Personal   xl 130 l nMM Productions
                    06/ 17/ 14     -$2,600.00    x5270 Personal   xl 130 lnMM Productions
27                  06/23/ 14    -$225,000.00    x5270 Personal   x0290 l nMM Capital #1
                    06/23/ 14        -$400.00    x5270 Personal   x0290 lnMM Capital #1
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                                                      COMPLAINT
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 1                  06/23/ 14          -$50.00    x5270 Personal   x0616 OneNMM Productions
                    06/26/ 14    -$118,000.00     x5270 Personal   x0290 lnMM Capital #1
 2                  07/02/ 14       -$1 ,050.00   x5270 Personal   x0290 l nMM Capital #1
 3                  07/07/ 14       -$5,000.00    x5270 Personal   xl 130 l nMM Productions
                    07/ 10/ 14      -$1 ,860.34   x5270 Personal   xl 130 lnMM Productions
 4                  07/ 14/ 14     -$48,000.00    x5270 Personal   x0290 lnMM Capital #1
                    07/21/14        -$1 ,200.00   x5270 Personal   x06 l 6 OneNMM Productions
 5
                    07/22/ 14       -$1 ,666.67   x5270 Personal   x0290 lnMM Capital #1
 6                  07/22/ 14         -$140.00    x5270 Personal   xl 130 lnMM Productions
                    07/25/ 14         -$400.00    x5270 Personal   x06 l 6 OneNMM Productions
 7                  08/01/ 14         -$250.00    x5270 Personal   xl 130 lnMM Productions
                    08/05/ 14    -$108,500.00     x5270 Personal   x0290 lnMM Capital #1
 8
                    08/07/ 14       -$1 ,450.00   x5270 Personal   x0290 lnMM Capital #1
 9                  08/ 12/ 14        -$110.00    x5270 Personal   x06 l 6 OneNMM Productions
                    08/ 13/ 14        -$700.00    x5270 Personal   xl 130 l nMM Productions
10                  08/25/ 14          -$30.00    x5270 Personal   x06 l 6 OneNMM Productions
                    08/28/ 14       -$1 ,666.67   x5270 Personal   x0290 lnMM Capital #1
11
                    09/02/ 14       -$1,485.00    x5270 Personal   x0290 lnMM Capital #1
12                  09/02/ 14          -$25.00    x5270 Personal   x06 l 6 OneNMM Productions
                    09/ 12/ 14    -$14,500.00     x5270 Personal   xl 130 lnMM Productions
13                  09/ 18/ 14         -$25.00    x5270 Personal   x06 l 6 OneNMM Productions
14                  09/29/ 14       -$1 ,666.67   x5270 Personal   x0290 lnMM Capital #1
                    09/29/ 14       -$1 ,666.67   x5270 Personal   xl 130 l nMM Productions
15                  09/29/ 14         -$333.33    x5270 Personal   xl 130 lnMM Productions
                    10/03/ 14       -$1,485.00    x5270 Personal   x0290 lnMM Capital #1
16                  10/03/ 14            -$2.00   x5270 Personal   x06 l 6 OneNMM Productions
17                  10/07/ 14     -$12,327.63     x5270 Personal   xl 130 lnMM Productions
                    10/ 14/ 14   -$240,000.00     x5270 Personal   x0290 lnMM Capital #1
18                  10/ 15/ 14   -$175,000.00     x5270 Personal   x0290 lnMM Capital #1
                    10/20/ 14          -$50.00    x5270 Personal   x06 l 6 OneNMM Productions
19                  11/03/ 14       -$3,000.00    x5270 Personal   x0290 l nMM Capital #1
20                  11/10/ 14       -$6,000.00    x5270 Personal   x06 l 6 OneNMM Productions
                    11/ 10/ 14      -$3,500.00    x5270 Personal   x06 l 6 OneNMM Productions
21                  11/ 10/ 14      -$1 ,200.00   x5270 Personal   x06 l 6 OneNMM Productions
                    11/ 13/ 14      -$2,000.00    x5270 Personal   xl 130 l nMM Productions
22                  11/13/ 14       -$1 ,500.00   x5270 Personal   x0290 lnMM Capital #1
23                  11/ 18/ 14      -$4,457.00    x5270 Personal   xl 130 lnMM Productions
                    12/01/14           -$50.00    x5270 Personal   x06 l 6 OneNMM Productions
24                  12/02/ 14       -$1,485.00    x5270 Personal   x0290 l nMM Capital #1
                    12/09/14          -$500.00    x5270 Personal   xl 130 lnMM Productions
25                  12/22/ 14    -$413,095.00     x5270 Personal   x0290 lnMM Capital #1
26                  12/22/ 14       -$2,000.00    x5270 Personal   x0290 l nMM Capital #1
                    12/22/ 14         -$100.00    x5270 Personal   x0616 OneNMM Productions
27                  12/26/14      -$10,637.66     x5270 Personal   xl 130 l nMM Productions
                    12/30/ 14    -$142,250.00     x5270 Personal   x0290 lnMM Capital #1
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                                                       COMPLAINT
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 1                  01/06/ 15    -$395,000.00    x5270 Personal   x0290 lnMM Capital #1
                    01/08/ 15      -$1,485.00    x5270 Personal   x0290 l nMM Capital #1
 2                                -$80,850.00    x5270 Personal
                    01/ 13/ 15                                    x0290 lnMM Capital #1
 3                  01/ 15/ 15    -$19,837.00    x5270 Personal   xl 130 l nMM Productions
                    01/20/ 15      -$2,000.00    x5270 Personal   xl 130 lnMM Productions
 4                  01/26/1 5      -$1 ,000.00   x5270 Personal   x06 l 6 OneNMM Productions
                    01/26/ 15      -$1,000.00    x5270 Personal   x06 l 6 OneNMM Productions
 5
                    01/26/ 15      -$1 ,000.00   x5270 Personal   x06 l 6 OneNMM Productions
 6                  01/27/ 15      -$2,000.00    x5270 Personal   xl 130 lnMM Productions
                    01/30/ 15      -$7,000.00    x5270 Personal   xl 130 l nMM Productions
 7                  02/03/ 15      -$1 ,485.00   x5270 Personal   x0290 lnMM Capital #1
                    02/09/ 15     -$25,000.00    x5270 Personal   x0290 l nMM Capital #1
 8
                    02/ 13/ 15   -$360,000.00    x5270 Personal   x0290 lnMM Capital #1
 9                  02/ 17/ 15     -$8,378.3 1   x5270 Personal   xl 130 l nMM Productions
                    02/20/ 15      -$5,000.00    x5270 Personal   x0290 lnMM Capital #1
10                  02/25/1 5     -$42,240.00    x5270 Personal   x0290 l nMM Capital #1
                    02/27/ 15     -$46,200.00    x5270 Personal   x0290 l nMM Capital #1
11
                    03/02/ 15     -$46,200.00    x5270 Personal   x0290 l nMM Capital #1
12                  03/02/ 15         -$50.00    x5270 Personal   x06 l 6 OneNMM Productions
                    03/ 16/ 15    -$16,040.59    x5270 Personal   xl 130 l nMM Productions
13                  04/01/15          -$25.00    x5270 Personal   x06 l 6 OneNMM Productions
14                  04/06/ 15      -$1 ,485.00   x5270 Personal   x0290 lnMM Capital #1
                    04/09/ 15     -$26,250.00    x5270 Personal   x0290 lnMM Capital #1
15                  04/ 10/ 15    -$11 ,712.60   x5270 Personal   xl 130 l nMM Productions
                    04/20/ 15         -$50.00    x5270 Personal   x06 l 6 OneNMM Productions
16                  04/21/15     -$299,092.00    x5270 Personal   x0290 lnMM Capital #1
17                  04/24/ 15        -$800.00    x5270 Personal   xl 130 lnMM Productions
                    04/28/1 5     -$43,000.00    x5270 Personal   x0290 l nMM Capital #1
18                  05/01/ 15      -$2,800.00    x5270 Personal   x0290 l nMM Capital #1
                    05/07/ 15      -$1 ,500.00   x5270 Personal   xl 130 l nMM Productions
19                  05/07/ 15      -$1 ,485.00   x5270 Personal   x0290 lnMM Capital #1
20                  05/09/ 15      -$5,500.00    x5270 Personal   xl 130 l nMM Productions
                    05/21/15       -$4,500.00    x5270 Personal   xl 130 l nMM Productions
21                  05/21/15         -$150.00    x5270 Personal   x0616 OneNMM Productions
                    05/28/15       -$5,000.00    x5270 Personal   xl 130 lnMM Productions
22                  05/28/1 5      -$2,500.00    x5270 Personal   x0290 l nMM Capital #1
23                  05/28/15       -$1 ,500.00   x5270 Personal   x0290 lnMM Capital #1
                    06/01/15       -$2,970.00    x5270 Personal   x0290 lnMM Capital #1
24                  06/ 10/15      -$4,000.00    x5270 Personal   xl 130 lnMM Productions
                    06/ 16/ 15     -$3 ,000.00   x5270 Personal   xl 130 l nMM Productions
25                  06/23/ 15      -$7.764.00    x5270 Personal   xl 130 l nMM Productions
26                  07/01/ 15     -$51 ,480.00   x5270 Personal   xl 130 l nMM Productions
                    07/02/ 15    -$569,220.00    x5270 Personal   x0290 lnMM Capital #1
27                  07/03/ 15      -$2,000.00    x5270 Personal   xl 130 l nMM Productions
                    07/06/15      -$51 ,480.00   x5270 Personal   x0290 lnMM Capital #1
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                                                      COMPLAINT
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 1                  07/08/ 15      -$6,396.98    x5270 Personal   xl 130 lnMM Productions
                    07/ 15/15      -$2,970.00    x5270 Personal   x0290 lnMM Capital #1
 2                  07/ 16/ 15   -$360,000.00    x5270 Personal   x0290 lnMM Capital #1
 3                  07/ 16/ 15   -$111 ,900.00   x5270 Personal   x0290 lnMM Capital #1
                    07/21/ 15      -$3,000.00    x5270 Personal   x0290 lnMM Capital #1
 4                  07/21/ 15      -$2,500.00    x5270 Personal   xl 130 lnMM Productions
                    07/22/ 15     -$84,600.00    x5270 Personal   x0290 lnMM Capital #1
 5
                    07/24/ 15     -$29,715.00    x5270 Personal   xl 130 lnMM Productions
 6                  07/24/ 15      -$4,000.00    x5270 Personal   x0290 lnMM Capital #1
                    07/31/15     -$239,775.00    x5270 Personal   x0290 lnMM Capital #1
 7                  08/06/ 15      -$6,000.00    x5270 Personal   xl 130 lnMM Productions
                    08/ 11/15     -$18,483.18    x5270 Personal   xl 130 lnMM Productions
 8
                    08/ 13/ 15   -$373,650.00    x5270 Personal   x0290 lnMM Capital #1
 9                  08/25/ 15    -$361,400.00    x5270 Personal   x0290 lnMM Capital #1
                    09/02/ 15      -$5,000.00    x5270 Personal   xl 130 lnMM Productions
10                  09/09/1 5    -$360,000.00    x5270 Personal   x0290 lnMM Capital #1
                    09/09/ 15      -$1 ,000.00   x5270 Personal   x0290 lnMM Capital #1
11
                    09/ 14/ 15    -$53,900.00    x5270 Personal   x0290 lnMM Capital #1
12                  09/22/ 15      -$3,500.00    x5270 Personal   xl 130 lnMM Productions
                    09/28/ 15      -$4,500.00    x5270 Personal   x0290 lnMM Capital #1
13                  10/01/15     -$312,750.00    x5270 Personal   x0290 lnMM Capital #1
14                  10/05/ 15      -$9,000.00    x5270 Personal   x0290 lnMM Capital #1
                    10/06/ 15    -$444,800.00    x5270 Personal   x0290 lnMM Capital #1
15                  10/06/ 15     -$10,500.00    x5270 Personal   xl 130 lnMM Productions
                    10/ 15/ 15   -$133,952.00    x5270 Personal   x0290 lnMM Capital #1
16                  10/20/ 15     -$10,000.00    x5270 Personal   xl 130 lnMM Productions
17                  10/21/15     -$360,000.00    x5270 Personal   x0290 lnMM Capital #1
                    10/21/15      -$30,000.00    x5270 Personal   xl 130 lnMM Productions
18                  11/02/ 15    -$295,900.00    x5270 Personal   x0290 lnMM Capital #1
                    11/06/ 15     -$45,000.00    x5270 Personal   xl 130 lnMM Productions
19                  11/09/ 15      -$1 ,900.00   x5270 Personal   x0290 lnMM Capital #1
20                  11/25/ 15     -$13,750.00    x5270 Personal   x0290 lnMM Capital #1
                    11/25/ 15     -$12,250.00    x5270 Personal   x0290 lnMM Capital #1
21                  12/07/ 15     -$36,000.00    x5270 Personal   x0290 lnMM Capital #1
                    12/ 10/ 15     -$6,000.00    x5270 Personal   xl 130 lnMM Productions
22                  12/ 11/ 15   -$377,000.00    x5270 Personal   x0290 lnMM Capital #1
23                  12/ 14/ 15     -$6,500.00    x5270 Personal   xl 130 lnMM Productions
                    12/21/ 15    -$368,350.00    x5270 Personal   x0290 lnMM Capital #1
24                  12/21/ 15    -$359,970.00    x5270 Personal   x0290 lnMM Capital #1
                    12/21/15       -$3,857.35    x5270 Personal   xl 130 lnMM Productions
25                  12/21/15       -$2,000.00    x5270 Personal   xl 130 lnMM Productions
26                  12/21/ 15        -$800.00    x5270 Personal   xl 130 lnMM Productions
                    12/24/ 15     -$10,000.00    x5270 Personal   x0290 lnMM Capital #1
27                  12/29/ 15      -$3,000.00    x5270 Personal   x0290 lnMM Capital #1
                    12/30/ 15     -$19,985.00    x5270 Personal   xl 130 lnMM Productions
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                                                      COMPLAINT
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 1                  01/04/ 16       -$10,000.00     x5270 Personal   xl 130 lnMM Productions
                    01/04/ 16           -$100.00    x5270 Personal   x06 l 6 OneNMM Productions
 2                                    -$9,495.00    x5270 Personal
                    01/05/ 16                                        x0290 lnMM Capital #1
 3                  01/07/ 16       -$10,000.00     x5270 Personal   xl 130 lnMM Productions
                    01/07/ 16         -$4,450.00    x5270 Personal   x0290 lnMM Capital #1
 4                  01/ 12/16         -$2,000.00    x5270 Personal   x0290 lnMM Capital #1
                    01/ 13/ 16        -$2,000.00    x5270 Personal   xl 130 lnMM Productions
 5
                    01/ 15/ 16     -$739,462.50     x5270 Personal   x0290 lnMM Capital #1
 6                  01/ 19/ 16   -$1 ,024,619.00    x5270 Personal   x0290 lnMM Capital #1
                    01/20/ 16         -$3,500.00    x5270 Personal   xl 130 lnMM Productions
 7                  02/02/ 16         -$1 ,500.00   x5270 Personal   xl 130 lnMM Productions
                    02/04/ 16      -$566,305.00     x5270 Personal   x0290 lnMM Capital #1
 8
                    02/05/ 16         -$9.495.00    x5270 Personal   x0290 lnMM Capital #1
 9                  02/08/ 16       -$23,502.00     x5270 Personal   xl 130 lnMM Productions
                    02/08/ 16         -$5,000.00    x5270 Personal   xl 130 lnMM Productions
10                  02/ 10/16      -$565,760.00     x5270 Personal   x0290 lnMM Capital #1
                    02/ 10/ 16        -$8,000.00    x5270 Personal   xl 130 lnMM Productions
11
                    02/ 11/16       -$10,000.00     x5270 Personal   xl 130 lnMM Productions
12                  02/ 18/ 16        -$4,876.22    x5270 Personal   x0616 OneNMM Productions
                    03/03/ 16      -$369,448.00     x5270 Personal   x0290 lnMM Capital #1
13                  03/04/ 16         -$5,000.00    x5270 Personal   xl 130 lnMM Productions
14                  03/08/ 16         -$4,000.00    x5270 Personal   xl 130 lnMM Productions
                    03/08/ 16         -$3,000.00    x5270 Personal   xl 130 lnMM Productions
15                  03/ 10/16      -$369,448.00     x5270 Personal   x0290 lnMM Capital #1
                    03/ 14/ 16     -$271 ,988.00    x5270 Personal   x0290 lnMM Capital #1
16                  03/ 15/ 16      -$10,000.00     x5270 Personal   xl 130 lnMM Productions
17                  03/24/ 16      -$139,500.00     x5270 Personal   x0290 lnMM Capital #1
                    04/04/ 16      -$212,500.00     x5270 Personal   x0290 lnMM Capital #1
18                  04/06/ 16      -$946,103.50     x5270 Personal   x0290 lnMM Capital #1
                    04/06/ 16       -$35,300.00     x5270 Personal   xl 130 lnMM Productions
19                  04/ 13/ 16     -$526,450.00     x5270 Personal   x0290 lnMM Capital #1
20                  04/ 18/ 16     -$398,900.00     x5270 Personal   x0290 lnMM Capital #1
                    04/22/ 16         -$6,875.00    x5270 Personal   x0290 lnMM Capital #1
21                  05/03/ 16       -$11 ,000.00    x5270 Personal   x0290 lnMM Capital #1
                    05/03/ 16       -$10,000.00     x5270 Personal   x0290 lnMM Capital #1
22                  05/ 10/ 16        -$5,000.00    x5270 Personal   x0290 lnMM Capital #1
23                  05/ 10/ 16        -$5,000.00    x5270 Personal   xl 130 lnMM Productions
                    05/ 12/16      -$300,000.00     x5270 Personal   x0290 lnMM Capital #1
24                  05/ 13/ 16      -$18,000.00     x5270 Personal   x0290 lnMM Capital #1
                    05/ 16/ 16     -$812,500.00     x5270 Personal   x0290 lnMM Capital #1
25                  05/ 16/ 16     -$812,500.00     x5270 Personal   xl 130 lnMM Productions
26                  05/ 16/ 16      -$50,519.03     x5270 Personal   xl 130 lnMM Productions
                    05/ 16/ 16      -$46,000.00     x5270 Personal   x0290 lnMM Capital #1
27                  05/20/ 16       -$35,970.00     x5270 Personal   x0290 lnMM Capital #1
                    05/23/ 16      -$933,540.00     x5270 Personal   x0290 lnMM Capital #1
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                                                         COMPLAINT
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 1                  05/24/ 16    -$355,21 1. 11   x5270 Personal   x0290 lnMM Capital #1
                    05/24/ 16    -$200,000.00     x5270 Personal   x0290 lnMM Capital #1
 2                  05/25/ 16    -$814,200.00     x5270 Personal   x0290 lnMM Capital #1
 3                  05/25/16       -$5,000.00     x5270 Personal   x0290 lnMM Capital #1
                    05/27/ 16     -$40,342.57     x5270 Personal   x0290 lnMM Capital #1
 4                  06/01/16     -$675,053.00     x5270 Personal   x0290 lnMM Capital #1
                    06/01/16      -$10,500.00     x5270 Personal   x0290 lnMM Capital #1
 5
                    06/03/16     -$518,190.00     x5270 Personal   x0290 lnMM Capital #1
 6                  06/06/ 16     -$20,000.00     x5270 Personal   x0290 lnMM Capital #1
                    06/06/ 16      -$5,000.00     x5270 Personal   xl 130 lnMM Productions
 7                  06/07/ 16     -$44,000.00     x5270 Personal   x0290 lnMM Capital #1
                    06/ 14/ 16   -$360,000.00     x5270 Personal   x0290 lnMM Capital #1
 8
                    06/ 14/ 16     -$5,000.00     x5270 Personal   xl 130 lnMM Productions
 9                  06/ 15/ 16    -$26,340.00     x5270 Personal   x0290 lnMM Capital #1
                    06/22/ 16     -$10,000.00     x5270 Personal   x0290 lnMM Capital #1
10                  07/01/16      -$20,000.00     x5270 Personal   x0290 lnMM Capital #1
                    07/01/ 16     -$20,000.00     x5270 Personal   xl 130 lnMM Productions
11
                    07/05/ 16    -$212,500.00     x5270 Personal   x0290 lnMM Capital #1
12                  07/05/ 16     -$10,300.00     x5270 Personal   xl 130 lnMM Productions
                    07/06/ 16      -$2,970.00     x5270 Personal   x0290 lnMM Capital #1
13                  07/13/ 16      -$5,000.00     x5270 Personal   xl 130 lnMM Productions
14                  07/ 18/ 16   -$126,000.00     x5270 Personal   x0290 lnMM Capital #1
                    07/25/ 16    -$939,722.00     x5270 Personal   x0290 lnMM Capital #1
15                  07/26/ 16     -$37,500.00     x5270 Personal   x0290 lnMM Capital #1
                    07/27/ 16    -$600,000.00     x5270 Personal   x0290 lnMM Capital #1
16                  07/27/ 16     -$37,500.00     x5270 Personal   x0290 lnMM Capital #1
17                  08/01/ 16     -$10,000.00     x5270 Personal   xl 130 lnMM Productions
                    08/ 11/16     -$10,000.00     x5270 Personal   xl 130 lnMM Productions
18                  08/ 12/ 16   -$990,500.00     x5270 Personal   x0290 lnMM Capital #1
                    08/ 12/ 16   -$360,000.00     x5270 Personal   x0290 lnMM Capital #1
19                  08/23/ 16    -$537,700.00     x5270 Personal   x0290 lnMM Capital #1
20                  08/23/16      -$10,000.00     x5270 Personal   xl 130 lnMM Productions
                    09/06/ 16     -$10,000.00     x5270 Personal   xl 130 lnMM Productions
21                  09/20/ 16      -$5,000.00     x5270 Personal   xl 130 lnMM Productions
                    09/28/ 16    -$964,280.00     x5270 Personal   x0290 lnMM Capital #1
22                  09/30/ 16     -$30,000.00     x5270 Personal   xl 130 lnMM Productions
23                  10/03/ 16    -$950,000.00     x5270 Personal   x0290 lnMM Capital #1
                    10/03/16     -$300,000.00     x5270 Personal   x0290 lnMM Capital #1
24                  10/05/ 16    -$994,690.00     x5270 Personal   x0290 lnMM Capital #1
                    10/05/ 16    -$100,000.00     x5270 Personal   x0290 lnMM Capital #1
25                  10/ 11/16     -$12,000.00     x5270 Personal   x0290 lnMM Capital #1
26                  10/ 12/ 16    -$20,000.00     x5270 Personal   x0290 lnMM Capital #1
                    10/ 13/ 16    -$40,000.00     x5270 Personal   x0290 lnMM Capital #1
27                  10/ 14/ 16    -$15,000.00     x5270 Personal   xl 130 lnMM Productions
                    10/ 19/ 16   -$949,646.00     x5270 Personal   x0290 lnMM Capital #1
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                                                       COMPLAINT
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 1                  10/20/ 16       -$7,500.00   x5270 Personal   x0290 lnMM Capital #1
                    10/21/16     -$878,508.00    x5270 Personal   x0290 lnMM Capital #1
 2                  10/25/ 16    -$968,606.00    x5270 Personal   x0290 lnMM Capital #1
 3                  10/25/ 16    -$300,000.00    x5270 Personal   x0290 lnMM Capital #1
                    10/27/ 16    -$292,740.00    x5270 Personal   x0290 lnMM Capital #1
 4                  11/07/ 16       -$5,000.00   x5270 Personal   xl 130 lnMM Productions
                    11/08/ 16     -$60,000.00    x5270 Personal   x0290 lnMM Capital #1
 5
                    11/08/ 16      -$20,000.00   x5270 Personal   x0290 lnMM Capital #1
 6                  11/ 10/ 16    -$28,800.00    x5270 Personal   x0290 lnMM Capital #1
                    11/ 14/ 16   -$885,825.00    x5270 Personal   x0290 lnMM Capital #1
 7                  11/ 14/ 16   -$854,850.00    x5270 Personal   x0290 lnMM Capital #1
                    11/25/ 16      -$15,000.00   x5270 Personal   xl 130 lnMM Productions
 8
                    11/28/ 16    -$700,000.00    x5270 Personal   x0290 lnMM Capital #1
 9                  11/28/ 16    -$300,000.00    x5270 Personal   x0290 lnMM Capital #1
                    11/29/ 16    -$431 ,812.00   x5270 Personal   x0290 lnMM Capital #1
10                  12/07/ 16      -$10,000.00   x5270 Personal   xl 130 lnMM Productions
                    12/ 12/ 16   -$200,000.00    x5270 Personal   x0290 lnMM Capital #1
11
                    12/ 14/ 16   -$458,000.00    x5270 Personal   x0290 lnMM Capital #1
12                  01/09/ 17    -$3 77,252.00   x5270 Personal   x0290 lnMM Capital #1
                    01/09/ 17       -$5,000.00   x5270 Personal   xl 130 lnMM Productions
13                  01/ 11/17     -$25,000.00    x5270 Personal   x0290 lnMM Capital #1
14                  01/ 12/17      -$13,333.00   x5270 Personal   x0290 lnMM Capital #1
                    01/ 17/ 17    -$25,000.00    x5270 Personal   x0290 lnMM Capital #1
15                  01/ 18/ 17      -$5,000.00   x5270 Personal   xl 130 lnMM Productions
                    01/23/ 17    -$819,540.00    x5270 Personal   x0290 lnMM Capital #1
16                  01/26/17     -$921 ,344.00   x5270 Personal   x0290 lnMM Capital #1
17                  01/26/ 17    -$100,000.00    x5270 Personal   x0290 lnMM Capital #1
                    01/30/17     -$841 ,595.00   x5270 Personal   x0290 lnMM Capital #1
18                  01/31/17      -$90,500.00    x5270 Personal   x0290 lnMM Capital #1
                    02/01/17      -$15,000.00    x5270 Personal   x0290 lnMM Capital #1
19                  02/02/ 17    -$1 80,000.00   x5270 Personal   x0290 lnMM Capital #1
20                  02/06/ 17    -$853 ,282.00   x5270 Personal   x0290 lnMM Capital #1
                    02/06/17        -$3,000.00   x5270 Personal   xl 130 lnMM Productions
21                  02/07/ 17       -$5,000.00   x5270 Personal   xl 130 lnMM Productions
                    02/ 13/ 17   -$977,405.00    x5270 Personal   x0290 lnMM Capital #1
22                  02/ 16/ 17   -$360,000.00    x5270 Personal   x0290 lnMM Capital #1
23                  02/21/17     -$576,537.00    x5270 Personal   x0290 lnMM Capital #1
                    02/21/17     -$300,000.00    x5270 Personal   x0290 lnMM Capital #1
24                  02/21/17      -$16,000.00    x5270 Personal   x0290 lnMM Capital #1
                    02/22/ 17    -$900,000.00    x5270 Personal   x0290 lnMM Capital #1
25                  02/22/ 17     -$10,000.00    x5270 Personal   xl 130 lnMM Productions
26                  02/24/17     -$715,862.00    x5270 Personal   x0290 lnMM Capital #1
                    02/27/ 17     -$10,000.00    x5270 Personal   xl 130 lnMM Productions
27                  02/28/17     -$514,800.00    x5270 Personal   x0290 lnMM Capital #1
                    03/08/17     -$800,000.00    x5270 Personal   x0290 lnMM Capital #1
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 1                  04/06/ 17      -$2,500.00    x5270 Personal   xl 130 lnMM Productions
                    04/ 13/ 17   -$950,000.00    x5270 Personal   x0290 lnMM Capital #1
 2                  04/ 13/ 17   -$300,000.00    x5270 Personal   x0290 lnMM Capital #1
 3                  04/ 17/17    -$921,720.00    x5270 Personal   x0290 lnMM Capital #1
                    04/ 17/ 17   -$400,000.00    x5270 Personal   x0290 lnMM Capital #1
 4                  05/ 16/ 17    -$20,000.00    x5270 Personal   xl 130 lnMM Productions
                    05/31/ 17     -$35,000.00    x5270 Personal   x0290 lnMM Capital #1
 5
                    06/05/ 17     -$11 ,000.00   x5270 Personal   xl 130 lnMM Productions
 6                  07/07/ 17     -$10,000.00    x5270 Personal   xl 130 lnMM Productions
                    10/23/ 17     -$15,000.00    x5270 Personal   xl 130 lnMM Productions
 7                  11/06/ 17      -$8,193.57    x5270 Personal   xl 130 lnMM Productions
                    12/ 18/17     -$10,000.00    x5270 Personal   xl 130 lnMM Productions
 8
                    01/08/ 18    -$550,000.00    x5270 Personal   x0290 lnMM Capital #1
 9                  01/08/18      -$15,000.00    x5270 Personal   xl 130 lnMM Productions
                    03/22/ 18    -$750,000.00    x5270 Personal   x0290 lnMM Capital #1
10                  04/05/ 18    -$150,000.00    x5270 Personal   x0290 lnMM Capital #1
                    05/ 15/ 18   -$957,500.00    x5270 Personal   x0290 lnMM Capital #I
11
                    05/ 16/ 18   -$950,000.00    x5270 Personal   x0290 lnMM Capital #1
12                  05/ 16/ 18   -$900,000.00    x5270 Personal   x0290 lnMM Capital #1
                    05/ 17/ 18   -$200,000.00    x5270 Personal   x0290 lnMM Capital #1
13                  09/05/ 18    -$400,000.00    x5270 Personal   x0290 lnMM Capital #1
14                  09/ 17/ 18   -$850,000.00    x5270 Personal   x0290 lnMM Capital #1
                    09/ 17/ 18   -$300,000.00    x5270 Personal   x0290 lnMM Capital #1
15                  09/ 17/ 18    -$40,000.00    x5270 Personal   x0290 lnMM Capital #1
                    09/ 17/ 18    -$20,000.00    x5270 Personal   xl 130 lnMM Productions
16                  10/ 16/ 18   -$500,000.00    x5270 Personal   x0290 lnMM Capital #1
17                  10/ 17/ 18   -$600,000.00    x5270 Personal   x0290 lnMM Capital #1
                    10/ 17/ 18   -$154,303.00    x5270 Personal   x0290 lnMM Capital #1
18                  10/22/ 18    -$390,000.00    x5270 Personal   x0290 lnMM Capital #1
                    10/23/ 18    -$115,054.00    x5270 Personal   x0290 lnMM Capital #1
19                  10/30/ 18    -$995,750.00    x5270 Personal   x0290 lnMM Capital #1
20                  10/30/ 18    -$145,000.00    x5270 Personal   x0290 lnMM Capital #1
                    11/05/ 18    -$350,000.00    x5270 Personal   x0290 lnMM Capital #1
21                  11/06/ 18     -$40,000.00    x5270 Personal   x0290 lnMM Capital #1
                    11/ 19/ 18    -$75,000.00    x5270 Personal   x0290 lnMM Capital #1
22                  11/23/ 18    -$950,000.00    x5270 Personal   x0290 lnMM Capital #1
23                  11/26/ 18    -$995,000.00    x5270 Personal   x0290 lnMM Capital #I
                    11/26/ 18    -$100,000.00    x5270 Personal   x0290 lnMM Capital #1
24                  12/ 14/ 18     -$5,000.00    x5270 Personal   xl 130 lnMM Productions
                    01/03/ 19    -$850,000.00    x5270 Personal   x0290 lnMM Capital #1
25                  01/03/ 19     -$50,000.00    x5270 Personal   x0290 lnMM Capital #1
26                  01/03/ 19     -$15,000.00    x5270 Personal   x0290 lnMM Capital #1
                    01/07/ 19    -$500,000.00    x5270 Personal   x0290 lnMM Capital #1
27                  01/11/ 19     -$15,000.00    x5270 Personal   x0290 lnMM Capital #1
                    01/ 15/ 19    -$42,000.00    x5270 Personal   x0290 lnMM Capital #I
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 1                  01/ 15/ 19    -$20,000.00    x5270 Personal   x0290 lnMM Capital #1
                    01/23/ 19    -$650,000.00    x5270 Personal   x0290 lnMM Capital #1
 2                               -$350,000.00    x5270 Personal
                    01/25/ 19                                     x0290 lnMM Capital #1
 3                  01/28/ 19    -$100,000.00    x5270 Personal   x0290 lnMM Capital #1
                    02/ 19/ 19   -$600,000.00    x5270 Personal   x0290 lnMM Capital #1
 4                  02/20/ 19    -$700,000.00    x5270 Personal   x0290 lnMM Capital #1
                    02/20/ 19    -$100,000.00    x5270 Personal   x0290 lnMM Capital #1
 5
                    02/22/ 19    -$400,000.00    x5270 Personal   x0290 lnMM Capital #1
 6                  02/22/ 19    -$300,000.00    x5270 Personal   x0290 lnMM Capital #1
                    02/22/19     -$100,000.00    x5270 Personal   x0290 lnMM Capital #1
 7                  02/25/ 19    -$950,000.00    x5270 Personal   x0290 lnMM Capital #1
                    02/25/ 19    -$350,000.00    x5270 Personal   x0290 lnMM Capital #1
 8
                    03/ 13/ 19   -$500,000.00    x5270 Personal   x0290 lnMM Capital #1
 9                  03/26/ 19    -$925,000.00    x5270 Personal   x0290 lnMM Capital #1
                    03/26/ 19    -$300,000.00    x5270 Personal   x0290 lnMM Capital #1
10                  03/29/ 19    -$230,000.00    x5270 Personal   x0290 lnMM Capital #1
                    04/08/ 19    -$570,000.00    x5270 Personal   x0290 lnMM Capital #1
11
                    04/08/ 19     -$30,000.00    x5270 Personal   x0290 lnMM Capital #1
12                  04/ 15/ 19   -$900,000.00    x5270 Personal   x0290 lnMM Capital #1
                    04/ 18/19    -$950,000.00    x5270 Personal   x0290 lnMM Capital #1
13                  04/ 18/ 19   -$190,000.00    x5270 Personal   x0290 lnMM Capital #1
14                  04/22/ 19    -$550,000.00    x5270 Personal   x0290 lnMM Capital #1
                    05/01/19     -$600,000.00    x5270 Personal   x0290 lnMM Capital #1
15                  05/22/ 19    -$932,000.00    x5270 Personal   x0290 lnMM Capital #1
                    05/28/ 19    -$200,000.00    x5270 Personal   x0290 lnMM Capital #1
16                  05/29/ 19     -$50,000.00    x5270 Personal   x0290 lnMM Capital #1
17                  05/31/ 19    -$500,000.00    x5270 Personal   x0290 lnMM Capital #1
                    05/31/ 19    -$100,000.00    x5270 Personal   x0290 lnMM Capital #1
18                  06/03/ 19    -$800,000.00    x5270 Personal   x0290 lnMM Capital #1
                    06/26/ 19    -$400,000.00    x5270 Personal   x0290 lnMM Capital #1
19                  07/08/ 19    -$140,000.00    x5270 Personal   x0290 lnMM Capital #1
20                  07/09/ 19    -$500,000.00    x5270 Personal   x0290 lnMM Capital #1
                    07/ 16/ 19   -$880,000.00    x5270 Personal   x0290 lnMM Capital #1
21                  07/ 18/ 19   -$150,000.00    x5270 Personal   x0290 lnMM Capital #1
                    07/ 18/ 19    -$60,000.00    x5270 Personal   x0290 lnMM Capital #1
22                  07/31/ 19    -$200,000.00    x5270 Personal   x0290 lnMM Capital #1
23                  07/31/19       -$1 ,000.00   x5270 Personal   xl 130 lnMM Productions
                    08/01/ 19    -$750,000.00    x5270 Personal   x0290 lnMM Capital #1
24                  08/ 12/ 19    -$40,000.00    x5270 Personal   x0290 lnMM Capital #1
                    08/ 13/ 19   -$500,000.00    x5270 Personal   x0290 lnMM Capital #1
25                  08/21/19     -$500,000.00    x5270 Personal   x0290 lnMM Capital #1
26                  08/21/19     -$250,000.00    x5270 Personal   x0290 lnMM Capital #1
                    08/21/ 19      -$2,000.00    x5270 Personal   xl 130 lnMM Productions
27                  08/22/ 19      -$3,000.00    x5270 Personal   xl 130 lnMM Productions
                    08/23/ 19      -$4,000.00    x5270 Personal   xl 130 lnMM Productions
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 1                  08/27/ 19      -$5,000.00    x5270 Personal   xl 130 lnMM Productions
                    09/09/ 19    -$975,000.00    x5270 Personal   x0290 lnMM Capital #1
 2                  09/ 16/ 19   -$850,000.00    x5270 Personal   x0290 lnMM Capital #1
 3                  09/ 18/ 19   -$500,000.00    x5270 Personal   x0290 lnMM Capital #1
                    09/23/ 19    -$940,000.00    x5270 Personal   x0290 lnMM Capital #1
 4                  09/27/ 19     -$60,000.00    x5270 Personal   x0290 lnMM Capital #1
                    09/27/ 19     -$10,000.00    x5270 Personal   x0290 lnMM Capital #1
 5
                    09/30/ 19    -$900,000.00    x5270 Personal   x0290 lnMM Capital #1
 6                  10/01/19     -$240,000.00    x5270 Personal   x0290 lnMM Capital #1
                    10/07/ 19    -$500,000.00    x5270 Personal   x0290 lnMM Capital #1
 7                  10/08/ 19    -$500,000.00    x5270 Personal   x0290 lnMM Capital #1
                    10/ 15/ 19   -$500,000.00    x5270 Personal   x0290 lnMM Capital #1
 8
                    10/28/ 19    -$950,050.00    x5270 Personal   x0290 lnMM Capital #1
 9                  10/28/ 19    -$950,000.00    x5270 Personal   x0290 lnMM Capital #1
                    10/28/ 19     -$50,000.00    x5270 Personal   x0290 lnMM Capital #1
10                  10/30/ 19    -$230,000.00    x5270 Personal   x0290 lnMM Capital #1
                    10/30/ 19         -$50.00    x5270 Personal   xl 130 lnMM Productions
11
                    11/04/ 19        -$500.00    x5270 Personal   xl 130 lnMM Productions
12                  11/ 12/ 19    -$20,000.00    x5270 Personal   x0290 lnMM Capital #1
                    11/13/ 19      -$2,000.00    x5270 Personal   xl 130 lnMM Productions
13                  11/ 14/ 19   -$300,000.00    x5270 Personal   x0290 lnMM Capital #1
14                  11/14/ 19      -$2,000.00    x5270 Personal   xl 130 lnMM Productions
                    11/ 18/ 19   -$500,000.00    x5270 Personal   x0290 lnMM Capital #1
15                  11/20/ 19    -$100,000.00    x5270 Personal   x0290 lnMM Capital #1
                    11/21/ 19    -$450,000.00    x5270 Personal   x0290 lnMM Capital #1
16                  11/21/19       -$1 ,500.00   x5270 Personal   xl 130 lnMM Productions
17                  11/22/ 19    -$500,000.00    x5270 Personal   x0290 lnMM Capital #1
                    11/27/ 19      -$1 ,500.00   x5270 Personal   xl 130 lnMM Productions
18                  12/ 13/ 19    -$85,000.00    x5270 Personal   x0290 lnMM Capital #1
                    12/ 16/ 19    -$50,000.00    x5270 Personal   x0290 lnMM Capital #1
19                  12/ 18/ 19    -$20,000.00    x5270 Personal   x0290 lnMM Capital #1
20                  12/20/ 19      -$5,000.00    x5270 Personal   x0290 lnMM Capital #1
                    12/23/ 19    -$175,000.00    x5270 Personal   x0290 lnMM Capital #1
21                  12/23/ 19      -$2,000.00    x5270 Personal   x0290 lnMM Capital #1
                    12/26/ 19      -$5,000.00    x5270 Personal   xl 130 lnMM Productions
22                  02/03/20       -$8,000.00    x5270 Personal   x0290 lnMM Capital #1
23                  03/03/20         -$100.00    x5270 Personal   x2944 lnMM Capital #2
                    03/09/20       -$2,500.00    x5270 Personal   xl 130 lnMM Productions
24                  06/ 16/20      -$1 ,500.00   x5270 Personal   xl 130 lnMM Productions
                    09/ 14/20      -$1 ,300.00   x5270 Personal   xl 130 lnMM Productions
25                  10/ 13/20      -$1 ,800.00   x5270 Personal   xl 130 lnMM Productions
26                  10/30/20       -$1 ,800.00   x5270 Personal   xl 130 lnMM Productions
                    11/ 18/20      -$4,000.00    x5270 Personal   xl 130 lnMM Productions
27                  12/02/20          -$15.00    x5270 Personal   x2944 lnMM Capital #2
                    12/ 17/20        -$610.00    x5270 Personal   xl 130 lnMM Productions
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 1                  01/07/21            -$75.00     x5270 Personal         xl 130 lnMM Productions
                    01/07/21            -$20.00     x5270 Personal         x2944 lnMM Capital #2
 2
                    02/ 17/21       -$10,000.00     x5270 Personal         xl 130 lnMM Productions
 3                  02/24/21         -$1 ,980.00    x5270 Personal         xl 130 lnMM Productions
                    03/09/21         -$4.400.00     x5270 Personal         x0290 lnMM Capital #1
 4                  04/02/21           -$100.00     x5270 Personal         x0290 lnMM Capital #1
                    04/02/21            -$25.00     x5270 Personal         x2944 lnMM Capital #2
 5
                TOTAL           $90,253,659.82
 6
 7                  94.     Horwitz further commingled funds and ran the fraud using another
 8     personal account. Horwitz set up a bank account for his personal family trust,
 9     MJLZ Trust, in December 2019 and arranged for counsel, Leslie Klinger
10     ("Klinger"), to be the signatory on the account.
11                  95.     In late 2019 and beyond, when Horwitz could no longer bring in
12     new investor dollars and had borrowed up to the cap on the Horwitz LOC,
13     Horwitz transferred funds from his personal trust, MJLZ Trust (Acct No. 0501),
14     to 1inMM Capital as follows, which funds were ultimately used as part of the
15     fraudulent scheme:
16                                     Deposits from Trust to linMM Capital, LLC
17                                            12/26/ 19 $3,009,627.00
                                              01/13/20        $250,000
18                                            03/03/20    $500,000.00
19                                                 TOTAL   $3,759,627.00

20                  96.     Funds were moved from the MJLZ Trust into both Horwitz's
21     personal account and into linMM Capital. On December 26, 2019, Klinger sent
22     instructions to CNB to move the funds on an "immediate" basis.
23                  97.     In an email on that date, Horwitz emphasized the rush, stating, "We
24     will be needing to make transfers from this account into 1inMM Capital LLC as
25     soon as the funds hit the Trust account so please let Leslie know what is needed
26     in order for this to happen smoothly."
27
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 1                  98.   Also on December 26, 2019, Horwitz again emailed CNB and
 2     stated: “We will be needing to transfer a total of $3,009,627.00 from the Trust
 3     account into 1inMM Capital Account ending in 0290 as soon as it hits. Thank
 4     you! Leslie – please confirm. Thanks!”
 5                  99.   Just a few weeks later, on January 13, 2020, Horwitz requested the
 6     transfer of $250,000 into his personal account and also requested that the profile
 7     be changed so that Klinger “no longer receives statements and they get sent to
 8     me directly . . . that would be best.”
 9                  100. On February 3, 2020, Horwitz advised CNB that he “will be needing
10     to transfer funds from 1inMM Capital account into the trust account that was
11     recently set up.”
12                  E.    The Investor Deposit Transfers to CNB
13                  101. Property of the 1inMM Entities in the form of investor funds in the
14     amount of $710,489,295.50 were transferred to CNB when the funds were
15     deposited into the 1inMM Capital bank accounts (Acct. Nos. 0290 and 2944).
16                  102. By year, the following investor funds were deposited into the
17     1inMM Capital accounts at CNB:
18                                        2013      $    465,000.00
                                          2014      $ 2,880,125.00
19                                        2015      $ 9,264,750.00
20                                        2016      $ 34,967.650.00
                                          2017      $107,389,100.00
21                                        2018      $206,502,944.50
                                          2019      $349,019,726.00
22                                        Total     $710,489,295.50

23                  103. Over just a few years, the funds deposited into the 1inMM Capital
24     accounts at CNB grew exponentially. The deposits from investors totaled
25     $710,489,295.50 (the “Investor Deposit Transfers”) are as follows:
26
27                           Date         Stmt Amount      Account Name
                              5/30/2013      110,000.00    x0616 OneNMM Productions
28                           10/15/2013      100,000.00    x0290 1nMM Capital #1
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 1                    10/25/2013   205,000.00    x0290 1nMM Capital #1
                      11/25/2013    50,000.00    x0290 1nMM Capital #1
 2                     1/23/2014   260,000.00    x0290 1nMM Capital #1
                       2/10/2014    70,000.00    x0290 1nMM Capital #1
 3                     3/13/2014   105,000.00    x0290 1nMM Capital #1
                       3/27/2014    37,000.00    x0290 1nMM Capital #1
 4                      4/7/2014   210,000.00    x0290 1nMM Capital #1
                        5/1/2014    63,000.00    x0290 1nMM Capital #1
 5                      6/3/2014   228,000.00    x0290 1nMM Capital #1
 6                     6/17/2014   165,000.00    x0290 1nMM Capital #1
                       6/24/2014   215,000.00    x0290 1nMM Capital #1
 7                      7/3/2014   107,000.00    x0290 1nMM Capital #1
                        8/4/2014    93,750.00    x0290 1nMM Capital #1
 8                      8/4/2014    26,100.00    x0290 1nMM Capital #1
                        8/5/2014   235,000.00    x0290 1nMM Capital #1
 9                     10/3/2014    40,000.00    x0290 1nMM Capital #1
                       10/3/2014    75,025.00    x0290 1nMM Capital #1
10                     10/6/2014   127,000.00    x0290 1nMM Capital #1
                       10/6/2014    25,000.00    x0290 1nMM Capital #1
11                     10/7/2014     5,000.00    x0290 1nMM Capital #1
                       10/7/2014    25,000.00    x0290 1nMM Capital #1
12                    10/14/2014   236,000.00    x0290 1nMM Capital #1
                      10/31/2014    18,750.00    x0290 1nMM Capital #1
13                    11/17/2014    32,500.00    x0290 1nMM Capital #1
                       12/1/2014    37,000.00    x0290 1nMM Capital #1
14                    12/26/2014    36,000.00    x0290 1nMM Capital #1
                      12/29/2014   408,000.00    x0290 1nMM Capital #1
15                      1/5/2015   155,175.00    x0290 1nMM Capital #1
16                     1/12/2015    81,100.00    x0290 1nMM Capital #1
                       1/21/2015    36,000.00    x0290 1nMM Capital #1
17                     1/26/2015    11,250.00    x0290 1nMM Capital #1
                       1/26/2015    50,000.00    x0290 1nMM Capital #1
18                     1/29/2015    33,000.00    x0290 1nMM Capital #1
                        2/2/2015   172,500.00    x0290 1nMM Capital #1
19                     2/12/2015   265,000.00    x0290 1nMM Capital #1
                       2/17/2015   263,500.00    x0290 1nMM Capital #1
20                     3/10/2015    25,000.00    x0290 1nMM Capital #1
                       3/11/2015    13,250.00    x0290 1nMM Capital #1
21                      4/1/2015   225,500.00    x0290 1nMM Capital #1
                        4/2/2015   325,250.00    x0290 1nMM Capital #1
22                     4/13/2015    97,450.00    x0290 1nMM Capital #1
                       4/22/2015   216,000.00    x0290 1nMM Capital #1
23                      6/9/2015   253,500.00    x0290 1nMM Capital #1
                        6/9/2015   265,000.00    x0290 1nMM Capital #1
24                     6/23/2015   266,500.00    x0290 1nMM Capital #1
                        7/6/2015   532,750.00    x0290 1nMM Capital #1
25
                       7/31/2015   235,750.00    x0290 1nMM Capital #1
26                     7/31/2015   170,500.00    x0290 1nMM Capital #1
                       8/10/2015   416,000.00    x0290 1nMM Capital #1
27                      9/1/2015   266,750.00    x0290 1nMM Capital #1
                        9/3/2015   490,750.00    x0290 1nMM Capital #1
28                      9/8/2015   266,750.00    x0290 1nMM Capital #1
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 1                     9/14/2015     195,675.00    x0290 1nMM Capital #1
                       9/18/2015     102,450.00    x0290 1nMM Capital #1
 2                     9/21/2015     105,000.00    x0290 1nMM Capital #1
                       10/5/2015     680,650.00    x0290 1nMM Capital #1
 3                     10/9/2015     375,500.00    x0290 1nMM Capital #1
                      10/15/2015     285,950.00    x0290 1nMM Capital #1
 4                    11/19/2015     258,650.00    x0290 1nMM Capital #1
                      11/20/2015     675,500.00    x0290 1nMM Capital #1
 5                    11/24/2015     590,000.00    x0290 1nMM Capital #1
 6                    11/30/2015     485,650.00    x0290 1nMM Capital #1
                       12/1/2015     375,500.00    x0290 1nMM Capital #1
 7                      1/4/2016   1,100,000.00    x0290 1nMM Capital #1
                       1/19/2016     678,500.00    x0290 1nMM Capital #1
 8                     1/19/2016     655,900.00    x0290 1nMM Capital #1
                       1/27/2016     690,500.00    x0290 1nMM Capital #1
 9                     2/10/2016     610,000.00    x0290 1nMM Capital #1
                       2/12/2016     385,500.00    x0290 1nMM Capital #1
10                     2/12/2016     830,000.00    x0290 1nMM Capital #1
                       3/28/2016     690,750.00    x0290 1nMM Capital #1
11                     3/28/2016     725,500.00    x0290 1nMM Capital #1
                       4/19/2016     680,750.00    x0290 1nMM Capital #1
12                     4/19/2016     780,250.00    x0290 1nMM Capital #1
                       4/25/2016     905,500.00    x0290 1nMM Capital #1
13                     4/26/2016     210,000.00    x0290 1nMM Capital #1
                       5/11/2016     635,000.00    x0290 1nMM Capital #1
14                     5/11/2016     615,000.00    x0290 1nMM Capital #1
                       5/20/2016     910,500.00    x0290 1nMM Capital #1
15                     5/20/2016     446,000.00    x0290 1nMM Capital #1
16                     5/26/2016     960,750.00    x0290 1nMM Capital #1
                       6/10/2016     318,000.00    x0290 1nMM Capital #1
17                     6/29/2016     912,565.00    x0290 1nMM Capital #1
                        7/8/2016     922,870.00    x0290 1nMM Capital #1
18                     7/22/2016     588,750.00    x0290 1nMM Capital #1
                       7/26/2016     740,105.00    x0290 1nMM Capital #1
19                     7/28/2016     605,900.00    x0290 1nMM Capital #1
                        8/4/2016     610,750.00    x0290 1nMM Capital #1
20                     8/11/2016     697,000.00    x0290 1nMM Capital #1
                       8/16/2016     440,105.00    x0290 1nMM Capital #1
21                     8/19/2016     342,600.00    x0290 1nMM Capital #1
                       8/22/2016     310,000.00    x0290 1nMM Capital #1
22                     8/24/2016     550,240.00    x0290 1nMM Capital #1
                       8/29/2016     390,000.00    x0290 1nMM Capital #1
23                     9/20/2016     520,670.00    x0290 1nMM Capital #1
                       9/20/2016     515,000.00    x0290 1nMM Capital #1
24                     9/27/2016     427,230.00    x0290 1nMM Capital #1
                       9/30/2016     390,800.00    x0290 1nMM Capital #1
25
                      10/11/2016     636,065.00    x0290 1nMM Capital #1
26                    10/13/2016     990,820.00    x0290 1nMM Capital #1
                      10/17/2016     955,000.00    x0290 1nMM Capital #1
27                    10/24/2016     877,230.00    x0290 1nMM Capital #1
                      10/28/2016     810,550.00    x0290 1nMM Capital #1
28                     11/2/2016     762,000.00    x0290 1nMM Capital #1
                                              44
                                         COMPLAINT
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 1                     11/8/2016     794,500.00    x0290 1nMM Capital #1
                      11/15/2016   1,180,000.00    x0290 1nMM Capital #1
 2                    11/15/2016   1,165,500.00    x0290 1nMM Capital #1
                      11/22/2016     820,000.00    x0290 1nMM Capital #1
 3                    11/29/2016     633,500.00    x0290 1nMM Capital #1
                      11/29/2016     598,750.00    x0290 1nMM Capital #1
 4                     12/1/2016     271,500.00    x0290 1nMM Capital #1
                       12/7/2016      80,000.00    x0290 1nMM Capital #1
 5                    12/21/2016   1,197,000.00    x0290 1nMM Capital #1
 6                    12/21/2016   1,402,250.00    x0290 1nMM Capital #1
                       1/12/2017     605,500.00    x0290 1nMM Capital #1
 7                     1/17/2017     520,750.00    x0290 1nMM Capital #1
                       1/17/2017     890,250.00    x0290 1nMM Capital #1
 8                     1/24/2017     730,000.00    x0290 1nMM Capital #1
                       1/26/2017     548,750.00    x0290 1nMM Capital #1
 9                     1/31/2017   1,025,500.00    x0290 1nMM Capital #1
                        2/9/2017   1,350,950.00    x0290 1nMM Capital #1
10                     2/10/2017     520,310.00    x0290 1nMM Capital #1
                       2/14/2017     625,450.00    x0290 1nMM Capital #1
11                     2/14/2017     710,560.00    x0290 1nMM Capital #1
                       2/21/2017     873,500.00    x0290 1nMM Capital #1
12                     2/21/2017     824,500.00    x0290 1nMM Capital #1
                       2/28/2017     610,700.00    x0290 1nMM Capital #1
13                      3/1/2017     845,100.00    x0290 1nMM Capital #1
                        3/8/2017     815,700.00    x0290 1nMM Capital #1
14                      3/8/2017     762,500.00    x0290 1nMM Capital #1
                        3/8/2017     690,000.00    x0290 1nMM Capital #1
15                     3/13/2017     575,000.00    x0290 1nMM Capital #1
16                     3/13/2017     705,800.00    x0290 1nMM Capital #1
                       3/16/2017     502,500.00    x0290 1nMM Capital #1
17                     3/16/2017     695,450.00    x0290 1nMM Capital #1
                       3/23/2017     830,800.00    x0290 1nMM Capital #1
18                     3/23/2017     764,000.00    x0290 1nMM Capital #1
                       3/23/2017     772,750.00    x0290 1nMM Capital #1
19                     3/29/2017     665,200.00    x0290 1nMM Capital #1
                        4/3/2017     790,655.00    x0290 1nMM Capital #1
20                      4/5/2017     548,875.00    x0290 1nMM Capital #1
                        4/5/2017     597,000.00    x0290 1nMM Capital #1
21                      4/5/2017     705,980.00    x0290 1nMM Capital #1
                        4/5/2017     946,500.00    x0290 1nMM Capital #1
22                     4/10/2017     705,800.00    x2944 1nMM Capital #2
                       4/10/2017     575,000.00    x2944 1nMM Capital #2
23                     4/18/2017     610,200.00    x0290 1nMM Capital #1
                       4/18/2017     588,950.00    x0290 1nMM Capital #1
24                     4/25/2017     742,875.00    x0290 1nMM Capital #1
                       4/26/2017     138,575.00    x0290 1nMM Capital #1
25
                       4/26/2017     510,200.00    x0290 1nMM Capital #1
26                     4/27/2017     554,300.00    x0290 1nMM Capital #1
                       4/27/2017   1,327,890.00    x0290 1nMM Capital #1
27                     4/28/2017   1,380,500.00    x0290 1nMM Capital #1
                       4/28/2017     912,250.00    x0290 1nMM Capital #1
28                      5/2/2017     725,900.00    x2944 1nMM Capital #2
                                              45
                                         COMPLAINT
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 1                      5/3/2017     775,000.00    x0290 1nMM Capital #1
                       5/11/2017     655,250.00    x0290 1nMM Capital #1
 2                     5/11/2017     720,240.00    x0290 1nMM Capital #1
                       5/11/2017     876,000.00    x0290 1nMM Capital #1
 3                     5/11/2017     727,500.00    x0290 1nMM Capital #1
                       5/16/2017     850,650.00    x0290 1nMM Capital #1
 4                     5/16/2017     744,300.00    x0290 1nMM Capital #1
                        6/1/2017     600,750.00    x0290 1nMM Capital #1
 5                      6/1/2017     607,500.00    x0290 1nMM Capital #1
 6                      6/1/2017     538,700.00    x0290 1nMM Capital #1
                        6/7/2017     622,450.00    x0290 1nMM Capital #1
 7                      6/7/2017     640,150.00    x0290 1nMM Capital #1
                        6/7/2017     530,500.00    x0290 1nMM Capital #1
 8                     6/13/2017     680,500.00    x2944 1nMM Capital #2
                       6/21/2017     712,150.00    x0290 1nMM Capital #1
 9                     6/21/2017     628,500.00    x0290 1nMM Capital #1
                       6/21/2017     710,000.00    x0290 1nMM Capital #1
10                      7/6/2017     739,600.00    x0290 1nMM Capital #1
                        7/6/2017     620,000.00    x0290 1nMM Capital #1
11                      7/6/2017     598,000.00    x0290 1nMM Capital #1
                        7/6/2017     712,850.00    x0290 1nMM Capital #1
12                     7/17/2017     802,900.00    x0290 1nMM Capital #1
                       7/17/2017     590,350.00    x0290 1nMM Capital #1
13                     7/18/2017     681,500.00    x0290 1nMM Capital #1
                       7/18/2017     725,600.00    x0290 1nMM Capital #1
14                     7/19/2017     547,850.00    x0290 1nMM Capital #1
                       7/19/2017     620,285.00    x0290 1nMM Capital #1
15                     7/20/2017     528,600.00    x0290 1nMM Capital #1
16                     7/20/2017     650,000.00    x0290 1nMM Capital #1
                        8/2/2017     555,570.00    x0290 1nMM Capital #1
17                      8/2/2017      51,285.00    x0290 1nMM Capital #1
                        8/2/2017      57,000.00    x0290 1nMM Capital #1
18                      8/2/2017      61,730.00    x0290 1nMM Capital #1
                        8/2/2017     468,540.00    x0290 1nMM Capital #1
19                      8/2/2017      52,060.00    x0290 1nMM Capital #1
                        8/4/2017     513,000.00    x0290 1nMM Capital #1
20                      8/4/2017     461,565.00    x0290 1nMM Capital #1
                        8/8/2017     658,750.00    x2944 1nMM Capital #2
21                     8/10/2017     447,750.00    x0290 1nMM Capital #1
                       8/16/2017     658,750.00    x0290 1nMM Capital #1
22                     8/17/2017     620,280.00    x0290 1nMM Capital #1
                       8/21/2017     600,500.00    x0290 1nMM Capital #1
23                     8/23/2017     579,380.00    x0290 1nMM Capital #1
                       8/23/2017     740,800.00    x0290 1nMM Capital #1
24                     8/29/2017     685,250.00    x0290 1nMM Capital #1
                       8/29/2017     600,750.00    x0290 1nMM Capital #1
25
                        9/1/2017   1,370,490.00    x0290 1nMM Capital #1
26                      9/1/2017   1,387,000.00    x0290 1nMM Capital #1
                        9/1/2017   1,392,000.00    x0290 1nMM Capital #1
27                      9/6/2017     990,000.00    x0290 1nMM Capital #1
                        9/6/2017     973,500.00    x0290 1nMM Capital #1
28                      9/7/2017     769,450.00    x0290 1nMM Capital #1
                                              46
                                         COMPLAINT
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 1                      9/7/2017     730,820.00    x0290 1nMM Capital #1
                       9/11/2017     780,150.00    x0290 1nMM Capital #1
 2                     9/11/2017     805,000.00    x0290 1nMM Capital #1
                       9/13/2017     625,740.00    x0290 1nMM Capital #1
 3                     9/13/2017     682,000.00    x0290 1nMM Capital #1
                       9/20/2017     710,000.00    x0290 1nMM Capital #1
 4                     9/20/2017     733,050.00    x0290 1nMM Capital #1
                       9/20/2017     807,350.00    x0290 1nMM Capital #1
 5                     9/20/2017     683,650.00    x0290 1nMM Capital #1
 6                     9/21/2017     761,000.00    x0290 1nMM Capital #1
                       9/22/2017     722,175.00    x0290 1nMM Capital #1
 7                     9/25/2017     607,380.00    x0290 1nMM Capital #1
                       9/26/2017     651,900.00    x0290 1nMM Capital #1
 8                     9/26/2017     608,000.00    x0290 1nMM Capital #1
                       9/28/2017     565,500.00    x0290 1nMM Capital #1
 9                     10/2/2017     580,245.00    x0290 1nMM Capital #1
                       10/3/2017     402,750.00    x0290 1nMM Capital #1
10                     10/4/2017     700,500.00    x0290 1nMM Capital #1
                       10/5/2017      63,575.00    x0290 1nMM Capital #1
11                     10/6/2017     572,175.00    x0290 1nMM Capital #1
                      10/10/2017     200,000.00    x0290 1nMM Capital #1
12                    10/19/2017     710,000.00    x2944 1nMM Capital #2
                      10/19/2017     697,050.00    x2944 1nMM Capital #2
13                    10/23/2017     710,770.00    x0290 1nMM Capital #1
                      10/23/2017     742,050.00    x0290 1nMM Capital #1
14                    10/24/2017     688,000.00    x0290 1nMM Capital #1
                      10/25/2017   1,405,000.00    x0290 1nMM Capital #1
15                    10/26/2017     670,175.00    x0290 1nMM Capital #1
16                     11/2/2017     650,600.00    x0290 1nMM Capital #1
                       11/2/2017     710,770.00    x0290 1nMM Capital #1
17                    11/10/2017     845,500.00    x0290 1nMM Capital #1
                      11/10/2017     800,250.00    x0290 1nMM Capital #1
18                    11/14/2017     750,500.00    x0290 1nMM Capital #1
                      11/14/2017     733,975.00    x0290 1nMM Capital #1
19                    11/14/2017     910,660.00    x0290 1nMM Capital #1
                      11/15/2017     625,000.00    x0290 1nMM Capital #1
20                    11/21/2017     735,550.00    x0290 1nMM Capital #1
                      11/21/2017     707,500.00    x0290 1nMM Capital #1
21                    11/21/2017     725,400.00    x0290 1nMM Capital #1
                      11/27/2017     702,175.00    x0290 1nMM Capital #1
22                    11/27/2017     682,750.00    x2944 1nMM Capital #2
                      11/28/2017     632,650.00    x0290 1nMM Capital #1
23                    11/28/2017     680,400.00    x0290 1nMM Capital #1
                      11/30/2017   1,203,900.00    x0290 1nMM Capital #1
24                    11/30/2017   1,183,500.00    x0290 1nMM Capital #1
                       12/4/2017      64,000.00    x0290 1nMM Capital #1
25
                       12/4/2017     576,000.00    x0290 1nMM Capital #1
26                     12/6/2017     549,063.00    x0290 1nMM Capital #1
                       12/6/2017     534,240.00    x0290 1nMM Capital #1
27                     12/7/2017      59,360.00    x0290 1nMM Capital #1
                       12/7/2017      61,007.00    x0290 1nMM Capital #1
28                    12/18/2017     695,045.00    x0290 1nMM Capital #1
                                              47
                                         COMPLAINT
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 1                    12/18/2017      55,000.00    x0290 1nMM Capital #1
                      12/18/2017      40,000.00    x0290 1nMM Capital #1
 2                    12/20/2017     840,500.00    x0290 1nMM Capital #1
                      12/20/2017     905,080.00    x0290 1nMM Capital #1
 3                    12/20/2017     622,570.00    x0290 1nMM Capital #1
                      12/20/2017     800,635.00    x0290 1nMM Capital #1
 4                    12/22/2017     705,500.00    x0290 1nMM Capital #1
                      12/22/2017     730,600.00    x0290 1nMM Capital #1
 5                    12/26/2017     675,020.00    x0290 1nMM Capital #1
 6                    12/26/2017   1,362,010.00    x0290 1nMM Capital #1
                      12/26/2017   1,260,340.00    x0290 1nMM Capital #1
 7                     1/10/2018   1,375,450.00    x0290 1nMM Capital #1
                       1/11/2018   1,380,090.00    x0290 1nMM Capital #1
 8                     1/16/2018     825,600.00    x0290 1nMM Capital #1
                       1/16/2018     735,500.00    x0290 1nMM Capital #1
 9                     1/16/2018     720,810.00    x0290 1nMM Capital #1
                       1/17/2018     595,040.00    x0290 1nMM Capital #1
10                     1/17/2018     702,800.00    x0290 1nMM Capital #1
                       1/18/2018     705,250.00    x0290 1nMM Capital #1
11                     1/18/2018     810,700.00    x0290 1nMM Capital #1
                       1/19/2018     700,680.00    x0290 1nMM Capital #1
12                     1/19/2018     738,500.00    x0290 1nMM Capital #1
                       1/22/2018     590,650.00    x0290 1nMM Capital #1
13                     1/22/2018     625,700.00    x2944 1nMM Capital #2
                       1/23/2018     728,500.00    x2944 1nMM Capital #2
14                     1/26/2018   1,402,300.00    x0290 1nMM Capital #1
                       1/26/2018     630,920.00    x0290 1nMM Capital #1
15                     1/26/2018     675,500.00    x0290 1nMM Capital #1
16                     1/29/2018   1,389,725.00    x0290 1nMM Capital #1
                       2/12/2018     685,350.00    x2944 1nMM Capital #2
17                     2/13/2018     705,700.00    x2944 1nMM Capital #2
                       2/13/2018     620,000.00    x2944 1nMM Capital #2
18                     2/14/2018     722,400.00    x0290 1nMM Capital #1
                       2/16/2018     705,650.00    x0290 1nMM Capital #1
19                     2/16/2018     690,070.00    x0290 1nMM Capital #1
                       2/20/2018     688,000.00    x0290 1nMM Capital #1
20                     2/20/2018     600,820.00    x0290 1nMM Capital #1
                       2/21/2018   1,423,000.00    x0290 1nMM Capital #1
21                     2/21/2018     694,200.00    x0290 1nMM Capital #1
                       2/21/2018     670,900.00    x0290 1nMM Capital #1
22                     2/21/2018     710,950.00    x0290 1nMM Capital #1
                       2/22/2018     930,200.00    x0290 1nMM Capital #1
23                     2/22/2018     910,650.00    x0290 1nMM Capital #1
                       2/26/2018     775,300.00    x0290 1nMM Capital #1
24                     2/26/2018     870,000.00    x0290 1nMM Capital #1
                       2/26/2018   1,400,545.00    x0290 1nMM Capital #1
25
                       2/26/2018     770,400.00    x0290 1nMM Capital #1
26                      3/8/2018     607,540.00    x0290 1nMM Capital #1
                        3/8/2018     627,642.00    x0290 1nMM Capital #1
27                      3/8/2018      67,505.00    x0290 1nMM Capital #1
                        3/8/2018      69,738.00    x0290 1nMM Capital #1
28                      3/9/2018     670,900.00    x0290 1nMM Capital #1
                                              48
                                         COMPLAINT
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 1                     3/12/2018     630,500.00    x0290 1nMM Capital #1
                       3/13/2018     710,150.00    x0290 1nMM Capital #1
 2                     3/14/2018     620,185.00    x0290 1nMM Capital #1
                       3/14/2018     685,900.00    x0290 1nMM Capital #1
 3                     3/14/2018     663,850.00    x0290 1nMM Capital #1
                       3/16/2018     720,375.00    x0290 1nMM Capital #1
 4                     3/20/2018     694,850.00    x0290 1nMM Capital #1
                       3/20/2018     620,185.00    x2944 1nMM Capital #2
 5                     3/22/2018   1,406,250.00    x0290 1nMM Capital #1
 6                     3/22/2018     650,175.00    x0290 1nMM Capital #1
                       3/22/2018     675,550.00    x0290 1nMM Capital #1
 7                     3/22/2018   1,428,700.00    x0290 1nMM Capital #1
                       3/22/2018     612,620.00    x0290 1nMM Capital #1
 8                     3/22/2018     690,800.00    x0290 1nMM Capital #1
                       3/27/2018   1,405,000.00    x0290 1nMM Capital #1
 9                     3/27/2018   1,380,900.00    x0290 1nMM Capital #1
                       3/28/2018     622,100.00    x0290 1nMM Capital #1
10                     3/28/2018     685,250.00    x0290 1nMM Capital #1
                       3/28/2018     725,400.00    x0290 1nMM Capital #1
11                      4/6/2018     744,610.00    x0290 1nMM Capital #1
                        4/6/2018     605,750.00    x0290 1nMM Capital #1
12                      4/9/2018     605,750.00    x0290 1nMM Capital #1
                        4/9/2018     633,610.00    x0290 1nMM Capital #1
13                     4/10/2018     722,600.00    x0290 1nMM Capital #1
                       4/10/2018     680,350.00    x0290 1nMM Capital #1
14                     4/11/2018     860,150.00    x0290 1nMM Capital #1
                       4/11/2018     910,620.00    x0290 1nMM Capital #1
15                     4/12/2018     940,100.00    x0290 1nMM Capital #1
16                     4/12/2018     885,000.00    x0290 1nMM Capital #1
                       4/13/2018     700,750.00    x0290 1nMM Capital #1
17                     4/13/2018     712,400.00    x0290 1nMM Capital #1
                       4/13/2018     701,950.00    x0290 1nMM Capital #1
18                     4/16/2018      73,241.00    x0290 1nMM Capital #1
                       4/16/2018     659,169.00    x0290 1nMM Capital #1
19                     4/16/2018     620,500.00    x0290 1nMM Capital #1
                       4/16/2018     625,525.00    x0290 1nMM Capital #1
20                     4/17/2018     720,050.00    x0290 1nMM Capital #1
                       4/17/2018     710,900.00    x0290 1nMM Capital #1
21                     4/18/2018     723,175.00    x0290 1nMM Capital #1
                       4/19/2018     594,250.00    x0290 1nMM Capital #1
22                     4/26/2018   1,396,700.00    x0290 1nMM Capital #1
                       4/26/2018   1,408,220.00    x0290 1nMM Capital #1
23                     4/27/2018   1,391,600.00    x0290 1nMM Capital #1
                       4/30/2018     650,400.00    x0290 1nMM Capital #1
24                      5/1/2018     702,380.00    x2944 1nMM Capital #2
                        5/1/2018     741,500.00    x2944 1nMM Capital #2
25
                        5/1/2018     675,520.00    x2944 1nMM Capital #2
26                     5/11/2018     718,250.00    x0290 1nMM Capital #1
                       5/11/2018     712,800.00    x0290 1nMM Capital #1
27                     5/16/2018     702,380.00    x0290 1nMM Capital #1
                       5/16/2018     675,520.00    x0290 1nMM Capital #1
28                     5/17/2018     850,300.00    x0290 1nMM Capital #1
                                              49
                                         COMPLAINT
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 1                     5/17/2018     850,000.00    x0290 1nMM Capital #1
                       5/21/2018     830,050.00    x0290 1nMM Capital #1
 2                     5/21/2018     825,500.00    x0290 1nMM Capital #1
                       5/21/2018     820,600.00    x0290 1nMM Capital #1
 3                     5/22/2018     690,425.00    x0290 1nMM Capital #1
                       5/22/2018     735,150.00    x0290 1nMM Capital #1
 4                     5/24/2018     625,545.00    x0290 1nMM Capital #1
                       5/24/2018      69,505.00    x0290 1nMM Capital #1
 5                     5/24/2018     728,900.00    x0290 1nMM Capital #1
 6                     5/25/2018     640,900.00    x0290 1nMM Capital #1
                       5/25/2018   1,398,500.00    x0290 1nMM Capital #1
 7                     5/30/2018     690,700.00    x2944 1nMM Capital #2
                       5/31/2018   1,412,750.00    x0290 1nMM Capital #1
 8                     5/31/2018   1,404,250.00    x0290 1nMM Capital #1
                       6/18/2018     712,370.00    x0290 1nMM Capital #1
 9                     6/18/2018     730,100.00    x0290 1nMM Capital #1
                       6/18/2018      69,550.00    x0290 1nMM Capital #1
10                     6/18/2018     745,250.00    x0290 1nMM Capital #1
                       6/18/2018     625,950.00    x0290 1nMM Capital #1
11                     6/19/2018     707,500.00    x0290 1nMM Capital #1
                       6/20/2018     698,200.00    x0290 1nMM Capital #1
12                     6/20/2018     680,650.00    x0290 1nMM Capital #1
                       6/22/2018   1,415,275.00    x0290 1nMM Capital #1
13                     6/22/2018     688,700.00    x0290 1nMM Capital #1
                       6/25/2018   1,404,000.00    x0290 1nMM Capital #1
14                     6/27/2018   1,397,500.00    x0290 1nMM Capital #1
                       6/28/2018          50.00    x0290 1nMM Capital #1
15                     6/29/2018     912,500.00    x0290 1nMM Capital #1
16                     6/29/2018     880,250.00    x0290 1nMM Capital #1
                       6/29/2018     985,700.00    x0290 1nMM Capital #1
17                     6/29/2018     898,000.00    x0290 1nMM Capital #1
                       6/29/2018     695,200.00    x2944 1nMM Capital #2
18                     6/29/2018     675,950.00    x2944 1nMM Capital #2
                       6/29/2018     640,000.00    x2944 1nMM Capital #2
19                     6/29/2018     680,550.00    x2944 1nMM Capital #2
                       7/17/2018          50.00    x0290 1nMM Capital #1
20                     7/18/2018     710,600.00    x0290 1nMM Capital #1
                       7/18/2018     710,000.00    x0290 1nMM Capital #1
21                     7/20/2018     685,000.00    x0290 1nMM Capital #1
                       7/20/2018     714,200.00    x0290 1nMM Capital #1
22                     7/20/2018     713,600.00    x0290 1nMM Capital #1
                       7/20/2018     675,250.00    x0290 1nMM Capital #1
23                     7/24/2018     677,250.00    x0290 1nMM Capital #1
                       7/24/2018     681,000.00    x0290 1nMM Capital #1
24                     7/31/2018     635,355.00    x0290 1nMM Capital #1
                       7/31/2018      70,595.00    x0290 1nMM Capital #1
25
                        8/1/2018   1,415,650.00    x0290 1nMM Capital #1
26                      8/2/2018   1,408,000.00    x0290 1nMM Capital #1
                        8/2/2018     708,550.00    x2944 1nMM Capital #2
27                      8/2/2018     685,400.00    x2944 1nMM Capital #2
                        8/7/2018     698,500.00    x0290 1nMM Capital #1
28                      8/7/2018     670,800.00    x0290 1nMM Capital #1
                                              50
                                         COMPLAINT
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 1                     8/15/2018     677,275.00    x0290 1nMM Capital #1
                       8/15/2018     695,250.00    x0290 1nMM Capital #1
 2                     8/15/2018     680,500.00    x0290 1nMM Capital #1
                       8/17/2018     886,700.00    x0290 1nMM Capital #1
 3                     8/17/2018     975,500.00    x0290 1nMM Capital #1
                       8/17/2018     880,150.00    x0290 1nMM Capital #1
 4                     8/17/2018     895,200.00    x0290 1nMM Capital #1
                       8/21/2018     690,000.00    x0290 1nMM Capital #1
 5                     8/21/2018     817,500.00    x0290 1nMM Capital #1
 6                     8/23/2018     820,119.00    x0290 1nMM Capital #1
                       8/23/2018     695,500.00    x0290 1nMM Capital #1
 7                     8/23/2018     735,150.00    x0290 1nMM Capital #1
                       8/27/2018     712,000.00    x0290 1nMM Capital #1
 8                     8/27/2018     705,600.00    x0290 1nMM Capital #1
                       8/31/2018   1,405,000.00    x0290 1nMM Capital #1
 9                     8/31/2018   1,090,200.00    x0290 1nMM Capital #1
                        9/4/2018     740,500.00    x2944 1nMM Capital #2
10                      9/4/2018     685,000.00    x2944 1nMM Capital #2
                        9/4/2018     690,100.00    x2944 1nMM Capital #2
11                      9/7/2018     670,100.00    x0290 1nMM Capital #1
                        9/7/2018     697,250.00    x0290 1nMM Capital #1
12                     9/11/2018     704,650.00    x0290 1nMM Capital #1
                       9/11/2018     638,500.00    x0290 1nMM Capital #1
13                     9/12/2018     742,500.00    x2944 1nMM Capital #2
                       9/18/2018     733,600.00    x0290 1nMM Capital #1
14                     9/18/2018     740,000.00    x0290 1nMM Capital #1
                       9/19/2018     725,800.00    x2944 1nMM Capital #2
15                     9/19/2018     720,000.00    x2944 1nMM Capital #2
16                     9/21/2018     715,500.00    x0290 1nMM Capital #1
                       9/21/2018     712,250.00    x0290 1nMM Capital #1
17                     9/21/2018     710,650.00    x2944 1nMM Capital #2
                       9/21/2018     695,200.00    x2944 1nMM Capital #2
18                     9/24/2018   1,412,500.00    x0290 1nMM Capital #1
                       9/24/2018     708,650.00    x0290 1nMM Capital #1
19                     9/24/2018     682,100.00    x0290 1nMM Capital #1
                       9/24/2018     698,000.00    x0290 1nMM Capital #1
20                     9/24/2018     736,700.00    x0290 1nMM Capital #1
                       9/26/2018   1,405,000.00    x0290 1nMM Capital #1
21                     9/26/2018     695,800.00    x0290 1nMM Capital #1
                       9/27/2018     641,475.00    x0290 1nMM Capital #1
22                     9/27/2018      71,275.00    x0290 1nMM Capital #1
                       10/4/2018     722,800.00    x0290 1nMM Capital #1
23                     10/4/2018     730,500.00    x0290 1nMM Capital #1
                       10/4/2018     745,250.00    x0290 1nMM Capital #1
24                    10/11/2018      71,217.50    x0290 1nMM Capital #1
                      10/11/2018   1,260,608.00    x0290 1nMM Capital #1
25
                      10/11/2018     705,900.00    x0290 1nMM Capital #1
26                    10/12/2018      68,850.00    x0290 1nMM Capital #1
                      10/15/2018   1,385,500.00    x0290 1nMM Capital #1
27                    10/15/2018     722,800.00    x0290 1nMM Capital #1
                      10/15/2018     710,900.00    x0290 1nMM Capital #1
28                    10/15/2018   1,411,750.00    x0290 1nMM Capital #1
                                              51
                                         COMPLAINT
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 1                    10/15/2018     730,000.00    x0290 1nMM Capital #1
                      10/16/2018     994,500.00    x0290 1nMM Capital #1
 2                    10/16/2018   1,025,500.00    x0290 1nMM Capital #1
                      10/18/2018     920,330.00    x0290 1nMM Capital #1
 3                    10/18/2018     925,700.00    x0290 1nMM Capital #1
                      10/18/2018     985,250.00    x0290 1nMM Capital #1
 4                    10/19/2018     712,100.00    x0290 1nMM Capital #1
                      10/19/2018     738,250.00    x0290 1nMM Capital #1
 5                    10/19/2018   1,010,200.00    x0290 1nMM Capital #1
 6                    10/22/2018     735,000.00    x2944 1nMM Capital #2
                      10/23/2018     720,640.00    x2944 1nMM Capital #2
 7                    10/24/2018     710,200.00    x2944 1nMM Capital #2
                      10/30/2018     715,500.00    x0290 1nMM Capital #1
 8                    10/30/2018   1,418,500.00    x0290 1nMM Capital #1
                      10/31/2018     715,850.00    x0290 1nMM Capital #1
 9                    10/31/2018     735,500.00    x0290 1nMM Capital #1
                       11/5/2018   1,421,000.00    x0290 1nMM Capital #1
10                     11/9/2018     738,500.00    x0290 1nMM Capital #1
                       11/9/2018     730,000.00    x0290 1nMM Capital #1
11                     11/9/2018     715,800.00    x2944 1nMM Capital #2
                       11/9/2018     738,500.00    x2944 1nMM Capital #2
12                     11/9/2018     737,000.00    x2944 1nMM Capital #2
                      11/14/2018     722,500.00    x0290 1nMM Capital #1
13                    11/14/2018     698,250.00    x0290 1nMM Capital #1
                      11/14/2018     710,800.00    x0290 1nMM Capital #1
14                    11/16/2018     742,500.00    x0290 1nMM Capital #1
                      11/19/2018     648,090.00    x0290 1nMM Capital #1
15                    11/19/2018     646,650.00    x0290 1nMM Capital #1
16                    11/19/2018     635,220.00    x0290 1nMM Capital #1
                      11/19/2018     998,700.00    x0290 1nMM Capital #1
17                    11/19/2018     214,440.00    x0290 1nMM Capital #1
                      11/19/2018     975,500.00    x0290 1nMM Capital #1
18                    11/20/2018     980,000.00    x0290 1nMM Capital #1
                      11/20/2018     950,200.00    x0290 1nMM Capital #1
19                    11/21/2018     995,700.00    x0290 1nMM Capital #1
                      11/23/2018     730,150.00    x0290 1nMM Capital #1
20                    11/26/2018     725,750.00    x0290 1nMM Capital #1
                      11/26/2018     717,000.00    x0290 1nMM Capital #1
21                    11/28/2018     725,750.00    x0290 1nMM Capital #1
                      11/28/2018     717,000.00    x0290 1nMM Capital #1
22                    11/29/2018   1,415,200.00    x0290 1nMM Capital #1
                      11/29/2018     715,200.00    x0290 1nMM Capital #1
23                    11/29/2018     710,500.00    x0290 1nMM Capital #1
                      11/29/2018   1,410,500.00    x0290 1nMM Capital #1
24                    12/14/2018   1,398,000.00    x0290 1nMM Capital #1
                      12/14/2018   1,425,500.00    x0290 1nMM Capital #1
25
                      12/14/2018     920,450.00    x0290 1nMM Capital #1
26                    12/14/2018     912,500.00    x0290 1nMM Capital #1
                      12/14/2018     730,500.00    x2944 1nMM Capital #2
27                    12/17/2018     965,500.00    x0290 1nMM Capital #1
                      12/17/2018     895,000.00    x0290 1nMM Capital #1
28                    12/19/2018     905,200.00    x0290 1nMM Capital #1
                                              52
                                         COMPLAINT
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 1                    12/19/2018     995,000.00    x0290 1nMM Capital #1
                      12/20/2018     737,000.00    x0290 1nMM Capital #1
 2                    12/20/2018     731,500.00    x0290 1nMM Capital #1
                      12/24/2018     734,500.00    x0290 1nMM Capital #1
 3                    12/24/2018      55,000.00    x0290 1nMM Capital #1
                      12/24/2018     725,000.00    x0290 1nMM Capital #1
 4                    12/26/2018     655,695.00    x0290 1nMM Capital #1
                      12/26/2018      72,855.00    x0290 1nMM Capital #1
 5                    12/26/2018     715,700.00    x0290 1nMM Capital #1
 6                    12/26/2018     712,800.00    x0290 1nMM Capital #1
                      12/28/2018   1,405,000.00    x0290 1nMM Capital #1
 7                    12/28/2018   1,418,250.00    x0290 1nMM Capital #1
                        1/4/2019     732,000.00    x0290 1nMM Capital #1
 8                      1/4/2019     720,500.00    x0290 1nMM Capital #1
                        1/7/2019     655,443.00    x0290 1nMM Capital #1
 9                      1/7/2019      72,827.00    x0290 1nMM Capital #1
                        1/8/2019     710,500.00    x0290 1nMM Capital #1
10                     1/11/2019   2,928,700.00    x2944 1nMM Capital #2
                       1/14/2019   1,470,200.00    x2944 1nMM Capital #2
11                     1/15/2019     985,000.00    x0290 1nMM Capital #1
                       1/15/2019     940,700.00    x0290 1nMM Capital #1
12                     1/17/2019     940,250.00    x0290 1nMM Capital #1
                       1/17/2019     741,500.00    x0290 1nMM Capital #1
13                     1/17/2019     922,000.00    x0290 1nMM Capital #1
                       1/17/2019     998,700.00    x0290 1nMM Capital #1
14                     1/17/2019   1,428,000.00    x0290 1nMM Capital #1
                       1/18/2019     728,400.00    x0290 1nMM Capital #1
15                     1/18/2019     740,000.00    x0290 1nMM Capital #1
16                     1/22/2019   1,419,500.00    x0290 1nMM Capital #1
                       1/22/2019     715,000.00    x0290 1nMM Capital #1
17                     1/24/2019   1,422,000.00    x0290 1nMM Capital #1
                       1/28/2019     742,900.00    x0290 1nMM Capital #1
18                     1/28/2019     731,500.00    x0290 1nMM Capital #1
                       1/28/2019     745,650.00    x0290 1nMM Capital #1
19                     1/28/2019     738,100.00    x0290 1nMM Capital #1
                       1/30/2019     712,600.00    x0290 1nMM Capital #1
20                     1/30/2019     720,100.00    x0290 1nMM Capital #1
                       1/30/2019     722,000.00    x0290 1nMM Capital #1
21                     1/30/2019     720,500.00    x0290 1nMM Capital #1
                       1/30/2019     705,500.00    x0290 1nMM Capital #1
22                      2/1/2019     735,150.00    x0290 1nMM Capital #1
                        2/1/2019     740,600.00    x0290 1nMM Capital #1
23                      2/7/2019      58,945.00    x0290 1nMM Capital #1
                        2/8/2019   1,410,500.00    x0290 1nMM Capital #1
24                      2/8/2019   1,396,000.00    x0290 1nMM Capital #1
                        2/8/2019     975,500.00    x0290 1nMM Capital #1
25
                        2/8/2019     922,650.00    x0290 1nMM Capital #1
26                     2/12/2019     960,050.00    x0290 1nMM Capital #1
                       2/12/2019     905,400.00    x0290 1nMM Capital #1
27                     2/12/2019     925,500.00    x0290 1nMM Capital #1
                       2/13/2019     650,385.00    x0290 1nMM Capital #1
28                     2/13/2019     730,500.00    x0290 1nMM Capital #1
                                              53
                                         COMPLAINT
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 1                     2/13/2019      72,265.00    x0290 1nMM Capital #1
                       2/20/2019     742,500.00    x0290 1nMM Capital #1
 2                     2/20/2019     735,050.00    x0290 1nMM Capital #1
                       2/20/2019     737,500.00    x2944 1nMM Capital #2
 3                     2/20/2019     730,200.00    x2944 1nMM Capital #2
                       2/20/2019     740,500.00    x2944 1nMM Capital #2
 4                     2/20/2019     742,700.00    x2944 1nMM Capital #2
                       2/22/2019     720,500.00    x0290 1nMM Capital #1
 5                     2/22/2019     737,550.00    x0290 1nMM Capital #1
 6                     2/22/2019     728,700.00    x0290 1nMM Capital #1
                       2/22/2019     740,000.00    x0290 1nMM Capital #1
 7                     2/25/2019   1,397,500.00    x0290 1nMM Capital #1
                       2/25/2019     735,200.00    x0290 1nMM Capital #1
 8                     2/25/2019   1,410,250.00    x0290 1nMM Capital #1
                       2/25/2019     739,700.00    x0290 1nMM Capital #1
 9                     2/26/2019     740,500.00    x0290 1nMM Capital #1
                        3/4/2019     712,650.00    x0290 1nMM Capital #1
10                      3/4/2019     727,500.00    x0290 1nMM Capital #1
                        3/4/2019     733,700.00    x0290 1nMM Capital #1
11                      3/4/2019     730,000.00    x0290 1nMM Capital #1
                        3/4/2019     720,500.00    x0290 1nMM Capital #1
12                      3/6/2019     664,425.00    x0290 1nMM Capital #1
                        3/6/2019      73,825.00    x0290 1nMM Capital #1
13                      3/7/2019     742,500.00    x0290 1nMM Capital #1
                       3/12/2019     733,250.00    x2944 1nMM Capital #2
14                     3/12/2019     739,150.00    x2944 1nMM Capital #2
                       3/12/2019     727,500.00    x2944 1nMM Capital #2
15                     3/13/2019     985,500.00    x0290 1nMM Capital #1
16                     3/13/2019     970,250.00    x0290 1nMM Capital #1
                       3/14/2019     915,500.00    x0290 1nMM Capital #1
17                     3/14/2019     922,900.00    x0290 1nMM Capital #1
                       3/15/2019     925,600.00    x0290 1nMM Capital #1
18                     3/15/2019     910,000.00    x0290 1nMM Capital #1
                       3/18/2019   1,412,250.00    x0290 1nMM Capital #1
19                     3/18/2019   1,415,500.00    x0290 1nMM Capital #1
                       3/19/2019     738,500.00    x0290 1nMM Capital #1
20                     3/19/2019     735,200.00    x0290 1nMM Capital #1
                       3/20/2019     746,250.00    x2944 1nMM Capital #2
21                     3/20/2019     744,500.00    x2944 1nMM Capital #2
                       3/20/2019     737,500.00    x2944 1nMM Capital #2
22                     3/21/2019   1,415,000.00    x0290 1nMM Capital #1
                       3/21/2019   1,355,000.00    x0290 1nMM Capital #1
23                     3/25/2019     728,500.00    x0290 1nMM Capital #1
                       3/25/2019     720,000.00    x0290 1nMM Capital #1
24                     3/26/2019     745,100.00    x2944 1nMM Capital #2
                       3/26/2019     741,500.00    x2944 1nMM Capital #2
25
                       3/26/2019     733,500.00    x2944 1nMM Capital #2
26                     3/27/2019   1,417,500.00    x0290 1nMM Capital #1
                       3/28/2019     737,500.00    x0290 1nMM Capital #1
27                     3/28/2019     728,500.00    x0290 1nMM Capital #1
                       3/28/2019     717,200.00    x0290 1nMM Capital #1
28                     3/28/2019     740,500.00    x0290 1nMM Capital #1
                                              54
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 1                     3/29/2019     740,000.00    x0290 1nMM Capital #1
                       3/29/2019     722,800.00    x0290 1nMM Capital #1
 2                      4/2/2019     728,000.00    x0290 1nMM Capital #1
                        4/2/2019     743,750.00    x0290 1nMM Capital #1
 3                      4/2/2019     735,000.00    x0290 1nMM Capital #1
                        4/8/2019     221,335.00    x0290 1nMM Capital #1
 4                      4/8/2019   1,992,015.00    x0290 1nMM Capital #1
                        4/9/2019     745,600.00    x0290 1nMM Capital #1
 5                      4/9/2019     721,500.00    x0290 1nMM Capital #1
 6                      4/9/2019     735,750.00    x0290 1nMM Capital #1
                       4/12/2019   1,414,500.00    x0290 1nMM Capital #1
 7                     4/16/2019     727,500.00    x0290 1nMM Capital #1
                       4/16/2019     730,500.00    x0290 1nMM Capital #1
 8                     4/17/2019     988,500.00    x0290 1nMM Capital #1
                       4/17/2019     738,250.00    x0290 1nMM Capital #1
 9                     4/17/2019   1,410,000.00    x0290 1nMM Capital #1
                       4/17/2019   1,412,500.00    x0290 1nMM Capital #1
10                     4/17/2019     992,850.00    x0290 1nMM Capital #1
                       4/17/2019     994,000.00    x0290 1nMM Capital #1
11                     4/17/2019     981,000.00    x0290 1nMM Capital #1
                       4/17/2019     744,000.00    x0290 1nMM Capital #1
12                     4/18/2019     740,000.00    x0290 1nMM Capital #1
                       4/18/2019   1,415,000.00    x0290 1nMM Capital #1
13                     4/22/2019     995,800.00    x0290 1nMM Capital #1
                       4/22/2019     927,500.00    x0290 1nMM Capital #1
14                     4/23/2019     897,600.00    x0290 1nMM Capital #1
                       4/23/2019     905,000.00    x0290 1nMM Capital #1
15                     4/23/2019     743,650.00    x2944 1nMM Capital #2
16                     4/23/2019     738,500.00    x2944 1nMM Capital #2
                       4/23/2019     745,000.00    x2944 1nMM Capital #2
17                     4/24/2019     735,000.00    x0290 1nMM Capital #1
                       4/24/2019     735,500.00    x0290 1nMM Capital #1
18                     4/24/2019     740,000.00    x0290 1nMM Capital #1
                       4/24/2019     890,000.00    x0290 1nMM Capital #1
19                     4/24/2019     742,750.00    x0290 1nMM Capital #1
                       4/24/2019     715,220.00    x0290 1nMM Capital #1
20                     4/24/2019     744,650.00    x0290 1nMM Capital #1
                       4/24/2019     735,000.00    x0290 1nMM Capital #1
21                     4/26/2019     748,250.00    x0290 1nMM Capital #1
                       4/26/2019     729,500.00    x0290 1nMM Capital #1
22                     4/29/2019   1,413,500.00    x0290 1nMM Capital #1
                        5/8/2019     746,000.00    x0290 1nMM Capital #1
23                      5/8/2019     737,600.00    x0290 1nMM Capital #1
                        5/8/2019     730,750.00    x0290 1nMM Capital #1
24                      5/8/2019   2,227,700.00    x0290 1nMM Capital #1
                       5/10/2019     742,250.00    x2944 1nMM Capital #2
25
                       5/10/2019     742,000.00    x2944 1nMM Capital #2
26                     5/10/2019     745,250.00    x2944 1nMM Capital #2
                       5/10/2019     737,500.00    x2944 1nMM Capital #2
27                     5/14/2019     744,500.00    x0290 1nMM Capital #1
                       5/14/2019     741,750.00    x0290 1nMM Capital #1
28                     5/14/2019     738,000.00    x0290 1nMM Capital #1
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 1                     5/15/2019   1,415,000.00    x0290 1nMM Capital #1
                       5/15/2019   1,411,500.00    x0290 1nMM Capital #1
 2                     5/16/2019     725,500.00    x2944 1nMM Capital #2
                       5/16/2019     712,500.00    x2944 1nMM Capital #2
 3                     5/17/2019     718,250.00    x0290 1nMM Capital #1
                       5/17/2019     725,500.00    x0290 1nMM Capital #1
 4                     5/20/2019     931,700.00    x0290 1nMM Capital #1
                       5/20/2019     951,500.00    x0290 1nMM Capital #1
 5                     5/20/2019     725,500.00    x0290 1nMM Capital #1
 6                     5/20/2019     961,800.00    x0290 1nMM Capital #1
                       5/20/2019     722,500.00    x0290 1nMM Capital #1
 7                     5/21/2019     911,500.00    x0290 1nMM Capital #1
                       5/21/2019     920,500.00    x0290 1nMM Capital #1
 8                     5/23/2019     744,500.00    x0290 1nMM Capital #1
                       5/23/2019     740,000.00    x0290 1nMM Capital #1
 9                     5/23/2019     738,250.00    x0290 1nMM Capital #1
                       5/28/2019     746,500.00    x0290 1nMM Capital #1
10                     5/28/2019     741,000.00    x0290 1nMM Capital #1
                       5/29/2019     222,275.00    x0290 1nMM Capital #1
11                     5/29/2019   2,000,475.00    x0290 1nMM Capital #1
                       5/29/2019   1,409,750.00    x0290 1nMM Capital #1
12                     5/30/2019   1,412,500.00    x0290 1nMM Capital #1
                       5/31/2019     741,250.00    x0290 1nMM Capital #1
13                      6/3/2019     747,500.00    x0290 1nMM Capital #1
                        6/3/2019     730,000.00    x0290 1nMM Capital #1
14                     6/10/2019     734,000.00    x0290 1nMM Capital #1
                       6/10/2019     731,500.00    x0290 1nMM Capital #1
15                     6/11/2019     743,000.00    x0290 1nMM Capital #1
16                     6/11/2019     741,750.00    x0290 1nMM Capital #1
                       6/11/2019     747,500.00    x0290 1nMM Capital #1
17                     6/12/2019     740,250.00    x0290 1nMM Capital #1
                       6/12/2019     741,500.00    x0290 1nMM Capital #1
18                     6/13/2019     739,200.00    x0290 1nMM Capital #1
                       6/13/2019     740,500.00    x0290 1nMM Capital #1
19                     6/14/2019   1,412,500.00    x0290 1nMM Capital #1
                       6/14/2019   1,410,750.00    x0290 1nMM Capital #1
20                     6/18/2019   1,407,500.00    x0290 1nMM Capital #1
                       6/18/2019   1,412,000.00    x0290 1nMM Capital #1
21                     6/19/2019     985,500.00    x0290 1nMM Capital #1
                       6/19/2019     920,850.00    x0290 1nMM Capital #1
22                     6/21/2019     960,800.00    x0290 1nMM Capital #1
                       6/21/2019     920,500.00    x0290 1nMM Capital #1
23                     6/24/2019     885,490.00    x0290 1nMM Capital #1
                       6/24/2019   1,331,910.00    x0290 1nMM Capital #1
24                     6/26/2019     745,500.00    x2944 1nMM Capital #2
                       6/26/2019     742,500.00    x2944 1nMM Capital #2
25
                       6/27/2019     736,500.00    x0290 1nMM Capital #1
26                     6/27/2019     748,500.00    x0290 1nMM Capital #1
                       6/27/2019     735,850.00    x0290 1nMM Capital #1
27                     6/28/2019   1,409,500.00    x0290 1nMM Capital #1
                        7/8/2019     741,500.00    x0290 1nMM Capital #1
28                      7/8/2019     745,500.00    x0290 1nMM Capital #1
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 1                      7/9/2019     742,000.00    x0290 1nMM Capital #1
                        7/9/2019     743,500.00    x0290 1nMM Capital #1
 2                      7/9/2019     741,500.00    x0290 1nMM Capital #1
                        7/9/2019     738,500.00    x0290 1nMM Capital #1
 3                     7/10/2019     736,750.00    x0290 1nMM Capital #1
                       7/10/2019     740,000.00    x0290 1nMM Capital #1
 4                     7/12/2019     735,000.00    x0290 1nMM Capital #1
                       7/16/2019   1,417,000.00    x0290 1nMM Capital #1
 5                     7/16/2019   1,408,000.00    x0290 1nMM Capital #1
 6                     7/17/2019     741,275.00    x2944 1nMM Capital #2
                       7/17/2019   1,485,250.00    x2944 1nMM Capital #2
 7                     7/17/2019     743,750.00    x2944 1nMM Capital #2
                       7/18/2019     977,500.00    x0290 1nMM Capital #1
 8                     7/18/2019     940,200.00    x0290 1nMM Capital #1
                       7/18/2019     951,400.00    x0290 1nMM Capital #1
 9                     7/18/2019     950,750.00    x0290 1nMM Capital #1
                       7/19/2019     742,500.00    x0290 1nMM Capital #1
10                     7/19/2019   1,478,500.00    x2944 1nMM Capital #2
                       7/22/2019     743,250.00    x0290 1nMM Capital #1
11                     7/23/2019     744,500.00    x0290 1nMM Capital #1
                       7/25/2019     744,000.00    x0290 1nMM Capital #1
12                     7/25/2019     740,000.00    x0290 1nMM Capital #1
                       7/25/2019     742,500.00    x0290 1nMM Capital #1
13                     7/25/2019     744,500.00    x0290 1nMM Capital #1
                       7/25/2019     736,500.00    x0290 1nMM Capital #1
14                     7/29/2019   1,407,500.00    x0290 1nMM Capital #1
                       7/29/2019   1,405,750.00    x0290 1nMM Capital #1
15                      8/1/2019   1,336,590.00    x0290 1nMM Capital #1
16                      8/1/2019     892,010.00    x0290 1nMM Capital #1
                        8/2/2019     737,500.00    x0290 1nMM Capital #1
17                      8/2/2019     735,000.00    x0290 1nMM Capital #1
                        8/5/2019     746,500.00    x0290 1nMM Capital #1
18                      8/5/2019   1,414,000.00    x0290 1nMM Capital #1
                        8/5/2019     742,500.00    x0290 1nMM Capital #1
19                      8/5/2019     746,200.00    x0290 1nMM Capital #1
                       8/12/2019     744,000.00    x0290 1nMM Capital #1
20                     8/12/2019     743,500.00    x0290 1nMM Capital #1
                       8/12/2019     741,500.00    x0290 1nMM Capital #1
21                     8/12/2019     943,500.00    x0290 1nMM Capital #1
                       8/12/2019     745,500.00    x0290 1nMM Capital #1
22                     8/12/2019     741,750.00    x0290 1nMM Capital #1
                       8/12/2019     746,200.00    x0290 1nMM Capital #1
23                     8/12/2019     955,700.00    x0290 1nMM Capital #1
                       8/13/2019     910,250.00    x0290 1nMM Capital #1
24                     8/13/2019     949,500.00    x0290 1nMM Capital #1
                       8/13/2019     935,500.00    x0290 1nMM Capital #1
25
                       8/20/2019   1,402,500.00    x0290 1nMM Capital #1
26                     8/20/2019   1,411,750.00    x0290 1nMM Capital #1
                       8/21/2019   2,228,950.00    x2944 1nMM Capital #2
27                     8/22/2019   1,410,500.00    x0290 1nMM Capital #1
                       8/23/2019     742,500.00    x0290 1nMM Capital #1
28                     8/23/2019     743,800.00    x0290 1nMM Capital #1
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 1                     8/23/2019     745,650.00    x0290 1nMM Capital #1
                       8/26/2019     742,650.00    x2944 1nMM Capital #2
 2                     8/26/2019     743,850.00    x2944 1nMM Capital #2
                       8/26/2019     744,000.00    x2944 1nMM Capital #2
 3                     8/27/2019     669,150.00    x0290 1nMM Capital #1
                       8/27/2019     819,050.00    x0290 1nMM Capital #1
 4                     8/27/2019   1,405,500.00    x0290 1nMM Capital #1
                       8/28/2019     742,500.00    x0290 1nMM Capital #1
 5                     8/28/2019     742,000.00    x0290 1nMM Capital #1
 6                     8/28/2019     743,500.00    x0290 1nMM Capital #1
                       8/29/2019   1,410,500.00    x0290 1nMM Capital #1
 7                      9/4/2019     734,500.00    x0290 1nMM Capital #1
                        9/4/2019     740,250.00    x0290 1nMM Capital #1
 8                      9/4/2019     744,800.00    x0290 1nMM Capital #1
                        9/4/2019     743,500.00    x0290 1nMM Capital #1
 9                      9/5/2019     742,500.00    x0290 1nMM Capital #1
                        9/5/2019     744,500.00    x0290 1nMM Capital #1
10                      9/5/2019     740,250.00    x0290 1nMM Capital #1
                        9/5/2019       9,000.00    x0290 1nMM Capital #1
11                     9/12/2019     738,500.00    x0290 1nMM Capital #1
                       9/12/2019     743,750.00    x0290 1nMM Capital #1
12                     9/12/2019     736,500.00    x0290 1nMM Capital #1
                       9/12/2019     744,650.00    x0290 1nMM Capital #1
13                     9/13/2019   1,409,500.00    x0290 1nMM Capital #1
                       9/13/2019   1,411,500.00    x0290 1nMM Capital #1
14                     9/16/2019     740,500.00    x2944 1nMM Capital #2
                       9/16/2019   1,483,700.00    x2944 1nMM Capital #2
15                     9/17/2019     940,500.00    x0290 1nMM Capital #1
16                     9/17/2019     954,500.00    x0290 1nMM Capital #1
                       9/17/2019     977,250.00    x0290 1nMM Capital #1
17                     9/18/2019     951,000.00    x0290 1nMM Capital #1
                       9/18/2019     918,500.00    x0290 1nMM Capital #1
18                     9/18/2019     952,500.00    x0290 1nMM Capital #1
                       9/23/2019      74,020.00    x0290 1nMM Capital #1
19                     9/23/2019     739,650.00    x0290 1nMM Capital #1
                       9/23/2019     666,180.00    x0290 1nMM Capital #1
20                     9/24/2019     742,500.00    x0290 1nMM Capital #1
                       9/25/2019   1,487,000.00    x2944 1nMM Capital #2
21                     9/25/2019     744,500.00    x2944 1nMM Capital #2
                       9/26/2019     745,500.00    x0290 1nMM Capital #1
22                     9/26/2019     739,500.00    x0290 1nMM Capital #1
                       9/26/2019     744,500.00    x0290 1nMM Capital #1
23                     9/27/2019   1,412,000.00    x0290 1nMM Capital #1
                       9/27/2019     742,250.00    x0290 1nMM Capital #1
24                     9/27/2019     745,150.00    x0290 1nMM Capital #1
                       9/27/2019     744,850.00    x0290 1nMM Capital #1
25
                       9/27/2019   1,409,750.00    x0290 1nMM Capital #1
26                     9/27/2019   1,407,500.00    x0290 1nMM Capital #1
                       9/30/2019     744,500.00    x0290 1nMM Capital #1
27                     10/1/2019     575,000.00    x0290 1nMM Capital #1
                       10/1/2019     744,800.00    x2944 1nMM Capital #2
28                     10/1/2019   1,480,000.00    x2944 1nMM Capital #2
                                              58
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 1                     10/3/2019     744,800.00    x0290 1nMM Capital #1
                       10/3/2019     738,500.00    x0290 1nMM Capital #1
 2                     10/3/2019     743,500.00    x0290 1nMM Capital #1
                       10/7/2019     739,750.00    x0290 1nMM Capital #1
 3                     10/7/2019     742,500.00    x0290 1nMM Capital #1
                       10/9/2019     739,800.00    x0290 1nMM Capital #1
 4                     10/9/2019   1,409,500.00    x0290 1nMM Capital #1
                       10/9/2019   1,413,750.00    x0290 1nMM Capital #1
 5                     10/9/2019   1,407,500.00    x0290 1nMM Capital #1
 6                     10/9/2019     741,500.00    x0290 1nMM Capital #1
                       10/9/2019     740,500.00    x0290 1nMM Capital #1
 7                     10/9/2019   1,480,250.00    x2944 1nMM Capital #2
                      10/11/2019     742,500.00    x0290 1nMM Capital #1
 8                    10/11/2019     742,800.00    x0290 1nMM Capital #1
                      10/11/2019     739,200.00    x0290 1nMM Capital #1
 9                    10/15/2019     740,750.00    x0290 1nMM Capital #1
                      10/15/2019     738,500.00    x0290 1nMM Capital #1
10                    10/16/2019     940,200.00    x0290 1nMM Capital #1
                      10/16/2019     980,200.00    x0290 1nMM Capital #1
11                    10/16/2019     977,650.00    x0290 1nMM Capital #1
                      10/17/2019   1,996,650.00    x0290 1nMM Capital #1
12                    10/17/2019     739,850.00    x0290 1nMM Capital #1
                      10/17/2019     221,850.00    x0290 1nMM Capital #1
13                    10/17/2019     739,000.00    x0290 1nMM Capital #1
                      10/18/2019     959,500.00    x0290 1nMM Capital #1
14                    10/18/2019     965,000.00    x0290 1nMM Capital #1
                      10/21/2019     744,700.00    x0290 1nMM Capital #1
15                    10/21/2019     973,500.00    x0290 1nMM Capital #1
16                    10/21/2019     743,500.00    x0290 1nMM Capital #1
                      10/21/2019     743,000.00    x0290 1nMM Capital #1
17                    10/22/2019   1,414,500.00    x0290 1nMM Capital #1
                      10/23/2019   1,411,250.00    x0290 1nMM Capital #1
18                    10/24/2019   1,410,800.00    x0290 1nMM Capital #1
                      10/24/2019   1,414,500.00    x0290 1nMM Capital #1
19                    10/25/2019     744,000.00    x0290 1nMM Capital #1
                      10/25/2019     744,250.00    x0290 1nMM Capital #1
20                    10/25/2019     740,500.00    x0290 1nMM Capital #1
                      10/28/2019     742,500.00    x0290 1nMM Capital #1
21                    10/28/2019     739,800.00    x0290 1nMM Capital #1
                      10/28/2019     740,000.00    x0290 1nMM Capital #1
22                    10/29/2019     744,500.00    x2944 1nMM Capital #2
                      10/29/2019   1,486,550.00    x2944 1nMM Capital #2
23                    10/30/2019     739,850.00    x0290 1nMM Capital #1
                      10/30/2019     736,500.00    x0290 1nMM Capital #1
24                    10/30/2019     740,000.00    x0290 1nMM Capital #1
                      10/30/2019     741,500.00    x0290 1nMM Capital #1
25
                       11/1/2019     739,500.00    x0290 1nMM Capital #1
26                     11/4/2019   1,485,300.00    x2944 1nMM Capital #2
                      11/13/2019     932,250.00    x0290 1nMM Capital #1
27                    11/13/2019     923,500.00    x0290 1nMM Capital #1
                      11/13/2019     925,500.00    x0290 1nMM Capital #1
28                    11/14/2019     740,000.00    x0290 1nMM Capital #1
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 1                           11/14/2019       738,750.00   x0290 1nMM Capital #1
                             11/15/2019       739,500.00   x0290 1nMM Capital #1
 2                           11/15/2019       958,500.00   x0290 1nMM Capital #1
                             11/15/2019       738,250.00   x0290 1nMM Capital #1
 3                           11/15/2019       742,100.00   x0290 1nMM Capital #1
                             11/15/2019       965,000.00   x0290 1nMM Capital #1
 4                           11/18/2019     2,977,300.00   x0290 1nMM Capital #1
                             11/19/2019       746,200.00   x2944 1nMM Capital #2
 5                           11/19/2019     1,492,300.00   x2944 1nMM Capital #2
 6                           11/19/2019       745,800.00   x2944 1nMM Capital #2
                             11/20/2019       745,800.00   x2944 1nMM Capital #2
 7                           11/21/2019     2,983,450.00   x2944 1nMM Capital #2
                             11/22/2019       746,150.00   x2944 1nMM Capital #2
 8                           11/25/2019       746,800.00   x0290 1nMM Capital #1
                             11/25/2019       746,150.00   x0290 1nMM Capital #1
 9                           11/25/2019       981,166.00   x0290 1nMM Capital #1
                             11/26/2019       747,000.00   x0290 1nMM Capital #1
10                           11/26/2019       744,500.00   x0290 1nMM Capital #1
                             11/26/2019       744,800.00   x0290 1nMM Capital #1
11                           11/26/2019       746,150.00   x0290 1nMM Capital #1
                             11/26/2019       985,000.00   x0290 1nMM Capital #1
12                           11/27/2019       746,500.00   x0290 1nMM Capital #1
                             11/27/2019       744,500.00   x0290 1nMM Capital #1
13                           11/27/2019       742,500.00   x0290 1nMM Capital #1
                             11/27/2019       744,000.00   x0290 1nMM Capital #1
14                           11/29/2019       745,500.00   x0290 1nMM Capital #1
                             11/29/2019       744,800.00   x0290 1nMM Capital #1
15                            12/2/2019       985,000.00   x0290 1nMM Capital #1
16                            12/6/2019       743,500.00   x0290 1nMM Capital #1
                              12/6/2019       746,500.00   x0290 1nMM Capital #1
17                           12/10/2019     1,400,000.00   x0290 1nMM Capital #1
                             12/27/2019       745,500.00   x0290 1nMM Capital #1
18                           12/27/2019       743,000.00   x0290 1nMM Capital #1
                             12/27/2019       741,500.00   x0290 1nMM Capital #1
19                           12/27/2019       739,500.00   x0290 1nMM Capital #1
                             12/30/2019       745,000.00   x0290 1nMM Capital #1
20
                             TOTAL        710,489,295.50
21
22                  104. CNB was the initial transferee from the 1inMM Entities of all of the

23     investment funds in the amount of $710,489,295.50 that the 1inMM Entities

24     deposited directly into their accounts at CNB. Upon receipt of those deposits,

25     CNB immediately acquired legal title, dominion over the deposits, and the right

26     to use the money for its own purposes. CNB was free to do as it wished with the

27     deposited funds. CNB had full dominion over the deposited funds, and could then

28     lawfully use, and did use, those funds for whatever banking purposes it
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 1     determined. The 1inMM Entities, as the depositors, did not instruct CNB to
 2     deposit the funds into the account of a third party or into a trust account, and they
 3     had the right to withdraw the deposited funds. CNB owed those funds to the
 4     linMM Entities upon the request of the linMM Entities. The relationship
 5     between CNB and the linMM Entities was that of a creditor and debtor with
 6     respect to the Investor Deposit Transfers to CNB.
 7                  105. Horwitz also deposited over $21 ,383,449 of investor funds intended
 8     for the linMM Entities that were received from Aggregator JJMT (the "JJMT
 9     Transfers") directly into his personal x5270 account at CNB as follows:
10                                        07/ 18/ 17         $50,000.00
                                          09/ 12/ 17       $806,603 .00
11                                        10/ 10/ 17       $628,333.00
                                          11/20/ 17      $1,178,671.00
12
                                          01/29/ 18      $1 ,338,793 .00
13                                        03/27/ 18      $2,225,564.00
                                          05/ 17/ 18     $1 ,207,678.00
14                                        06/29/ 18        $818,949.00
                                          07/23/ 18        $974,684.00
15                                        08/28/ 18      $1,085,760.00
                                          10/ 16/ 18       $154,303.00
16                                        10/ 18/ 18         $55,300.00
                                          10/ 19/ 18         $30,000.00
17                                        10/ 19/ 18         $30,000.00
                                          10/ 19/ 18         $30,000.00
18                                        10/ 19/ 18         $60,000.00
19                                        11/23/ 18      $1,063,485 .00
                                          01/03/ 19        $937,533.00
20                                        01/25/ 19            $7,000.00
                                          01/25/ 19          $10,500.00
21                                        02/25/ 19      $1,142,023 .00
                                          03/07/ 19          $22,500.00
22                                        04/22/ 19        $562,332.00
                                          05/22/ 19      $1,249,613 .00
23                                        06/ 19/ 19       $671,910.00
                                          07/ 18/ 19     $1,196,691.00
24                                        08/ 13/ 19       $238,683 .00
                                          09/ 18/ 19       $267,254.00
25
                                          10/28/ 19      $2, I 64,301.00
26                                        11/20/ 19        $463,130.00
                                          11/22/ 19        $711 ,856.00
27
                                                       $21,383,449.00
28
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 1                  106. Some of the JJMT Transfers were transferred to the 1inMM Entities
 2     accounts and some of the money was used by Horwitz to pay for his personal
 3     expenses such as auto and credit card payments and for the purchase of his
 4     residence.
 5                  107. In addition to the highly suspicious fact that JJMT, a business entity
 6     known to CNB for supposedly engaging in business transactions with the 1inMM
 7     Entities, was depositing funds into Horwitz’s personal account, CNB also saw
 8     Horwitz move $3.3 million from the 1inMM Entities’ accounts to his personal
 9     account, add it to $2,225,564.00 deposited by JJMT into the personal account,
10     and then transfer $5,556,401.13 to Escrow of the West (Beverly Hills), which
11     was for the purchase of Horwitz’s multi-million home. This extremely large
12     financial transaction, using commingled JJMT, 1inMM Entities’ and personal
13     funds took place on March 27 and 28, 2018, in the midst of the other tens of
14     millions of dollars of fund transfers occurring between his personal and business
15     accounts.
16          F.             The Monies Loaned by CNB to Horwitz and the
                           Fraudulent Transfers to CNB
17
                    108. CNB created the Horwitz LOC in early 2013, taking Horwitz’s
18
       mother’s brokerage account as collateral. CNB renewed the Horwitz LOC each
19
       year thereafter, through March 2021, just one month before the SEC filed its
20
       enforcement action and the DOJ filed the Criminal Actions against Horwitz.
21
                    109. From February 2013 through December 12, 2019, CNB made at
22
       least 456 extensions of credit to Horwitz personally under the $1.14 million
23
       Horwitz LOC, for a total of $64,232,936.05. Using property of the 1inMM
24
       Entities, Horwitz repaid $63,286,439.07, and in mid-2021, CNB seized and
25
       liquidated his mother’s brokerage account to pay off the balance.
26
                    110.   A complete chart of the monies advanced and repaid on the Horwitz
27
       LOC is set forth below. The instances where Horwitz parked funds in the Horwitz
28
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 1 LOC are highlighted in blue below:
 2
 3       I
        02/05/13      -$60,000.00 Note Increase       x5270 Personal   Line of Credit    -$60,000.00
 4
        02/19/13      -$20,000.00 Sweep Increase      x5270 Personal   Line of Credit    -$80,000.00 I
 5      02/22/13      -$20,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$100,000.00
        03/04/ 13     -$65,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$165,000.00 I
 6      03/04/13         -$221.02 Interest Charged                                      -$165 ,221.02
        03/05/ 13    -$112,500.00 Sweep Increase      x5270 Personal   Line of Credit   -$2n,121.02 I
 7      03/07/13       -$6,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$283, 721 .02
        03/13/13       -$5,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$288,721.02 I
 8      03/14/13      -$13,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$301, 721.02
        03/ 14/ 13     $58,875.00 Payment             Line of Credit   x5270 Personal   -$242,846.02 I
 9      03/18/13      -$10,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$252,846.02
        03/21/13       $19,687.00 Payment             Line of Credit   x5270 Personal   -$233, 159.02 I
10      04/03/13      -$20,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$253, 159.02
11      04/04/13         -$748.92 Interest Charged                                      -$253,907.94 I
        04/09/13      -$21 ,500.00 Sweep Increase     x5270 Personal   Line of Credit   -$275,407.94
12      04/ 11/13     -$22,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$297,407.94 I
        04/15/13      -$15,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$312,407.94
13      04/ 16/ 13    -$31 ,840.00 Sweep Increase     x5270 Personal   Line of Credit   -$344,247.94 I
        04/22/13       -$3,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$347,24 7.94
14      04/26/13      -$17,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$364,247.94 I
        04/29/13       -$2,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$366,247.94
15      04/29/ 13      -$2,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$368,247.94 I
        04/29/13       -$1 ,000.00 Sweep Increase     x5270 Personal   Line of Credit   -$369,247.94
16      04/29/ 13         $748.92 Auto Payment        Line of Credit   x5270 Personal   -$368,499.02 I
        05/02/13       -$3,700.00 Sweep Increase      x5270 Personal   Line of Credit   -$372, 199.02
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        05/04/13         -$941.62 Interest Charged                                      -$373,140.64 I
18      05/08/13      -$52,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$425, 140.64
        05/28/ 13    -$107,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$532,140.64 I
19      05/28/13       -$2,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$534,140.64
        05/29/ 13     -$25,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$559, 140.64 I
20      05/29/13       -$2,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$561, 140.64
        05/29/13          $941.62 Auto Payment        Line of Credit   x5270 Personal   -$560,199.02 I
21      05/30/13      $110,000.00 Payment             Line of Credit   x5270 Personal   -$450, 199.02
        05/31/ 13     -$10,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$460, 199.02 I
22      06/03/13       -$1 ,000.00 Sweep Increase     x5270 Personal   Line of Credit   -$461,199.02
        06/04/ 13      -$1 ,289.45 Interest Charged                                     -$462,488.47 I
23      06/05/13       -$3,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$465,488.47
24      06/05/13       -$2,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$467,488.47 I
        06/06/13     -$100,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$567,488.47
25      06/07/ 13     -$12,700.00 Sweep Increase      x5270 Personal   Line of Credit   -$580, 188.47 I
        06/12/13       -$5,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$585,188.47
26      06/ 18/ 13    -$12,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$597, 188.47 I
        06/20/13       $88,700.00 Payment             Line of Credit   x5270 Personal   -$508,488.47
27      06/24/13      -$12,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$520,488.47 I
        06/26/13      -$30,000.00 Sweep Increase      x5270 Personal   Line of Credit   -$550,488.47
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 1      06/28/13     -$100,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$650,488.47
        07/01/13      -$89,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$739,488.47
 2      07/04/ 13      -$1 ,697.97   futerest Charged                                       -$741,186.44 I
        07/24/ 13     -$30,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$771,186.44
 3      07/29/13        $1 ,697.97   Auto Payment       Line of Credit   x5270 Personal     -$769,488.47 I
        07/31/13      -$50,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$819 ,488.47
 4      08/04/1 3      -$2,256.69    futerest Charged                                       -$821,745 .16 I
 5      08/06/ 13     -$50,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$871,745.16
        08/09/13      -$15,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$886,745 .16 I
 6      08/09/13      -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$896,745 .16
        08/19/13      -$25,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$921,745 .16 I
 7      08/22/ 13      -$6,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$927,745 .16
        08/28/13       -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$932,745 .16 I
 8      08/28/13         -$500.00    Sweep fucrease     x5270 Personal   Line of Credit     -$933,245 .16
        08/29/13        $2,256.69    Auto Payment       Line of Credit   x5270 Personal     -$930,988.47 I
 9      09/03/ 13     -$45,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$975 ,988.47
        09/04/13      -$15,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$990,988.47 I
10      09/04/ 13      -$2,707.67    futerest Charged                                       -$993,696.14
11      09/09/1 3      -$3,800.00    Sweep fucrease     x5270 Personal   Line of Credit     -$997,496.14 I
        09/13/ 13      -$2,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$999,496.14
12      09/16/13       -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,004,496.14 I
        09/20/13       -$3,211.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,007,707.14
13      09/23/13       $81 ,000.00   Payment            Line of Credit   x5270 Personal     -$926,707.14 I
        09/24/13       -$4,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$930,707.14
14      10/02/13       -$3,500.00    Sweep fucrease     x5270 Personal   Line of Credit     -$934,207.14 I
        10/04/ 13      -$2,793.34    futerest Charged                                       -$937,000.48
15      10/07/13       -$5,792.00    Sweep fucrease     x5270 Personal   Line of Credit     -$942,792.48 I
        10/08/ 13     -$45,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$987,792.48
16      10/08/13       -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$992,792.48 I
        10/15/13       -$3,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$995, 792.48
17      10/15/1 3     $100,000.00    Payment            Line of Credit   x5270 Personal     -$895,792.48 I
18      10/21/13      -$40,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$935 ,792.48
        10/25/13      $204,000.00    Payment            Line of Credit   x5270 Personal     -$731 ,792.48 I
19      10/28/ 13      -$7,450.00    Sweep fucrease     x5270 Personal   Line of Credit     -$739,242.48
        10/31/13       -$2,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$741,242.48 I
20      11/01/13      -$57,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$798,242.48
        11/04/13       -$6,700.00    Sweep fucrease     x5270 Personal   Line of Credit     -$804,942.48 I
21      11/04/13       -$2,609.21    futerest Charged                                       -$807,551.69
        11/05/13       -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$812,551.69 I
22      11/07/ 13      -$6,400.00    Sweep fucrease     x5270 Personal   Line of Credit     -$818,951.69
        11/12/13      -$30,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$848,951.69 I
23      11/12/13       -$8,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$856,951.69
24      11/13/13       -$6,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$862,951.69 I
        11/ 15/ 13    -$45,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$907,951 .69
25      11/19/13      -$15,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$922,951.69 I
        11/26/ 13      $30,000.00    Payment            Line of Credit   x5270 Personal     -$892,951. 69
26      12/02/13      -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$902,951.69 I
        12/04/ 13      -$2,532.17    futerest Charged                                       -$905,483 .86
27      12/06/13      -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$915,483 .86 I
        12/10/13       -$2,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$917,483 .86
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 1      12/16/13     -$15,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$932,483 .86
        12/17/13     -$10,460.00    Sweep fucrease     x5270 Personal   Line of Credit     -$942,943 .86
 2      12/17/13      $10,000.00    Payment            Line of Credit   x5270 Personal     -$932,943 .86 I
        12/26/13      -$7,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$939,943 .86
 3      12/31/ 13    $350,000.00    Payment            Line of Credit   x5270 Personal     -$589,943 .86 I
 4      01/02/14      -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$594,943.86
        01/02/14      -$2,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$596,943 .86 I
 5      01/03/ 14     -$7,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$603 ,943 .86
        01/04/14      -$2,594.34    futerest Charged                                       -$606,538.20 I
 6      01/06/14     -$14,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$620,538.20
        01/06/14      -$6,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$626,538.20 I
 7      01/07/14      -$2,900.00    Sweep fucrease     x5270 Personal Line of Credit       -$629,438 .20
        01/ 13/14   -$250,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$879,438 .20 I
 8      01/16/14      -$2,500.00    Sweep fucrease     x5270 Personal Line of Credit       -$881 ,938.20
        01/21/14     -$41,154.00    Sweep fucrease     x5270 Personal Line of Credit       -$923,092.20 I
 9      01/23/ 14    $255 ,000.00   Payment            Line of Credit x5270 Personal       -$668,092.20
        01/27/14     -$43,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$111 ,092.20 I
10      01/29/14      -$8,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$719 ,092.20
11      01/30/14      -$2,750.00    Sweep fucrease     x5270 Personal Line of Credit       -$721,842.20 I
        02/01/14      -$1,998.00    futerest Charged                                       -$723,840.20
12      02/04/14        -$207.65    futerest Charged                                       -$724,047.85 I
        02/04/14         -$50.00    Annual Fee                                             -$724,097.85
13      02/06/14     -$45,000.00    Note fucrease      x5270 Personal   Line of Credit     -$769,097.85 I
        02/10/14        -$100.00    Sweep fucrease     x5270 Personal   Line of Credit     -$769,197.85
14      02/10/14            $0.00   Loan Renewal                                           -$769,197.85 I
        02/10/ 14     $50,000.00    Payment            Line of Credit x5270 Personal       -$719,197.85
15      02/ 19/14   -$110,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$829,197.85 I
        02/19/14     -$26,250.00    Sweep fucrease     x5270 Personal Line of Credit       -$855,447.85
16      02/27/14     -$16,700.00    Sweep fucrease     x5270 Personal Line of Credit       -$872,147.85 I
17      02/28/ 14           $0.00   Loan Renewal                                           -$872,147.85
        03/01/14      -$1,891.15    futerest Charged                                       -$874,039.oo I
18      03/05/14     -$25,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$899,039.00
        03/05/14      -$3,150.00    Sweep fucrease     x5270 Personal Line of Credit       -$902,189.oo I
19      03/07/ 14    -$10,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$912,189.00
        03/10/14      -$6,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$918,189.oo I
20      03/10/14      -$2,500.00    Sweep fucrease     x5270 Personal Line of Credit       -$920,689.00
        03/11/14     -$92,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1,012,689.oo I
21      03/13/ 14    $105 ,000.00   Payment            Line of Credit x5270 Personal       -$907,689.00
        03/18/14      -$3,151.24    Sweep fucrease     x5270 Personal Line of Credit       -$910,840.24 I
22      03/20/14      $55,000.00    Payment            Line of Credit x5270 Personal       -$855,840.24
        03/27/14      $35,000.00    Payment            Line of Credit x5270 Personal       -$820,840.24 I
23      03/31/14     -$40,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$860,840.24
24      04/02/14    -$260,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,120,840.24 I
        04/03/ 14    -$10,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,130,840.24
25      04/03/14      -$2,956.38    futerest Charged                                     -$1 ,133,796.62 I
        04/03/14      -$2,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,135,796.62
26      04/07/14      -$1,500.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,137,296.62 I
        04/07/14     $180,000.00    Payment            Line of Credit x5270 Personal       -$957,296.62
27      04/16/14     -$26,500.00    Sweep fucrease     x5270 Personal Line of Credit       -$983,796.62 I
        04/16/ 14     -$8,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$991,796.62
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 1      04/21/14      -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,001 ,796.62
        04/21/14       -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,006, 796.62
 2      04/21/14       -$2,500.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,009,296.62 I
        04/28/ 14     -$58,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,067,296.62
 3      04/28/14       -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,072,296.62 I
        05/03/14       -$2,916.16    futerest Charged                                     -$1 ,075,212.78
 4      05/07/14       -$7,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,082,212.78 I
 5      05/ 15/14     -$15,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,097,212.78
        05/19/14      -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,107,212.78 I
 6      05/20/14       -$4,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,111,212.78
        05/21/14       -$2,500.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,113,712.78 I
 7      05/28/14       -$4,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,117,712.78
        05/29/14      -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,127,712.78 I
 8      05/29/14        $2,916.16    Auto Payment       Line of Credit   x5270 Personal   -$1,124,796.62
        06/02/14       -$7,500.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,132,296.62 I
 9      06/03/ 14      -$3,242.55    futerest Charged                                     -$1 ,135,539.17
        06/03/14      $170,000.00    Payment            Line of Credit   x5270 Personal     -$965,539.17 I
10      06/05/14      -$25,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$990,539.17
11      06/05/14       -$3,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$993,539.17 I
        06/06/14      -$37,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,030,539.17
12      06/ 13/14      -$7,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,037,539.17 I
        06/ 17/ 14     -$2,600.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,040,139.17
13      06/17/14      $165 ,000.00   Payment            Line of Credit   x5270 Personal     -$875,139.17 I
        06/ 18/ 14    -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$885,139.17
14      06/23/14     -$225,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,110,139.17 I
        06/24/ 14     $212,000.00    Payment            Line of Credit   x5270 Personal     -$898,139.17
15      06/26/14     -$118,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,016,139.17 I
        06/26/14       $64,830.32    Payment            Line of Credit   x5270 Personal     -$951 ,308.85
16      06/30/14       -$3,200.00    Sweep fucrease     x5270 Personal   Line of Credit     -$954,508.85 I
        07/01/14      -$71 ,000.00   Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,025,508.85
17      07/02/14       -$7,700.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,033,208.85 I
18      07/03/ 14      -$2,799.68    futerest Charged                                     -$1 ,036,008 .53
        07/03/14      $107,000.00    Payment            Line of Credit   x5270 Personal     -$929,008 .53 I
19      07/07/ 14     -$16,258.00    Sweep fucrease     x5270 Personal   Line of Credit     -$945,266.53
        07/07/14       -$6,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$951,266.53 I
20      07/09/14       -$7,500.00    Sweep Increase     x5270 Personal   Line of Credit     -$958, 766.53
        07/10/ 14      -$2,860.34    Sweep Increase     x5270 Personal   Line of Credit     -$961 ,626.87 I
21      07/14/14      -$49,000.00    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,010,626.87
        07/21/14       -$3,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,013,626.87 I
22      07/22/14         -$600.00    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,014,226.87
        07/28/14       -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,019,226.87 I
23      07/29/14       -$3,572.81    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,022,799.68
24      07/29/14        $2,799.68    Auto Payment       Line of Credit   x5270 Personal   -$1 ,020,000.00 I
        08/01/14      -$10,000.00    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,030,000.00
25      08/03/ 14      -$2,960.25    futerest Charged                                     -$1 ,032,960.25 I
        08/05/14     -$109,000.00    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,141,960.25
26      08/07/14      $150,000.00    Payment            Line of Credit   x5270 Personal     -$991 ,960.25 I
        08/08/ 14      -$8,600.00    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,000,560.25
27      08/11/14       -$3,500.00    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,004,060.25 I
        08/12/14       -$7,500.00    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,011,560.25
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 1      08/13/14        -$700.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,012,260.25
        08/28/ 14    -$30,700.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,042,960.25
 2      08/29/14       $2,960.25    Auto Payment       Line of Credit   x5270 Personal   -$1 ,040,000.00 I
        09/03/ 14     -$3,042.50    futerest Charged                                     -$1 ,043 ,042.50
 3      09/08/14     -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,053,042.50 I
        09/10/14     -$20,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,073 ,042.50
 4      09/16/14     -$15,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,088,042.50 I
 5      09/18/14     -$35,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,123,042.50
        09/18/14      -$3,476.94    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,126,519.44 I
 6      09/19/14      $50,781.25    Payment            Line of Credit   x5270 Personal   -$1 ,075,738 .19
        09/24/14     -$20,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,095 ,738 .19 I
 7      09/24/14      -$4,261.81    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,100,000.00
        09/29/14      -$1,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,101.000.00 I
 8      10/03/14      -$8,185.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,109,185 .00
        10/03/14      -$3,088.10    futerest Charged                                     -$1 ,112,213 .10 I
 9      10/03/ 14     $40,000.00    Payment            Line of Credit   x5270 Personal   -$1 ,072,273.10
        10/03/14      $75,000.00    Payment            Line of Credit   x5270 Personal     -$991,213.10 I
10      10/06/14     -$90,991.53    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,088,264.63
11      10/06/14      -$2,500.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,090,764.63 I
        10/06/14       $1 ,500.00   Payment            Line of Credit   x5270 Personal   -$1 ,089,264.63
12      10/06/14      $25,000.00    Payment            Line of Credit   x5270 Personal   -$1 ,064,264.63 I
        10/06/14     $127,000.00    Payment            Line of Credit   x5270 Personal     -$937,264.63
13      10/07/14     -$12,327.63    Sweep fucrease     x5270 Personal   Line of Credit     -$949,592.26 I
        10/07/ 14     -$7,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$956,592.26
14      10/07/14      -$1,353.51    Sweep fucrease     x5270 Personal   Line of Credit     -$957,945 .77 I
        10/07/ 14     $30,000.00    Payment            Line of Credit   x5270 Personal     -$927,945 .77
15      10/10/ 14     $50,000.00    Payment            Line of Credit   x5270 Personal     -$877,945 .77 I
        10/ 14/14   -$240,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,117,945 .77
16      10/ 14/14     -$1,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,118,945.77 I
        10/14/14     $235 ,000.00   Payment            Line of Credit   x5270 Personal     -$883 ,945 .77
17      10/15/14    -$175,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,058,945 .77 I
18      10/20/14      -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,063 ,945 .77
        10/27/14      -$4,200.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,068,145 .77 I
19      10/29/ 14    -$27,812.50    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,095,958.27
        10/31/14      $18,750.00    Payment            Line of Credit   x5270 Personal   -$1 ,077,208 .27 I
20      11/03/ 14     -$6,700.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,083,908.27
        11/03/14      -$3,028.89    futerest Charged                                     -$1 ,086,937.16 I
21      11/03/14      -$3,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,089,937.16
        11/05/14      -$2,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,091,937.16 I
22      11/10/1 4     -$9,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,100,937.16
        11/10/14       $9,300.00    Payment            Line of Credit   x5270 Personal   -$1 ,091 ,637.16 I
23      11/13/14      -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,096,637.16
24      12/03/14      -$3,149.56    futerest Charged                                     -$1 ,099,786.72 I
        12/22/14      -$3,362.84    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,103,149.56
25      12/22/14     $335 ,000.00   Payment            Line of Credit   x5270 Personal     -$768,149.56 I
        12/24/14    -$413,095.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,181 ,244.56
26      12/24/14      $50,000.00    Payment            Line of Credit   x5270 Personal   -$1 ,131,244.56 I
        12/26/14     -$10,637.66    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,1 41,882.22
27      12/26/14       $6,000.00    Payment            Line of Credit   x5270 Personal   -$1 ,135,882.22 I
        12/26/14      $30,000.00    Payment            Line of Credit   x5270 Personal   -$1 ,105,882.22
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 1      12/29/14     $408 ,000.00   Payment            Line of Credit   x5270 Personal     -$697,882.22
        12/30/14    -$142,250.00    Sweep fucrease     x5270 Personal   Line of Credit     -$840,132.22
 2      12/31/14      -$1 ,000.00   Sweep fucrease     x5270 Personal   Line of Credit     -$841,132.22 I
        01/02/15     -$55,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$896,132.22
 3      01/03/15      -$3,036.65    futerest Charged                                       -$899,168 .87 I
        01/05/15     $155 ,175.00   Payment            Line of Credit   x5270 Personal     -$743 ,993 .87
 4      01/06/15    -$395,000.00    Note fucrease      x5270 Personal   Line of Credit   -$1,138,993 .87 I
 5      01/07/ 15     $50,000.00    Payment            Line of Credit   x5270 Personal   -$1 ,088,993 .87
        01/08/ 15     -$6,700.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1,095,693.87 I
 6      01/08/15      -$1 ,485.00   Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,097,178.87
        01/12/15      $81 ,100.00   Payment            Line of Credit   x5270 Personal   -$1,016,078.87 I
 7      01/13/15     -$80,850.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,096,928.87
        01/15/15     -$19,837.00    Sweep fucrea se    x5270 Personal   Line of Credit   -$1,116,765 .87 I
 8      01/20/15      -$2,500.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,1 19,265 .87
        01/21/15     -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,129,265 .87 I
 9      01/21/15      $36,000.00    Payment            Line of Credit   x5270 Personal   -$1 ,093 ,265 .87
        01/26/15     -$25,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1,118,265 .87 I
10      01/27/15     -$60,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,178,265 .87
11      01/27/15      $77,000.00    Payment            Line of Credit   x5270 Personal   -$1,101,265 .87 I
        01/29/15      $33,000.00    Payment            Line of Credit   x5270 Personal   -$1 ,068,265 .87
12      01/30/15     -$13,000.00    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,081,265 .87 I
        01/30/15      -$7,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,088,265 .87
13      01/30/15      -$2,700.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,090,965.87 I
        01/30/15      -$2,500.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,093,465 .87
14      02/02/15     $172,500.00    Payment            Line of Credit   x5270 Personal     -$920,965 .87 I
        02/03/15      -$8,200.00    Sweep fucrease     x5270 Personal   Line of Credit     -$929,165 .87
15      02/03/ 15     -$3,182.48    futerest Charged                                       -$932,348.35 I
        02/03/15         -$50.00    Fees Charged                                           -$932,398.35
16      02/09/15     -$50,000.00    Note fucrease      x5270 Personal   Line of Credit     -$982,398.35 I
        02/09/15     -$25,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,007,398.3 5
17      02/10/ 15     $50,000.00    Payment            Line of Credit   x5270 Personal     -$957,398.35 I
18      02/12/15     $265 ,000.00   Payment            Line of Credit   x5270 Personal     -$692,398.35
        02/13/15    -$360,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1,052,398.35 I
19      02/17/15     -$14,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,066,398.35
        02/17/15     -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1,076,398.35 I
20      02/17/ 15     -$8,378.31    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,084,776.66
        02/17/15     $263 ,500.00   Payment            Line of Credit   x5270 Personal     -$821,276.66 I
21      02/20/15     -$65,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$886,276.66
        02/25/15     -$42,240.00    Sweep fucrease     x5270 Personal   Line of Credit     -$928,516.66 I
22      02/27/ 15    -$46,200.00    Sweep fucrease     x5270 Personal   Line of Credit     -$974,716.66
        02/27/ 15    -$14,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$988,716.66 I
23      03/02/15     -$85,200.00    Advance            x5270 Personal   Line of Credit   -$1 ,073 ,916.66
24      03/02/15      $48,000.00    Repayment          Line of Credit   x5270 Personal   -$1,025,916.66 I
        03/03/15      -$7,500.00    Advance            x5270 Personal   Line of Credit   -$1 ,033,416.66
25      03/03/15      -$2,230.02    futerest Charged                                     -$1,035,646.68 I
        03/04/15        -$297.20    futerest Charged                                     -$1 ,035 ,943 .88
26      03/26/15            $0.00   Loan Renewal                                         -$1 ,035,943.88 I
        03/30/15     -$12,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,047,943 .88
27      03/30/15      -$6,000.00    Sweep fucrea se    x5270 Personal   Line of Credit   -$1,053,943 .88 I
        03/30/15      -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,058,943 .88
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 1      03/30/15          $297.20    Auto Payment       Line of Credit   x5270 Personal   -$1 ,058,646.68
        03/31/15       -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,063 ,646.68
 2      04/01/1 5    -$160,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,223,646.68 I
        04/01/15      $365 ,000.00   Payment            Line of Credit   x5270 Personal     -$858,646.68
 3      04/02/1 5     $300,000.00    Payment            Line of Credit   x5270 Personal     -$558,646.68 I
        04/03/15       -$2,929.26    futerest Charged                                       -$561 ,575.94
 4      04/09/15      -$31 ,000.00   Sweep fucrease     x5270 Personal   Line of Credit     -$592,575.94 I
 5      04/ 10/15     -$37,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$629,575.94
        04/10/15      -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$639,575.94 I
 6      04/13/15      -$10,849.14    Sweep fucrease     x5270 Personal   Line of Credit     -$650,425 .08
        04/ 13/1 5    -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$660,425 .08 I
 7      04/13/15       $97,000.00    Payment            Line of Credit   x5270 Personal     -$563,425 .08
        04/21/15     -$299,092.00    Sweep fucrease     x5270 Personal   Line of Credit     -$862,517.08 I
 8      04/22/15      $206,000.00    Payment            Line of Credit   x5270 Personal     -$656,517.08
        04/23/15       -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$661 ,517.08 I
 9      04/23/15       -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$666,517.08
        04/27/15      -$27,853.00    Sweep fucrease     x5270 Personal   Line of Credit     -$694,370.08 I
10      04/27/15        $5,000.00    Payment            Line of Credit   x5270 Personal     -$689,370.08
11      04/28/1 5     -$50,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$739,370.08 I
        05/01/15      -$18,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$757,370.08
12      05/03/15       -$1,856.78    futerest Charged                                       -$759,226.86 I
        05/07/15      -$64,700.00    Sweep fucrease     x5270 Personal   Line of Credit     -$823 ,926.86
13      05/1 1/15     -$30,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$853,926.86 I
        05/11/15       -$6,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$859,926.86
14      05/21/1 5     -$15,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$874,926.86 I
        05/29/15        $1 ,856.78   Auto Payment       Line of Credit   x5270 Personal     -$873 ,070.08
15      06/01/15      -$65,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$938,070.08 I
        06/03/15       -$2,564.08    futerest Charged                                       -$940,634.16
16      06/05/15      -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$950,634.16 I
        06/09/15      $253 ,500.00   Payment            Line of Credit   x5270 Personal     -$697,134.16
17      06/09/15      $265 ,000.00   Payment            Line of Credit   x5270 Personal     -$432,134.16 I
18      06/ 10/15      -$7,865.00    Sweep fucrease     x5270 Personal   Line of Credit     -$439,999.16
        06/16/15      -$75,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$5 14,999.16 I
19      06/ 16/15      -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$519,999.16
        06/23/15       -$7,764.00    Sweep fucrease     x5270 Personal   Line of Credit     -$527,763 .16 I
20      06/23/15      $266,500.00    Payment            Line of Credit   x5270 Personal     -$261,263 .16
        06/29/1 5     -$22,426.00    Sweep fucrease     x5270 Personal   Line of Credit     -$283,689.16 I
21      07/01/15      $283 ,698.00   Payment            Line of Credit   x5270 Personal              $8 .84
        07/02/ 15    -$569,220.00    Sweep fucrease     x5270 Personal   Line of Credit     -$569,211.16 I
22      07/02/15       $45,000.00    Payment            Line of Credit   x5270 Personal     -$524,211.16
        07/03/15       -$1,362.79    futerest Charged                                       -$525,573.95 I
23      07/06/15      -$51 ,480.00   Sweep fucrease     x5270 Personal   Line of Credit     -$577,053 .95
24      07/06/1 5     $532,750.00    Payment            Line of Credit   x5270 Personal      -$44,303.95 I
        07/08/ 15     -$53,21 1.79   Sweep fucrease     x5270 Personal   Line of Credit      -$97,515.74
25      07/13/15      -$20,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$117,515.74 I
        07/13/15      -$20,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$137,515.74
26      07/16/ 15    -$471 ,900.00   Sweep fucrease     x5270 Personal   Line of Credit     -$609,415 .74 I
        07/22/15      -$84,600.00    Sweep fucrease     x5270 Personal   Line of Credit     -$694,015.74
27      07/24/15      -$29,715.00    Sweep fucrease     x5270 Personal   Line of Credit     -$723,730.74 I
        07/27/15       -$4,015.00    Sweep fucrease     x5270 Personal   Line of Credit     -$727,745 .74
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 1      07/31/15     -$239,775.00    Sweep fucrease     x5270 Personal   Line of Credit   -$967,520.74
        07/31/15      -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$977,520.74
 2      07/31/1 5     $170,500.00    Payment            Line of Credit   x5270 Personal   -$807,020.74 I
        07/31/15      $235 ,750.00   Payment            Line of Credit   x5270 Personal   -$571 ,270.74
 3      08/03/ 15     -$21 ,235.00   Sweep fucrease     x5270 Personal   Line of Credit   -$592,505.74 I
        08/03/15      -$14,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$606,505.74
 4      08/03/1 5      -$4,400.00    Sweep fucrease     x5270 Personal   Line of Credit   -$610,905 .74 I
 5      08/03/15       -$1 ,397.77   futerest Charged                                     -$612,303.51
        08/10/15      $410,000.00    Payment            Line of Credit   x5270 Personal   -$202,303.51 I
 6      08/11/15      -$18,483 .18   Sweep fucrease     x5270 Personal   Line of Credit   -$220,786.69
        08/11/1 5      -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$225,786.69 I
 7      08/13/15     -$373,650.00    Sweep fucrease     x5270 Personal   Line of Credit   -$599,436.69
        08/13/15       -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$604,436.69 I
 8      08/17/15      -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$614,436.69
        08/24/1 5     $350,000.00    Payment            Line of Credit   x5270 Personal   -$264,436.69 I
 9      08/25/15     -$361 ,400.00   Sweep fucrease     x5270 Personal   Line of Credit   -$625,836.69
        08/26/15      -$49,750.00    Sweep fucrease     x5270 Personal   Line of Credit   -$675,586.69 I
10      09/01/15      -$96,800.00    Sweep fucrease     x5270 Personal   Line of Credit   -$772,386.69
11      09/01/15      -$14,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$786,386.69 I
        09/01/15      $266,750.00    Payment            Line of Credit   x5270 Personal   -$519,636.69
12      09/02/15       -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$524,636.69 I
        09/02/15       -$2,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$526,636.69
13      09/03/15       -$1 ,581.16   futerest Charged                                     -$528,217.85 I
        09/03/ 15     $490,750.00    Payment            Line of Credit   x5270 Personal    -$37,467.85
14      09/08/15        $1 ,581.16   Payment            Line of Credit   x5270 Personal    -$35,886.69 I
        09/08/15       $35,886.69    Payment            Line of Credit   x5270 Personal           $0.00
15      09/09/15     -$140,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$140,000.00 I
        09/09/15      -$12,750.00    Sweep fucrease     x5270 Personal   Line of Credit   -$152,750.00
16      09/14/15      -$63,500.00    Sweep fucrease     x5270 Personal   Line of Credit   -$216,250.00 I
        09/14/15      $185 ,000.00   Payment            Line of Credit   x5270 Personal    -$31,250.00
17      09/ 18/1 5     $31 ,250.00   Payment            Line of Credit   x5270 Personal           $0.00 I
18      09/21/15      $105 ,000.00   Payment            Line of Credit   x5270 Personal    $105,000.00
        09/22/1 5      -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit    $100,000.00
19      09/23/ 15      -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit     $75,000.00
        09/23/1 5     -$20,000.00    Sweep Increase     x5270 Personal   Line of Credit     $80,000.00
20      09/25/15      -$15,000.00    Sweep Increase     x5270 Personal   Line of Credit     $60,000.00
        09/28/15       $10,000.00    Payment            Line of Credit   x5270 Personal     $70,000.00
21      10/01/15     -$312,750.00    Sweep Increase     x5270 Personal   Line of Credit   -$242,750.00
        10/03/15         -$188.69    Interest Charged                                     -$242,938 .69 I
22      10/05/15      -$64,937.00    Sweep Increase     x5270 Personal   Line of Credit   -$307,875 .69
        10/05/15      -$14,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$321,875 .69 I
23      10/05/15       -$9,000.00    Sweep Increase     x5270 Personal   Line of Credit   -$330,875 .69
24      10/05/15      $345 ,000.00   Payment            Line of Credit   x5270 Personal     $14,124.31
        10/05/15      $680,650.00    Payment            Line of Credit   x5270 Personal    $694,774.31
25      10/06/15       -$4,411.00    Sweep Increase     x5270 Personal   Line of Credit    $235,063.31
        10/06/15      -$10,500.00    Sweep Increase     x5270 Personal   Line of Credit    $239,474.31
26      10/06/15     -$444,800.00    Sweep Increase     x5270 Personal   Line of Credit    $249,974.31
        10/08/ 15      -$5,000.00    Sweep Increase     x5270 Personal   Line of Credit    $230,063.31
27      10/09/15      $375 ,500.00   Payment            Line of Credit   x5270 Personal    $605,563.31
        10/15/15     -$133,952.00    Sweep Increase     x5270 Personal   Line of Credit    $471,611.31
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 1      10/15/15      $285 ,950.00   Payment            Line of Credit   x5270 Personal     $757,561.31
        10/20/15      -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit     $747,561.31
 2      10/21/1 5     -$20,000.00    Sweep fucrease     x5270 Personal   Line of Credit     $337,561.31
        10/21/15      -$30,000.00    Sweep fucrease     x5270 Personal   Line of Credit     $357,561.31
 3      10/21/1 5    -$360,000.00    Sweep fucrease     x5270 Personal   Line of Credit     $387,561.31
        10/27/15       -$8,000.00    Sweep fucrease     x5270 Personal   Line of Credit     $104,561.31
 4      10/27/ 15    -$225,000.00    Sweep fucrease     x5270 Personal   Line of Credit     $112,561.31
 5      10/28/15       -$3,000.00    Sweep fucrease     x5270 Personal   Line of Credit     $101,561.31
        11/02/1 5    -$295,900.00    Sweep fucrease     x5270 Personal   Line of Credit    -$194,338.69 I
 6      11/02/15      -$22,031.20    Sweep fucrease     x5270 Personal   Line of Credit    -$216,369.89
        11/02/15      -$14,000.00    Sweep fucrease     x5270 Personal   Line of Credit    -$230,369.89 I
 7      11/03/15          -$66.27    futerest Charged                                      -$230,436.16
        11/06/1 5     -$45,000.00    Sweep fucrease     x5270 Personal   Line of Credit    -$275,436.16 I
 8      11/ 10/15     -$23,000.00    Sweep fucrease     x5270 Personal   Line of Credit    -$298,436.16
        11/16/1 5     -$75,000.00    Sweep fucrease     x5270 Personal   Line of Credit    -$373,436.16 I
 9      11/19/15      $258,650.00    Payment            Line of Credit   x5270 Personal    -$114,786.16
        11/20/15      $675 ,500.00   Payment            Line of Credit   x5270 Personal     $560,713.84
10      11/24/ 15     $590,000.00    Payment            Line of Credit   x5270 Personal   $1,150,713.84
11      11/25/15      -$12,250.00    Sweep fucrease     x5270 Personal   Line of Credit   $1,124,713.84
        11/25/15      -$13,750.00    Sweep fucrease     x5270 Personal   Line of Credit   $1,136,963.84
12      12/01/15      -$97,000.00    Sweep fucrease     x5270 Personal   Line of Credit     $171,143.84
        12/01/15     -$856,570.00    Sweep fucrease     x5270 Personal   Line of Credit     $268,143.84
13      12/01/15      $485 ,650.00   Payment            Line of Credit   x5270 Personal     $656,793.84
        12/01/15      $856,750.00    Payment            Line of Credit   x5270 Personal   $1,513,543.84
14      12/02/15      $375 ,500.00   Payment            Line of Credit   x5270 Personal   $1,889,043.84
        12/03/15         -$417.79    futerest Charged                                     $1,888,626.05
15      12/07/15      -$36,000.00    Sweep fucrease     x5270 Personal   Line of Credit   $1,852,626.05
        12/10/15       -$6,000.00    Sweep fucrease     x5270 Personal   Line of Credit   $1,846,626.05
16      12/1 1/15    -$377,000.00    Sweep fucrease     x5270 Personal   Line of Credit   $1,469,626.05
        12/14/ 15      -$5,000.00    Sweep fucrease     x5270 Personal   Line of Credit   $1,464,626.05
17      12/21/ 15      -$3,082.00    Sweep fucrease     x5270 Personal   Line of Credit     $662,367.05
18      12/21/15       -$3,857.00    Sweep fucrease     x5270 Personal   Line of Credit     $665,449.05
        12/21/15      -$67,000.00    Sweep fucrease     x5270 Personal   Line of Credit     $669,306.05
19      12/21/15     -$359,970.00    Sweep fucrease     x5270 Personal   Line of Credit     $736,306.05
        12/21/15     -$368,350.00    Sweep fucrease     x5270 Personal   Line of Credit   $1,096,276.05
20      12/24/ 15     -$15,000.00    Sweep fucrease     x5270 Personal   Line of Credit     $647,367.05
        12/29/1 5      -$3,087.50    Sweep fucrease     x5270 Personal   Line of Credit     $644,279.55
21      12/30/15      -$19,985.00    Sweep fucrease     x5270 Personal   Line of Credit     $624,294.55
        12/3 1/ 15    -$19,000.00    Sweep fucrease     x5270 Personal   Line of Credit     $585,294.55
22      12/31/15      -$20,000.00    Sweep fucrease     x5270 Personal   Line of Credit     $604,294.55
        01/04/16      $550,000.00    Payment            Line of Credit   x5270 Personal   $1,135,294.55
23      01/04/16      $550,000.00    Payment            Line of Credit   x5270 Personal   $1,685,294.55
24      01/05/ 16      -$9,495.00    Sweep fucrease     x5270 Personal   Line of Credit   $1,641,799.55
        01/05/16      -$14,000.00    Sweep fucrease     x5270 Personal   Line of Credit   $1,651,294.55
25      01/05/16      -$20,000.00    Sweep fucrease     x5270 Personal   Line of Credit   $1,665,294.55
        01/07/16      -$10,000.00    Sweep fucrease     x5270 Personal   Line of Credit   $1,631,799.55
26      01/08/16      -$44,000.00    Sweep fucrease     x5270 Personal   Line of Credit   $1,587,799.55
        01/14/1 6      -$3,476.94    Sweep fucrease     x5270 Personal   Line of Credit   $1,571,550.79
27      01/14/16      -$12,771.82    Sweep fucrea se    x5270 Personal   Line of Credit   $1,575,027.73
        01/15/ 16    -$999,999.00    Sweep fucrease     x5270 Personal   Line of Credit     $571,551.79
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 1      01/15/16      -$739,462.50    Sweep fucrease     x5270 Personal Line of Credit      -$167,910.71
        01/15/16       $999,999.00    Payment            Line of Credit x5270 Personal       $832,088.29
 2      01/19/ 16   -$1,024,619.00    Sweep fucrease     x5270 Personal Line of Credit      -$192,530.71 I
        01/19/16         -$7,000.00   Sweep fucrease     x5270 Personal Line of Credit      -$199,530.71
 3      01/19/ 16      $655 ,900.00   Payment            Line of Credit x5270 Personal       $456,369.29
 4      01/19/16       $678,500.00    Payment            Line of Credit x5270 Personal     $1,134,869.29
        01/20/16       -$10,500.00    Sweep fucrease     x5270 Personal Line of Credit     $1,124,369.29
 5      01/21/16       -$20,000.00    Sweep fucrease     x5270 Personal Line of Credit     $1,104,369.29
        01/27/16       -$66,962.63    Sweep fucrease     x5270 Personal Line of Credit     $1,037,406.66
 6      01/27/16       $690,500.00    Payment            Line of Credit x5270 Personal     $1,727,906.66
        02/01/16       -$14,000.00    Sweep fucrease     x5270 Personal Line of Credit     $1,713,906.66
 7      02/02/16      -$225,000.00    Sweep fucrease     x5270 Personal Line of Credit     $1,488,906.66
        02/04/16      -$566,305.00    Sweep fucrease     x5270 Personal Line of Credit       $922,601.66
 8      02/05/16         -$9,495.00   Sweep fucrease     x5270 Personal Line of Credit       $913,106.66
        02/08/16         -$4,300.00   Sweep fucrease     x5270 Personal Line of Credit       $880,304.66
 9      02/08/ 16        -$5,000.00   Sweep fucrease     x5270 Personal Line of Credit       $884,604.66
        02/08/16       -$23,502.00    Sweep fucrease     x5270 Personal Line of Credit       $889,604.66
10      02/10/ 16      -$10,000.00    Sweep fucrease     x5270 Personal Line of Credit       $304,544.66
11      02/10/16      -$565,760.00    Sweep fucrease     x5270 Personal Line of Credit       $314,544.66
        03/10/16      -$369,448.00    Sweep fucrease     x5270 Personal Line of Credit       -$64,903 .34
12      03/14/16      -$271 ,988.00   Sweep fucrease     x5270 Personal Line of Credit      -$336,891.34 I
        03/24/ 16     -$139,500.00    Sweep fucrease     x5270 Personal Line of Credit      -$476,391.34
13      03/28/16       $476,392.00    Payment            Line of Credit x5270 Personal              $0.66 I
        04/04/16           -$529.21   futerest Charged                                          -$528.55
14      04/08/ 16     -$420,000.00    Sweep fucrease     x5270 Personal Line of Credit      -$420,528.55 I
        04/11/ 16      -$25,000.00    Sweep fucrease     x5270 Personal Line of Credit      -$445,528.55
15      04/1 1/16           $528.55   Payment            Line of Credit x5270 Personal      -$445,ooo.oo I
        04/11/16       $420,000.00    Payment            Line of Credit x5270 Personal       -$25,000.00
16      04/18/16      -$398,900.00    Sweep fucrease     x5270 Personal Line of Credit      -$423,900.00 I
17      04/19/16       $423 ,900.00   Payment            Line of Credit x5270 Personal              $0.00
        05/03/16           -$170.59   futerest Charged                                          -$170.59 I
18      05/31/ 16           $170.59   Auto Payment       Line of Credit x5270 Personal              $0.00
        06/07/16      -$330,975 .00   Sweep fucrease     x5270 Personal Line of Credit      -$330,975.oo I
19      06/10/16       $318 ,000.00   Payment            Line of Credit x5270 Personal       -$12,975 .00
        06/14/16      -$360,000.00    Sweep fucrease     x5270 Personal Line of Credit      -$372,975.oo I
20      06/15/16       -$66,340.00    Sweep fucrease     x5270 Personal Line of Credit      -$439,315.00
        06/23/16       -$53,206.23    Sweep fucrease     x5270 Personal Line of Credit      -$492,521.23 I
21      06/29/16              $0.23   Payment            Line of Credit x5270 Personal      -$492,521.00
        06/29/ 16      $492,521.00    Payment            Line of Credit x5270 Personal              $0.00 I
22      07/03/16           -$754.26   futerest Charged                                          -$754.26
        07/18/16      -$126,000.00    Sweep fucrease     x5270 Personal   Line of Credit    -$126,754.26 I
23      07/22/16       -$20,000.00    Sweep fucrease     x5270 Personal   Line of Credit    -$146,754.26
24      07/25/16      -$350,000.00    Sweep fucrease     x5270 Personal   Line of Credit    -$496,754.26 I
        07/26/16       -$37,500.00    Sweep fucrease     x5270 Personal   Line of Credit    -$534,254.26
25      07/27/16      -$400,000.00    Sweep fucrease     x5270 Personal   Line of Credit    -$934,254.26 I
        07/27/16       -$37,500.00    Sweep fucrease     x5270 Personal   Line of Credit    -$971 ,754.26
26      07/27/16            $754.26   Payment            Line of Credit   x5270 Personal    -$911,000.00 I
        07/27/16       $533 ,500.00   Payment            Line of Credit   x5270 Personal    -$437,500.00
27      07/28/16       $437,500.00    Payment            Line of Credit   x5270 Personal            $0.00 I
        08/03/16           -$230.36   futerest Charged                                          -$230.36
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 1      08/1 2/16   -$360,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$360,230.36
        08/12/1 6   -$300,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$660,230.36
 2      08/19/ 16    $310,230.36    Payment            Line of Credit x5270 Personal     -$350,000.00 I
        08/19/16     $350,000.00    Payment            Line of Credit x5270 Personal             $0.00
 3      08/23/1 6   -$537,770.00    Sweep fucrease     x5270 Personal Line of Credit     -$537,770.00 I
 4      08/23/ 16    $300,000.00    Payment            Line of Credit x5270 Personal     -$237,770.00
        08/24/ 16          $70.00   Payment            Line of Credit x5270 Personal     -$231,100.00 I
 5      08/24/ 16    $237,700.00    Payment            Line of Credit x5270 Personal             $0.00
        09/03/16        -$464.54    futerest Charged                                         -$464.54 I
 6      09/29/16         $464.54    Payment            Line of Credit x5270 Personal             $0.00
        10/05/16    -$994,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$994,ooo.oo I
 7      10/05/16     $350,000.00    Payment            Line of Credit x5270 Personal     -$644,000.00
        10/1 1/16    $144,000.00    Payment            Line of Credit x5270 Personal     -$500,000.00 I
 8      10/11/16     $500,000.00    Payment            Line of Credit x5270 Personal             $0.00
        10/12/16     -$20,000.00    Sweep fucrease     x5270 Personal Line of Credit      -$20,000.00 I
 9      10/13/16     -$40,000.00    Sweep fucrease     x5270 Personal Line of Credit      -$60,000.00
        10/13/16      $60,000.00    Payment            Line of Credit x5270 Personal             $0.00 I
10      10/21/16    -$200,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$200,000.00
11      10/24/16     $200,000.00    Payment            Line of Credit x5270 Personal             $0.00 I
        10/25/16    -$200,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$200,000.00
12      10/27/16    -$292,740.00    Sweep fucrease     x5270 Personal Line of Credit     -$492,740.00 I
        10/31/ 16    $492,740.00    Payment            Line of Credit x5270 Personal             $0.00
13      11/03/ 16       -$655.52    futerest Charged                                         -$655 .52 I
        11/14/16    -$130,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$130,655 .52
14      11/ 14/16   -$100,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$230,655 .52 I
        11/14/ 16     $30,000.00    Payment            Line of Credit x5270 Personal     -$200,655.52
15      11/14/ 16    $200,655.52    Payment            Line of Credit x5270 Personal             $0.00 I
        11/28/ 16   -$300,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$300,000.00
16      11/29/16    -$431 ,812.00   Sweep fucrease     x5270 Personal Line of Credit     -$731,812.00 I
17      11/29/16     $731 ,812.00   Payment            Line of Credit x5270 Personal             $0.00
        12/03/16         -$28.68    futerest Charged                                          -$28 .68 I
18      12/27/16     -$40,000.00    Sweep fucrease     x5270 Personal   Line of Credit    -$40,028 .68
        12/29/16           $28.68   Auto Payment       Line of Credit   x5270 Personal    -$40,000.00 I
19      01/03/ 17    -$50,000.00    Sweep fucrease     x5270 Personal   Line of Credit    -$90,000.00
        01/03/17         -$47.20    futerest Charged                                      -$90,041.20 I
20      01/09/17    -$377,252.00    Sweep fucrease     x5270 Personal Line of Credit     -$467 ,299 .20
        01/09/17           $47.20   Payment            Line of Credit x5270 Personal     -$467,252.00 I
21      01/09/17      $90,000.00    Payment            Line of Credit x5270 Personal     -$377,252.00
        01/11/17     -$25,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$402,252.00 I
22      01/12/ 17    -$22,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$424,252.00
        01/12/17     -$13,333.00    Sweep fucrease     x5270 Personal Line of Credit     -$437,585.oo I
23      01/17/17    -$350,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$787,585.00
24      01/17/17     $437,585.00    Payment            Line of Credit x5270 Personal     -$350,000.00 I
        01/23/17     $350,000.00    Payment            Line of Credit x5270 Personal             $0.00
25      01/30/17     -$14,000.00    Sweep fucrease     x5270 Personal Line of Credit      -$14,ooo.oo I
        01/30/17     -$10,267.00    Sweep fucrease     x5270 Personal Line of Credit      -$24,267.00
26      01/30/17     -$10,000.00    Sweep fucrease     x5270 Personal Line of Credit      -$34,267.oo I
        01/31/17    -$312,250.00    Sweep fucrease     x5270 Personal Line of Credit     -$346,517.00
27      01/31/17     $346,517.00    Payment            Line of Credit x5270 Personal             $0.00 I
        02/03/ 17       -$599.89    futerest Charged                                         -$599.89
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 1      02/06/17     -$350,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$350,599.89
        02/07/17      -$20,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$370,599.89
 2      02/09/17          $599.89    Payment            Line of Credit   x5270 Personal     -$370,000.00 I
        02/09/ 17     $370,000.00    Payment            Line of Credit   x5270 Personal             $0.00
 3      03/01/17             $0.00   Loan Renewal                                                   $0.00 I
 4      03/03/ 17        -$111.98    futerest Charged                                            -$111.98
        03/29/17          $111.98    Auto Payment       Line of Credit   x5270 Personal             $0.00 I
 5      01/08/ 18    -$550,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$550,000.00
        01/11/18      $550,000.00    Payment            Line of Credit   x5270 Personal             $0.00 I
 6      02/03/18         -$203.42    futerest Charged                                            -$203.42
        03/01/18          $203.42    Auto Payment       Line of Credit x5270 Personal               $0.00 I
 7      04/04/18     -$150,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$150,000.00
        04/04/18          -$19.52    futerest Charged                                       -$150,019.52 I
 8      04/05/ 18    -$150,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$300,019.52
        04/09/18            $19.52   Payment            Line of Credit   x5270 Personal     -$300,000.00 I
 9      04/09/18      $300,000.00    Payment            Line of Credit   x5270 Personal             $0.00
        04/11/18     -$715,870.00    Sweep fucrease                                         -$715,810.00 I
10      04/11/18      $715 ,870.00   Payment            Line of Credit   x5270 Personal             $0.00
11      05/03/18         -$156.16    futerest Charged                                            -$156.16 I
        05/ 16/18    -$900,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$900,156.16
12      05/16/18          $156.16    Payment            Line of Credit x5270 Personal       -$900,000.00 I
        05/ 16/ 18    $900,000.00    Payment            Line of Credit x5270 Personal               $0.00
13      05/17/18     -$750,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$750,000.00 I
        05/ 17/18    -$250,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,000,000.00
14      05/17/18      $100,000.00    Payment            Line of Credit x5270 Personal       -$900,000.00 I
        05/17/ 18     $900,000.00    Payment            Line of Credit x5270 Personal               $0.00
15      08/23/18     -$400,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$400,000.00 I
        08/23/18      $400,000.00    Payment            Line of Credit x5270 Personal               $0.00
16      09/03/18         -$383.56    futerest Charged                                            -$383 .56 I
17      09/ 17/18    -$850,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$850,383.56
        09/17/18     -$100,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$950,383.56 I
18      09/19/18          $383.56    Payment            Line of Credit   x5270 Personal     -$950,000.00
        09/ 19/18     $950,000.00    Payment            Line of Credit   x5270 Personal             $0.00 I
19      10/03/ 18        -$260.27    futerest Charged                                            -$260.27
        10/11/ 18    -$450,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$450,260.21 I
20      10/15/18     -$300,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$750,260.27
        10/15/18     -$200,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$950,260.27 I
21      10/15/ 18     $950,000.00    Payment            Line of Credit   x5270 Personal          -$260.27
        10/16/18     -$364,500.00    Sweep fucrease     x5270 Personal   Line of Credit     -$364,760.27 I
22      10/16/ 18         $260.67    Payment            Line of Credit   x5270 Personal     -$364,499.60
        10/17/ 18    -$600,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$964,499.60 I
23      10/19/18      $200,000.00    Payment            Line of Credit   x5270 Personal     -$764,499.60
24      10/22/18     -$300,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,064,499.60 I
        10/22/ 18     -$50,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,114,499.60
25      10/22/1 8     $735 ,000.00   Payment            Line of Credit   x5270 Personal     -$379,499.60 I
        10/23/18     -$270,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$649,499.60
26      10/23/18     -$115,075.00    Sweep fucrease     x5270 Personal   Line of Credit     -$764,574.60 I
        10/23/18      $494,575.00    Payment            Line of Credit   x5270 Personal     -$269,999.60
27      10/24/18      $270,000.00    Payment            Line of Credit   x5270 Personal             $0.4o I
        10/30/18     -$995,750.00    Sweep fucrease     x5270 Personal   Line of Credit     -$995,749.60
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 1      10/30/18    -$140,000.00    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,135,749.60
        10/30/18      $20,000.00    Payment            Line of Credit   x5270 Personal   -$1 ,115,749.60
 2      10/30/18     $120,000.00    Payment            Line of Credit   x5270 Personal     -$995 ,749.60 I
        10/30/18     $995 ,750.00   Payment            Line of Credit   x5270 Personal              $0.40
 3      11/02/18     -$95,000.00    Sweep Increase     x5270 Personal   Line of Credit      -$94,999.60 I
        11/03/ 18     -$1,053.12    Interest Charged                                        -$96,052.72
 4      11/05/18    -$400,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$496,052.72 I
 5      11/09/18       $1 ,052.74   Payment            Line of Credit   x5270 Personal     -$494,999.98
        11/09/18     $495 ,000.00   Payment            Line of Credit   x5270 Personal              $0.02 I
 6      11/19/18    -$300,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$299 ,999 .98
        11/19/18    -$100,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$399,999.98 I
 7      11/19/18     -$75,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$474,999.98
        11/20/18     $475 ,000.00   Payment            Line of Credit   x5270 Personal              $0.02 I
 8      11/26/18    -$995,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$994,999.98
        11/30/18     $995 ,000.00   Payment            Line of Credit   x5270 Personal              $0.02
 9      12/03/18        -$925.58    Interest Charged                                            -$925 .56
        12/14/18    -$450,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$450,925 .56 I
10      12/14/ 18        $925.56    Payment            Line of Credit   x5270 Personal     -$450,000.00
11      12/14/18     $450,000.00    Payment            Line of Credit   x5270 Personal              $0.00 I
        01/03/19    -$850,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$850,000.00
12      01/03/ 19    $850,000.00    Payment            Line of Credit   x5270 Personal              $0.00 I
        01/07/19    -$500,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$500,000.00
13      01/1 5/19   -$560,000.00    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,060,000.00 I
        01/15/ 19    -$40,000.00    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,100,000.00
14      01/15/19     $950,000.00    Payment            Line of Credit   x5270 Personal     -$150,000.00 I
        01/17/19     $150,000.00    Payment            Line of Credit   x5270 Personal              $0.00
15      01/23/19    -$650,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$650,000.00 I
        01/24/ 19    $650,000.00    Payment            Line of Credit   x5270 Personal              $0.00
16      01/25/19    -$450,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$450,000.00 I
        01/30/19     $450,000.00    Payment            Line of Credit   x5270 Personal              $0.00
17      02/03/19      -$1,084.93    Interest Charged                                          -$1 ,084.93 I
18      02/07/19    -$350,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$351,084.93
        02/08/19     $200,000.00    Payment            Line of Credit   x5270 Personal     -$151,084.93 I
19      02/ 11/19    $151 ,084.93   Payment            Line of Credit   x5270 Personal              $0.00
        02/19/19    -$600,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$600,000.00 I
20      02/19/19     $300,000.00    Payment            Line of Credit   x5270 Personal     -$300,000.00
        02/20/19    -$700,000.00    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,000,000.00 I
21      02/20/19    -$100,000.00    Sweep Increase     x5270 Personal   Line of Credit   -$1 ,100,000.00
        02/20/19     $150,000.00    Payment            Line of Credit   x5270 Personal     -$950,000.00 I
22      02/20/19     $950,000.00    Payment            Line of Credit   x5270 Personal              $0.00
        02/22/19    -$400,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$400,000.00 I
23      02/22/19    -$300,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$700,000.00
24      02/22/19    -$100,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$800,000.00 I
        02/22/ 19    $800,000.00    Payment            Line of Credit   x5270 Personal              $0.00
25      02/25/19    -$350,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$350,000.00 I
        02/25/19     $350,000.00    Payment            Line of Credit   x5270 Personal              $0.00
26      02/26/19            $0.00   Loan Renewal                                                    $0.00 I
        03/03/ 19       -$166.24    Interest Charged                                            -$166.24
27      03/13/ 19   -$500,000.00    Sweep Increase     x5270 Personal   Line of Credit     -$500,166.24 I
        03/14/19         $166.24    Payment            Line of Credit   x5270 Personal     -$500,000.00
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 1      03/14/19      $500,000.00     Payment            Line of Credit x5270 Personal                $0.00
        03/26/19     -$925,000.00     Sweep fucrease     x5270 Personal Line of Credit       -$925 ,000.00
 2      03/29/19     -$210,000.00     Sweep fucrease     x5270 Personal Line of Credit     -$1 ,135,000.00 I
        03/29/19      $500,000.00     Payment            Line of Credit x5270 Personal       -$635,000.00
 3      04/02/19              $0.00   Loan Renewal                                           -$635,ooo.oo I
 4      04/03/19          -$971.91    futerest Charged                                       -$635,971.91
        04/03/19      $635 ,000.00    Payment            Line of Credit   x5270 Personal           -$971.9 1 I
 5      04/08/ 19    -$600,000.00     Sweep fucrease     x5270 Personal   Line of Credit     -$600,971.91
        04/08/ 19          $971.91    Payment            Line of Credit   x5270 Personal     -$600,000.00 I
 6      04/08/19      $600,000.00     Payment            Line of Credit   x5270 Personal              $0.00
        04/1 5/19    -$840,000.00     Sweep fucrease     x5270 Personal   Line of Credit     -$840,000.00 I
 7      04/15/ 19    -$300,000.00     Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,1 40,000.00
        04/17/19      $190,000.00     Payment            Line of Credit   x5270 Personal     -$950,000.00 I
 8      04/17/ 19     $950,000.00     Payment            Line of Credit   x5270 Personal              $0.00
        04/18/19     -$950,000.00     Sweep fucrease     x5270 Personal   Line of Credit     -$950,000.00 I
 9      04/ 18/ 19   -$190,000.00     Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,1 40,000.00
        04/24/19       $75,000.00     Payment            Line of Credit   x5270 Personal   -$1,065,000.00 I
10      04/24/19      $190,000.00     Payment            Line of Credit   x5270 Personal     -$875,000.00
11      04/24/19      $875 ,000.00    Payment            Line of Credit   x5270 Personal              $0.00 I
        05/01/ 19    -$600,000.00     Sweep fucrease     x5270 Personal   Line of Credit     -$600,000.00
12      05/03/ 19       -$1 ,735.89   futerest Charged                                       -$601,735.89 I
        05/08/19      $500,000.00     Payment            Line of Credit x5270 Personal       -$101,735.89
13      05/10/19      $101 ,000.00    Payment            Line of Credit x5270 Personal             -$735.89 I
        05/13/ 19     -$75,000.00     Sweep fucrease     x5270 Personal Line of Credit        -$75, 735.89
14      05/ 13/ 19     $75,735.89     Payment            Line of Credit x5270 Personal                $0.00 I
        05/20/19     -$950,000.00     Sweep fucrease     x5270 Personal Line of Credit       -$950,000.00
15      05/20/19      $950,000.00     Payment            Line of Credit x5270 Personal                $0.00 I
        05/31/19     -$500,000.00     Sweep fucrease     x5270 Personal Line of Credit       -$500,000.00
16      06/03/ 19    -$800,000.00     Sweep Increase     x5270 Personal Line of Credit     -$1 ,300,000.00 I
17      06/03/19          -$769.34    futerest Charged                                     -$1 ,300,769.34
        06/03/19      $500,000.00     Payment            Line of Credit   x5270 Personal     -$800,769.34 I
18      06/ 10/19          $769.34    futerest Payment   Line of Credit   x5270 Personal     -$800,000.00
        06/10/19      $800,000.00     Payment            Line of Credit   x5270 Personal              $0.00 I
19      07/03/19          -$602.73    futerest Charged                                             -$602.73
        07/08/19     -$140,000.00     Sweep fucrease     x5270 Personal   Line of Credit     -$140,602.73 I
20      07/09/19     -$500,000.00     Sweep fucrease     x5270 Personal   Line of Credit     -$640,602.73
        07/10/19      -$50,000.00     Sweep fucrease     x5270 Personal   Line of Credit     -$690,602. 13 I
21      07/10/19           $602.73    Payment            Line of Credit   x5270 Personal     -$690,000.00
        07/10/19      $690,000.00     Payment            Line of Credit   x5270 Personal              $0.00 I
22      07/ 12/19    -$1 00,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$100,000.00
        07/16/19     -$880,000.00     Sweep fucrease     x5270 Personal   Line of Credit     -$980,000.00 I
23      07/18/19      $980,000.00     Payment            Line of Credit   x5270 Personal              $0.00
24      07/31/19     -$200,000.00     Sweep fucrease     x5270 Personal   Line of Credit     -$200,000.00 I
        08/01/19     -$750,000.00     Sweep fucrease     x5270 Personal   Line of Credit     -$950,000.00
25      08/03/ 19       -$1 ,049.86   futerest Charged                                       -$951,049.86 I
        08/12/19     -$1 00,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,051,049.86
26      08/12/19      -$75,000.00     Sweep fucrease     x5270 Personal Line of Credit     -$1 ,126,049.86 I
        08/12/19      $226,049.86     Payment            Line of Credit x5270 Personal       -$900,000.00
27      08/1 2/19     $900,000.00     Payment            Line of Credit x5270 Personal                $0.00 I
        08/13/19     -$500,000.00     Sweep fucrease     x5270 Personal Line of Credit       -$500,000.00
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 1      08/21/19     -$500,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,000,000.00
        08/28/19       $50,000.00    Payment            Line of Credit x5270 Personal       -$950,000.00
 2      08/28/19      $950,000.00    Payment            Line of Credit x5270 Personal                $0.00 I
        09/03/19       -$2,538.69    futerest Charged                                           -$2,538.69
 3      09/09/19     -$750,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$752,538.69 I
 4      09/09/ 19    -$300,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,052,538.69
        09/12/19      $102,538.69    Payment            Line of Credit   x5270 Personal     -$950,000.00 I
 5      09/ 12/19     $950,000.00    Payment            Line of Credit   x5270 Personal              $0.00
        09/ 16/ 19   -$850,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$850,000.00 I
 6      09/17/19      $850,000.00    Payment            Line of Credit   x5270 Personal              $0.00
        09/18/19     -$500,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$500,000.00 I
 7      09/18/ 19     $200,000.00    Payment            Line of Credit   x5270 Personal     -$300,000.00
        09/18/19      $300,000.00    Payment            Line of Credit   x5270 Personal              $0.00 I
 8      09/23/19     -$940,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$940,000.00
        09/24/19     -$125,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,065,000.00 I
 9      09/27/ 19     -$50,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,115,000.00
        09/27/19      $165 ,000.00   Payment            Line of Credit   x5270 Personal     -$950,000.00 I
10      09/27/19      $950,000.00    Payment            Line of Credit   x5270 Personal              $0.00
11      09/30/19     -$900,000.00    Sweep fucrease     x5270 Personal   Line of Credit     -$900,000.00 I
        10/01/19     -$240,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,1 40,000.00
12      10/02/19      $200,000.00    Payment            Line of Credit   x5270 Personal     -$940,000.00 I
        10/03/19     -$100,000.00    Sweep fucrease     x5270 Personal   Line of Credit   -$1 ,040,000.00
13      10/03/19       -$1,577.39    futerest Charged                                     -$1 ,041,577.39 I
        10/03/ 19     $940,000.00    Payment            Line of Credit x5270 Personal       -$101,577.39
14      10/07/ 19    -$500,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$601,577.39 I
        10/08/19     -$500,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,101,577.39
15      10/09/19      $201,577.39    Payment            Line of Credit x5270 Personal       -$900,000.00 I
        10/09/19      $900,000.00    Payment            Line of Credit x5270 Personal                $0.00
16      10/15/19     -$600,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$600,000.00 I
17      10/15/ 19    -$500,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,1 00,000.00
        10/16/19      -$35,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,135,ooo.oo I
18      11/01/ 19      -$5,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,1 40,000.00
        11/03/19       -$3,484.28    futerest Charged                                     -$1 ,143 ,484.28 I
19      11/13/ 19     $500,000.00    Payment            Line of Credit x5270 Personal       -$643,484.28
        11/14/19     -$388,250.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,031,734.28 I
20      11/14/ 19    -$300,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,331,734.28
        11/14/19      -$29,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,360,734.28 I
21      11/14/19      $850,000.00    Payment            Line of Credit x5270 Personal       -$510,734.28
        11/15/19      -$23,000.00    Sweep fucrease     x5270 Personal Line of Credit       -$533,734.28 I
22      11/ 18/ 19   -$500,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,033 ,734.28
        11/20/19     -$100,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,133,734.28 I
23      12/04/19       -$4,027.59    futerest Charged                                     -$1 ,137,761.87
24      12/1 2/19      -$6,000.00    Sweep fucrease     x5270 Personal Line of Credit     -$1 ,143,761.87 I
        12/30/19        $4,027.59    Auto Payment       Line of Credit x5270 Personal     -$1 ,139,734.28
25      01/04/20       -$4,590.88    futerest Charged                                     -$1 ,144,325.16 I
        01/29/20        $4,590.88    Auto Payment       Line of Credit   x5270 Personal   -$1 ,139,734.28
26      02/04/20       -$4,585.40    futerest Charged                                     -$1 ,144,319.68 I
        02/25/20             $0.00   Loan Renewal                                         -$1 ,1 44,319.68
27      03/02/20        $4,585.40    Auto Payment       Line of Credit   x5270 Personal   -$1 ,139,734.28 I
        03/04/20       -$4,274.00    futerest Charged                                     -$1 ,144,008.28
28
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 1      03/30/20            $4,274.00   Auto Payment       Line of Credit   x5270 Personal   -$1,139,734.28
        04/04/20           -$3,479.92   Interest Charged                                     -$ 1,1 43,214.20
 2      04/29/20            $3,479.92   Auto Payment       Line of Credit   x5270 Personal   -$1,139,734.28 I
        05/04/20           -$3,036.17   Interest Charged                                     -$ 1,1 42,770.45
 3      05/29/20            $3,036.17   Auto Payment       Line of Credit   x5270 Personal   -$1,139,734.28 I
        06/04/20           -$3,137.38   Interest Charged                                     -$ 1,1 42,871.66
 4
        06/29/20            $3,137.38   Auto Payment       Line of Credit   x5270 Personal   -$1,139,734.28 I
 5      07/04/20           -$3,036.17   Interest Charged                                     -$ 1,1 42,770.45
        07/29/20            $3,036.17   Auto Payment       Line of Credit   x5270 Personal   -$1,139,734.28 I
 6      08/04/20           -$3,137.38   Interest Charged                                     -$ 1,1 42,871.66
        08/3 1/20           $3,137.38   Auto Payment       Line of Credit   x5270 Personal   -$1,139,734.28 I
 7      09/04/20           -$3,137.38   Interest Charged                                     -$ 1,1 42,871.66
        09/29/20            $3,137.38   Auto Payment       Line of Credit   x5270 Personal   -$1,139,734.28 I
 8      10/04/20           -$3,036.17   Interest Charged                                     -$ 1,1 42,770.45
        10/29/20            $3,036.17   Auto Payment       Line of Credit   x5270 Personal   -$1,139,734.28 I
 9      11/04/20           -$3,137.38   Interest Charged                                     -$ 1,142,871.66
        11/30/20            $3,137.38   Auto Payment       Line of Credit   x5270 Personal   -$1,139,734.28 I
10      12/04/20           -$3,036.17   Interest Charged                                     -$ 1,1 42,770.45
11      12/29/20            $3,036.17   Auto Payment       Line of Credit   x5270 Personal   -$1,139,734.28 I
        01/04/21           -$3,138.49   Interest Charged                                     -$ 1,1 42,872.77
12      01/29/21            $3,138.49   Auto Payment       Line of Credit   x5270 Personal   -$1,139,734.28 I
        02/04/21           -$3,145.97   Interest Charged                                     -$ 1,142,880.25
13      02/25/21                $0.00   Loan Renewal                                         -$1,142,880.25 I
        03/01/21            $3,145.97   Auto Payment       Line of Credit   x5270 Personal   -$1,139,734.28
14      03/04/21           -$2,841.52   Interest Charged                                     -$1,142,575.80 I
        03/29/21            $2,841.52   Auto Pa ent        Line of Credit   x5270 Personal   -$1,139,734.28
15
16                  111. Using linMM Entities' funds, Horwitz paid $157,473 .72 in interest

17     to CNB on the Horwitz LOC between 201 3 and 2021 as set forth above.

18                    G.         Horwitz Parked Ill-Gotten Gains in the Horwitz LOC

19                  112. Horwitz used the Horwitz LOC account to further launder his Ponzi

20     scheme's ill-gotten gains and to conceal his fraud. He did that by over-paying

21     millions of dollars into the Horwitz LOC account when no monies were due,

22     thereby creating substantial credit balances in the account. The Horwitz LOC

23     account was in an overpaid position repeatedly from July 16, 201 5 to September

24     18, 201 9.

25                  113. On at least 11 occasions, Horwitz transferred money from the

26     1inMM Entities through his personal account to Horwitz LOC account at a time

27     when no balance was owed on the Horwitz LOC and substantially overpaid at

28     least six other times. Those overpayment balances are highlighted in blue in
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 1     paragraph 110 and are summarized as follows:
 2
                    Date         Amount Paid to       Positive Balance on Existing Positive or
 3                               CNB                  Horwitz LOC         Zero Balance at
                                                                          Time of Payment
 4                  9/21/15      $105,000.00          $ 105,000.00
 5                  9/28/ 15     $10,000.00           $ 70,000.00                 Yes
                    10/5/ 15     $345,000             $ 14, 124.3 1
 6                  10/5/ 15     $680,650.00          $ 437,711.3 1
                    10/9/ 15     $375,000.00          $ 605,563.3 1               Yes
 7                  10/ 15/ 15   $285,950.00          $ 757,561.3 1               Yes
                    11/20/ 15    $675,500.00          $ 560,713.84
 8                  11/24/ 15    $590,000.00          $1 ,1 50,713.84             Yes
                    12/ 1/ 15    $485,650.00          $ 656,793.84                Yes
 9                  12/ 1/ 15    $856,750.00          $1 ,513,543.84              Yes
10                  12/2/ 15     $375,500.00          $1 ,889,043.84              Yes
                    1/4/16       $550,000.00          $1 ,135,294.55              Yes
11                  1/4/16       $550,000.00          $1 ,685,294.55              Yes
                    1/15/ 16     $999,999.00          $ 832,088.29
12                  1/19/ 16     $655,900.00          $ 456,369.29
                    1/ 19/ 16    $678,500.00          $1 ,134,869.29              Yes
13                  1/27/ 16     $690,500.00          $1 ,727,906.66              Yes
14
                    114. On February 10, 2016, Horwitz attempted to transfer another
15
       $350,000 into the Horwitz LOC account, but CNB would not allow him to do so,
16
       noting "the reason you are unable to transfer into the line is because of the
17
       substantial credit balance."
18
                    115. Horwitz created these massive credit balances on the Horwitz LOC
19
       at the very same time that Horwitz and the 1inMM Entities were repeatedly in
20
       overdraft positions at CNB on their other accounts. For example, CNB charged
21
       linMM Capital and linMM Productions overdraft fees for NSF items on the
22
       following dates, during this same time period:
23
24                                             12/11/15         -$37.00
                                               12/23/15         -$37.00
25
                                               12/23/ 15        -$37.00
26                                             01/1 2/16        -$37.00

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 1                    H. The CNB Transfers
 2                  116. Horwitz arranged for the following transfers in the total amount of
 3     $63 ,286,439.07 to be made to CNB for balances due on the Horwitz LOC from
 4     property of the linMM Entities (the "CNB Transfers"), all of which he had
 5     fraudulently obtained from investors. Initially, Horwitz transferred these funds
 6     from the l inMM Entities into Horwitz' s personal account (x5270) and then
 7     transferred them from that account to the Horwitz LOC account to repay CNB:
 8
                                           03/ 14/ 13         $58,875.00
 9
                                           03/21/13           $19,687.00
10                                         04/29/13              $748.92
                                           05/29/13              $94 1.62
11                                         05/30/ 13         $110,000.00
12                                         06/20/ 13          $88,700.00
                                           07/29/13            $1 ,697.97
13                                         08/29/ 13           $2,256.69
                                           09/23/ 13          $81 ,000.00
14
                                           10/ 15/13         $100,000.00
15                                         10/25/13          $204,000.00
                                           11/26/13           $30,000.00
16                                         12/17/ 13          $10,000.00
17                                         12/31/ 13         $350,000.00
                                           01/23/ 14         $255,000.00
18                                         02/ 10/ 14         $50,000.00
                                           03/ 13/14         $105,000.00
19
                                           03/20/ 14          $55,000.00
20                                         03/27/ 14          $35,000.00
                                           04/07/14          $180,000.00
21                                         05/29/14            $2,916.16
22                                         06/03/14          $170,000.00
                                           06/ 17/ 14        $165,000.00
23                                         06/24/14          $212,000.00
                                           06/26/14           $64,830.32
24
                                           07/03/14          $107,000.00
25                                         07/29/14            $2,799.68
                                           08/07/14          $150,000.00
26                                         08/29/14            $2,960.25
27                                         09/ 19/ 14         $50,781.25
                                           10/03/14           $40,000.00
28
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 1                                 10/03/ 14         $75,000.00
                                   10/06/ 14         $25,000.00
 2
                                   10/06/ 14        $127,000.00
 3                                 10/06/ 14          $1 ,500.00
                                   10/07/ 14         $30,000.00
 4                                 10/10/ 14         $50,000.00
 5                                 10/14/ 14        $235,000.00
                                   10/31/14          $18,750.00
 6                                 11/10/ 14          $9,300.00
                                   12/22/14         $335,000.00
 7
                                   12/24/ 14         $50,000.00
 8                                 12/26/ 14          $6,000.00
                                   12/26/ 14         $30,000.00
 9                                 12/29/ 14        $408,000.00
10                                 01/05/ 15        $155,175.00
                                   01/07/ 15         $50,000.00
11                                 01/12/15          $81 ,100.00
                                   01/21/15          $36,000.00
12
                                   01/27/ 15         $77,000.00
13                                 01/29/ 15         $33,000.00
                                   02/02/15         $172,500.00
14                                 02/10/ 15         $50,000.00
15                                 02/12/15         $265,000.00
                                   02/17/ 15        $263,500.00
16                                 03/02/15          $48,000.00
                                   03/30/ 15            $297.20
17
                                   04/01/15         $365,000.00
18                                 04/02/15         $300,000.00
                                   04/13/ 15         $97,000.00
19                                 04/22/15         $206,000.00
20                                 04/27/ 15          $5,000.00
                                   05/29/ 15          $1 ,856.78
21                                 06/09/ 15        $265,000.00
                                   06/09/ 15        $253,500.00
22
                                   06/23/ 15        $266,500.00
23                                 07/01/15         $283,698.00
                                   07/02/15          $45,000.00
24                                 07/06/ 15        $532,750.00
25                                 07/31/15         $235,750.00
                                   07/31/15         $170,500.00
26                                 08/10/ 15        $41 0,000.00
                                   08/24/ 15        $350,000.00
27
                                   09/01/15         $266,750.00
28                                 09/03/ 15        $490,750.00
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 1                                 09/08/ 15         $35,886.69
                                   09/08/ 15          $1 ,581.16
 2
                                   09/14/15         $185,000.00
 3                                 09/18/ 15         $31 ,250.00
                                   09/21/15         $105,000.00
 4                                 09/28/ 15         $10,000.00
 5                                 10/05/ 15        $680,650.00
                                   10/05/ 15        $345,000.00
 6                                 10/09/ 15        $375,500.00
                                   10/15/ 15        $285,950.00
 7
                                   11/19/ 15        $258,650.00
 8                                 11/20/ 15        $675,500.00
                                   11/24/15         $590,000.00
 9                                 12/01/15         $485,650.00
10                                 12/01/15         $856,750.00
                                   12/02/15         $375,500.00
11                                 01/04/ 16        $550,000.00
                                   01/04/ 16        $550,000.00
12
                                   01/15/ 16        $999,999.00
13                                 01/19/ 16        $655,900.00
                                   01/19/ 16        $678,500.00
14                                 01/27/ 16        $690,500.00
15                                 03/28/ 16        $476,392.00
                                   04/11/16         $420,000.00
16                                 04/11/16             $528.55
                                   04/19/ 16        $423,900.00
17
                                   05/31/16             $170.59
18                                 06/10/16         $318,000.00
                                   06/29/16                $0.23
19                                 06/29/ 16        $492,521.00
20                                 07/27/ 16        $533,500.00
                                   07/27/ 16            $754.26
21                                 07/28/ 16        $437,500.00
                                   08/19/ 16        $310,230.36
22
                                   08/19/ 16        $350,000.00
23                                 08/23/ 16        $300,000.00
                                   08/24/ 16              $70.00
24                                 08/24/ 16        $237,700.00
25                                 09/29/ 16            $464.54
                                   10/05/ 16        $350,000.00
26                                 10/11/16         $144,000.00
                                   10/11/ 16        $500,000.00
27
                                   10/13/ 16         $60,000.00
28                                 10/24/ 16        $200,000.00
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 1                                 10/31/16         $492,740.00
                                   11/14/ 16        $200,655.52
 2
                                   11/14/ 16         $30,000.00
 3                                 11/29/ 16        $731 ,812.00
                                   12/29/16               $28.68
 4                                 01/09/ 17         $90,000.00
 5                                 01/09/ 17              $47.20
                                   01/17/ 17        $437,585.00
 6                                 01/23/ 17        $350,000.00
                                   01/31/17         $346,517.00
 7
                                   02/09/ 17            $599.89
 8                                 02/09/ 17        $370,000.00
                                   03/29/ 17            $111.98
 9                                 01/11/ 18        $550,000.00
10                                 03/01/18             $203.42
                                   04/09/ 18        $300,000.00
11                                 04/09/18               $19.52
                                   04/11/ 18        $715,870.00
12
                                   05/16/ 18        $900,000.00
13                                 05/16/ 18            $156.16
                                   05/17/ 18        $900,000.00
14                                 05/17/ 18        $100,000.00
15                                 08/23/ 18        $400,000.00
                                   09/19/ 18            $383 .56
16                                 09/19/ 18        $950,000.00
                                   10/15/ 18        $950,000.00
17
                                   10/16/ 18            $260.67
18                                 10/19/ 18        $200,000.00
                                   10/22/18         $735,000.00
19                                 10/23/ 18        $494,575.00
20                                 10/24/ 18        $270,000.00
                                   10/30/18         $995,750.00
21                                 10/30/ 18         $20,000.00
                                   10/30/18         $120,000.00
22
                                   11/09/18         $495,000.00
23                                 11/09/ 18          $1 ,052.74
                                   11/20/ 18        $475,000.00
24                                 11/30/18         $995,000.00
25                                 12/14/18         $450,000.00
                                   12/14/ 18            $925.56
26                                 01/03/ 19        $850,000.00
                                   01/15/ 19        $950,000.00
27
                                   01/17/ 19        $150,000.00
28                                 01/24/ 19        $650,000.00
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 1                                 01/30/ 19         $450,000.00
                                   02/08/ 19         $200,000.00
 2
                                   02/11/19          $151,084.93
 3                                 02/19/ 19         $300,000.00
                                   02/20/ 19         $150,000.00
 4                                 02/20/ 19         $950,000.00
 5                                 02/22/19          $800,000.00
                                   02/25/ 19         $350,000.00
 6                                 03/14/ 19             $166.24
                                   03/14/ 19         $500,000.00
 7
                                   03/29/ 19         $500,000.00
 8                                 04/03/ 19         $635,000.00
                                   04/08/ 19             $971.91
 9                                 04/08/ 19         $600,000.00
10                                 04/17/ 19         $950,000.00
                                   04/17/ 19         $190,000.00
11                                 04/24/ 19         $190,000.00
                                   04/24/ 19          $75,000.00
12
                                   04/24/ 19         $875,000.00
13                                 05/08/ 19         $500,000.00
                                   05/10/ 19         $101,000.00
14                                 05/13/ 19          $75,735.89
15                                 05/20/ 19         $950,000.00
                                   06/03/ 19         $500,000.00
16                                 06/10/ 19             $769.34
                                   06/10/ 19         $800,000.00
17
                                   07/10/ 19             $602.73
18                                 07/10/ 19         $690,000.00
                                   07/18/ 19         $980,000.00
19                                 08/12/19          $226,049.86
20                                 08/12/19          $900,000.00
                                   08/28/ 19         $950,000.00
21                                 08/28/ 19          $50,000.00
                                   09/12/ 19         $102,538.69
22
                                   09/12/19          $950,000.00
23                                 09/17/ 19         $850,000.00
                                   09/18/ 19         $200,000.00
24                                 09/ 18/ 19        $300,000.00
25                                 09/27/ 19         $950,000.00
                                   09/27/ 19         $165,000.00
26                                 10/02/19          $200,000.00
                                   10/03/ 19         $940,000.00
27
                                   10/09/ 19         $900,000.00
28                                 10/09/ 19         $201,577.39
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 1                                         11/ 13/ 19 $500,000.00
                                           11/14/ 19  $850,000.00
 2
                                           12/30/ 19    $4,027.59
 3                                         01/29/20     $4,590.88
                                           03/02/20     $4,585.40
 4                                         03/30/20     $4,274.00
 5                                         04/29/20     $3,479.92
                                           05/29/20     $3,036.17
 6                                         06/29/20     $3,137.38
                                           07/29/20     $3,036.17
 7
                                           08/31/20     $3,137.38
 8                                         09/29/20     $3,137.38
                                           10/29/20     $3,036.17
 9                                         11/30/20     $3,137.38
10                                         12/29/20     $3,036.17
                                           01/29/21     $3,138.49
11                                         03/01/21     $3,145 .97
                                           03/29/21     $2,841.52
12
                                           TOTAL $63,286,439.07
13
14                  117. The total of the CNB Transfers is $63,286,439.07, including
15     principal payments, interest, and fees.
16                  118. Either immediately or within a very short time, Horwitz transferred
17     virtually all of the $64,232,936.05 that CNB loaned to him personally on the
18     Horwitz LOC into one or more of the linMM Entities' business accounts.
19                  119. The $63,286,439.07 that Horwitz transferred to CNB in payment on
20     the Horwitz LOC is traceable to funds belonging to the 1inMM Entities.
21                  120. Attached hereto as Exhibit " 1" and incorporated herein by reference
22     is a spreadsheet reflecting the glaringly fraudulent patterns of transfers made to
23     CNB of property of the 1inMM Entities. The flow of the funds that constitute the
24     CNB Transfers were from the linMM Entities to Horwitz's personal x5270
25     account, and the transfers were then made to CNB.
26                  121 . Exhibit " 1" also shows transfers of the funds that Horwitz borrowed
27     on the Horwitz LOC that were placed in his personal x5270 account, which were
28     then immediately transferred to the linMM Entities accounts (almost always
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 1     1inMM Capital account x0290). These diversions for funds from the Horwitz
 2     LOC to his personal account, and then immediately to the 1inMM Entities’
 3     accounts usually happened on the very same day that CNB advanced the funds.
 4                  122. The following is a chart of the transactions larger than $30,000.00
 5     in which Horwitz moved funds in the 1inMM Entities’ accounts into his personal
 6     account to then transfer those funds to CNB to repay the Horwitz LOC:
 7
               Date          Amount        From Account              To Account
 8             3/14/13       $58,875.00    x1130 1inMM Productions   x5270 Personal
               3/14/13       $58,875.00    x5270 Personal            CNB on Horwitz LOC
 9
10             3/21/13       $19,687.00    x1130 1inMM Productions   x5270 Personal
               3/21/13       $19,687.00    x5270 Personal            CNB on Horwitz LOC
11
               5/30/13       $110,000.00   X0616 OneNMM Prod         x5270 Personal
12             5/30/13       $110,000.00   x5270 Personal            CNB on Horwitz LOC
13             6/20/13       $88,700.00    x1130 1inMM Productions   x5270 Personal
               6/20/13       $88,700.00    x5270 Personal            CNB on Horwitz LOC
14
15             9/23/13       $81,562.00    x1130 1inMM Productions   x5270 Personal
               9/23/13       $81,000.00    x5270 Personal            CNB on Horwitz LOC
16
               10/15/13      $100,000.00   x0290 1inMM Capital       x5270 Personal
17             10/15/13      $100,000.00   x5270 Personal            CNB on Horwitz LOC

18             10/25/13      $205,000.00   x0290 1inMM Capital       x5270 Personal
               10/25/13      $204,000.00   x5270 Personal            CNB on Horwitz LOC
19
20             1/23/14       $260,000.00   x0290 1inMM Capital       x5270 Personal
               1/23/14       $255,000.00   x5270 Personal            CNB on Horwitz LOC
21
               2/10/14       $70,000.00    x0290 1inMM Capital       x5270 Personal
22             2/10/14       $50,000.00    x5270 Personal            CNB on Horwitz LOC

23             3/13/14       $105,000.00   x0290 1inMM Capital       x5270 Personal
               3/13/14       $100,000.00   x5270 Personal            CNB on Horwitz LOC
24
               3/13/14       $60,000.00    x1130 1inMM Productions   x5270 Personal
25             3/13/14       $55,000.00    x5270 Personal            CNB on Horwitz LOC
26
               3/13/14       $37,000.00    x0290 1inMM Capital       x5270 Personal
27             3/13/14       $35,000.00    x5270 Personal            CNB on Horwitz LOC

28             4/07/14       $210,000.00   x0290 1inMM Capital       x5270 Personal
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 1             4/07/14    $180,000.00   x5270 Personal        CNB on Horwitz LOC

 2             6/3/14     $221,000.00   x0290 1inMM Capital   x5270 Personal
               6/3/14     $170,000.00   x5270 Personal        CNB on Horwitz LOC
 3
 4             6/17/14    $165,000.00   x0290 1inMM Capital   x5270 Personal
               6/17/14    $165,000.00   x5270 Personal        CNB on Horwitz LOC
 5
               6/24/14    $212,000.00   x0290 1inMM Capital   x5270 Personal
 6             6/24/14    $212,000.00   x5270 Personal        CNB on Horwitz LOC

 7             7/3/14     $107,000.00   x0290 1inMM Capital   x5270 Personal
               7/3/14     $107,000.00   x5270 Personal        CNB on Horwitz LOC
 8
               8/6/14     $235,000.00   x0290 1inMM Capital   x5270 Personal
 9             8/7/14     $150,000.00   x5270 Personal        CNB on Horwitz LOC
10
               10/3/14    $75,000.00    x0290 1inMM Capital   x5270 Personal
11             10/3/14    $75,000.00    x5270 Personal        CNB on Horwitz LOC

12             10/3/14    $40,000.00    x0290 1inMM Capital   x5270 Personal
               10/3/14    $75,000.00    x5270 Personal        CNB on Horwitz LOC
13
               10/7/14    $30,000.00    x0290 1inMM Capital   x5270 Personal
14             10/7/14    $30,000.00    x5270 Personal        CNB on Horwitz LOC
15
               10/14/14   $236,000.00   x0290 1inMM Capital   x5270 Personal
16             10/14/14   $235,000.00   x5270 Personal        CNB on Horwitz LOC

17             12/22/14   $335,000.00   x0290 1inMM Capital   x5270 Personal
               12/22/14   $335,000.00   x5270 Personal        CNB on Horwitz LOC
18
               12/26/14   $36,000.00    x0290 1inMM Capital   x5270 Personal
19             12/26/14   $36,000.00    x5270 Personal        CNB on Horwitz LOC
20             12/29/14   $408,000.00   x0290 1inMM Capital   x5270 Personal
21             12/29/14   $408,000.00   x5270 Personal        CNB on Horwitz LOC

22             1/5/15     $155,175.00   x0290 1inMM Capital   x5270 Personal
               1/5/15     $155,175.00   x5270 Personal        CNB on Horwitz LOC
23
               1/12/15    $81,100.00    x0290 1inMM Capital   x5270 Personal
24             1/13/15    $81,100.00    x5270 Personal        CNB on Horwitz LOC

25             1/21/15    $36,000.00    x0290 1inMM Capital   x5270 Personal
               1/21/15    $36,000.00    x5270 Personal        CNB on Horwitz LOC
26
27             1/27/15    $63,000.00    x0290 1inMM Capital   x5270 Personal
               1/27/15    $77,000.00    x5270 Personal        CNB on Horwitz LOC
28
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 1             1/29/15   $33,000.00    x0290 1inMM Capital       x5270 Personal
               1/29/15   $33,000.00    x5270 Personal            CNB on Horwitz LOC
 2
               2/2/15    $172,500.00   x0290 1inMM Capital       x5270 Personal
 3             2/2/15    $172,500.00   x5270 Personal            CNB on Horwitz LOC
 4
               2/12/15   $265,000.00   x0290 1inMM Capital       x5270 Personal
 5             2/12/15   $265,000.00   x5270 Personal            CNB on Horwitz LOC

 6             2/17/15   $263,500.00   x0290 1inMM Capital       x5270 Personal
               2/17/15   $263,500.00   x5270 Personal            CNB on Horwitz LOC
 7
               3/2/15    $48,000.00    x0290 1inMM Capital       x5270 Personal
 8             3/2/15    $48,000.00    x5270 Personal            CNB on Horwitz LOC
 9             4/1/15    $373,250.00   x0290 1inMM Capital       x5270 Personal
10             4/1/15    $365,000.00   x5270 Personal            CNB on Horwitz LOC

11             4/2/15    $325,250.00   x0290 1inMM Capital       x5270 Personal
               4/2/15    $300,000.00   x5270 Personal            CNB on Horwitz LOC
12
               4/13/15   $97,000.00    x0290 1inMM Capital       x5270 Personal
13             4/13/15   $97,000.00    x5270 Personal            CNB on Horwitz LOC
14             4/22/15   $216,000.00   x0290 1inMM Capital       x5270 Personal
               4/22/15   $205,000.00   x5270 Personal            CNB on Horwitz LOC
15
16             6/9/15    $265,000.00   x0290 1inMM Capital       x5270 Personal
               6/9/15    $265,000.00   x5270 Personal            CNB on Horwitz LOC
17
               6/9/15    $253,000.00   x0290 1inMM Capital       x5270 Personal
18             6/9/15    $253,000.00   x5270 Personal            CNB on Horwitz LOC

19             6/23/15   $266,500.00   x0290 1inMM Capital       x5270 Personal
               6/23/15   $266,500.00   x5270 Personal            CNB on Horwitz LOC
20
21             7/1/15    $350,000.00   x0290 1inMM Capital       x5270 Personal
               7/1/15    $283,698.00   x5270 Personal            CNB on Horwitz LOC
22
               7/2/15    $51,480.00    x1130 1inMM Productions   x5270 Personal
23             7/2/15    $45,000.00    x5270 Personal            CNB on Horwitz LOC

24             7/6/15    $532,750.00   x0290 1inMM Capital       x5270 Personal
               7/6/15    $532,750.00   x5270 Personal            CNB on Horwitz LOC
25
               7/31/15   $170,500.00   x0290 1inMM Capital       x5270 Personal
26             7/31/15   $170,500.00   x5270 Personal            CNB on Horwitz LOC
27
               8/10/15   $416,000.00   x0290 1inMM Capital       x5270 Personal
28             8/10/15   $410,000.00   x5270 Personal            CNB on Horwitz LOC
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 1
               8/24/15    $350,000.00   x0290 1inMM Capital   x5270 Personal
 2             8/24/15    $350,000.00   x5270 Personal        CNB on Horwitz LOC
 3             9/1/15     $266,750.00   x0290 1inMM Capital   x5270 Personal
 4             9/1/15     $266,750.00   x5270 Personal        CNB on Horwitz LOC

 5             9/3/15     $490,750.00   x0290 1inMM Capital   x5270 Personal
               9/3/15     $490,750.00   x5270 Personal        CNB on Horwitz LOC
 6
               9/14/15    $195,675.00   x0290 1inMM Capital   x5270 Personal
 7             9/14/15    $185,000.00   x5270 Personal        CNB on Horwitz LOC
 8             9/21/15    $105,000.00   x0290 1inMM Capital   x5270 Personal
               9/21/15    $105,000.00   x5270 Personal        CNB on Horwitz LOC
 9
10             10/5/15    $345,000.00   x0290 1inMM Capital   x5270 Personal
               10/5/15    $345,000.00   x5270 Personal        CNB on Horwitz LOC
11
               10/5/15    $680,650.00   x0290 1inMM Capital   x5270 Personal
12             10/5/15    $680,650.00   x5270 Personal        CNB on Horwitz LOC

13             10/9/15    $375,000.00   x0290 1inMM Capital   x5270 Personal
               10/9/15    $375,000.00   x5270 Personal        CNB on Horwitz LOC
14
               10/15/15   $285,950.00   x0290 1inMM Capital   x5270 Personal
15
               10/15/15   $285,950.00   x5270 Personal        CNB on Horwitz LOC
16
               11/19/15   $258,650.00   x0290 1inMM Capital   x5270 Personal
17             11/19/15   $258,650.00   x5270 Personal        CNB on Horwitz LOC

18             11/20/15   $675,500.00   x0290 1inMM Capital   x5270 Personal
               11/20/15   $675,500.00   x5270 Personal        CNB on Horwitz LOC
19
               11/24/15   $590,000.00   x0290 1inMM Capital   x5270 Personal
20             11/24/15   $590,000.00   x5270 Personal
21
               12/1/15    $485,650.00   x0290 1inMM Capital   x5270 Personal
22             12/1/15    $485,650.00   x5270 Personal        CNB on Horwitz LOC

23             12/2/15    $375,500.00   x0290 1inMM Capital   x5270 Personal
               12/2/15    $375,500.00   x5270 Personal        CNB on Horwitz LOC
24
               1/04/16    $550,000.00   x0290 1inMM Capital   x5270 Personal
25             1/04/16    $550,000.00   x5270 Personal        CNB on Horwitz LOC
26             1/04/16    $550,000.00   x0290 1inMM Capital   x5270 Personal
27             1/04/16    $550,000.00   x5270 Personal        CNB on Horwitz LOC

28             1/19/16    $678,500.00   x0290 1inMM Capital   x5270 Personal
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 1             1/19/16    $678,500.00   x5270 Personal        CNB on Horwitz LOC

 2             1/19/16    $655,900.00   x0290 1inMM Capital   x5270 Personal
               1/19/16    $655,900.00   x5270 Personal        CNB on Horwitz LOC
 3
 4             1/27/16    $690,500.00   x0290 1inMM Capital   x5270 Personal
               1/27/16    $690,500.00   x5270 Personal        CNB on Horwitz LOC
 5             3/28/16    $690,750.00   x0290 1inMM Capital   x5270 Personal
               3/28/16    $476,392.00   x5270 Personal        CNB on Horwitz LOC
 6
               4/19/16    $680,750.00   x0290 1inMM Capital   x5270 Personal
 7             4/19/16    $423,900.00   x5270 Personal        CNB on Horwitz LOC
 8             6/10/16    $318,000.00   x0290 1inMM Capital   x5270 Personal
               6/10/16    $318,000.00   x5270 Personal        CNB on Horwitz LOC
 9
10             6/29/16    $912,565.00   x0290 1inMM Capital   x5270 Personal
               6/29/16    $492,521.00   x5270 Personal        CNB on Horwitz LOC
11
               7/27/16    $740,105.00   x0290 1inMM Capital   x5270 Personal
12             7/27/16    $533,500.00   x5270 Personal        CNB on Horwitz LOC

13             7/28/16    $605,900.00   x0290 1inMM Capital   x5270 Personal
               7/28/16    $437,500.00   x5270 Personal        CNB on Horwitz LOC
14
               8/18/16    $440,105.00   x0290 1inMM Capital   x5270 Personal
15
               8/19/16    $342,600.00   x0290 1inMM Capital   x5270 Personal
16             8/19/16    $350,000.00   x5270 Personal        CNB on Horwitz LOC

17             8/22/16    $310,000.00   x0290 1inMM Capital   x5270 Personal
               8/23/16    $300,000.00   x5270 Personal        CNB on Horwitz LOC
18
               8/24/16    $550,240.00   x0290 1inMM Capital   x5270 Personal
19             8/24/16    $237,700.00   x5270 Personal        CNB on Horwitz LOC
20             10/11/16   $636,000.00   x0290 1inMM Capital   x5270 Personal
21             10/11/16   $500,000.00   x5270 Personal        CNB on Horwitz LOC

22             10/13/16   $990,820.00   x0290 1inMM Capital   x5270 Personal
               10/13/16   $60,000.00    x5270 Personal        CNB on Horwitz LOC
23
               10/24/16   $340,000.00   x0290 1inMM Capital   x5270 Personal
24             10/24/16   $200,000.00   x5270 Personal        CNB on Horwitz LOC

25             10/31/16   $810,550.00   x0290 1inMM Capital   x5270 Personal
               10/31/16   $492,740.00   x5270 Personal        CNB on Horwitz LOC
26
27             11/14/16   $350,000.00   x0290 1inMM Capital   x5270 Personal
               11/14/16   $30,000.00    x5270 Personal        CNB on Horwitz LOC
28
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 1             11/29/16   $633,500.00   x0290 1inMM Capital   x5270 Personal
               11/29/16   $598,750.00   x0290 1inMM Capital   x5270 Personal
 2             11/29/16   $731,812.00   x5270 Personal        CNB on Horwitz LOC
 3             1/5/17     $108,827.00   x0290 1inMM Capital   x5270 Personal
 4             1/9/17     $90,000.00    x5270 Personal        CNB on Horwitz LOC

 5             1/17/17    $605,500.00   x0290 1inMM Capital   x5270 Personal
               1/17/17    $437,585.00   x5270 Personal        CNB on Horwitz LOC
 6
               1/23/17    $520,750.00   x0290 1inMM Capital   x5270 Personal
 7             1/23/17    $350,000.00   x5270 Personal
 8             1/31/17    $925,500.00   x0290 1inMM Capital   x5270 Personal
               1/31/17    $346,517.00   x5270 Personal
 9
10             2/09/17    $935,950.00   x0290 1inMM Capital   x5270 Personal
               2/09/17    $370,000.00   x5270 Personal        CNB on Horwitz LOC
11
               1/11/18    $550,000.00   x0290 1inMM Capital   x5270 Personal
12             1/11/18    $550,000.00   x5270 Personal        CNB on Horwitz LOC

13             4/09/18    $300,000.00   x0290 1inMM Capital   x5270 Personal
               4/09/18    $300,000.00   x5270 Personal        CNB on Horwitz LOC
14
               5/16/18    $900,000.00   x0290 1inMM Capital   x5270 Personal
15
               5/16/18    $900,000.00   x5270 Personal        CNB on Horwitz LOC
16
               5/16/18    $950,000.00   x0290 1inMM Capital   x5270 Personal
17             5/17/18    $900,000.00   x5270 Personal        CNB on Horwitz LOC

18             9/19/18    $950,000.00   x0290 1inMM Capital   x5270 Personal
               9/19/18    $950,000.00   x5270 Personal        CNB on Horwitz LOC
19
               10/15/18   $950,000.00   x0290 1inMM Capital   x5270 Personal
20             10/15/18   $950,000.00   x5270 Personal        CNB on Horwitz LOC
21
               10/22/18   $735,000.00   x0290 1inMM Capital   x5270 Personal
22             10/22/18   $735,000.00   x5270 Personal        CNB on Horwitz LOC

23             10/23/18   $494,575.00   x0290 1inMM Capital   x5270 Personal
               10/23/18   $494,575.00   x5270 Personal        CNB on Horwitz LOC
24
               10/24/18   $270,000.00   x0290 1inMM Capital   x5270 Personal
25             10/24/18   $270,000.00   x5270 Personal        CNB on Horwitz LOC
26             10/30/18   $995,750.00   x0290 1inMM Capital   x5270 Personal
27             10/30/18   $995,750.00   x5270 Personal        CNB on Horwitz LOC

28             10/30/18   $140,000.00   x0290 1inMM Capital   x5270 Personal
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 1             10/30/18   $120,000.00   x5270 Personal            CNB on Horwitz LOC

 2             11/9/18    $495,000.00   x0290 1inMM Capital       x5270 Personal
               11/9/18    $495,000.00   x5270 Personal            CNB on Horwitz LOC
 3
 4             11/20/18   $475,000.00   x0290 1inMM Capital       x5270 Personal
               11/20/18   $475,000.00   x5270 Personal
 5
               11/29/18   $995,000.00   x0290 1inMM Capital       x5270 Personal
 6             11/30/18   $995,000.00   x5270 Personal            CNB on Horwitz LOC

 7             1/15/19    $950,000.00   x0290 1inMM Capital       x5270 Personal
               1/15/19    $950,000.00   x5270 Personal            CNB on Horwitz LOC
 8
               1/17/19    $150,000.00   x0290 1inMM Capital       x5270 Personal
 9             1/17/19    $150,000.00   x5270 Personal            CNB on Horwitz LOC
10
               1/24/19    $650,000.00   x0290 1inMM Capital       x5270 Personal
11             1/24/19    $650,000.00   x5270 Personal            CNB on Horwitz LOC

12             1/30/19    $450,000.00   x0290 1inMM Capital       x5270 Personal
               1/30/19    $450,000.00   x5270 Personal            CNB on Horwitz LOC
13
               2/8/19     $200,000.00   x0290 1inMM Capital       x5270 Personal
14             2/8/19     $200,000.00   x5270 Personal            CNB on Horwitz LOC
15
               2/19/19    $300,000.00   x1130 1inMM Productions   x5270 Personal
16             2/19/19    $300,000.00   x5270 Personal            CNB on Horwitz LOC

17             2/20/19    $950,000.00   x0290 1inMM Capital       x5270 Personal
               2/20/19    $950,000.00   x5270 Personal            CNB on Horwitz LOC
18
               2/20/19    $150,000.00   x0290 1inMM Capital       x5270 Personal
19             2/20/19    $150,000.00   x5270 Personal            CNB on Horwitz LOC
20             2/22/19    $800,000.00   x0290 1inMM Capital       x5270 Personal
21             2/22/19    $800,000.00   x5270 Personal            CNB on Horwitz LOC

22             3/14/19    $650,000.00   x0290 1inMM Capital       x5270 Personal
               3/14/19    $500,000.00   x5270 Personal            CNB on Horwitz LOC
23
               3/29/19    $500,000.00   x0290 1inMM Capital       x5270 Personal
24             3/29/19    $500,000.00   x5270 Personal            CNB on Horwitz LOC

25             04/03/19   $635,000.00   x0290 1inMM Capital       x5270 Personal
               04/03/19   $635,000.00   x5270 Personal            CNB on Horwitz LOC
26
27             4/8/19     $650,000.00   x0290 1inMM Capital       x5270 Personal
               4/8/19     $600,000.00   x5270 Personal            CNB on Horwitz LOC
28
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 1             4/17/19    $190,000.00   x0290 1inMM Capital   x5270 Personal
               4/17/19    $190,000.00   x5270 Personal        CNB on Horwitz LOC
 2
               4/17/19    $950,000.00   x0290 1inMM Capital   x5270 Personal
 3             4/17/19    $950,000.00   x5270 Personal        CNB on Horwitz LOC
 4
               4/24/19    $950,000.00   x0290 1inMM Capital   x5270 Personal
 5             4/24/19    $950,000.00   x5270 Personal        CNB on Horwitz LOC

 6             4/24/19    $250,000.00   x0290 1inMM Capital   x5270 Personal
               4/24/19    $190,000.00   x5270 Personal        CNB on Horwitz LOC
 7
               5/8/19     $600,000.00   x0290 1inMM Capital   x5270 Personal
 8             5/8/19     $500,000.00   x5270 Personal        CNB on Horwitz LOC
 9             5/10/19    $102,000.00   x0290 1inMM Capital   x5270 Personal
10             5/10/19    $101,000.00   x5270 Personal        CNB on Horwitz LOC

11             6/3/19     $500,000.00   x0290 1inMM Capital   x5270 Personal
               6/3/19     $500,000.00   x5270 Personal        CNB on Horwitz LOC
12
               6/10/19    $900,000.00   x0290 1inMM Capital   x5270 Personal
13             6/10/19    $800,000.00   x5270 Personal        CNB on Horwitz LOC
14             7/10/19    $690,000.00   x0290 1inMM Capital   x5270 Personal
               7/10/19    $690,000.00   x5270 Personal        CNB on Horwitz LOC
15
16             7/17/19    $545,000.00   x0290 1inMM Capital   x5270 Personal
               7/17/19    $950,000.00   x0290 1inMM Capital   x5270 Personal
17             7/17/19    $980,000.00   x5270 Personal        CNB on Horwitz LOC

18             08/12/19   $900,000.00   x0290 1inMM Capital   x5270 Personal
               08/12/19   $900,000.00   x5270 Personal        CNB on Horwitz LOC
19
               8/28/19    $950,000.00   x0290 1inMM Capital   x5270 Personal
20             8/28/19    $950,000.00   x5270 Personal        CNB on Horwitz LOC
21
               8/28/19    $80,000.00    x0290 1inMM Capital   x5270 Personal
22             8/28/19    $50,000.00    x5270 Personal        CNB on Horwitz LOC

23             9/12/19    $950,000.00   x0290 1inMM Capital   x5270 Personal
               9/12/19    $950,000.00   x5270 Personal        CNB on Horwitz LOC
24
               9/17/19    $856,000.00   x0290 1inMM Capital   x5270 Personal
25             9/17/19    $850,000.00   x5270 Personal        CNB on Horwitz LOC
26             9/18/19    $300,000.00   x0290 1inMM Capital   x5270 Personal
27             9/18/19    $300,000.00   x5270 Personal        CNB on Horwitz LOC

28             9/27/19    $950,000.00   x0290 1inMM Capital   x5270 Personal
                                                 93
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 1             9/27/19       $950,000.00      x5270 Personal            CNB on Horwitz LOC

 2             9/27/19       $215,000.00      x0290 1inMM Capital       x5270 Personal
               9/27/19       $165,000.00      x5270 Personal            CNB on Horwitz LOC
 3
 4             10/2/19       $200,000.00      x0290 1inMM Capital       x5270 Personal
               10/2/19       $200,000.00      x5270 Personal            CNB on Horwitz LOC
 5
               10/09/19      $900,000.00      x0290 1inMM Capital       x5270 Personal
 6             10/09/19      $900,000.00      x5270 Personal            CNB on Horwitz LOC

 7             11/13/19      $500,000.00      x0290 1inMM Capital       x5270 Personal
               11/13/19      $500,000.00      x5270 Personal            CNB on Horwitz LOC
 8
               11/14/19      $850,000.00      x0290 1inMM Capital       x5270 Personal
 9             11/14/19      $850,000.00      x5270 Personal            CNB on Horwitz LOC
10
11                  123. CNB did not hesitate in continually providing liquidity to Horwitz,
12     loaning him the following sums set forth on an annual basis below to assist
13     Horwitz in perpetrating his Ponzi scheme, despite the ballooning amounts that
14     Horwitz borrowed on the Horwitz LOC, the round numbers involved, the
15     roundtrip transactions, and the obvious fraudulent nature of these transactions:
16
17                                     Year         Money Lent by CNB
                                       2013         $1,630,053.00
18                                     2014         $3,221,100.81
                                       2015         $9,626,907.12
19                                     2016         $11,758,328.12
                                       2017         $1,554,102.00
20                                     2018         $11,016,195.00
                                       2019         $25,426,250.00
21
22                  I.     History of Loan Application Process and CNB’s Extension of
23                         Credit to Horwitz
24                  124. Horwitz’s applied for a line of credit with CNB in early 2013.
25                  125.
26
27
28
                                                       94
                                                  COMPLAINT
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 1
 2                                                    One N Million Productions, LLC
 3     was formed on July 25, 2012
 4                  126.
 5
 6
 7
 8
 9     -
10                  127.
11                              CNB agreed to extend credit to Horwitz, with a cap of
12     $1,140,000, only if the loan was fully secured by his mother's brokerage account.
13
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                                          COMPLAINT
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26                  134. CNB agreed to provide the line of credit facility for Horwitz, setting
27     it up as a personal line of credit, for "personal investments." The Disbursement
28     Request and Authorization stated, "The specific purpose of this loan is: Personal
                                             96
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 1     Expenses.” CNB’s loan papers state that the primary purpose of the loan was for
 2     “personal, family, or household purposes or personal investments.”
 3                  135.
 4
 5
 6                  136.
 7
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13                  137.
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16                  138.
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27                  139.
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                                             97
                                         COMPLAINT
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 2                                                                        .
 3                  140.
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 6                  141.
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       --------     142.
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13                  143.
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16                  144.
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19                  145.
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26                  146.
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                                           98
                                       COMPLAINT
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               I
 5             I
 6                  147.
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10                  148.
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14                  149.
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21                  150.

22
23                  151. On February 27, 2018, CNB also proactively reached out to Horwitz

24     offering to renew the $1,140,000 Horwitz LOC.

25                  152. Horwitz responded to CNB’s offer to renew the Line of Credit and

26     asked about increasing the line.

27                  153.

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                                                  99
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 1
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 4                154.
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 9                155.
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11
12                156.
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14
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16                157. On February 25, 2019, CNB asked Horwitz to confirm he intended
17   to renew the Horwitz LOC.
18                158. On February 26, 2019, Horwitz responded that he did plan on
19   renewing the Horwitz LOC.
20                159. On February 26, 2019, CNB asked Horwitz for documentation
21   regarding his brokerage statements.
22                160. On March 14, 2019, CNB followed up, asking Horwitz for his stated
23   income in connection with their process of underwriting the Horwitz LOC
24   renewal.
25                161. On March 14, 2019, Horwitz responded to CNB’s inquiry regarding
26   his personal income as follows: “Personal income will be $410,000.00 for 2018.
27   Loan out company (ZH ENTERPRISE) income will be $2,443,609.00 for 2018.”
28
                                                100
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 1   CNB did not follow up or ask any further questions.
 2                162. Shortly following Horwitz's explanation that his personal income
 3   was $410,000 for 2018, CNB advanced extraordinarily large amounts, in round
 4   figures, on the Horwitz LOC.
 5                163. In 2019 alone, CNB advanced the following sums to Horwitz into
 6   his personal bank account on the revolving Horwitz LOC:
 7
                                        03/26/ 19          -$925,000.00
 8
                                        03/29/ 19          -$210,000.00
 9                                      04/08/ 19          -$600,000.00
                                        04/ 15/ 19         -$300,000.00
10                                      04/15/ 19          -$840,000.00
                                        04/ 18/ 19         -$190,000.00
11
                                        04/18/ 19          -$950,000.00
12                                      05/01/ 19          -$600,000.00
                                        05/13/ 19           -$75 ,000.00
13                                      05/20/ 19          -$950,000.00
                                        05/31/ 19          -$500,000.00
14
                                        06/03/ 19          -$800,000.00
15                                      07/08/ 19          -$140,000.00
                                        07/09/ 19          -$500,000.00
16                                      07/10/ 19           -$50,000.00
                                        07/ 12/ 19         -$100,000.00
17
                                        07/16/ 19          -$880,000.00
18                                      07/31/ 19          -$200,000.00
                                        08/01/ 19          -$750,000.00
19                                      08/ 12/ 19          -$75,000.00
20                                      08/12/ 19          -$100,000.00
                                        08/ 13/ 19         -$500,000.00
21                                      08/21/ 19          -$500,000.00
                                        09/09/ 19          -$750,000.00
22                                      09/09/ 19          -$300,000.00
23                                      09/ 16/ 19         -$850,000.00
                                        09/18/ 19          -$500,000.00
24                                      09/23/ 19          -$940,000.00
                                        09/24/ 19          -$125,000.00
25                                      09/27/ 19           -$50,000.00
26                                      09/30/ 19          -$900,000.00
                                        10/01/ 19          -$240,000.00
27                                      10/03/ 19          -$100,000.00
                                        10/07/ 19          -$500,000.00
28
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 1                                        10/08/ 19          -$500,000.00
                                          10/15/ 19          -$500,000.00
 2
                                          10/ 15/ 19         -$600, 000.00
 3                                        10/ 16/ 19          -$35,000.00
                                          11/01/ 19            -$5,000.00
 4                                        11/14/ 19          -$388,250.00
                                          11/ 14/ 19          -$29,000.00
 5
                                          11/ 14/ 19         -$300,000.00
 6                                        11/ 15/ 19          -$23,000.00
                                          11/18/ 19          -$500,000.00
 7                                        11/20/ 19          -$100,000.00
                                          12/ 12/ 19           -$6,000.00
 8
                  164. Despite the growing amounts both going into and coming out of the
 9
     Horwitz LOC and their quickening pace, CNB did not investigate. Instead, CNB
10
     continued to advance funds to Horwitz which he used to support his Ponzi
11
     scheme. CNB renewed the Horwitz LOC year after year - 2017, 2018, 2019, and
12
     beyond.
13
                  165. As Horwitz' s inability to generate new funds for his scheme grew in
14
     late 2019, he was unable to pay down the Horwitz LOC.
15
                  166. In November 2019, Horwitz applied for a home equity line of credit.
16
                  167. CNB denied Horwitz's application for a home equity loan.
17
                  168. On February 3, 2020, CNB advised Horwitz that:
18
19                Our credit policy has been updated and we are now required to
20                obtained [sic] details of the loan purpose. In the past 'personal
                  expenses' was sufficient however, we are now required to get the true
21                loan purpose and get more detail. The original loan application on file
22                from 2013 reads 'business purpose. ' Could you please confirm if the
                  loan purpose has changed. If it has changed and now it is for personal
23                expense, please provide what type of expense. If it hasn't change [sic]
24                we will have to convert the loan to a secured business line.
                  169. On February 3, 2020, after Horwitz stopped using the Horwitz LOC,
25
     CNB needed to conform the loan to the reality that Horwitz was not using it for
26
     personal expenses. CNB sent Horwitz an email stating that "the original loan
27
     application on file from 2013 reads 'business purpose."' As forth herein, the
28
                                                       102
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 1   purpose of the original loan as set forth in the loan documentation was, to the
 2   contrary, documented as for personal expenses.
 3                170. Horwitz did not respond to CNB’s February 3, 2020 inquiry, so on
 4   February 6, 2020, CNB followed up with him.
 5                171. On February 6, 2020, Horwitz responded: “The loan is used for
 6   personal expenses including personal investments in home renovations, personal
 7   daily bills and the like.”
 8                172. On the same day, CNB responded that the purpose Horwitz provided
 9   was “sufficient,” and sent him renewal documents to sign on February 12, 2020.
10                173. CNB renewed the Horwitz LOC in 2020 and 2021 despite the
11   inconsistent and incomprehensible explanation given by Horwitz.
12                174. The last extension of credit on the Horwitz LOC was made on
13   December 12, 2019. As of December 12, 2019, the balance owed on the Horwitz
14   LOC was $1,143,761.87.
15                175. After December 12, 2019, no advances or principal payments were
16   made on the Horwitz LOC. Yet, on January 5, 2021, CNB asked if Horwitz would
17   like to “either pay off the line of credit in full, or apply for renewal, or make some
18   other credit request.” CNB sent renewal documents to Horwitz to complete if that
19   is what he wished to do.
20                176. On February 18 and 23, 2021, CNB followed up on the January 5
21   email because the Horwitz LOC was maturing on March 1, 2021.
22                177. Horwitz responded on February 23, 2021, that he planned to pay off
23   the Horwitz LOC and not renew. He was not sure if he would have the funds on
24   March 1 and asked if there was a grace period in which he could pay off the
25   balance after March 1.
26                178. On February 26, 2021, CNB provided further assistance and
27   accommodation to Horwitz and his scheme by extending the maturity date to
28
                                                103
                                             COMPLAINT
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 1   April 1, 2021, and sending a letter amending the Horwitz LOC agreement with
 2   the extension. On March 2, 2021, CNB informed Horwitz that if the Horwitz
 3   LOC “reaches its extended maturity date with an outstanding balance the
 4   collateral account will be liquidated to pay off the balance on the line.”
 5                179. Following Horwitz’s arrest on April 5, 2021, CNB seized the
 6   collateral for the Horwitz LOC, Horwitz’s mother’s brokerage account, and paid
 7   off the balance on the Horwitz LOC.
 8                J.      CNB Issued Misleading Proof of Funds Letters
 9                180. On August 18 and 21, 2017, a CNB employee fielded calls from
10   Anita Busch, a reporter for Deadline, who requested proof of funds, asked about
11   a 1inMM credit facility, and asked how the funds were raised.
12                181. On August 21, 2017, the CNB employee told Horwitz that she had
13   “confirmed with Anita Bush [sic] 1inMM has accounts in good standing with
14   City National Bank and there are funds to cover $5,000,000. I told her I was not
15   able to confirm how funds were raised.”
16                182. CNB did in fact send a proof of fund email to Anita Busch reflecting
17   that there was $5,000,000 in the 1inMM Entities’ accounts as of August 21, 2017.
18                183. Horwitz immediately responded, “Thank you so much . . .        That
19   should certainly suffice and appreciate you not disclosing the ‘how funds were
20   raised’ question --- can’t believe she asked that.”
21                184. Anita Busch wrote an article published in Deadline on August 21,
22   2017, entitled “1inMM Prods. Raises $5M in Funds for Genre Films,” in which
23   Busch wrote “The availability of the funds were confirmed by Deadline with City
24   National Bank.”
25                185. At Horwitz’s request, CNB issued at least two other proof of funds
26   letters at Horwitz’s request regarding CNB’s confirmation of funds on deposit as
27   follows:
28                     a. $5,325,000 as of January 22, 2018 in 1inMM Capital accounts;
                                                   104
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 1                     b. $4,500,000 as of February 8, 2019 in 1inMM Productions account
 2                        (Acct. No. 1130)
 3                186. The February 8, 2019 proof of fund letter verified a $4,500,000
 4   balance in the 1inMM Productions account. The daily balance reflected on the
 5   bank statement for Account x1130 as of the date of the proof of fund letters was
 6   $4,485,879.00.
 7                187. However, that balance was only accomplished because Horwitz
 8   transferred money into the account that day. He then removed it immediately
 9   after the February 8, 2019, letter was prepared.
10                188. Specifically, the 1inMM Productions account (account x1130)
11   started the month with a balance of $1,094.12. The day of the letter, Friday,
12   February 8, 2019, Horwitz made five transfers into 1inMM Productions from
13   1inMM Capital – each transfer just under $1M – totaling $4,499,000. The letter
14   was then issued reflecting a $4.5 million balance. On the next business day,
15   Monday, February 11, 2019, Horwitz transferred $3,206,980 back to 1inMM
16   Capital’s account in four transactions. Then, on February 19, 2019, Horwitz
17   transferred another $1,240,000 back to 1inMM Capital in two transactions – all
18   totaling $4,446,980. The balance in the account at the end of the month was
19   $27,927.31.
20                K.      CNB’s Atypical Banking Procedures
21                189. CNB emailed or called Horwitz to warn him of overdrafts or
22   insufficient funds and allowed him to make deposits to cover the positions rather
23   than return checks or refuse wire instructions. This would provide Horwitz same
24   day credit, enabling him to cover overdrafts in the accounts and to hide from the
25   payees his fraud and his misappropriation.
26                190. From August 20, 2013 through May 7, 2021, CNB issued at least
27   152 overdraft notices and associated charges in the Horwitz’s and the 1inMM
28   Entities’ accounts (the “Overdrafts”). Seven of the Overdrafts were reversed.
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 1   These Overdrafts took place in all of the following accounts:
 2                   a. 1inMM Productions (Acct. No. 1130);
 3                   b. 1inMM Capital (Acct. No. 2944);
 4                   c. Horwitz (Acct. No. 5270);
 5                   d. Lajax Ventures (Acct. No. 7302); and
 6                   e. Rogue Black (Acct. No. 1710).
 7                191.   Horwitz’s personal accounts and the 1inMM Entities’ business
 8   accounts were repeatedly in an overdrawn position, yet CNB failed to terminate
 9   the accounts due to their repeated overdraft positions.
10                192. Instead, CNB enabled Horwitz and his scheme by repeatedly issuing
11   repeated “courtesy” warnings about the Overdrafts.
12                193. For example, on August 21, 2019, CNB sent Horwitz an email
13   stating “The balance in the account is $-408.13. Please cover.”
14                194. On November 15, 2019, CNB warned that Horwitz’s “personal
15   account ending in 5270 is $-28,871.28. Please cover today, prior to noon.”
16                195. On March 3, 2020, CNB sent Horwitz an email advising that four of
17   the accounts were overdrawn as follows:
18                Personal checking ending in xx0501               -$21,740.47
19                Personal checking ending in xx5270               -$9,382.74
20                1inMM Productions LLC acct ending xx1130         -$1,944.02
21                1inMM Capital LLC, acct ending in xx2944         -$13.00
22                196.   On August 3, 2020, CNB sent an email to Horwitz with the subject
23   “1inmm Productions, LLC (1130)” with “High” importance, stating “The balance
24   in the account is $-1,839.56. Please cover.” This was after sending similar
25   overdraft emails regarding the same account on July 27, 2020 ($-3,249.40
26   balance), July 28, 2020 ($-3,249.40 balance), and July 31, 2020 ($-1,817.56
27   balance).
28
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 1                197. After years of covering for Horwitz and assisting his scheme, on
 2   November 12, 2020, after the money had stopped flowing in, CNB advised
 3   Horwitz, “The bank will no longer pay your overdrafts. Please set-up alerts
 4   online. If there are not enough funds in the accounts, items will be returned.”
 5                198. CNB revoked its courtesy notifications about overdrafts on
 6   December 31, 2020.
 7                199. Despite that action, on January 6, 2021, CNB sent a courtesy
 8   notification to Horwitz regarding the 1inMM Capital account, stating “The
 9   balance in the account is $-18.00 (6 days). Please cover.”
10                200. CNB also sent a courtesy overdraft notification to Horwitz on March
11   31, 2021, regarding his personal account and the 1inMM Productions account
12   (Acct. No. 1130).
13                201. The same “courtesy” treatment for Horwitz took place with respect
14   to insufficient funds for wire transactions. CNB knew that on multiple occasions
15   there were insufficient funds to honor wire instructions delivered by Horwitz.
16                202. For example, on April 8, 2019, CNB notified Horwitz that the Wire
17   Department had a wire pending, but there were not enough funds to cover. In
18   response to the notice of insufficient funds, Horwitz replied “Funds are in there
19   now. Sorry about that!” CNB merely replied “Thank you.”
20                203. That April 8, 2019 wire request was for $1,021,730.00 from JJMT.
21   At the time of the wire request, the funds were not in the account. On that day,
22   April 8, 2019, Horwitz arranged for deposits from the following sources to cover
23   this $1,021,730.00 wire transfer, plus an additional payment to JJMT of
24   $988,067.00:
25                   The Northern Trust Company        $1,992,015.00
26                   Pure Health Enterprise            $221,335.00
                     Chroma Travel                     $20,000.00
27
                     Horwitz personal                  $650,000.00
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 1                     Horwitz LOC borrowed funds $600,000.00 (which Horwitz
 2                                                repaid the same day).
 3                204.

 4
 5                                              One such example took place on April 16,

 6   2018, for a $150,000 wire.

 7                205. In another example, on November 1, 2019, CNB notified Horwitz

 8   that for the 1inMM Capital account x0290, “The Wire Department has a

 9   $997,291.00 wire pending. Funds are not available. Please cover so we may remit

10   the wire.” The balance in the account on October 30, 2019, was $56,386,49 until

11   Horwitz transferred $230,000 from his personal account that day and then

12   deposited $739,500 from JJMT and transferred $30,000 into the account from

13   ZJH Enterprise to satisfy his wire request.

14                L.     CNB’s Due Diligence Process and Continual “Reviews” of the

15                       1inMM Capital Account

16                206. CNB conducted reviews and “enhanced due diligence” of Horwitz’s

17   and the 1inMM Entities’ accounts. The few and insignificant questions that CNB

18   asked Horwitz as part of this due diligence was merely an attempt to try to create

19   the illusion that CNB did not know what was going on with Horwitz’s scheme.

20   But CNB did know.

21                207. In addition to the lack of diligence done by CNB when creating the

22   Horwitz LOC discussed above, CNB engaged in little to no due diligence as it

23   watched the high velocity, enormous transfers of funds going back and forth

24   between Horwitz’s personal accounts and the business accounts of the 1inMM

25   Entities.

26                208.

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 7                209.
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12                210.
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15                211.
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20                212.
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23                               This occurred in the same month that Horwitz had
24   stashed as much as $1,713,966 as a credit balance on the Horwitz LOC.
25                213.
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 1                                                                   In fact, as of August 16,
 2   2016, Horwitz had been in an overdraft position on his business and personal
 3   accounts on at least 87 occasions.
 4                214. CNB again renewed the Horwitz LOC for 2017,
 5
 6                215.
 7
 8
 9
10
11
12                216. On October 24, 2017, CNB advised Horwitz that 1inMM Capital
13   was “being reviewed for the wires to and from JJMT Capital, LLC in the month
14   of September 2017 there were (19) incoming sires totaling $16.18MM and (12)
15   outgoing wires to JJMT Capital totaling $11.60MM.”
16                217. Horwitz provided an explanation to CNB as follows:
17                JJMT Capital is our (1inMM Productions and Rogue Black)
18                financing partner for the bulk of our film distribution and finance
                  deals. They provide debt financing in the form of loans (usually 6 –
19                12 months) to acquire the distribution rights to our films and 3rd party
20                films that we license and distribute in Latin America and Europe. We
                  sell our films to Netflix, HBO, SONY, etc in the specific territories.
21
                  September was a particularly heavy month because we licensed
22                multiple films, added a territory in Europe and their previous loans
                  that were made early this year had come full term … indicating the
23
                  re-payment.
24
25                218. One month earlier, on September 14, 2017, Horwitz had responded
26   to an inquiry from CNB about two suspicious wires from JJMT, explaining, “Two
27   wires for the licensing of distribution rights to 2 of our films.” In a highly
28   suspicious manner, Horwitz sought to shut down inquiries and emailed further to
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 1   CNB, "The confirmation email may have been a one time thing but I just received
 2   an email from Donna . . . inquiring about 2 wires from yesterday. Just want to
 3   make sure that this is not a regular occurrence as we do a number of wires
 4   weekly." CNB complied, and Horwitz's account manager replied that "The wire
 5   notices are just a courtesy. I have asked Donna not to send them." Horwitz
 6   responded, "Great - you're the best." His account manager responded, "My
 7   pleasure. Glad to be of service."
 8                219. Horwitz’s explanations of the supposed business activity were ever
 9   changing, but all false. In one month, JJMT went from a financing partner to a
10   licensee of distribution rights. At that time, and at all times before and after that,
11   no money came in from Netflix, HBO, SONY, etc., the companies that Horwitz
12   had represented were licensing film rights.
13                220. On October 24, 20217, Horwitz responded to additional CNB
14   inquiries as follows:
15                [a.] What is the purpose of the incoming and outgoing wires to JJMT
16                Capital?
                  Acquisition of distribution rights to feature films / re-payment of
17                previous loans.
18                [b.] What is the client’s relationship with this entity?
                  Largest debt financier for the acquisition of distribution rights as
19                well as film finance.
20                [c.] Does the client anticipate this activity in the future?
21                There will be a continued relationship with JJMT but as we stated
                  above, September was a particularly heavy month because of the
22                additional films that we distributed in Europe. There will be
                  constant activity moving forward but I do not anticipate it being as
23                heavy…. certainly not on a monthly basis.

24                [d.] Please provide the dollar amounts and frequencies of anticipated
                  monthly wire transfers to/from JJMT.
25                ~$5MM monthly would not surprise me. Could fluctuate a bit up or
                  down depending on deal flow. Especially during and around major
26                film markets such as AFM, Berlin, Cannes, TIFF etc.
27                221. In May 2019, CNB was again reviewing the 1inMM Capital account
28
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 1   x0290 and sent Horwitz an email on May 7, 2019, that stated the following:
 2                We are currently reviewing account number 0290.
 3                Inquiry:
 4                In a previous email, this information was collected on the
                  counterparty, JJMT Capital:
 5
                  “JJMT Capital is (1iMM Productions and Rogue Black) financing
 6                partner for the bulk of their film distribution and finance deals. They
                  provide debt financing in the form of loans (usually 6-12 months) to
 7                acquire the distribution rights to their films and 3rd party films that
                  they license and distribute in Latin America and Europe. They sell
 8                their films to Netflix, HBO, SONY, etc. in the specific territories. The
                  client anticipates future transfers approximately $5MM, with
 9                fluctuations caused by deal flow especially during major film markets
                  such as AFM, Berlin, Cannes, TIFF, Etc.”
10
11                    1) Please confirm that this information is still correct.
                          Also, for your information, it was observed that the
12
                          business is FTB Suspended per California Secretary of
13                        State website.
14                    2) Please update the status with the Secretary of State.
15
                  222. On May 7, 2019, Horwitz responded to the CNB inquiry as follows:
16
                  Hope you are well! The information provided is correct for the most
17                part besides the $5MM of future transfers. The number is the best
                  benchmark per month that may fluctuate upward or downward
18                depending on deal flow … so wanted to specify that this is monthly
                  rather than in total.
19
                  I have been in contact with FTB and have provided all information to
20                get company back in good standing so we should be all set in that
                  regard. Thank for flagging though!
21
                  What is the inquiry regarding? Simply general business relationship?
22
23                223. CNB responded to Horwitz that “This is part of enhanced due
24   diligent and us knowing our clients. The Patriot Act.”
25                224. In June 2019, CNB was advised that Wells Fargo Bank was
26   withholding a wire that 1inMM Capital was trying to send to Pure Health. CNB
27   requested specific information about the wire from Horwitz.
28
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 1                225. Horwitz’s response was incomprehensible and did not fit with his
 2   prior statements about his business model. He provided a copy of a promissory
 3   note and stated, “Unicorn is a film title that Pure Health Enterprise provided funds
 4   to license from 1inMM Capital on December 26, 2019. This payment relfects
 5   [sic] the principal paid for licensing fee as well as interest earned from the
 6   transaction. Promissory note attached.”
 7                226. The promissory note that was attached and reviewed by CNB
 8   reflected a principal payment amount of $728,550.00 with a promise to pay back
 9   $983,370.00, or a 35% return in six months.
10                227. Horwitz’s explanation that Pure Health Enterprises provided funds
11   to 1inMM to license from 1inMM was inconsistent with his prior statement that
12   1inMM was supposedly licensing film rights to Netflix and HBO.
13                228. In November 2019, in response to inquiries from CNB, Horwitz
14   provided the following explanation for his personal income: “Majority of
15   personal income comes from interest income with JJMT Capital depicted by the
16   1099-INTs.”
17                229. Horwitz’s description in November 2019 of his income from as
18   “mostly from interest income from JJMT” was in stark contrast to his prior
19   explanations of his source of income.
20                230. In January 2020, CNB engaged in yet another review referred to as
21   “preliminary.” The email to Horwitz stated the following:
22                   We are conducting a preliminary review on account number
                     0290 for 1inMM CAPITAL, LLC. In order for us to have a
23                   better understanding of the account activity and to correctly
                     document information, we need your assistance in obtaining
24                   additional information regarding the wire activity. This will
                     also help alleviate future reach-outs surrounding these
25                   payments and provide clarity on the overall business model.
26                   ► From 01/04/2019 to 12/30/2019, there was a total of (318)
                     incoming wires ranging from $9,000.00 to $2,977,300.00 –
27                   totaling $278,567,617.00, remitted by JJMT Capital LLC,
                     Movie Fund LLC, and Pure Health Enterprises, Inc. To note,
28
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 1                   there was a total of 347 incoming wires for a one-year span
                     (01/2019 – 12/2019).
 2
                   (318) incoming wires represented 72.10% of the total credits
 3                  to the account for the review period of 01/2019 - 12/2019.
 4                 245 wires remitted from JJMT Capital, totaling
                    $225,471,520.00 (representing 80.94% of the total incoming
 5                  wires)
 6                 51 wires remitted from Movie Fund, totaling $36,984,650.00
                    (representing 13.28% of the total incoming wires)
 7                 22 wires remitted from Pure Health Enterprises, totaling
 8                  $16,111,447.00 (representing 5.78% of the total incoming
                    wires)
 9
                     ► From 01/03/2019 to 12/31/2019, there was a total of (207)
10                   outgoing wires ranging from $100,000.00 to $3,699,702.00,
                     totaling $283,212,958.00, sent to the same counterparties
11                   mentioned-above. To note, there was a total of 282 outgoing
                     wires for a one-year span (01/2019 - 12/2019).
12
13                 (207) outgoing wires represented 73.10% of the total debits
                    for the same review period.
14                 156 outgoing sent to JJMT Capital, totaling $211,683,596.00
15                  (representing 74.74% of the total outgoing wires)
                   35 outgoing sent to Movie Fund, totaling $50,909,412.00
16                  (representing 17.98% of the total outgoing wires)
17                 16 outgoing sent to Pure Health Enterprises, totaling
                    $20,619,950.00 (representing 7.28% of the total outgoing
18
                    wires)
19
                     1)         In prior communications (dated 10/25/2017), an
20                   explanation was provided for the wire activity occurring with
                     one of the client’s financing partner, JJMT Capital which
21                   stated the incoming and outgoing wires represented
                     acquisition of distribution rights to feature films and
22                   repayment of previous loans. Upon further review of the wire
                     activity, the majority of transactions referenced film titles and
23                   appears to fall in line with the client’s line of business as a
                     film finance company. However, in the past, there were a few
24                   instances where funds from the same business entity would
                     remit and receive equivalent amounts on the same and/or
25                   consecutive business days against the account. For example,
                     on 07 /19/18, CNB client 1INMM remitted (3) wires to JJMT
26                   ranging from $928,420 to $1,1062,547 - totaling $2,934,613
                     referencing “Les Nouvelles”, “La Quete” and “Ma Famille”
27                   and on the consecutive day, JJMT sent back (2) wires for
                     $714,200 and $713,600 (no wire references were made).
28                   Another example would be on 08/23/18, 1INMM sent (2)
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 1                 outgoing wires to JJMT Capital LLC and JJMT Capital LLC
                   Profit Sharing for $820,119 each, referencing “The Clapper”
 2                 and received an incoming wire from JJMT Capital LLC on
                   the same day for the exact amount referencing “Re-payment
 3                 Clappers”.
 4                   a.     For the scenarios described above, please provide an
                   explanation for the manner in which the wires were
 5                 conducted.
 6                    b.    As I am not too familiar with how film financing
                   companies are paid, would you kindly provide a little more
 7                 insight on how our client receives payment for the work that
                   they provide and what fees they typically charge? Is it just
 8                 solely interest on the loans they provide and if so, are they
                   included in the re-payments that are observed against the
 9                 account or are they paid separately and to which account?
10                 2) What is the relationship between 1INMM Capital, LLC
                   and the following counterparties, Movie Fund LLC, and Pure
11                 Health Enterprises, Inc.?
12                 3) Lastly, please see the wire details outlined below involving
                   an individual named Matthew M Cole.
13
     Date         Description      Amount        Originator   Beneficiary   Wire Message   Opp
14                                                                                         Account
     04/13/18     Outgoing         $829,384.00                MATTHEW &     CALIBRE        94023918
15                Domestic Wires                              JOYCE COLE
16   04/30/18     Incoming         $650,400.00   MATTHE                     FBO: SOUL      94023918
                  Domestic Wires                 W M.                       TO KEEP
17                                               COLE
     11/02/18     Outgoing         $889,095.00                MATTHEW       SOUL TO        94023918
18                Domestic Wires                              AND JOYCE     KEEP
                                                              COLE
19   11/16/18     Incoming         $742,500.00   MATTHE                     FBO:           94023918
                  Domestic Wires                 W M.                       WELCOME
20                                               COLE                       TO MERCY
     05/23/19     Outgoing         $997,020.00                MATTHEW       WELCOME        94023918
21                Domestic Wires                              COLE          TO MERCY
     05/31/19     Incoming         $741,250.00   MATTHE                     FBO: I         94023918
22                Domestic Wires                 W M.                       REMEMBER
                                                 COLE                       YOU
23   12/27/19     Outgoing         $997,401.00                MATTHEW       I              94023918
                  Domestic Wires                              COLE          REMEMBER
24                                                                          YOU-FILM
     12/27/19     Incoming         $745,500.00   MATTHE                     FBO: I         94023918
25                Domestic Wires                 W M.                       REMEMBER
                                                 COLE                       YOU
26
                   a. What is the detailed purpose of payments for the incoming
27                 wires remitted by Mr. Cole?
28
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 1                   b. What is the relationship between our client and Mr. Cole?
                     And what is Mr. Cole’s line of business/occupation?
 2
                     c. On 12/27/19, why were funds sent to Mr. Cole for
 3                   $997,401 and then returned on the same day for $745,500?
 4                   d. Typically, the wire transactions with this non-client
                     individual involves a set of funds coming in and out for one
 5                   film. However, there were (2) incoming wires referencing
                     “FBO: I Remember You” for equivalent amounts sent in May
 6                   and December. What do these payments represent?
                     There may be additional reach-outs once we review the
 7                   responses provided and as we continue to complete our
                     review of the account(s).
 8
                  231. Horwitz responded to the January 2020 inquiries.
 9
                  232. In response to question (1)(a) in CNB’s January 2020 inquiry,
10
     Horwitz stated:
11
                     Scenario 1 in which funds were sent to JJMT and on the next
12                   day, JJMT sent back 2 wires. This is simply a situation of
                     “rolling” investment into a new investment. JJMT had
13                   realized the end of the term of 3 prior deals and they rolled
                     funds into 2 new deals the following day. Since we/they have
14                   grown so much – there are many instances in which they wait
                     for their prior investments to pay out and then they re-invest
15                   this money into new films (rather than raising outside capital).
                     Scenario 2 seems to simply be a mistake in which 1inMM
16                   Capital accidentally sent funds to both of their accounts for
                     the same film rather than the correct account so they returned
17                   the funds indicated by “re-payment clapper”.
18
                  233. In response to question (1)(b), Horwitz stated:
19
                     1inMM has ownership in all film’s licensed, developed,
20                   financed, produced or distributed by the company and
                     payment structures vary widely depending on what aspect of
21                   the process we are in. Payments come in the form of profit
                     participation based on the exploitation of a film, upfront fees
22                   for producing/acting ran through the company, finance fees
                     for financing a film etc. But mainly we own the rights to film
23                   anywhere between 12-15 years and forever (depending on
                     licensing versus develop in house) so the value add is to
24                   building a substantial library rather than an upfront fee.
25
                  234. In response to question (2) in the January 2020 email, Horwitz
26
     stated, “Financing partners in the same vein as JJMT Capital but on a smaller
27
     scale.”
28
                                                  116
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 1                235. In response to question (3)(a), Horwitz stated, “Licensing of film
 2   rights for said film for exploitation in Latin America.”
 3                236. In response to question (3)(b), Horwitz stated, “Financing of film
 4   rights that dates back to 2013/2014. Unknown regarding occupation.”
 5                237. In response to question (3)(c), Horwitz stated, “Same as JJMT above
 6   – taking a return on a prior investment and ‘rolling’ a portion of that return into
 7   a new investment.”
 8                238. In response to question (3)(d), Horwitz stated:
 9                      The wire for I Remember You on 5/31 was the license the
                        film on 06/03/2019 and this deal matured and was paid out on
10                      12/27 – promissory note attached [see CNBRCVR00003006].
                        Mr. Cole then took a portion of these funds to license a new
11                      film and must have accidentally not changed the name on the
                        wire form that he used 6 months prior (this is a solely a [sic]
12                      guess as to why that is in the memo but the incoming wire on
                        12/27 is for a new film – not “I Remember You”.
13
14                239. CNB took no action in response to Horwitz’s explanation in January
15   2020.
16                240. CNB again reviewed Horwitz’s accounts in March 2021. CNB sent
17   an email inquiry to Horwitz on March 18, 2021 requesting the following
18   information:
19                   We are currently reviewing account activity on the account
20                   relationships of INMM [sic] Capital LLC, 1lNMM
                     Productions LLC, Zachary Horwitz, Layjax Ventures LLC,
21                   Mallory Horwitz, and Rogue Black LLC. In order to complete
22                   this review, I need your assistance with answering the
                     questions below:
23
24                 On account #0290 for 1INMM Capital LLC, there were
                    transfers primarily from MJLZ TRUST/Zachary Horwitz
25                  account #0501 - $750K, and domestic wires from Roque
26                  Black LLC-Film Financing Company (Related Entity/CNB
                    account #1710) totaling $245.4K for the purpose of funding
27                  for film projects. Outgoing debits on the1inMM Capital
28                  account consisted of domestic wires and account transfers.
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 1                   The transfers were primarily disbursed to Zachary Horwitz’
 2                   personal account #5270 totaling $882,354.00. The following
                     activity was conducted over a 13 month period: January 2020
 3                   – January 2021. Please explain the purpose of the transfers
 4                   to/from Zachary Horowitz personal account.
 5                 On the personal account #5270 for Zachary Horwitz, there
 6                  were two credits referencing SBA ZJH Enterprise on
                    07/09/20 $92,600.00 and 06/30/20 $1K. Please explain why
 7                  did these SBA loan disbursements credit a personal account
 8                  versus a business account for ZJH Enterprise?
 9                 On 01/28/21, there was a $9K cash deposit on the personal
10                  account #5270 for Zachary Horwitz. Please provide details
                    of where the cash originated from?
11
                   Please explain the reason for the significant decrease in
12
                    account activity from 2019 to 2020 for the business entities
13                  and client below. Also, please provide the projected revenue
                    for each entity going forward:
14
15                o 1inMM Capital LLC #0290: 2019 – $386MM in credit/debit
                    activity; 2020 only has $1MM in credit/debit activity
16                o 1INMM Productions #1130: 2019 - $4.6 MM in credits and
17                  debits; 2020 - $150K in credits and debits
                  o Layjax Ventures #7302: 2019 - $1.2MM in credits and debits;
18                  2020 - $100K in credits and debits
19                o Rogue Black #1710: 2019 $10MM in credits and debits; 2020
                    - $580K in credits and debits
20                o Zachary Horowitz #5270: 2019 - $66MM in credits / $42MM
21                  in debits; 2020 - $1MM in credit and debit activity
22                241. Horwitz did not respond and CNB followed up on March 22, 2021.
23                242. Horwitz still did not respond, and CNB followed up with an urgent
24   request on March 31, 2021, stating “We need this today.”
25                243. CNB had a new question about FTB suspension status in April 2021.
26   CNB sent Horwitz an email stating:
27
                  Additionally, it has been brought to my attention, the Secretary of
28                State filing for 1inMM Capital LLC is showing a suspended status.
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 1                Since this entity is being used, it will need to be reinstate [sic] with
 2                the Secretary of State. Once the company is reinstated, please send
                  me a copy.
 3
 4                M.    CNB’s Wrongful Conduct Damaged The 1inMM Entities
 5                244. CNB’s wrongful conduct proximately caused damages to the
 6   1inMM Entities in an amount according to proof a trial.
 7                245. As a proximate cause of CNB’s conduct, Horwitz was able to lure
 8   in investor dollars and keep the fraudulent scheme going for years. The investor
 9   deposits in the scheme are at least the following:
10
                                        2013      $    465,000.00
11                                      2014      $ 2,880,125.00
                                        2015      $ 9,264,750.00
12                                      2016      $ 34,967.650.00
13                                      2017      $107,389,100.00
                                        2018      $206,502,944.50
14                                      2019      $349,019,726.00
                                        Total     $710,489,295.50
15
16                246. CNB also received $63,286,439.07 of 1inMM Entities’ property as
17   a result of the CNB Transfers that repaid Horwitz’s obligation on the Horwitz
18   LOC, as well as $710,489,295.50 of transfers of 1inMM Entities’ property to
19   CNB of the Investor Deposit Transfers.
20                                  FIRST CLAIM FOR RELIEF
21                                (For Aiding and Abetting Fraud)
22                247. The Receiver incorporates by this reference paragraphs 1 through
23   246, above, as though set forth herein in full.
24                A.     CNB’s Actual Knowledge
25                248. CNB had actual knowledge of the fraudulent scheme that Horwitz
26   was running through the 1inMM Entities.
27                      (i)    Summary of Key Factors
28                249. The evidence of actual knowledge of the scheme as alleged herein
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 1   is substantial and is summarized by the following key facts known to CNB as of
 2   the dates indicated:
 3                    CNB Knew about the Thousands of Transfers That Horwitz
 4                       Made Among his Business and Personal Accounts
 5                The evidence establishes that CNB had a growing awareness of Horwitz’s
 6                fraudulent scheme beginning as early as March 2013, but indisputably by
 7                December 31, 2013, when CNB knew that Horwitz was moving money
 8                between his personal and business accounts in classic money laundering
 9                patterns, at an accelerating pace and in accelerating amounts.
10                    CNB Knew Horwitz Used the Horwitz LOC for Money
11                       Laundering
12                CNB’s knowledge that Horwitz was using the Horwitz LOC for money
13                laundering is also clearly evident by December 22, 2014. By that time, as
14                CNB saw, Horwitz’s advances and repayments on the Horwitz LOC were
15                more frequent, close in time, and in amounts of hundreds of thousands of
16                dollars. No other inference can be drawn from these patterns of high
17                volume, high value, and high frequency round trip fund transfers that
18                Horwitz was money laundering.
19                   
20
21
22
23
24                    CNB Knew Horwitz Was Concealing Funds at CNB
25                On September 21, 2015, CNB knew that Horwitz was parking money in
26                the Horwitz LOC and that he kept a credit balance as high as $891,513.31
27                in the Horwitz LOC account during the 6-week stretch that he kept money
28
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 1                hidden in the Horwitz LOC through November 2, 2015. On November 20,
 2                2015, just a few weeks later, CNB again allowed Horwitz to park cash in
 3                the Horwitz LOC, keeping a credit balance as high as $1,889,043.84 during
 4                this nearly two-month stretch through January 15, 2016, in which Horwitz
 5                again used the Horwitz LOC to conceal cash. On February 10, 2016, CNB
 6                advised Horwitz that he was unable to put more money in the Horwitz LOC
 7                account “because of the substantial credit balance.” CNB knew that
 8                parking money by creating a multi-million-dollar positive balance in a line
 9                of credit is not the conduct of a legitimate business.
10                    CNB Knew that Horwitz Was Using 1inMM Capital as an
11                      Investment Fund and Was Commingling his Personal Assets
12                      with Investor Funds
13
14
15
16                                    CNB also knew that the funds of investors into 1inMM
17                Capital were being moved immediately to Horwitz personal account and
18                were being used to pay down the Horwitz LOC.
19                    CNB Knew, Acknowledged, Condoned, and Permitted Horwitz
20                      to Commingle Funds Among the Many Accounts Horwitz
21                      Controlled
22
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25                    CNB Cooperated in Concealing Information About Horwitz’s
26                      Scheme
27                In August 2017, CNB knowingly coordinated with Horwitz to conceal
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 1                information about how he was actually raising funds, eliciting a nod of
 2                appreciation from Horwitz – “appreciate you not disclosing the ‘how funds
 3                were raised’ question.”
 4                      (ii)   Commingling Between Personal and Business
 5                250. Further detail regarding CNB’s actual knowledge that Horwitz was
 6   commingling funds and moving them between his personal and business
 7   accounts as part of a fraudulent scheme is summarized as follows.
 8                251. Beginning as early as March 14, 2013, CNB knew that Horwitz
 9   borrowed money on the personal Horwitz LOC and moved the loan proceeds that
10   same day into the 1inMM Entities’ accounts.
11                252. CNB knew that this pattern of borrowing substantial sums on the
12   Horwitz LOC and immediately transferring the loan proceeds to the 1inMM
13   Entities’ accounts only continued to grow and speed up from March 2013 through
14   December 2019.
15                253. CNB knew that Horwitz treated his personal account at CNB as a
16   “pass-through” account, a recognized marker of Ponzi-style fraud and money
17   laundering.
18                254. CNB knew that Horwitz, on at least 375 occasions, transferred funds
19   from the 1inMM Entities’ accounts to his personal account (x5270), in amounts
20   totaling at least $122,473,328.85, and that virtually all of these transfers were in
21   round, even amounts.
22                255. CNB knew that Horwitz, on at least 491 occasions, transferred funds
23   from his personal account to the 1in MM Entities’ accounts, in amounts totaling
24   at least $90,253,659.82 and that virtually all of these transfers were in round,
25   even amounts.
26                256. CNB knew that JJMT, a party with which the 1inMM Entities did
27   business, had deposited $21,383,449.00 into Horwitz’s personal account. CNB
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 1   also knew that Horwitz transferred those funds out of Horwitz’s personal account
 2   to the 1inMM Entities’ accounts and to pay his personal expenses, including over
 3   $2 million that was used to buy his personal residence.
 4                257. The large amounts that Horwitz transferred back and forth between
 5   and among his business and personal accounts did not serve any business or
 6   economic purpose, but also could not be explained by Horwitz’s stated business
 7   model as no money came into the enterprise, ever, from Netflix or HBO. Rather,
 8   except for the funds that Horwitz repaid to some investors and the funds that he
 9   stole, the funds were just circulating among the personal account, the business
10   accounts, and the Horwitz LOC.
11                258. In the six and a half years from March 2013 to December 2019, CNB
12   was the only party, other than Horwitz, who knew that Horwitz was perpetrating
13   a massive fraud. CNB had unobstructed visibility to Horwitz’s fraudulent
14   scheme. CNB saw him transferring millions of dollars of ill-gotten gains to
15   himself and to CNB on the Horwitz LOC, continually running the money at a
16   very high velocity through both his personal and business accounts without any
17   business or economic purpose or activity, which is highly indicative of illegal
18   money-laundering. There was no other logical explanation for the transactions
19   that occurred at CNB other than that Horwitz was running a Ponzi scheme
20   through CNB.
21                      (iii)   The Horwitz LOC Money Laundering and Fraudulent
22                              Transfers
23                259. Further detail regarding CNB’s actual knowledge that Horwitz was
24   using the Horwitz LOC as a primary tool to keep his fraudulent scheme afloat is
25   summarized as follows.
26                260. CNB knew that it began making advances on the Horwitz LOC on
27   February 5, 2013, ultimately loaning Horwitz a total of $64,232,936.05 on the
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 1   Horwitz LOC. The first principal payment was made by Horwitz on March 14,
 2   2013, using funds that had been wired into his account that day from 1inMM. By
 3   May and June 2013, two more such transactions had taken place, and the numbers
 4   started becoming more frequent and larger as the year wore on, ending 2013 with
 5   a $350,000 payment running from the business account, through Horwitz’s
 6   personal account and to CNB on December 31, 2013. By 2014, the scheme was
 7   in full force as Horwitz repaid over $3 million of borrowed funds using 1inMM
 8   Entities’ funds, all in large round figures, and over $11 million in 2015, and
 9   eventually to over $23 million in 2019.
10                261. CNB not only knew, but handled all of the banking transactions for
11   this fraudulent pattern of payment on the Horwitz LOC and watched it grow
12   bigger, faster, and more egregious as the years wore on. CNB had actual
13   knowledge of the fraudulent scheme as it not only watched it happen but made it
14   happen by extending the line of credit year after year.
15                262. Starting as early as February 22, 2013, CNB had actual knowledge
16   that Horwitz was diverting the advances that he took on the Horwitz LOC from
17   Horwitz’s personal account to the 1inMM Entities’ accounts. From 2013 to 2019,
18   on at least 170 occasions, Horwitz orchestrated these fund diversions often on the
19   very same day that CNB advanced the funds.
20                263. CNB also knew that Horwitz was transferring money from the
21   1inMM Entities’ accounts into his personal account for the purpose of paying
22   back the advances on the Horwitz LOC.
23                264. CNB knew that Horwitz was repaying the Horwitz LOC in round
24   dollar amounts that Horwitz had transferred the same day from the 1inMM
25   Entities’ accounts.
26                265. CNB also knew that Horwitz controlled large sums of cash even as
27   he borrowed against and repaid the Horwitz LOC. Specifically, CNB knew that
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 1   Horwitz parked as much as $1.889 million in the Horwitz LOC account for
 2   extended periods of time, and he did so repeatedly from September 21, 2015 to
 3   February 10, 2016, without any business or economic reason to do so. And CNB
 4   further knew that Horwitz did all of that fast paced, large dollar volume, and
 5   highly suspicious movement of funds between his personal and business accounts
 6   as part of his obvious fraudulent scheme. CNB also knew that the loan advances
 7   that it provided to Horwitz, and his overpayments and parking in the Horwitz
 8   LOC account, served no proper business or economic purpose and could only be
 9   explained by fraudulent activity.
10                266. In December 2019, CNB knew that Horwitz was unable to repay the
11   Horwitz LOC, yet CNB renewed the Horwitz LOC two more times.
12                267. Even after Horwitz’s explanation that he was using the Horwitz
13   LOC – through which he was running tens of millions of dollars - for personal
14   “daily bills and the like,” CNB kept him on as a customer at a time when CNB
15   had actual knowledge that Horwitz was not using the Horwitz LOC for daily bills
16   but instead that Horwitz was laundering tens of millions of dollars through his
17   accounts at CNB.
18                268. In knowingly electing to make the loan advances to Horwitz, CNB
19   played a substantial, active, and key role in Horwitz’s fraudulent scheme.
20   Specifically, CNB advanced funds directly into Horwitz’s checking account,
21   which provided the liquidity that Horwitz needed to perpetuate and rapidly grow
22   the fraudulent scheme that he ran through the 1inMM Entities. As a result of
23   CNB’s willingness to advance funds at Horwitz’s beck and call, CNB allowed
24   Horwitz to continue to operate the scheme using the 1inMM Entities while he
25   defrauded new investors and used funds that CNB provided to pay earlier
26   investors in classic Ponzi scheme style.
27                269. By giving Horwitz access to large sums of cash, CNB allowed
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 1   Horwitz to pay fake returns to his investors and to prolong the fraud for years.
 2   CNB’s participation in the scheme was a substantial factor in causing the injury
 3   to the 1inMM Entities.
 4                270. In this manner, the Horwitz LOC that CNB provided was an integral
 5   part of Horwitz’s fraud. But for CNB’s knowing and substantial assistance, the
 6   fraudulent scheme never would have grown so fast, or so large. Had CNB refused
 7   to provide banking services to Horwitz and refused to lend him tens of millions
 8   of dollars, the Ponzi scheme would have stopped.
 9                      (iv)   The Disconnect to the Stated Business Model
10                271. Further detail regarding CNB’s actual knowledge that Horwitz was
11   running a fraudulent scheme was CNB’s willingness to accept nonsensical,
12   incomplete, and inconsistent explanations and documentation from Horwitz,
13   which is summarized as follows.
14                272. CNB knew that the actual flow of funds through the 1inMM Entities
15   accounts was inconsistent with representations Horwitz had made regarding his
16   business model and with legitimate business activity. CNB knew there was no
17   business or economic reason for the high velocity, large dollar transactions
18   running through the bank and that Horwitz was engaged in classic and egregious
19   money laundering transactions. Horwitz was running a Ponzi scheme through the
20   bank and CNB saw this happening in real time.
21                273. CNB knew that thousands of extremely large round number
22   transactions took place among the accounts at CNB from 2013 to 2021. Round
23   number transfers are a hallmark of financial fraud and are a “red flag” cited in
24   the FFIEC BSA/AML Examination Manual.
25                274. CNB knew that Horwitz was running a fraudulent scheme that was
26   dependent on the credit advances under the Horwitz LOC and the movement of
27   money back and forth between business and personal accounts, yet there was no
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 1   connection to the underlying supposed film financing business Horwitz said he
 2   was running.
 3                275. CNB knew that there were not debits from the 1inMM accounts to
 4   purchase film distribution rights and not even one financial transaction with film
 5   distributors like HBO, Sony, and Netflix for the supposed purchase of those
 6   rights. Such debits would have been consistent with Horwitz’s representations of
 7   the 1inMM Entities’ underlying business model, but they did not exist, because
 8   there were no such transactions.
 9                276. Throughout the course of the banking relationship, CNB knowingly
10   accepted Horwitz’s varying and incomprehensible explanations for his business
11   model that bore no relationship to the flow of funds taking place in Horwitz’s
12   accounts at CNB.
13                277. Federal law requires banks to know their customers and understand
14   their customers' banking behavior. When an entity opens an account, the bank
15   must obtain information concerning the individuals who control the account as
16   well as the nature of the entity's business. To these ends, when establishing an
17   account for an entity, banks classify the entity in accordance with the North
18   American Industry Classification System-i.e., banks assign the entity a “NAICS
19   Code.” CNB applied the NAICS designation for “film finance” to the two
20   primary business accounts through which Horwitz perpetrated his scheme.
21   Despite CNB's recognition that Horwitz’s supposed business model related to
22   film finance, Horwitz did not engage financial transactions that were consistent
23   with that business model.
24                278. Had 1inMM been a legitimate film financing business, CNB would
25   have processed and seen debits from the accounts to purchase film distribution
26   rights. And it would have processed and seen credits in the accounts from film
27   distributors like HBO and Netflix for the purchase of those rights. Instead, once
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 1   investor funds were deposited into the business accounts that Horwitz controlled,
 2   Horwitz either used the funds to repay earlier investors, in Ponzi-like fashion, or
 3   used the funds to repay CNB on the Horwitz LOC, or he stole the funds. CNB
 4   knew that Horwitz’s explanation of the business model did not match the flow of
 5   funds through the CNB Accounts.
 6                279. CNB also knew that Horwitz was reluctant to provide
 7   documentation. In January 2016, when CNB asked Horwitz for documents to
 8   verify income and Horwitz pushed back, CNB nevertheless agreed to renew the
 9   Horwitz LOC without documentation.
10                280. CNB knew on October 24, 2017, that Horwitz’s explanations of the
11   supposed business activity were ever-changing, providing varying explanations
12   of JJMT from a financing partner to a licensee of distribution rights and Horwitz
13   declaring personal (not 1inMM) income from JJMT. Nevertheless, CNB
14   continued to assist Horwitz’s fraudulent scheme and did not ask clarifying
15   questions or close the accounts.
16                281. In 2020, CNB personnel sent Horwitz only superficial questions
17   when it was reviewing his account x0290 and then took no action when he
18   delivered meaningless responses. The only reasonable inference that can be
19   drawn is that CNB was covering its tracks, wanting to make it appear that it was
20   trying to “know its customer,” even as it already knew that its customer was
21   perpetrating a massive Ponzi scheme.
22                      (v)   Voluminous Red Flag Warning Signs
23                282. In addition to CNB’s actual knowledge of Horwitz’s wrongful
24   conduct, the evidence reflects CNB’s actual knowledge of substantial glaring red
25   flags of fraudulent activity.
26                283. On February 8, 2019, CNB knew that Horwitz transferred funds to
27   the 1inMM Productions account for the specific purpose of beefing up the
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 1   balance so that CNB could issue a proof of funds letter verifying the available
 2   balance in the account. CNB knew that Horwitz was moving funds around for
 3   this purpose in order to mislead investors. By issuing letters that it knew to be
 4   misleading for the purpose of defrauding investors and bringing new money into
 5   the enterprise, CNB substantially assisted Horwitz both in breaching his duties to
 6   the 1inMM Entities and in running his fraudulent.
 7                284. In line with the Ponzi-style of movement of funds, Horwitz would
 8   contact CNB in an urgent manner, frequently request urgent or immediate service
 9   to assist with the movement of funds. CNB knew that Horwitz was frantically
10   trying to move funds on an immediate basis.
11                285. CNB knew that Horwitz made urgent requests to transfer funds from
12   MJLZ Trust as soon as the funds “hit the account” and that the transfers of the
13   funds from the personal trust of Horwitz into the 1inMM account on an urgent
14   basis bore no relationship to the business model of the 1inMM Entities. Yet CNB
15   substantially assisted Horwitz in transferring funds to breathe more life into his
16   fraudulent scheme.
17                286. CNB knew that Horwitz did not have sufficient funds to pay an April
18   8, 2019 wire request for $1,021,730.00. Despite its knowledge of Horwitz’s fraud
19   years before April 8, 2019, CNB gave Horwitz yet another courtesy notice and
20   gave him time to defraud yet more in investors and to borrow on the Horwitz
21   LOC to pay the wire out. Then, as CNB’s records reflect, the money that suddenly
22   arrived to cover the wires that day was received from two other investors and the
23   Horwitz LOC, and these funds were then immediately returned to the Horwitz
24   LOC. In classic Ponzi-scheme style, new money came in from new investors to
25   cover the promised returns to earlier investors.
26                287. CNB knew that when Horwitz first approached the bank, his
27   statements lacked credibility.
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 4                288.
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     -                 Instead, CNB, seeing the substantial revenue that the Horwitz LOC was
     generating for it, decided to renew that line of credit and continue substantially
     assisting Horwitz’s fraud.
 8                289. CNB knew that Horwitz resisted providing any documentation when
 9   requested by the bank as part of the bank’s due diligence but nevertheless chose
10   to renew the Horwitz LOC without any documentation.
11                290. CNB knew that Horwitz’s explanation of his personal income from
12   year to year did not match his prior explanations or the funds that were flowing
13   into his personal account.
14                291. CNB knew that, in a classic sign of a Ponzi scheme, 1inMM was
15   paying 35% returns on a 6-month promissory note from 1inMM Capital. CNB
16   knew that 1inMM Capital was taking in investment funds and that 35% returns
17   in 6 months is a red flag warning sign of fraud.
18                292. These circumstances should have triggered Anti-Money Laundering
19   alerts that CNB would have seen, which adds to the circumstances from which
20   CNB’s knowledge of the money laundering, and the fraudulent scheme, can be
21   inferred.
22                B.      CNB’s Substantial Assistance to the Fraudulent Scheme
23                293. With knowledge of the fraudulent scheme and Horwitz’s breaches
24   of his fiduciary duties, CNB substantially assisted Horwitz’s wrongful conduct
25   by providing banking services to Horwitz and the 1inMM Entities that were
26   integral to the scheme and allowed Horwitz’s wrongful conduct to continue.
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 1                294. Without CNB’s substantial assistance, Horwitz’s scheme could not
 2   have succeeded, and Horwitz would not have been able to lure over $710 million
 3   into the fraudulent scheme, stealing more than $32 million for himself, family,
 4   friends, and affiliates, and paying over $63 million to CNB. Horwitz could not
 5   have carried out his scheme unless a compliant financial institution like CNB was
 6   willing to assist him in his fraud and in his money laundering.
 7                295. Beginning in March 2013, CNB’s actions as alleged herein were
 8   substantial factors in causing the damages alleged herein.
 9                296. CNB substantially assisted the fraud by failing to act to shut down
10   or mitigate the fraud despite the fact that it knew of Horwitz’s fraud.
11                297. CNB substantially assisted Horwitz’s fraudulent scheme and his
12   breaches of his fiduciary duties by permitting Horwitz to launder funds through
13   the Horwitz and 1inMM Entities’ accounts without closing those accounts.
14                298. CNB substantially assisted Horwitz’s fraudulent scheme and his
15   breaches of fiduciary duties by repeatedly extending credit on a $1,140,000
16   personal line of credit through which Horwitz laundered over $63 million of
17   funds through his personal and business accounts. CNB substantially assisted the
18   fraud by renewing the Horwitz LOC each year during the pendency of the fraud
19   and allowing Horwitz to amass hundreds of thousands of dollars in the Horwitz
20   LOC for extended periods of time, without question or consequence, knowing
21   that Horwitz was using a personal line of credit to bridge shortfalls in the 1inMM
22   Entities’ business accounts. For this assistance, Horwitz paid CNB at least
23   $157,473.72 in interest.
24                299. CNB substantially assisted Horwitz’s fraudulent scheme and his
25   breaches of fiduciary duties by allowing Horwitz to move tens of millions of
26   dollars back and forth between his business and personal accounts.
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 1                300. CNB substantially assisted Horwitz’s fraudulent scheme and his
 2   breaches of fiduciary duties by processing hundreds of millions of dollars of wire
 3   transfers in furtherance of the ongoing fraud and breaches of fiduciary duties,
 4   including processing large transactions to Horwitz's personal account, despite
 5   knowing that the transactions were inconsistent with the way Horwitz
 6   represented the 1inMM Entities' business would be operating.
 7                301. CNB substantially assisted Horwitz’s fraudulent scheme and his
 8   breaches of fiduciary duties by failing to document reasons for the wires; failing
 9   to identify why the wires were inconsistent with 1inMM Entities’ business model
10   or what the lawful purpose was; failing to obtain coherent explanations about the
11   nature of the transactions; concluding merely that the wires were consistent with
12   prior activity; focusing more on the customer than on the activity; and then failing
13   to act to close the accounts that Horwitz used on daily basis to perpetrate his
14   fraud.
15                302. CNB substantially assisted Horwitz’s fraudulent scheme and his
16   breaches of fiduciary duties by accepting without question nonsensical,
17   inconsistent, and incomplete responses from Horwitz to the bank’s inquiries.
18   CNB knew that Horwitz was laundering funds through the Horwitz LOC and
19   commingling and running those funds through his personal and business
20   accounts.
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22                                    CNB substantially assisted Horwitz’s fraudulent
23   scheme by allowing him to use the Horwitz LOC to float the 1inMM Entities’
24   supposed business while commingling business and personal funds in a manner
25   that served no business purpose and was clearly not for “personal expenses” as
26   documented by CNB.
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 1                303. CNB substantially assisted Horwitz’s fraudulent scheme and his
 2   breaches of fiduciary duties by allowing him to use his personal line of credit for
 3   his fraudulent business purposes and by accepting incomprehensible
 4   explanations about his supposed personal income and his use of the Horwitz
 5   LOC. Then later, on February 6, 2020, when CNB advised Horwitz that the bank
 6   had changed its policy and “personal expenses” was no longer a sufficient
 7   explanation, CNB accepted Horwitz’s explanation that the purpose was “personal
 8   expenses including investments in home renovations, personal daily bills and the
 9   like.” And CNB accepted that explanation of the purpose, stating that purpose
10   Horwitz provided as “sufficient” and once again renewing the Horwitz LOC.
11   CNB did that without seeking an explanation from Horwitz of why or when the
12   purpose of the Horwitz LOC had changed from “business purposes” to “personal
13   expenses” or how he could possibly need tens of millions of dollars for “home
14   renovations, daily bills, and the like.”
15                304. CNB substantially assisted Horwitz’s fraudulent scheme and his
16   breaches of fiduciary duties by adding an air of legitimacy to the scheme. CNB
17   knew that Horwitz touted his relationship with CNB in investor marketing
18   materials and in legal documents he circulated to investors. CNB substantially
19   assisted Horwitz’s fraudulent scheme and his breaches of fiduciary duties by
20   knowingly allowing its name to be used to add an air of legitimacy to Horwitz’
21   fraudulent scheme. As an example, CNB wrote proof of fund letters to customers
22   and others knowing that the letters were misleading as funds were transferred in
23   and out of the accounts to create a false balance. Knowing that Horwitz was
24   moving money into the account to increase the dollar amount to be represented
25   in the letters written on CNB letterhead and, knowing that Horwitz removed the
26   money the very next day, CNB substantially assisted the fraudulent scheme by
27   creating a false impression of legitimacy.
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 1                305. CNB substantially assisted Horwitz’s fraudulent scheme and his
 2   breaches of fiduciary duties by executing and condoning atypical banking
 3   procedures to service Horwitz’s complex series of accounts. These atypical
 4   procedures included creating a special overdraft exception policy for Horwitz and
 5   his entities, as well as to send “courtesy” notices to him, designed to
 6   accommodate routine delinquencies in the 1inMM Entities accounts and in
 7   Horwitz’s personal accounts and ultimately to prevent discovery of Horwitz’s
 8   fraudulent scheme.
 9                306. The account activities in which Horwitz was engaging reflected
10   characteristic indicia of a Ponzi scheme with no associated legitimate investment
11   business. Yet CNB processed all of Horwitz's fraudulent transfers even though it
12   had sophisticated artificial intelligence systems for detecting fraud and other
13   illegal account activity. Despite its knowledge of those sophisticated systems,
14   CNB never took any steps to close Horwitz’s accounts.
15                307. CNB had a strong incentive to continue to support and assist
16   Horwitz’s scheme because Horwitz owed a balance to CNB on the Horwitz LOC
17   and the bank was otherwise making a profit on the volumes of money that
18   Horwitz was moving through the bank. CNB had the motive to substantially
19   assist in the fraud since Horwitz was an important, profitable client for the bank.
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24                308. Without the substantial assistance that CNB provided, the Ponzi
25   scheme would have been discovered earlier by law enforcement authorities and
26   victims of the Ponzi scheme.
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 1                309. As a direct and proximate result of CNB’s aiding and abetting of
 2   fraud, the 1inMM Entities have been damaged in an amount to be determined at
 3   trial, which the Receiver is entitled to recover.
 4                310. The conduct of CNB was intentional, willful, malicious, and
 5   oppressive, which entitles the Receiver to punitive and exemplary damages.
 6                                SECOND CLAIM FOR RELIEF
 7                       (For Aiding and Abetting Breach of Fiduciary Duties)
 8                311. The Receiver incorporates by this reference paragraphs 1 through
 9   310, above, as though set forth herein in full.
10                312. At all relevant times, Horwitz was the managing director of the
11   1inMM Entities and owed fiduciary duties to each of the companies.
12                313. Horwitz owed the 1inMM Entities fiduciary duties of loyalty, care,
13   and to deal honestly and in good faith.
14                314. By running a Ponzi scheme through the 1inMM Entities, by selling
15   promissory notes pursuant to false offering materials, and by misappropriating,
16   commingling, and otherwise misusing investor funds, among other things,
17   Horwitz breached fiduciary duties he owed to the 1inMM Entities.
18                315. Horwitz engaged in a series of actions that injured the 1inMM
19   Entities, including but not limited to looting over $32 million for his personal use
20   and taking actions to prolong the Ponzi scheme.
21                316. CNB had actual knowledge that Horwitz owed a fiduciary duty to
22   the 1inMM Entities.
23                317.
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     -            318. CNB had actual knowledge that Horwitz was breaching his
     fiduciary duties to the 1inMM Entities.
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 1                319. The circumstances alleged herein suggest that it is reasonable to
 2   infer that CNB knew of Horwitz’s breaches of his fiduciary duties at least as of
 3   March 14, 2013.
 4                320. CNB had knowledge that Horwitz was, among other things,
 5   transferring 1inMM Entities’ property to his personal account for his personal
 6   benefit beginning in March 14, 2013.
 7                321. CNB knew in March 2013 that Horwitz was commingling his
 8   personal funds with the funds of the 1inMM Entities.
 9                322.
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11                323. CNB was the only party, other than Horwitz, who knew exactly
12   what Horwitz was doing. CNB had unobstructed visibility to Horwitz’s breaches
13   of fiduciary duties as Horwitz transferred millions of dollars of the ill-gotten
14   gains to himself and to CNB on the Horwitz LOC.
15                324. CNB allowed Horwitz to divert millions of dollars to his own
16   personal account at CNB and to purchase Horwitz’s multimillion- dollar home,
17   pay off his credit card balances and fund a lavish lifestyle.
18                325. CNB knew that Horwitz was otherwise breaching his fiduciary
19   duties to the 1inMM Entities whose funds had been deposited in the 1inMM
20   Entities’ account by his frequent transfer of those funds to his personal account
21   and to repay the Horwitz LOC.
22                326. As set forth herein, CNB knowingly and substantially assisted
23   Horwitz’s breaches of fiduciary duties owed to the 1inMM Entities by permitting
24   Horwitz to run the Ponzi scheme through the CNB accounts, thereby enabling
25   him to defraud the 1inMM Entities to which he owed duties and to steal over $32
26   million of property belonging to the 1inMM Entities, and to obtain over $710
27   million in investor funds through fraud.
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 1                327. As a direct and proximate result of CNB’s aiding and abetting
 2   violations, the Receiver is entitled to damages in an amount to be determined at
 3   trial.
 4                328. The conduct of CNB was intentional, willful, malicious, and
 5   oppressive, which entitles the Receiver to punitive and exemplary damages.
 6                                THIRD CLAIM FOR RELIEF
 7                                        (For Negligence)
 8                329. The Receiver incorporates by this reference paragraphs 1 through
 9   328, above, as though set forth herein in full.
10                330. CNB owed a duty of care to the 1inMM Entities to act as a
11   reasonably prudent bank under the same or similar circumstances.
12                331. CNB had a duty to safeguard the funds of 1inMM Entities.
13                332. After CNB obtained the actual knowledge that Horwitz was engaged
14   in fraudulent conduct, it had the duty to act like a reasonably prudent bank.
15                333. A reasonably prudent bank that obtains actual knowledge that a
16   customer’s management is using it as the vehicle to breach management’s
17   fiduciary duties to the bank’s customer and to defraud its customer’s investors
18   would immediately terminate its banking relationship with that wrongdoing
19   customer.
20                334. CNB breached its legal duty when it failed to terminate Horwitz and
21   his businesses as customers as soon as it discovered that Horwitz was running a
22   Ponzi scheme. Instead, CNB unreasonably maintained a banking relationship
23   with Horwitz and the 1inMM Entities which proximately caused the foreseeable
24   harm suffered by Plaintiff.
25                335. By Order dated January 31, 2024, the Office of the Comptroller of
26   the Currency (the “OCC”) found that CNB engaged in unsafe or unsound
27   practices, including its failure to establish effective risk management and internal
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 1   controls. The OCC also found that CNB violated Bank Secrecy Act (BSA) and
 2   12 CFR Part 9 – Fiduciary Activities of National Banks.
 3                336. The OCC has found that CNB failed to address deficiencies in the
 4   following areas in its policies and procedures: third-party risk management,
 5   enterprise change management, internal controls testing, regulatory issues
 6   management, operational risk event reporting, fraud risk management, and
 7   payments systems operations.
 8                337. The OCC also found that CNB failed to address deficiencies in its
 9   policies and standards relating to the risks associated with money laundering and
10   other illicit financial activity.
11                338. The OCC also found that CNB engaged in unsafe and unsound
12   practices with respect to its: operational risk management, including internal
13   controls; compliance risk management, including BSA/AML and fair lending;
14   strategic risk management; and investment management practices.
15                339. The OCC also found that CNB did not have an adequate Know Your
16   Customer standard as the basis for its customer due diligence program (“CDD
17   Program”) to ensure appropriate collection and analysis of customer information
18   when opening new accounts, when renewing or modifying existing accounts for
19   customers, and that CNB obtained information indicating that it would be prudent
20   to obtain updated information in order to understand the nature of its customer
21   relationships and generate and maintain an accurate customer risk profile.
22                340. The OCC also found that the CDD Program was not consistent with
23   CNB’s money laundering, terrorist financing and other illicit financial activity
24   risk assessment.
25                341. The OCC also found that CNB’s CDD Program did not have
26   adequate standards and procedures to address the following matters:
27                      (a) clear definitions of low-, moderate-, and high-risk customers;
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 1                (b) a methodology for assigning defined risk levels to the customer
 2                base that considers the customer’s entire relationship and
 3                appropriate factors such as type of customer; purpose of the account;
 4                geographic location; level of SAR filing activity, and the expected
 5                account activity by type of service used, including the volume,
 6                velocity, and frequency by dollar amount and number;
 7                (c) risk-based requirements to collect, maintain, and update all
 8                information necessary to establish an accurate customer risk profile
 9                and facilitate ongoing monitoring to identify and report suspicious
10                activity;
11                (d) procedures to ensure staff responsible for gathering CDD
12                information have sufficient authority, training, and skills to perform
13                their assigned responsibilities;
14                (e) procedures for identifying and timely remediating instances
15                where required CDD information is missing or incomplete;
16                (f) procedures for performing adverse media screening on all new
17                customers, as well as a risk-based methodology for adverse media
18                screening on all existing customers;
19                (g) procedures to maintain an accurate and complete list of high-risk
20                customers that identifies current customers and accounts exhibiting
21                high risk characteristics for money laundering, terrorist financing,
22                or other illicit activity; and
23                (h) procedures for ongoing monitoring and periodic reviews of
24                high-risk customers, which shall include, at a minimum:
25                       (i) risk-based criteria establishing how often to conduct
26                       periodic reviews of high-risk customers;
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 1                            (ii) documented evidence of transactional analysis, including
 2                            comparing expected, historical, and current activity, the
 3                            source and use of funds, trends, and activity patterns;
 4                            (iii) documented critical analysis        of all    significant
 5                            information in the file, including the identification of
 6                            significant disparities, investigation of high-risk indicators
 7                            and potentially suspicious activity and level of SAR filing
 8                            activity, and well-supported conclusions; and
 9                            (iv) identification and clearing of any backlogs of high-risk
10                            customer identification reviews to determine appropriate risk
11                            rating and file any required SARs.
12                342. Federal law requires banks to know their customers and understand
13   their customers’ banking behavior. When an entity opens an account, the bank
14   must obtain information concerning the individuals who control the account as
15   well as the nature of the entity’s business. To these ends, when establishing a
16   bank account for an entity, banks classify the entity in accordance with the North
17   American Industry Classification System—i.e., banks assign the entity a “NAICS
18   Code.”
19                343. CNB applied the NAICS designation for “film finance” to the two
20   primary business accounts through which Horwitz perpetrated his scheme.
21   Despite CNB’s recognition that Horwitz’s supposed business model related to
22   film finance, Horwitz did not utilize banking practices that were consistent with
23   that business model.
24                344. A reasonably prudent bank that obtains actual knowledge that a
25   customer is using it as the vehicle to defraud its investors would immediately
26   terminate its banking relationship with that wrongdoing customer. CNB breached
27   its legal duty when it failed to terminate Horwitz and the 1inMM Entities as
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 1   depositors as soon as it discovered they were defrauding investors. Instead, CNB
 2   unreasonably maintained a banking relationship with Horwitz and the 1inMM
 3   Entities, even offering to renew the Horwitz LOC as late as April 2021, just a
 4   month before the SEC 1inMM and the DOJ Actions were filed.
 5                345. CNB breached its duty to act consistent with generally accepted
 6   banking practices.
 7                346. CNB breached its legal duty of care to the 1inMM Entities by
 8   facilitating the commingling of personal and business assets, allowing Horwitz
 9   to transfer money without economic or business reason between business and
10   personal accounts, and extending credit on a personal line of credit that was
11   clearly being used to float a Ponzi scheme.
12                347. CNB breached its duty of care by participating in the diversion of
13   1inMM Entities’ assets to Horwitz.
14                348. CNB further breached its duties by facilitating Horwitz’s conduct in
15   frequently causing the 1inMM Entities’ accounts to be in overdraft positions or
16   to hold insufficient funds to satisfy wire instructions.
17                349. CNB breached its duties by failing to conduct adequate due
18   diligence about Horwitz and his businesses and in failing to heed red flag warning
19   signs of fraud.
20                350. CNB breached its duties by failing to implement and adhere to
21   compliance and monitoring protocols for the 1inMM Entities’ accounts.
22                351. CNB breached its duties by failing to prevent, report, or otherwise
23   take corrective action in response to Horwitz’s diversion and misuse of investor
24   funds.
25                352. CNB’s conduct proximately caused the foreseeable harm suffered
26   by the 1inMM Entities. CNB failed to act as a reasonably prudent bank, which
27   caused Plaintiffs to suffer losses in an amount to be shown at trial, which the
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 1   Receiver is entitled to recover.
 2                               FOURTH CLAIM FOR RELIEF
 3                (For Avoidance and Recovery of Actual Fraudulent Transfers)
 4                (Pursuant to California Civil Code §§ 3439.04(a)(1), 3439.07(a),
 5                    3439.08(b), and 3294(a) and California Common Law)
 6                                      (The CNB Transfers)
 7                353. The Receiver incorporates by this reference paragraphs 1 through
 8   352, above, as though set forth herein in full.
 9                354. This is a claim to avoid and recover fraudulent transfers pursuant to
10   Cal. Civil Code § 3439.04(a)(1), 3439.07(a), 3439.08(b), and 3294(a) and pursuant
11   to California common law on fraudulent conveyance.
12                355. Plaintiff, as the Receiver of the 1inMM Entities, has legal claims as
13   a “creditor” standing in the shoes of the coerced 1inMM Entities who became
14   creditors when Horwitz made the coerced transfers to CNB that are the subject
15   of this Complaint. The Receiver therefore has standing to assert such claims on
16   behalf of the Receivership Estate and the 1inMM Entities pursuant to California
17   Uniform Voidable Transactions Act Ann. Cal. Civ. Code §§ 3449.01 et seq.
18                356. The 1inMM Entities were the instruments of fraud perpetrated by
19   Horwitz, who adversely dominated them, but they were also distinct legal
20   entities. The 1inMM Entities were harmed when Horwitz diverted funds for
21   unauthorized uses, including without limitation, the CNB Transfers to CNB. The
22   CNB Transfers of 1inMM Entities’ property to CNB were coerced by the actions
23   of Horwitz, such that the 1inMM Entities became creditors at the time of the CNB
24   Transfers. Under the California Uniform Voidable Transaction Act and
25   California common law, the 1inMM Entities became creditors with a right to
26   payment. Horwitz used the 1inMM Entities to perpetrate a fraud, in violation of
27   federal law, including without limitation the Securities Act, and breached his
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 1   fiduciary duties to those entities by, among other things, transferring to CNB
 2   funds rightfully belonged to the 1inMM Entities and their investors.
 3                357. The claims to recover the CNB Transfers accrued to the 1inMM
 4   Entities when the CNB Transfers that harmed them occurred; however, the
 5   1inMM Entities were unaware of the harm at that time due to the adverse
 6   domination by Horwitz. The Receiver acquired standing to pursue those claims
 7   when she was appointed as full equity Receiver and thus acquired all of the
 8   1inMM Entities’ claims.
 9                358. CNB received the CNB Transfers totaling $63,286,439.07.
10                359. CNB is the transferee of the CNB Transfers which were transfers of
11   property of the 1inMM Entities that were run through the account of Horwitz to
12   pay CNB on the Horwitz LOC.
13                360. Horwitz caused the 1inMM Entities to make the CNB Transfers with
14   the actual intent to hinder, delay and defraud creditors. With fraudulent intent,
15   each of the CNB Transfers were made of property of the 1inMM Entities.
16                361.   Horwitz ran a Ponzi scheme through the 1inMM Entities.
17                362. The Horwitz LOC was a tool used by Horwitz to fund the Ponzi
18   scheme that he ran through the 1inMM Entities.
19                363. The CNB Transfers were made as part of Horwitz’s fraud. The funds
20   paid from the 1inMM Entities to Horwitz and then to CNB were made in
21   furtherance of Horwitz’s fraud and the 1inMM Ponzi scheme. These funds from
22   the 1inMM Entities provided Horwitz with the funds he required to pay down the
23   Horwitz LOC when Horwitz was flush with cash from new investors so that the
24   Horwitz LOC would then be available for further advances when he needed funds
25   to repay earlier investors but was unable to bring in new investor dollars to do so.
26                364. As alleged herein, there are a multitude of badges of fraud present
27   with respect to the CNB Transfers made first to Horwitz and then to CNB. The
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 1   existence and sheer number of the badges of fraud present in this matter, present
 2   at the time of each of the CNB Transfers, indicate that Horwitz intended to hinder,
 3   delay, or defraud creditors.
 4                365. Horwitz knew he was stealing funds for the 1inMM Entities for his
 5   own benefit.
 6                366. CNB cannot establish a good faith defense in light of both its actual
 7   knowledge of the fraudulent scheme as alleged herein and the red flag warning
 8   signs of the fraudulent scheme that it deliberately chose to ignore.
 9                367. CNB accepted the payments from Horwitz on the Horwitz LOC
10   even though CNB knew that such payments did not come from legitimate
11   business operations.
12                368. CNB did not act in good faith when it accepted the CNB Transfers
13   because it knew or should have known that Horwitz was operating a fraudulent
14   scheme as set forth herein.
15                369. CNB had a pattern and practice of ignoring red flags of Horwitz’s
16   wrongdoing and did not accept the CNB Transfers in good faith.
17                370. In addition to the facts alleged herein that demonstrate CNB’s actual
18   knowledge, CNB saw the numerous red flags of Horwitz’s fraud prior to
19   accepting the CNB Transfers and should have known of the fraud. Instead of
20   shutting down the fraud, it accepted the CNB Transfers.
21                371. CNB saw hundreds of these red flags. Each transfer of commingled
22   funds to funds out of the Horwitz LOC, and each of the repayments on the
23   Horwitz LOC with commingled funds, was a red flag. To the extent that CNB
24   did not actually know of the fraudulent scheme as otherwise alleged herein, CNB
25   should have known of Horwitz’s Ponzi scheme.
26                372. The red flags were present from CNB’s early 2013 contact with
27   Horwitz,
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 8                373. Once CNB established the Horwitz LOC and started extending him
 9   credit, CNB saw hundreds of red flags as the funds running through the CNB
10   Accounts were hopelessly commingled between personal and business accounts,
11   and the transactions bore no relationship to Horwitz’s stated business model.
12                374. CNB ignored hundreds of highly suspicious transactions that were
13   classic Ponzi scheme and money laundering transfers and looked the other way
14   from 2013 through 2021.
15                375. CNB carried out improper and highly suspicious financial
16   transactions such as the unexplained transfers between the 1inMM Entities’
17   business accounts and Horwitz’s personal accounts. This allowed for the
18   commingling of funds from 1inMM promissory note holders and Horwitz’s
19   personal monies and allowed Horwitz to steal money for his own benefit.
20                376. CNB knew that Horwitz and the 1inMM Entities were promising
21   returns of at least 35% in a 6-month period, which is a hallmark sign of a Ponzi
22   scheme.
23                377. CNB failed to exercise due diligence related to the regulatory and
24   compliance “red flags” discussed herein when servicing the 1inMM Entities’
25   accounts.
26                378. CNB knew that its policies required the purpose of the Horwitz LOC
27   to be for personal expenses but looked the other way in allowing the Horwitz
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 1   LOC to be used for “business purposes” from 2013 until Horwitz could no longer
 2   make payments at the end of December 2019.
 3                379. CNB failed to act to shut down or mitigate the fraud despite the fact
 4   that on a contemporaneous basis, it knew of red flag warnings of Horwitz’s fraud
 5   and his use of the CNB Accounts to commit this fraud.
 6                380. The red flags from Horwitz’s banking transactions and the
 7   information that CNB obtained in its reviews of the accounts are replete with
 8   Horwitz’s suspicious activity, including his round trip transactions, the round
 9   numbers, the close-in-time incoming and outgoing transfers, his transfers
10   between personal and business accounts, and his extraordinary borrowing and
11   repaying on the Horwitz LOC.
12                381.   The account activities in which Horwitz was engaging reflected the
13   characteristic indicia of a Ponzi scheme with no indication of a legitimate
14   investment business, or any legitimate business. Yet CNB processed all of
15   Horwitz’s suspicious transfers even though it had sophisticated artificial
16   intelligence systems for detecting money laundering and other suspicious account
17   activity. CNB never took any steps to close Horwitz’s accounts and instead
18   readily accepted the CNB Transfers.
19                382. CNB willfully ignored a multitude of red flags. The Federal
20   Financial Institutions Examination Council has published a list of suspicious
21   activities or “red flags” that indicate money laundering. The activity in the CNB
22   Accounts violated, without limitation, the following of those “red flags”:
23
                      A large volume of cashier’s checks, money orders, or funds
24                     transfers is deposited into, or purchased through, an account when
                       the nature of the accountholder’s business would not appear to
25                     justify such activity.
26                    Unusual transfers of funds occur among related accounts or among
                       accounts that involve the same or related principals.
27
                      Goods or services purchased by the business do not match the
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 1                      customer’s stated line of business
 2                    The stated occupation of the customer is not commensurate with the
                       type or level of activity.
 3
                      Many funds transfers are sent in large, round dollar, hundred dollar,
 4                     or thousand dollar amounts.
 5                    Funds transfer activity is unexplained, repetitive, or shows unusual
                       patterns.
 6
                      Payments or receipts with no apparent links to legitimate contracts,
 7                     goods, or services are received.
 8                    Funds transfers are sent or received from the same person to or from
                       different accounts.
 9
                      Funds transfers contain limited content and lack related party
10                     information.
11                    Customer uses a personal account for business purposes.
12                383. CNB ignored alerts and signs of the highly suspicious activity in the
13   CNB Accounts.
14                384. The actions and inactions by CNB alleged herein violated bank
15   industry standards and, upon information and belief, its own internal policies,
16   procedures, or practices. The violations demonstrate CNB’s bad faith and
17   facilitated the breach of duties owed to the 1inMM Entities.
18                385. Indeed, even if CNB did not, in fact, know of the 1inMM Entities’
19   fraudulent operation and business model, CNB would have learned of such
20   misconduct had it complied with its own know-your-customer and anti-money
21   laundering processes prior to allowing Horwitz and 1inMM to run hundreds of
22   millions of dollars through CNB.
23                386. Similarly, had CNB sought genuine answers to questions it asked
24   Horwitz about suspicious activity, it would have learned that the operations and
25   business model were fraudulent.
26           387. Had CNB not permitted Horwitz to keep over $1.8 million in the
27   Horwitz LOC account, or had it inquired into why he was engaged in such
28   unusual conduct, CNB would have learned that the operations and business
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 1   model were fraudulent.
 2                388. Had CNB paused for even a moment to consider the massive red
 3   flags it saw regarding the high velocity, large dollar volume, round numbers and
 4   round trip transactions, it would have learned that the operations and business
 5   model were fraudulent.
 6                389. Notwithstanding the foregoing opportunities to discover the
 7   fraudulent scheme, CNB failed to close any of the 1inMM Entities’ or Horwitz’s
 8   accounts at any time. CNB’s failure to close the accounts was done at a time
 9   when it knew or should have known that the funds coming and going from the
10   1inMM Entities’ accounts and Horwitz’s account were part of the fraudulent
11   scheme.
12                390. By making over 450 extensions of more than $63.5 million of credit
13   to Horwitz and receiving the CNB Transfers of 1inMM Entities’ property, CNB
14   did not act in good faith. Instead, it willingly participated in, facilitated, and
15   benefitted from Horwitz’s dissipation of assets of the 1inMM Entities.
16                391. The Receiver is entitled to recover the CNB Transfers from Horwitz
17   or from any immediate or mediate transferee of such initial transferee pursuant
18   to Cal. Civil Code § 3439.08(b)(1) and (b)(2).
19                392. The 1inMM Entities had creditors whose claims arose before the
20   CNB Transfers were made to Horwitz.
21                393. Horwitz and the 1inMM Entities had the actual intent to delay,
22   hinder, or defraud creditors, and made the CNB Transfers to delay, hinder, or
23   defraud creditors. Consequently, the CNB Transfers were fraudulent pursuant to
24   Cal. Civil Code § 3439.04(a)(1) and pursuant to California common law on
25   fraudulent transfers.
26                394. Because the CNB Transfers are voidable under Cal. Civil Code
27   § 3439.04(a)(1) and under California common law on fraudulent transfers, the
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 1   Receiver may avoid the CNB Transfers, pursuant to Cal. Civil Code §§
 2   3439.07(a)(1) and 3439.08(b)(2) and under California common law on fraudulent
 3   transfers.
 4                395. As a direct and proximate result of the CNB Transfers, the
 5   Receivership Estate has been diminished by an amount in excess of $63 million,
 6   and the remaining assets of the 1inMM Entities are insufficient to pay the 1inMM
 7   Entities’ and the Receivership Estate’s debts and liabilities, including, most
 8   notably, the claims of the investors who were defrauded.
 9                396. The Receiver may recover the CNB Transfers for the benefit of the
10   Receivership Estate from CNB as an immediate or mediate transferee of such
11   initial transferee pursuant to Cal. Civil Code § 3439.08(b)(1) and (2).
12                397. The Receiver is entitled to damages from CNB in a sum of not less
13   than $63,286,439.07 with interest as provided by law from the date of each
14   payment.
15                                 FIFTH CLAIM FOR RELIEF
16                (For Avoidance and Recovery of Actual Fraudulent Transfers)
17                (Pursuant to California Civil Code §§ 3439.04(a)(1), 3439.07(a),
18                    3439.08(b), and 3294(a) and California Common Law)
19                                (The Investor Deposit Transfers)
20                398. The Receiver incorporates by this reference paragraphs 1 through
21   397, above, as though set forth herein in full.
22                399. This is a claim to avoid and recover fraudulent transfers pursuant to
23   Cal. Civil Code § 3439.04(a)(1), 3439.07(a), 3439.08(b), and 3294(a) and pursuant
24   to California common law on fraudulent conveyance.
25                400. The 1inMM Entities were harmed when Horwitz diverted funds for
26   unauthorized uses, including without limitation, the Investor Deposit Transfers
27   to CNB. The Investor Deposit Transfers of 1inMM Entities’ property to CNB
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 1   were coerced by the actions of Horwitz, such that the 1inMM Entities became
 2   creditors at the time of the Investor Deposit Transfers. Under the California
 3   Uniform Voidable Transaction Act and California common law, the 1inMM
 4   Entities became creditors with a right to payment. Horwitz used the 1inMM
 5   Entities to perpetrate a fraud, in violation of federal law, including without
 6   limitation the Securities Act, and breached his fiduciary duties to those entities
 7   by, among other things, transferring to CNB funds rightfully belonged to the
 8   1inMM Entities and their investors.
 9                401. The claims to recover the Investor Deposit Transfers accrued to the
10   1inMM Entities when the Investor Deposit Transfers that harmed them occurred;
11   however, the 1inMM Entities were unaware of the harm at that time due to the
12   adverse domination by Horwitz. The Receiver acquired standing to pursue those
13   claims when she was appointed as full equity Receiver and thus acquired all of
14   the 1inMM Entities’ claims.
15                402. CNB received the Investor Deposit Transfers and was the initial
16   transferee of the Investor Deposit Transfers totaling $710,489,295.50.
17                403. The Investor Deposit Transfers were property of the 1inMM Entities
18   that were transferred to CNB as the initial transferee as to all of the transfers.
19                404. CNB exercised full dominion over the Investor Deposit Transfers and
20   owed a claim back to the 1inMM Entities for those deposited funds. CNB acquired
21   legal title to the funds deposited by the Investor Deposit Transfers and was free to
22   use those funds however it saw fit. CNB became a creditor and owed a debt to the
23   1inMM Entities when the funds were deposited.
24                405. Horwitz caused the 1inMM Entities to make the Investor Deposit
25   Transfers to CNB with the actual intent to hinder, delay and defraud creditors.
26   With fraudulent intent, each of the Investor Deposit Transfers that was made to
27   CNB was property of the 1inMM Entities.
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 1                406. CNB did not accept the Investor Deposit Transfers in good faith.
 2                407. CNB cannot establish a good faith defense in light of both its actual
 3   knowledge of the fraudulent scheme as alleged herein and the red flag warning
 4   signs of the fraudulent scheme that it deliberately chose to ignore.
 5                408. CNB accepted the Investor Deposit Transfers even though CNB
 6   knew that such payments did not come from legitimate business operations.
 7                409. CNB did not act in good faith when it accepted the Investor Deposit
 8   Transfers because it knew or should have known that Horwitz was operating a
 9   fraudulent scheme as set forth herein.
10                410. CNB had a pattern and practice of ignoring red flags of Horwitz’s
11   wrongdoing and did not accept the Investor Deposit Transfers in good faith.
12                411. In addition to the facts alleged herein that demonstrate CNBs actual
13   knowledge, CNB saw the numerous red flags of Horwitz’s fraud prior to
14   accepting the Investor Deposit Transfers and should have known of the fraud.
15   Instead of shutting down the fraud, it accepted the Investor Deposit Transfers.
16                412. CNB had a pattern and practice of ignoring red flags of its
17   customers’ wrongdoing and cannot establish that it accepted the Investor Deposit
18   Transfers in good faith.
19                413. Once on notice of red flags of fraud, CNB should not have accepted
20   any further money into the bank. Instead, CNB failed to heed the red flags,
21   continued to accept funds into the 1inMM Entities’ accounts, and perpetuated the
22   Ponzi scheme.
23                414. CNB benefitted from accepting the Investor Deposit Transfers and
24   earned substantial profits from holding tens of millions of dollars of funds on
25   deposit at the bank.
26                415. The 1inMM Entities had creditors whose claims arose before the
27   Investor Deposit Transfers were made to Horwitz.
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 1                416. Horwitz and the 1inMM Entities had the actual intent to delay,
 2   hinder, or defraud creditors, and made the Investor Deposit Transfers to delay,
 3   hinder, or defraud creditors. Consequently, the Investor Deposit Transfers were
 4   fraudulent pursuant to Cal. Civil Code § 3439.04(a)(1) and pursuant to California
 5   common law on fraudulent conveyances.
 6                417. Because the Investor Deposit Transfers are voidable under Cal. Civil
 7   Code § 3439.04(a)(1) and under California common law on fraudulent transfers,
 8   the Receiver may avoid the Investor Deposit Transfers, pursuant to Cal. Civil Code
 9   §§ 3439.07(a)(1) and 3439.08(b)(1) and under California common law on
10   fraudulent transfers.
11                418. As a direct and proximate result of the CNB Transfers, the
12   Receivership Estate has been diminished by an amount in excess of $710 million,
13   and the remaining assets of the 1inMM Entities are insufficient to pay the 1inMM
14   Entities’ and the Receivership Estate’s debts and liabilities, including, most
15   notably the claims of the investors who were defrauded.
16                419. The Receiver is entitled to recover the Investor Deposit Transfers
17   for the benefit of the Receivership Estate from CNB or any immediate or mediate
18   transferee of such initial transferee (CNB) pursuant to Cal. Civil Code §
19   3439.08(b)(1) and (2).
20                420. The Receiver is entitled to damages from CNB in a sum of not less
21   than $710,489,295.50 with interest as provided by law from the date of each
22   payment.
23                                    PRAYER FOR RELIEF
24                WHEREFORE, the Receiver respectfully requests that this Court enter
25   judgment as follows:
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                                             COMPLAINT
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 1   On the First Cause of Action:
 2                1.    For judgment awarding the Receiver damages in an amount
 3                      according to proof at trial.
 4                2.    For punitive and exemplary damages.
 5   On the Second Cause of Action:
 6                3.    For judgment awarding the Receiver damages in an amount
 7                      according to proof at trial.
 8                4.    For punitive and exemplary damages.
 9   On the Third Cause of Action:
10                5.    For judgment awarding the Receiver damages in an amount
11                      according to proof at trial.
12   On the Fourth Cause of Action:
13                6.    For judgment avoiding and recovering the CNB Transfers as actual
14                      fraudulent transfers.
15                7.    For judgment against CNB in the amount of $63,286,439.07.
16                8.    For interest at the legal rate from the dates of the CNB Transfers.
17   On the Fifth Cause of Action:
18                9.    For judgment avoiding and recovering the Investor Deposit
19                      Transfers as actual fraudulent transfers.
20                10.   For judgment against CNB in the amount of $710,489,295.50.
21                11.   For interest at the legal rate from the dates of the Investor Deposit
22                      Transfers.
23   On All Claims for Relief:
24                12.   For costs.
25                13.   For such other and further relief as the Court deems appropriate.
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                                                COMPLAINT
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 1                                     JURY TRIAL DEMAND
 2                The Receiver respectfully demands a trial by jury of all issues triable to a
 3   JUry.
 4
 5   DATED: February 16, 2024                  RAINES FELDMAN LITTRELL LLP

 6
                                               By: Isl Kathv Bazoian Phele.s
 7                                                 Kathy Bazoian Phelps
 8                                                 Counsel for Michele Vives,
                                                   Permanent Receiver
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                  EXHIBIT 1
     Case 2:24-cv-01317 Document 1 Filed 02/16/24 Page 156 of 198 Page ID #:156


Exhibit 1: Horw itz LOC/Personal/ linMM Entities Transfers



         02/04/13        $10,000.00         x0616 OneNMM Productix5270 Personal
         02/04/13        $30,000.00         x5270 Personal         x11301nMM Productions
         02/04/13        $30,000.00         x5270 Personal         x0616 OneNMM Productions
         02/04/13        $10,000.00         x5270 Personal         x0616 OneNMM Productions
         02/05/13        $60,000.00         Line of Credit         x5270 Personal
         02/19/13        $20,000.00         Line of Credit         x5270 Personal
         02/22/13        $20,000.00         Line of Credit         x5270 Personal
         02/22/13        $20,000.00         x5270 Personal       x11301nMM Productions
         02/28/13         $3,000.00         x0616 OneNMM Productix5270 Personal
         02/28/13         $3,000.00         x5270 Personal         x0616 OneNMM Productions
         03/01/13         $1,000.00         x5270 Personal         x0616 OneNMM Productions
         03/04/13        $65,000.00         Line of Credit         x5270 Personal
         03/04/13        $65,000.00         x5270 Personal         x11301nMM Productions
         03/05/13        $112,500.00        Line of Credit         x5270 Personal
         03/05/13        $112,500.00        x5270 Personal         x11301nMM Productions
         03/07/13         $6,000.00         Line of Credit         x5270 Personal
         03/13/13         $5,000.00         Line of Credit         x5270 Personal
         03/13/13          $500.00          x5270 Personal         x11301nMM Productions
         03/13/13         $2,000.00         x5270 Personal         x0616 OneNMM Productions
         03/1 4/13       $13,000.00         Line of Credit         x5270 Personal
         03/1 4/13       $58,875.00         x1130 1nMM Productioni x5270 Personal
         03/1 4/13       $12,500.00         x5270 Personal         x11301nMM Productions
         03/1 4/13       $58,875.00         x5270 Personal         x11301nMM Productions
         03/1 4/13       $58,875.00         x5270 Personal         Line of Credit
         03/18/13        $10,000.00         Line of Credit         x5270 Personal
         03/21/13        $19,687.00         x1130 1nMM Productioni x5270 Personal
         03/21/13        $19,687.00         x5270 Personal         x11301nMM Productions
         03/21/13        $19,687.00         x5270 Personal         Line of Credit
         04/03/13        $20,000.00         Line of Credit         x5270 Personal
         04/03/13        $10,000.00         x5270 Personal         x11301nMM Productions
         04/09/13        $21,500.00         Line of Credit         x5270 Personal
         04/09/13        $18,768.00         x5270 Personal         x11301nMM Productions
         04/11/13        $22,000.00         Line of Credit         x5270 Personal
         04/11/13        $21,000.00         x5270 Personal         x11301nMM Productions
         04/15/13        $15,000.00         Line of Credit         x5270 Personal
         04/16/13        $31,840.00         Line of Credit         x5270 Personal
         04/16/13        $31,840.00         x5270 Personal         x11301nMM Productions
         04/22/13         $3,000.00         Line of Credit         x5270 Personal
         04/22/13         $3,000.00         x5270 Personal         x11301nMM Productions
         04/26/13        $17,000.00         Line of Credit         x5270 Personal
         04/29/13         $1,000.00         Line of Credit         x5270 Personal
         04/29/13         $2,000.00         Line of Credit         x5270 Personal
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  04/29/13     $2,000.00     Line of Credit        x5270 Personal
  04/29/13      $550.00      x5270 Personal        x1130 1nMM Productions
  04/29/13      $748.92      x5270 Personal        Line of Credit
  05/02/13     $3,700.00     Line of Credit        x5270 Personal
  05/06/13      $100.00      x5270 Personal        x1130 1nMM Productions
  05/08/13     $52,000.00    Line of Credit        x5270 Personal
  05/28/13    $107,000.00    Line of Credit        x5270 Personal
  05/28/13     $2,000.00     Line of Credit        x5270 Personal
  05/29/13     $25,000.00    Line of Credit        x5270 Personal
  05/29/13     $2,000.00     Line of Credit        x5270 Personal
  05/29/13     $25,000.00    x5270 Personal        x1130 1nMM Productions
  05/29/13     $1,000.00     x5270 Personal        x0616 OneNMM Productions
  05/29/13      $941.62      x5270 Personal        Line of Credit
  05/30/13    $110,000.00    x0616 OneNMM Producti x5270 Personal
  05/30/13    $110,000.00    x5270 Personal        x0616 OneNMM Productions
  05/30/13    $110,000.00    x5270 Personal        Line of Credit
  05/31/13     $10,000.00    Line of Credit        x5270 Personal
  06/03/13     $1,000.00     Line of Credit        x5270 Personal
  06/05/13     $3,000.00     Line of Credit        x5270 Personal
  06/05/13     $2,000.00     Line of Credit        x5270 Personal
  06/06/13    $100,000.00    Line of Credit        x5270 Personal
  06/06/13    $100,000.00    x5270 Personal        x1130 1nMM Productions
  06/07/13     $12,700.00    Line of Credit        x5270 Personal
  06/12/13     $5,000.00     Line of Credit        x5270 Personal
  06/18/13     $12,000.00    Line of Credit        x5270 Personal
  06/20/13     $88,700.00    x1130 1nMM Productionsx5270 Personal
  06/20/13     $88,700.00    x5270 Personal        x1130 1nMM Productions
  06/20/13     $88,700.00    x5270 Personal        Line of Credit
  06/24/13     $12,000.00    Line of Credit        x5270 Personal
  06/26/13     $30,000.00    Line of Credit        x5270 Personal
  06/26/13     $20,000.00    x5270 Personal        x1130 1nMM Productions
  06/28/13    $100,000.00    Line of Credit        x5270 Personal
  07/01/13     $89,000.00    Line of Credit        x5270 Personal
  07/10/13     $4,000.00     x5270 Personal        x1130 1nMM Productions
  07/24/13     $30,000.00    Line of Credit        x5270 Personal
  07/29/13     $1,697.97     x5270 Personal        Line of Credit
  07/31/13     $50,000.00    Line of Credit        x5270 Personal
  08/06/13     $50,000.00    Line of Credit        x5270 Personal
  08/06/13     $50,000.00    x5270 Personal        x1130 1nMM Productions
  08/09/13     $10,000.00    Line of Credit        x5270 Personal
  08/09/13     $15,000.00    Line of Credit        x5270 Personal
  08/19/13     $25,000.00    Line of Credit        x5270 Personal
  08/19/13      $100.00      x5270 Personal        x0616 OneNMM Productions
  08/22/13     $6,000.00     Line of Credit        x5270 Personal
  08/28/13     $5,000.00     Line of Credit        x5270 Personal
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  08/28/13      $500.00      Line of Credit        x5270 Personal
  08/29/13     $2,256.69     x5270 Personal        Line of Credit
  09/03/13     $45,000.00    Line of Credit        x5270 Personal
  09/04/13     $15,000.00    Line of Credit        x5270 Personal
  09/09/13     $3,800.00     Line of Credit        x5270 Personal
  09/09/13     $3,800.00     x5270 Personal        x1130 1nMM Productions
  09/13/13     $2,000.00     Line of Credit        x5270 Personal
  09/16/13     $5,000.00     Line of Credit        x5270 Personal
  09/20/13     $3,211.00     Line of Credit        x5270 Personal
  09/23/13     $81,562.00    x1130 1nMM Productionsx5270 Personal
  09/23/13     $81,562.00    x5270 Personal        x1130 1nMM Productions
  09/23/13     $81,000.00    x5270 Personal        Line of Credit
  09/24/13     $4,000.00     Line of Credit        x5270 Personal
  10/02/13     $3,500.00     Line of Credit        x5270 Personal
  10/07/13     $5,792.00     Line of Credit        x5270 Personal
  10/08/13     $5,000.00     Line of Credit        x5270 Personal
  10/08/13     $45,000.00    Line of Credit        x5270 Personal
  10/08/13     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
  10/08/13      $300.00      x5270 Personal        x1130 1nMM Productions
  10/08/13     $3,800.00     x5270 Personal        x1130 1nMM Productions
  10/09/13     $3,000.00     x0290 1nMM Capital #1 x5270 Personal
  10/09/13     $3,000.00     x5270 Personal        x0290 1nMM Capital #1
  10/15/13     $3,000.00     Line of Credit        x5270 Personal
  10/15/13    $100,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/15/13    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/15/13    $100,000.00    x5270 Personal        Line of Credit
  10/16/13     $1,000.00     x0290 1nMM Capital #1 x5270 Personal
  10/16/13     $1,000.00     x5270 Personal        x0290 1nMM Capital #1
  10/21/13     $40,000.00    Line of Credit        x5270 Personal
  10/25/13    $205,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/25/13      $400.00      x5270 Personal        x1130 1nMM Productions
  10/25/13    $205,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/25/13    $204,000.00    x5270 Personal        Line of Credit
  10/28/13     $7,450.00     Line of Credit        x5270 Personal
  10/31/13     $2,000.00     Line of Credit        x5270 Personal
  10/31/13     $1,600.00     x1130 1nMM Productionsx5270 Personal
  10/31/13     $1,600.00     x5270 Personal        x0290 1nMM Capital #1
  10/31/13     $1,600.00     x5270 Personal        x1130 1nMM Productions
  10/31/13     $1,600.00     x5270 Personal        x1130 1nMM Productions
  11/01/13     $57,000.00    Line of Credit        x5270 Personal
  11/01/13      $15.00       x5270 Personal        x0616 OneNMM Productions
  11/04/13     $6,700.00     Line of Credit        x5270 Personal
  11/05/13     $5,000.00     Line of Credit        x5270 Personal
  11/07/13     $6,400.00     Line of Credit        x5270 Personal
  11/07/13     $6,200.00     x5270 Personal        x0616 OneNMM Productions
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  11/12/13     $8,000.00     Line of Credit        x5270 Personal
  11/12/13     $30,000.00    Line of Credit        x5270 Personal
  11/12/13     $1,000.00     x0616 OneNMM Producti x5270 Personal
  11/12/13     $1,000.00     x5270 Personal        x0616 OneNMM Productions
  11/13/13     $6,000.00     Line of Credit        x5270 Personal
  11/15/13     $45,000.00    Line of Credit        x5270 Personal
  11/15/13     $42,000.00    x5270 Personal        x1130 1nMM Productions
  11/19/13     $15,000.00    Line of Credit        x5270 Personal
  11/21/13      $250.00      x5270 Personal        x1130 1nMM Productions
  11/26/13     $50,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/26/13     $50,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/26/13     $30,000.00    x5270 Personal        Line of Credit
  12/02/13     $10,000.00    Line of Credit        x5270 Personal
  12/06/13     $10,000.00    Line of Credit        x5270 Personal
  12/10/13     $2,000.00     Line of Credit        x5270 Personal
  12/10/13     $5,900.00     x5270 Personal        x1130 1nMM Productions
  12/16/13     $15,000.00    Line of Credit        x5270 Personal
  12/17/13     $10,460.00    Line of Credit        x5270 Personal
  12/17/13     $2,400.00     x0616 OneNMM Producti x5270 Personal
  12/17/13     $8,000.00     x1130 1nMM Productionsx5270 Personal
  12/17/13     $1,000.00     x5270 Personal        x0290 1nMM Capital #1
  12/17/13     $10,460.00    x5270 Personal        x0616 OneNMM Productions
  12/17/13     $2,400.00     x5270 Personal        x0616 OneNMM Productions
  12/17/13     $8,000.00     x5270 Personal        x1130 1nMM Productions
  12/17/13     $10,000.00    x5270 Personal        Line of Credit
  12/19/13      $50.00       x5270 Personal        x0616 OneNMM Productions
  12/26/13     $7,000.00     Line of Credit        x5270 Personal
  12/31/13    $361,406.25    x1130 1nMM Productionsx5270 Personal
  12/31/13    $361,406.25    x5270 Personal        x1130 1nMM Productions
  12/31/13    $350,000.00    x5270 Personal        Line of Credit
  01/02/14     $2,000.00     Line of Credit        x5270 Personal
  01/02/14     $5,000.00     Line of Credit        x5270 Personal
  01/02/14      $250.00      x5270 Personal        x1130 1nMM Productions
  01/03/14     $7,000.00     Line of Credit        x5270 Personal
  01/06/14     $6,000.00     Line of Credit        x5270 Personal
  01/06/14     $14,000.00    Line of Credit        x5270 Personal
  01/07/14     $2,900.00     Line of Credit        x5270 Personal
  01/07/14     $2,900.00     x5270 Personal        x1130 1nMM Productions
  01/13/14    $250,000.00    Line of Credit        x5270 Personal
  01/13/14    $250,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/16/14     $2,500.00     Line of Credit        x5270 Personal
  01/16/14     $1,700.00     x5270 Personal        x0290 1nMM Capital #1
  01/21/14     $41,154.00    Line of Credit        x5270 Personal
  01/21/14     $41,154.00    x5270 Personal        x1130 1nMM Productions
  01/23/14    $260,000.00    x0290 1nMM Capital #1 x5270 Personal
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  01/23/14    $260,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/23/14    $255,000.00    x5270 Personal        Line of Credit
  01/27/14     $43,000.00    Line of Credit        x5270 Personal
  01/29/14     $8,000.00     Line of Credit        x5270 Personal
  01/30/14     $2,750.00     Line of Credit        x5270 Personal
  01/31/14      $400.00      x5270 Personal        x1130 1nMM Productions
  02/03/14      $350.00      x5270 Personal        x1130 1nMM Productions
  02/03/14      $25.00       x5270 Personal        x0616 OneNMM Productions
  02/06/14     $45,000.00    Line of Credit        x5270 Personal
  02/10/14      $100.00      Line of Credit        x5270 Personal
  02/10/14     $70,000.00    x0290 1nMM Capital #1 x5270 Personal
  02/10/14     $3,800.00     x5270 Personal        x1130 1nMM Productions
  02/10/14     $70,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/10/14     $50,000.00    x5270 Personal        Line of Credit
  02/19/14    $110,000.00    Line of Credit        x5270 Personal
  02/19/14     $26,250.00    Line of Credit        x5270 Personal
  02/19/14     $26,250.00    x5270 Personal        x0290 1nMM Capital #1
  02/19/14    $110,000.00    x5270 Personal        x0616 OneNMM Productions
  02/21/14     $1,750.00     x5270 Personal        x0290 1nMM Capital #1
  02/21/14      $100.00      x5270 Personal        x0616 OneNMM Productions
  02/27/14     $16,700.00    Line of Credit        x5270 Personal
  03/05/14     $25,000.00    Line of Credit        x5270 Personal
  03/05/14     $3,150.00     Line of Credit        x5270 Personal
  03/05/14      $500.00      x5270 Personal        x1130 1nMM Productions
  03/07/14     $10,000.00    Line of Credit        x5270 Personal
  03/10/14     $6,000.00     Line of Credit        x5270 Personal
  03/10/14     $2,500.00     Line of Credit        x5270 Personal
  03/10/14     $2,500.00     x5270 Personal        x1130 1nMM Productions
  03/10/14     $6,000.00     x5270 Personal        x1130 1nMM Productions
  03/11/14     $92,000.00    Line of Credit        x5270 Personal
  03/11/14     $92,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/13/14    $105,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/13/14    $105,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/13/14    $105,000.00    x5270 Personal        Line of Credit
  03/18/14     $3,151.24     Line of Credit        x5270 Personal
  03/20/14     $60,000.00    x1130 1nMM Productionsx5270 Personal
  03/20/14     $1,666.67     x5270 Personal        x0290 1nMM Capital #1
  03/20/14     $60,000.00    x5270 Personal        x1130 1nMM Productions
  03/20/14     $55,000.00    x5270 Personal        Line of Credit
  03/27/14     $37,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/27/14     $37,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/27/14     $35,000.00    x5270 Personal        Line of Credit
  03/31/14     $40,000.00    Line of Credit        x5270 Personal
  04/02/14    $260,000.00    Line of Credit        x5270 Personal
  04/02/14    $260,050.00    x5270 Personal        x0290 1nMM Capital #1
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  04/03/14     $10,000.00    Line of Credit        x5270 Personal
  04/03/14     $2,000.00     Line of Credit        x5270 Personal
  04/07/14     $1,500.00     Line of Credit        x5270 Personal
  04/07/14    $210,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/07/14     $1,500.00     x5270 Personal        x1130 1nMM Productions
  04/07/14      $30.00       x5270 Personal        x0616 OneNMM Productions
  04/07/14    $210,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/07/14    $180,000.00    x5270 Personal        Line of Credit
  04/15/14      $25.00       x5270 Personal        x0290 1nMM Capital #1
  04/16/14     $8,000.00     Line of Credit        x5270 Personal
  04/16/14     $26,500.00    Line of Credit        x5270 Personal
  04/16/14     $9,140.00     x5270 Personal        x0290 1nMM Capital #1
  04/16/14     $25,000.00    x5270 Personal        x1130 1nMM Productions
  04/21/14     $10,000.00    Line of Credit        x5270 Personal
  04/21/14     $2,500.00     Line of Credit        x5270 Personal
  04/21/14      $300.00      x5270 Personal        x0290 1nMM Capital #1
  04/27/14     $5,000.00     Line of Credit        x5270 Personal
  04/28/14     $5,000.00     Line of Credit        x5270 Personal
  04/28/14     $58,000.00    Line of Credit        x5270 Personal
  04/28/14     $58,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/01/14     $52,000.00    x0290 1nMM Capital #1 x5270 Personal
  05/01/14     $52,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/07/14     $7,000.00     Line of Credit        x5270 Personal
  05/07/14     $3,000.00     x0290 1nMM Capital #1 x5270 Personal
  05/07/14     $5,000.00     x5270 Personal        x1130 1nMM Productions
  05/07/14     $3,000.00     x5270 Personal        x0290 1nMM Capital #1
  05/08/14      $810.00      x5270 Personal        x1130 1nMM Productions
  05/15/14     $15,000.00    Line of Credit        x5270 Personal
  05/15/14      $500.00      x5270 Personal        x1130 1nMM Productions
  05/15/14      $350.00      x5270 Personal        x0616 OneNMM Productions
  05/19/14     $10,000.00    Line of Credit        x5270 Personal
  05/19/14     $8,000.00     x5270 Personal        x0290 1nMM Capital #1
  05/19/14     $10,000.00    x5270 Personal        x1130 1nMM Productions
  05/20/14     $4,000.00     Line of Credit        x5270 Personal
  05/21/14     $2,500.00     Line of Credit        x5270 Personal
  05/21/14     $2,000.00     x5270 Personal        x1130 1nMM Productions
  05/28/14     $4,000.00     Line of Credit        x5270 Personal
  05/29/14     $10,000.00    Line of Credit        x5270 Personal
  05/29/14     $2,916.16     x5270 Personal        Line of Credit
  06/02/14     $7,500.00     Line of Credit        x5270 Personal
  06/02/14     $2,850.00     x5270 Personal        x0290 1nMM Capital #1
  06/02/14      $20.00       x5270 Personal        x0616 OneNMM Productions
  06/03/14    $221,000.00    x0290 1nMM Capital #1 x5270 Personal
  06/03/14    $221,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/03/14    $170,000.00    x5270 Personal        Line of Credit
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  06/05/14     $25,000.00    Line of Credit        x5270 Personal
  06/05/14     $3,000.00     Line of Credit        x5270 Personal
  06/05/14      $500.00      x0616 OneNMM Producti x5270 Personal
  06/05/14      $300.00      x5270 Personal        x0290 1nMM Capital #1
  06/05/14      $500.00      x5270 Personal        x0616 OneNMM Productions
  06/06/14     $37,000.00    Line of Credit        x5270 Personal
  06/06/14     $37,250.00    x5270 Personal        x0290 1nMM Capital #1
  06/09/14     $2,270.00     x5270 Personal        x1130 1nMM Productions
  06/13/14     $7,000.00     Line of Credit        x5270 Personal
  06/17/14     $2,600.00     Line of Credit        x5270 Personal
  06/17/14    $165,000.00    x0290 1nMM Capital #1 x5270 Personal
  06/17/14     $2,600.00     x5270 Personal        x1130 1nMM Productions
  06/17/14    $165,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/17/14    $165,000.00    x5270 Personal        Line of Credit
  06/18/14     $10,000.00    Line of Credit        x5270 Personal
  06/23/14    $225,000.00    Line of Credit        x5270 Personal
  06/23/14    $225,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/23/14      $400.00      x5270 Personal        x0290 1nMM Capital #1
  06/23/14      $50.00       x5270 Personal        x0616 OneNMM Productions
  06/24/14    $212,000.00    x0290 1nMM Capital #1 x5270 Personal
  06/24/14    $212,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/24/14    $212,000.00    x5270 Personal        Line of Credit
  06/26/14    $118,000.00    Line of Credit        x5270 Personal
  06/26/14     $1,000.00     x0290 1nMM Capital #1 x5270 Personal
  06/26/14     $64,830.32    x1130 1nMM Productionsx5270 Personal
  06/26/14    $118,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/26/14     $1,000.00     x5270 Personal        x0290 1nMM Capital #1
  06/26/14     $64,830.32    x5270 Personal        x1130 1nMM Productions
  06/26/14     $64,830.32    x5270 Personal        Line of Credit
  06/30/14     $3,200.00     Line of Credit        x5270 Personal
  07/01/14     $71,000.00    Line of Credit        x5270 Personal
  07/02/14     $7,700.00     Line of Credit        x5270 Personal
  07/02/14     $1,050.00     x5270 Personal        x0290 1nMM Capital #1
  07/03/14    $107,000.00    x0290 1nMM Capital #1 x5270 Personal
  07/03/14    $107,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/03/14    $107,000.00    x5270 Personal        Line of Credit
  07/07/14     $6,000.00     Line of Credit        x5270 Personal
  07/07/14     $16,258.00    Line of Credit        x5270 Personal
  07/07/14     $5,000.00     x5270 Personal        x1130 1nMM Productions
  07/09/14     $7,500.00     Line of Credit        x5270 Personal
  07/10/14     $2,860.34     Line of Credit        x5270 Personal
  07/10/14     $1,860.34     x5270 Personal        x1130 1nMM Productions
  07/14/14     $49,000.00    Line of Credit        x5270 Personal
  07/14/14     $4,500.00     x0290 1nMM Capital #1 x5270 Personal
  07/14/14     $48,000.00    x5270 Personal        x0290 1nMM Capital #1
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  07/14/14     $4,500.00     x5270 Personal        x0290 1nMM Capital #1
  07/21/14     $3,000.00     Line of Credit        x5270 Personal
  07/21/14     $1,200.00     x5270 Personal        x0616 OneNMM Productions
  07/22/14      $600.00      Line of Credit        x5270 Personal
  07/22/14     $1,100.00     x0616 OneNMM Producti x5270 Personal
  07/22/14     $1,666.67     x5270 Personal        x0290 1nMM Capital #1
  07/22/14      $140.00      x5270 Personal        x1130 1nMM Productions
  07/22/14     $1,100.00     x5270 Personal        x0616 OneNMM Productions
  07/25/14      $400.00      x0290 1nMM Capital #1 x5270 Personal
  07/25/14      $400.00      x5270 Personal        x0616 OneNMM Productions
  07/25/14      $400.00      x5270 Personal        x0290 1nMM Capital #1
  07/28/14     $5,000.00     Line of Credit        x5270 Personal
  07/29/14     $3,572.81     Line of Credit        x5270 Personal
  07/29/14     $2,799.68     x5270 Personal        Line of Credit
  08/01/14     $10,000.00    Line of Credit        x5270 Personal
  08/01/14      $250.00      x5270 Personal        x1130 1nMM Productions
  08/05/14    $109,000.00    Line of Credit        x5270 Personal
  08/05/14    $108,500.00    x5270 Personal        x0290 1nMM Capital #1
  08/06/14    $235,000.00    x0290 1nMM Capital #1 x5270 Personal
  08/06/14    $235,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/07/14     $1,450.00     x5270 Personal        x0290 1nMM Capital #1
  08/07/14    $150,000.00    x5270 Personal        Line of Credit
  08/08/14     $8,600.00     Line of Credit        x5270 Personal
  08/11/14     $3,500.00     Line of Credit        x5270 Personal
  08/12/14     $7,500.00     Line of Credit        x5270 Personal
  08/12/14      $110.00      x5270 Personal        x0616 OneNMM Productions
  08/13/14      $700.00      Line of Credit        x5270 Personal
  08/13/14      $700.00      x5270 Personal        x1130 1nMM Productions
  08/25/14      $30.00       x5270 Personal        x0616 OneNMM Productions
  08/28/14     $30,700.00    Line of Credit        x5270 Personal
  08/28/14     $1,666.67     x5270 Personal        x0290 1nMM Capital #1
  08/29/14     $2,960.25     x5270 Personal        Line of Credit
  09/02/14     $1,485.00     x5270 Personal        x0290 1nMM Capital #1
  09/02/14      $25.00       x5270 Personal        x0616 OneNMM Productions
  09/08/14     $10,000.00    Line of Credit        x5270 Personal
  09/10/14     $20,000.00    Line of Credit        x5270 Personal
  09/12/14     $14,500.00    x5270 Personal        x1130 1nMM Productions
  09/16/14     $15,000.00    Line of Credit        x5270 Personal
  09/18/14     $35,000.00    Line of Credit        x5270 Personal
  09/18/14     $3,476.94     Line of Credit        x5270 Personal
  09/18/14      $25.00       x5270 Personal        x0616 OneNMM Productions
  09/19/14     $50,781.25    x1130 1nMM Productionsx5270 Personal
  09/19/14     $50,781.25    x5270 Personal        x1130 1nMM Productions
  09/19/14     $50,781.25    x5270 Personal        Line of Credit
  09/24/14     $4,261.81     Line of Credit        x5270 Personal
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  09/24/14     $20,000.00    Line of Credit        x5270 Personal
  09/29/14     $1,000.00     Line of Credit        x5270 Personal
  09/29/14     $1,666.67     x5270 Personal        x0290 1nMM Capital #1
  09/29/14      $333.33      x5270 Personal        x1130 1nMM Productions
  09/29/14     $1,666.67     x5270 Personal        x1130 1nMM Productions
  10/03/14     $8,185.00     Line of Credit        x5270 Personal
  10/03/14     $75,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/03/14     $40,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/03/14     $1,485.00     x5270 Personal        x0290 1nMM Capital #1
  10/03/14       $2.00       x5270 Personal        x0616 OneNMM Productions
  10/03/14     $75,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/03/14     $40,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/03/14     $40,000.00    x5270 Personal        Line of Credit
  10/03/14     $75,000.00    x5270 Personal        Line of Credit
  10/06/14     $2,500.00     Line of Credit        x5270 Personal
  10/06/14     $90,991.53    Line of Credit        x5270 Personal
  10/06/14    $127,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/06/14     $25,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/06/14    $127,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/06/14     $25,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/06/14     $25,000.00    x5270 Personal        Line of Credit
  10/06/14    $127,000.00    x5270 Personal        Line of Credit
  10/06/14     $1,500.00     x5270 Personal        Line of Credit
  10/07/14     $7,000.00     Line of Credit        x5270 Personal
  10/07/14     $12,327.63    Line of Credit        x5270 Personal
  10/07/14     $1,353.51     Line of Credit        x5270 Personal
  10/07/14     $30,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/07/14     $12,327.63    x5270 Personal        x1130 1nMM Productions
  10/07/14     $30,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/07/14     $30,000.00    x5270 Personal        Line of Credit
  10/10/14     $50,000.00    x5270 Personal        Line of Credit
  10/14/14     $1,000.00     Line of Credit        x5270 Personal
  10/14/14    $240,000.00    Line of Credit        x5270 Personal
  10/14/14    $236,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/14/14    $240,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/14/14    $236,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/14/14    $235,000.00    x5270 Personal        Line of Credit
  10/15/14    $175,000.00    Line of Credit        x5270 Personal
  10/15/14    $175,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/20/14     $5,000.00     Line of Credit        x5270 Personal
  10/20/14      $50.00       x5270 Personal        x0616 OneNMM Productions
  10/27/14     $4,200.00     Line of Credit        x5270 Personal
  10/29/14     $27,812.50    Line of Credit        x5270 Personal
  10/31/14     $18,750.00    x0290 1nMM Capital #1 x5270 Personal
  10/31/14     $18,750.00    x5270 Personal        x0290 1nMM Capital #1
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  10/31/14     $18,750.00    x5270 Personal        Line of Credit
  11/03/14     $6,700.00     Line of Credit        x5270 Personal
  11/03/14     $3,000.00     Line of Credit        x5270 Personal
  11/03/14     $3,000.00     x5270 Personal        x0290 1nMM Capital #1
  11/05/14     $2,000.00     Line of Credit        x5270 Personal
  11/10/14     $9,000.00     Line of Credit        x5270 Personal
  11/10/14     $1,200.00     x0290 1nMM Capital #1 x5270 Personal
  11/10/14     $10,700.00    x0616 OneNMM Producti x5270 Personal
  11/10/14     $6,000.00     x5270 Personal        x0616 OneNMM Productions
  11/10/14     $3,500.00     x5270 Personal        x0616 OneNMM Productions
  11/10/14     $1,200.00     x5270 Personal        x0616 OneNMM Productions
  11/10/14     $1,200.00     x5270 Personal        x0290 1nMM Capital #1
  11/10/14     $10,700.00    x5270 Personal        x0616 OneNMM Productions
  11/10/14     $9,300.00     x5270 Personal        Line of Credit
  11/13/14     $5,000.00     Line of Credit        x5270 Personal
  11/13/14     $1,500.00     x5270 Personal        x0290 1nMM Capital #1
  11/13/14     $2,000.00     x5270 Personal        x1130 1nMM Productions
  11/18/14     $32,500.00    x0290 1nMM Capital #1 x5270 Personal
  11/18/14     $4,457.00     x5270 Personal        x1130 1nMM Productions
  11/18/14     $32,500.00    x5270 Personal        x0290 1nMM Capital #1
  12/01/14     $37,000.00    x0290 1nMM Capital #1 x5270 Personal
  12/01/14      $50.00       x5270 Personal        x0616 OneNMM Productions
  12/01/14     $37,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/02/14     $1,485.00     x5270 Personal        x0290 1nMM Capital #1
  12/09/14      $500.00      x5270 Personal        x1130 1nMM Productions
  12/22/14     $3,362.84     Line of Credit        x5270 Personal
  12/22/14    $335,000.00    x0290 1nMM Capital #1 x5270 Personal
  12/22/14     $2,000.00     x5270 Personal        x0290 1nMM Capital #1
  12/22/14      $100.00      x5270 Personal        x0616 OneNMM Productions
  12/22/14    $335,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/22/14    $335,000.00    x5270 Personal        Line of Credit
  12/24/14    $413,095.00    Line of Credit        x5270 Personal
  12/24/14     $50,000.00    x1130 1nMM Productionsx5270 Personal
  12/24/14    $413,095.00    x5270 Personal        x0290 1nMM Capital #1
  12/24/14     $50,000.00    x5270 Personal        x1130 1nMM Productions
  12/24/14     $50,000.00    x5270 Personal        Line of Credit
  12/26/14     $10,637.66    Line of Credit        x5270 Personal
  12/26/14     $36,000.00    x0290 1nMM Capital #1 x5270 Personal
  12/26/14     $10,637.66    x5270 Personal        x1130 1nMM Productions
  12/26/14     $36,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/26/14     $6,000.00     x5270 Personal        Line of Credit
  12/26/14     $30,000.00    x5270 Personal        Line of Credit
  12/29/14    $408,000.00    x0290 1nMM Capital #1 x5270 Personal
  12/29/14      $250.00      x0290 1nMM Capital #1 x5270 Personal
  12/29/14    $408,000.00    x5270 Personal        x0290 1nMM Capital #1
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  12/29/14      $250.00      x5270 Personal        x0290 1nMM Capital #1
  12/29/14    $408,000.00    x5270 Personal        Line of Credit
  12/30/14    $142,250.00    Line of Credit        x5270 Personal
  12/30/14    $142,250.00    x5270 Personal        x0290 1nMM Capital #1
  12/31/14     $1,000.00     Line of Credit        x5270 Personal
  01/02/15     $55,000.00    Line of Credit        x5270 Personal
  01/05/15    $155,175.00    x0290 1nMM Capital #1 x5270 Personal
  01/05/15    $155,175.00    x5270 Personal        x0290 1nMM Capital #1
  01/05/15    $155,175.00    x5270 Personal        Line of Credit
  01/06/15    $395,000.00    Line of Credit        x5270 Personal
  01/06/15    $395,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/07/15     $50,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/07/15     $50,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/07/15     $50,000.00    x5270 Personal        Line of Credit
  01/08/15     $6,700.00     Line of Credit        x5270 Personal
  01/08/15     $1,485.00     Line of Credit        x5270 Personal
  01/08/15     $1,485.00     x5270 Personal        x0290 1nMM Capital #1
  01/12/15     $81,100.00    x0290 1nMM Capital #1 x5270 Personal
  01/12/15     $81,100.00    x5270 Personal        x0290 1nMM Capital #1
  01/12/15     $81,100.00    x5270 Personal        Line of Credit
  01/13/15     $80,850.00    Line of Credit        x5270 Personal
  01/13/15     $80,850.00    x5270 Personal        x0290 1nMM Capital #1
  01/15/15     $19,837.00    Line of Credit        x5270 Personal
  01/15/15     $19,837.00    x5270 Personal        x1130 1nMM Productions
  01/20/15     $2,500.00     Line of Credit        x5270 Personal
  01/20/15     $2,000.00     x5270 Personal        x1130 1nMM Productions
  01/21/15     $10,000.00    Line of Credit        x5270 Personal
  01/21/15     $36,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/21/15     $36,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/21/15     $36,000.00    x5270 Personal        Line of Credit
  01/26/15     $25,000.00    Line of Credit        x5270 Personal
  01/26/15     $1,000.00     x0616 OneNMM Producti x5270 Personal
  01/26/15     $2,000.00     x1130 1nMM Productionsx5270 Personal
  01/26/15     $1,000.00     x5270 Personal        x0616 OneNMM Productions
  01/26/15     $1,000.00     x5270 Personal        x0616 OneNMM Productions
  01/26/15     $1,000.00     x5270 Personal        x0616 OneNMM Productions
  01/26/15     $1,000.00     x5270 Personal        x0616 OneNMM Productions
  01/26/15     $2,000.00     x5270 Personal        x1130 1nMM Productions
  01/27/15     $60,000.00    Line of Credit        x5270 Personal
  01/27/15     $61,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/27/15     $2,000.00     x0616 OneNMM Producti x5270 Personal
  01/27/15     $2,000.00     x5270 Personal        x1130 1nMM Productions
  01/27/15     $61,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/27/15     $2,000.00     x5270 Personal        x0616 OneNMM Productions
  01/27/15     $77,000.00    x5270 Personal        Line of Credit
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  01/29/15     $33,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/29/15     $33,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/29/15     $33,000.00    x5270 Personal        Line of Credit
  01/30/15     $13,000.00    Line of Credit        x5270 Personal
  01/30/15     $7,000.00     Line of Credit        x5270 Personal
  01/30/15     $2,500.00     Line of Credit        x5270 Personal
  01/30/15     $2,700.00     Line of Credit        x5270 Personal
  01/30/15     $7,000.00     x5270 Personal        x1130 1nMM Productions
  02/02/15    $172,500.00    x0290 1nMM Capital #1 x5270 Personal
  02/02/15    $172,500.00    x5270 Personal        x0290 1nMM Capital #1
  02/02/15    $172,500.00    x5270 Personal        Line of Credit
  02/03/15     $8,200.00     Line of Credit        x5270 Personal
  02/03/15     $1,485.00     x5270 Personal        x0290 1nMM Capital #1
  02/09/15     $50,000.00    Line of Credit        x5270 Personal
  02/09/15     $25,000.00    Line of Credit        x5270 Personal
  02/09/15     $25,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/10/15     $4,000.00     x0290 1nMM Capital #1 x5270 Personal
  02/10/15     $4,000.00     x5270 Personal        x0290 1nMM Capital #1
  02/10/15     $50,000.00    x5270 Personal        Line of Credit
  02/12/15    $265,000.00    x0290 1nMM Capital #1 x5270 Personal
  02/12/15    $265,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/12/15    $265,000.00    x5270 Personal        Line of Credit
  02/13/15    $360,000.00    Line of Credit        x5270 Personal
  02/13/15    $360,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/17/15     $14,000.00    Line of Credit        x5270 Personal
  02/17/15     $10,000.00    Line of Credit        x5270 Personal
  02/17/15     $8,378.31     Line of Credit        x5270 Personal
  02/17/15    $263,500.00    x0290 1nMM Capital #1 x5270 Personal
  02/17/15     $8,378.31     x5270 Personal        x1130 1nMM Productions
  02/17/15    $263,500.00    x5270 Personal        x0290 1nMM Capital #1
  02/17/15    $263,500.00    x5270 Personal        Line of Credit
  02/20/15     $65,000.00    Line of Credit        x5270 Personal
  02/20/15     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
  02/25/15     $42,240.00    Line of Credit        x5270 Personal
  02/25/15     $42,240.00    x5270 Personal        x0290 1nMM Capital #1
  02/27/15     $46,200.00    Line of Credit        x5270 Personal
  02/27/15     $14,000.00    Line of Credit        x5270 Personal
  02/27/15     $46,200.00    x5270 Personal        x0290 1nMM Capital #1
  03/02/15     $85,200.00    Line of Credit        x5270 Personal
  03/02/15     $48,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/02/15     $46,200.00    x5270 Personal        x0290 1nMM Capital #1
  03/02/15      $50.00       x5270 Personal        x0616 OneNMM Productions
  03/02/15     $48,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/02/15     $48,000.00    x5270 Personal        Line of Credit
  03/03/15     $7,500.00     Line of Credit        x5270 Personal
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  03/10/15     $10,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/10/15     $10,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/16/15     $19,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/16/15     $16,040.59    x5270 Personal        x1130 1nMM Productions
  03/16/15     $19,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/19/15     $4,500.00     x0290 1nMM Capital #1 x5270 Personal
  03/19/15     $4,500.00     x5270 Personal        x0290 1nMM Capital #1
  03/30/15     $12,000.00    Line of Credit        x5270 Personal
  03/30/15     $6,000.00     Line of Credit        x5270 Personal
  03/30/15     $5,000.00     Line of Credit        x5270 Personal
  03/30/15      $500.00      x0290 1nMM Capital #1 x5270 Personal
  03/30/15      $500.00      x5270 Personal        x0290 1nMM Capital #1
  03/30/15      $297.20      x5270 Personal        Line of Credit
  03/31/15     $5,000.00     Line of Credit        x5270 Personal
  04/01/15    $160,000.00    Line of Credit        x5270 Personal
  04/01/15    $225,250.00    x0290 1nMM Capital #1 x5270 Personal
  04/01/15    $148,000.00    x1130 1nMM Productionsx5270 Personal
  04/01/15      $25.00       x5270 Personal        x0616 OneNMM Productions
  04/01/15    $225,250.00    x5270 Personal        x0290 1nMM Capital #1
  04/01/15    $148,000.00    x5270 Personal        x1130 1nMM Productions
  04/01/15    $365,000.00    x5270 Personal        Line of Credit
  04/02/15    $325,250.00    x0290 1nMM Capital #1 x5270 Personal
  04/02/15    $325,250.00    x5270 Personal        x0290 1nMM Capital #1
  04/02/15    $300,000.00    x5270 Personal        Line of Credit
  04/06/15     $1,485.00     x5270 Personal        x0290 1nMM Capital #1
  04/09/15     $31,000.00    Line of Credit        x5270 Personal
  04/09/15     $26,250.00    x5270 Personal        x0290 1nMM Capital #1
  04/10/15     $37,000.00    Line of Credit        x5270 Personal
  04/10/15     $10,000.00    Line of Credit        x5270 Personal
  04/10/15     $11,712.60    x5270 Personal        x1130 1nMM Productions
  04/13/15     $10,849.14    Line of Credit        x5270 Personal
  04/13/15     $10,000.00    Line of Credit        x5270 Personal
  04/13/15     $97,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/13/15     $97,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/13/15     $97,000.00    x5270 Personal        Line of Credit
  04/20/15      $50.00       x5270 Personal        x0616 OneNMM Productions
  04/21/15    $299,092.00    Line of Credit        x5270 Personal
  04/21/15    $299,092.00    x5270 Personal        x0290 1nMM Capital #1
  04/22/15    $216,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/22/15    $216,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/22/15    $206,000.00    x5270 Personal        Line of Credit
  04/23/15     $5,000.00     Line of Credit        x5270 Personal
  04/23/15     $5,000.00     Line of Credit        x5270 Personal
  04/24/15      $800.00      x5270 Personal        x1130 1nMM Productions
  04/27/15     $27,853.00    Line of Credit        x5270 Personal
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  04/27/15     $5,000.00     x5270 Personal        Line of Credit
  04/28/15     $50,000.00    Line of Credit        x5270 Personal
  04/28/15     $43,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/01/15     $18,000.00    Line of Credit        x5270 Personal
  05/01/15     $2,800.00     x5270 Personal        x0290 1nMM Capital #1
  05/07/15     $64,700.00    Line of Credit        x5270 Personal
  05/07/15     $1,485.00     x5270 Personal        x0290 1nMM Capital #1
  05/07/15     $1,500.00     x5270 Personal        x1130 1nMM Productions
  05/09/15     $5,500.00     x5270 Personal        x1130 1nMM Productions
  05/11/15     $30,000.00    Line of Credit        x5270 Personal
  05/11/15     $6,000.00     Line of Credit        x5270 Personal
  05/21/15     $15,000.00    Line of Credit        x5270 Personal
  05/21/15     $4,500.00     x5270 Personal        x1130 1nMM Productions
  05/21/15      $150.00      x5270 Personal        x0616 OneNMM Productions
  05/28/15     $2,500.00     x5270 Personal        x0290 1nMM Capital #1
  05/28/15     $1,500.00     x5270 Personal        x0290 1nMM Capital #1
  05/28/15     $5,000.00     x5270 Personal        x1130 1nMM Productions
  05/29/15     $1,856.78     x5270 Personal        Line of Credit
  06/01/15     $65,000.00    Line of Credit        x5270 Personal
  06/01/15     $2,970.00     x5270 Personal        x0290 1nMM Capital #1
  06/05/15     $10,000.00    Line of Credit        x5270 Personal
  06/09/15    $265,000.00    x0290 1nMM Capital #1 x5270 Personal
  06/09/15    $253,500.00    x0290 1nMM Capital #1 x5270 Personal
  06/09/15    $265,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/09/15    $253,500.00    x5270 Personal        x0290 1nMM Capital #1
  06/09/15    $265,000.00    x5270 Personal        Line of Credit
  06/09/15    $253,500.00    x5270 Personal        Line of Credit
  06/10/15     $7,865.00     Line of Credit        x5270 Personal
  06/10/15     $4,000.00     x5270 Personal        x1130 1nMM Productions
  06/16/15     $5,000.00     Line of Credit        x5270 Personal
  06/16/15     $75,000.00    Line of Credit        x5270 Personal
  06/16/15     $3,000.00     x5270 Personal        x1130 1nMM Productions
  06/23/15     $7,764.00     Line of Credit        x5270 Personal
  06/23/15    $266,500.00    x0290 1nMM Capital #1 x5270 Personal
  06/23/15     $7,764.00     x5270 Personal        x1130 1nMM Productions
  06/23/15    $266,500.00    x5270 Personal        x0290 1nMM Capital #1
  06/23/15    $266,500.00    x5270 Personal        Line of Credit
  06/29/15     $22,426.00    Line of Credit        x5270 Personal
  07/01/15    $350,000.00    x0290 1nMM Capital #1 x5270 Personal
  07/01/15     $51,480.00    x5270 Personal        x1130 1nMM Productions
  07/01/15    $350,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/01/15    $283,698.00    x5270 Personal        Line of Credit
  07/02/15    $569,220.00    Line of Credit        x5270 Personal
  07/02/15     $51,480.00    x1130 1nMM Productionsx5270 Personal
  07/02/15    $569,220.00    x5270 Personal        x0290 1nMM Capital #1
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  07/02/15     $51,480.00    x5270 Personal        x1130 1nMM Productions
  07/02/15     $45,000.00    x5270 Personal        Line of Credit
  07/03/15     $2,000.00     x5270 Personal        x1130 1nMM Productions
  07/06/15     $51,480.00    Line of Credit        x5270 Personal
  07/06/15    $532,750.00    x0290 1nMM Capital #1 x5270 Personal
  07/06/15     $51,480.00    x5270 Personal        x0290 1nMM Capital #1
  07/06/15    $532,750.00    x5270 Personal        x0290 1nMM Capital #1
  07/06/15    $532,750.00    x5270 Personal        Line of Credit
  07/08/15     $53,211.79    Line of Credit        x5270 Personal
  07/08/15     $6,396.98     x5270 Personal        x1130 1nMM Productions
  07/13/15     $20,000.00    Line of Credit        x5270 Personal
  07/13/15     $20,000.00    Line of Credit        x5270 Personal
  07/16/15    $471,900.00    Line of Credit        x5270 Personal
  07/16/15    $360,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/16/15     $2,970.00     x5270 Personal        x0290 1nMM Capital #1
  07/16/15    $111,900.00    x5270 Personal        x0290 1nMM Capital #1
  07/21/15     $3,000.00     x5270 Personal        x0290 1nMM Capital #1
  07/21/15     $2,500.00     x5270 Personal        x1130 1nMM Productions
  07/22/15     $84,600.00    Line of Credit        x5270 Personal
  07/22/15     $84,600.00    x5270 Personal        x0290 1nMM Capital #1
  07/24/15     $29,715.00    Line of Credit        x5270 Personal
  07/24/15     $4,000.00     x5270 Personal        x0290 1nMM Capital #1
  07/24/15     $29,715.00    x5270 Personal        x1130 1nMM Productions
  07/27/15     $4,015.00     Line of Credit        x5270 Personal
  07/31/15     $10,000.00    Line of Credit        x5270 Personal
  07/31/15    $239,775.00    Line of Credit        x5270 Personal
  07/31/15    $235,750.00    x0290 1nMM Capital #1 x5270 Personal
  07/31/15    $170,500.00    x0290 1nMM Capital #1 x5270 Personal
  07/31/15    $239,775.00    x5270 Personal        x0290 1nMM Capital #1
  07/31/15    $235,750.00    x5270 Personal        x0290 1nMM Capital #1
  07/31/15    $170,500.00    x5270 Personal        x0290 1nMM Capital #1
  07/31/15    $235,750.00    x5270 Personal        Line of Credit
  07/31/15    $170,500.00    x5270 Personal        Line of Credit
  08/03/15     $14,000.00    Line of Credit        x5270 Personal
  08/03/15     $21,235.00    Line of Credit        x5270 Personal
  08/03/15     $4,400.00     Line of Credit        x5270 Personal
  08/06/15     $6,000.00     x5270 Personal        x1130 1nMM Productions
  08/10/15    $416,000.00    x0290 1nMM Capital #1 x5270 Personal
  08/10/15    $416,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/10/15    $410,000.00    x5270 Personal        Line of Credit
  08/11/15     $5,000.00     Line of Credit        x5270 Personal
  08/11/15     $18,483.18    Line of Credit        x5270 Personal
  08/11/15     $18,483.18    x5270 Personal        x1130 1nMM Productions
  08/13/15    $373,650.00    Line of Credit        x5270 Personal
  08/13/15     $5,000.00     Line of Credit        x5270 Personal
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  08/13/15    $373,650.00    x5270 Personal        x0290 1nMM Capital #1
  08/17/15     $10,000.00    Line of Credit        x5270 Personal
  08/24/15    $350,000.00    x0290 1nMM Capital #1 x5270 Personal
  08/24/15    $350,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/24/15    $350,000.00    x5270 Personal        Line of Credit
  08/25/15    $361,400.00    Line of Credit        x5270 Personal
  08/25/15    $361,400.00    x5270 Personal        x0290 1nMM Capital #1
  08/26/15     $49,750.00    Line of Credit        x5270 Personal
  09/01/15     $14,000.00    Line of Credit        x5270 Personal
  09/01/15     $96,800.00    Line of Credit        x5270 Personal
  09/01/15    $266,750.00    x0290 1nMM Capital #1 x5270 Personal
  09/01/15    $266,750.00    x5270 Personal        x0290 1nMM Capital #1
  09/01/15    $266,750.00    x5270 Personal        Line of Credit
  09/02/15     $5,000.00     Line of Credit        x5270 Personal
  09/02/15     $2,000.00     Line of Credit        x5270 Personal
  09/02/15     $5,000.00     x5270 Personal        x1130 1nMM Productions
  09/03/15    $490,750.00    x0290 1nMM Capital #1 x5270 Personal
  09/03/15    $490,750.00    x5270 Personal        x0290 1nMM Capital #1
  09/03/15    $490,750.00    x5270 Personal        Line of Credit
  09/08/15    $266,750.00    x0290 1nMM Capital #1 x5270 Personal
  09/08/15    $266,750.00    x5270 Personal        x0290 1nMM Capital #1
  09/08/15     $35,886.69    x5270 Personal        Line of Credit
  09/08/15     $1,581.16     x5270 Personal        Line of Credit
  09/09/15     $12,750.00    Line of Credit        x5270 Personal
  09/09/15    $140,000.00    Line of Credit        x5270 Personal
  09/09/15     $1,000.00     x5270 Personal        x0290 1nMM Capital #1
  09/09/15    $360,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/14/15     $63,500.00    Line of Credit        x5270 Personal
  09/14/15    $195,675.00    x0290 1nMM Capital #1 x5270 Personal
  09/14/15     $53,900.00    x5270 Personal        x0290 1nMM Capital #1
  09/14/15    $195,675.00    x5270 Personal        x0290 1nMM Capital #1
  09/14/15    $185,000.00    x5270 Personal        Line of Credit
  09/18/15    $102,450.00    x0290 1nMM Capital #1 x5270 Personal
  09/18/15    $102,450.00    x5270 Personal        x0290 1nMM Capital #1
  09/18/15     $31,250.00    x5270 Personal        Line of Credit
  09/21/15    $105,000.00    x0290 1nMM Capital #1 x5270 Personal
  09/21/15    $105,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/21/15    $105,000.00    x5270 Personal        Line of Credit
  09/22/15     $5,000.00     Line of Credit        x5270 Personal
  09/22/15     $3,500.00     x5270 Personal        x1130 1nMM Productions
  09/23/15     $20,000.00    Line of Credit        x5270 Personal
  09/23/15     $5,000.00     Line of Credit        x5270 Personal
  09/25/15     $15,000.00    Line of Credit        x5270 Personal
  09/28/15     $4,500.00     x5270 Personal        x0290 1nMM Capital #1
  09/28/15     $10,000.00    x5270 Personal        Line of Credit
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  10/01/15    $312,750.00    Line of Credit        x5270 Personal
  10/01/15    $312,750.00    x5270 Personal        x0290 1nMM Capital #1
  10/05/15     $9,000.00     Line of Credit        x5270 Personal
  10/05/15     $64,937.00    Line of Credit        x5270 Personal
  10/05/15     $14,000.00    Line of Credit        x5270 Personal
  10/05/15    $345,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/05/15    $680,650.00    x0290 1nMM Capital #1 x5270 Personal
  10/05/15     $9,000.00     x5270 Personal        x0290 1nMM Capital #1
  10/05/15    $345,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/05/15    $680,650.00    x5270 Personal        x0290 1nMM Capital #1
  10/05/15    $680,650.00    x5270 Personal        Line of Credit
  10/05/15    $345,000.00    x5270 Personal        Line of Credit
  10/06/15     $4,411.00     Line of Credit        x5270 Personal
  10/06/15     $10,500.00    Line of Credit        x5270 Personal
  10/06/15    $444,800.00    Line of Credit        x5270 Personal
  10/06/15    $444,800.00    x5270 Personal        x0290 1nMM Capital #1
  10/06/15     $10,500.00    x5270 Personal        x1130 1nMM Productions
  10/08/15     $5,000.00     Line of Credit        x5270 Personal
  10/09/15    $375,500.00    x0290 1nMM Capital #1 x5270 Personal
  10/09/15    $375,500.00    x5270 Personal        x0290 1nMM Capital #1
  10/09/15    $375,500.00    x5270 Personal        Line of Credit
  10/15/15    $133,952.00    Line of Credit        x5270 Personal
  10/15/15    $285,950.00    x0290 1nMM Capital #1 x5270 Personal
  10/15/15    $133,952.00    x5270 Personal        x0290 1nMM Capital #1
  10/15/15    $285,950.00    x5270 Personal        x0290 1nMM Capital #1
  10/15/15    $285,950.00    x5270 Personal        Line of Credit
  10/20/15     $10,000.00    Line of Credit        x5270 Personal
  10/20/15     $10,000.00    x5270 Personal        x1130 1nMM Productions
  10/21/15     $20,000.00    Line of Credit        x5270 Personal
  10/21/15    $360,000.00    Line of Credit        x5270 Personal
  10/21/15     $30,000.00    Line of Credit        x5270 Personal
  10/21/15    $360,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/21/15     $30,000.00    x5270 Personal        x1130 1nMM Productions
  10/27/15    $225,000.00    Line of Credit        x5270 Personal
  10/27/15     $8,000.00     Line of Credit        x5270 Personal
  10/28/15     $3,000.00     Line of Credit        x5270 Personal
  11/02/15     $14,000.00    Line of Credit        x5270 Personal
  11/02/15    $295,900.00    Line of Credit        x5270 Personal
  11/02/15     $22,031.20    Line of Credit        x5270 Personal
  11/02/15    $295,900.00    x5270 Personal        x0290 1nMM Capital #1
  11/06/15     $45,000.00    Line of Credit        x5270 Personal
  11/06/15     $45,000.00    x5270 Personal        x1130 1nMM Productions
  11/09/15     $1,900.00     x1130 1nMM Productionsx5270 Personal
  11/09/15     $1,900.00     x5270 Personal        x0290 1nMM Capital #1
  11/09/15     $1,900.00     x5270 Personal        x1130 1nMM Productions
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  11/10/15     $23,000.00    Line of Credit        x5270 Personal
  11/16/15     $75,000.00    Line of Credit        x5270 Personal
  11/19/15    $258,650.00    x0290 1nMM Capital #1 x5270 Personal
  11/19/15    $258,650.00    x5270 Personal        x0290 1nMM Capital #1
  11/19/15    $258,650.00    x5270 Personal        Line of Credit
  11/20/15    $675,500.00    x0290 1nMM Capital #1 x5270 Personal
  11/20/15    $675,500.00    x5270 Personal        x0290 1nMM Capital #1
  11/20/15    $675,500.00    x5270 Personal        Line of Credit
  11/24/15    $590,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/24/15    $590,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/24/15    $590,000.00    x5270 Personal        Line of Credit
  11/25/15     $13,750.00    Line of Credit        x5270 Personal
  11/25/15     $12,250.00    Line of Credit        x5270 Personal
  11/25/15     $12,250.00    x5270 Personal        x0290 1nMM Capital #1
  11/25/15     $13,750.00    x5270 Personal        x0290 1nMM Capital #1
  12/01/15     $97,000.00    Line of Credit        x5270 Personal
  12/01/15    $856,570.00    Line of Credit        x5270 Personal
  12/01/15    $485,650.00    x0290 1nMM Capital #1 x5270 Personal
  12/01/15    $485,650.00    x5270 Personal        x0290 1nMM Capital #1
  12/01/15    $485,650.00    x5270 Personal        Line of Credit
  12/01/15    $856,750.00    x5270 Personal        Line of Credit
  12/02/15    $375,500.00    x0290 1nMM Capital #1 x5270 Personal
  12/02/15    $375,500.00    x5270 Personal        x0290 1nMM Capital #1
  12/02/15    $375,500.00    x5270 Personal        Line of Credit
  12/07/15     $36,000.00    Line of Credit        x5270 Personal
  12/07/15     $36,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/10/15     $6,000.00     Line of Credit        x5270 Personal
  12/10/15     $6,000.00     x5270 Personal        x1130 1nMM Productions
  12/11/15    $377,000.00    Line of Credit        x5270 Personal
  12/11/15    $377,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/14/15     $5,000.00     Line of Credit        x5270 Personal
  12/14/15     $6,500.00     x5270 Personal        x1130 1nMM Productions
  12/21/15    $359,970.00    Line of Credit        x5270 Personal
  12/21/15     $3,857.00     Line of Credit        x5270 Personal
  12/21/15    $368,350.00    Line of Credit        x5270 Personal
  12/21/15     $3,082.00     Line of Credit        x5270 Personal
  12/21/15     $67,000.00    Line of Credit        x5270 Personal
  12/21/15     $2,800.00     x1130 1nMM Productionsx5270 Personal
  12/21/15    $368,350.00    x5270 Personal        x0290 1nMM Capital #1
  12/21/15    $359,970.00    x5270 Personal        x0290 1nMM Capital #1
  12/21/15     $3,857.35     x5270 Personal        x1130 1nMM Productions
  12/21/15     $2,000.00     x5270 Personal        x1130 1nMM Productions
  12/21/15      $800.00      x5270 Personal        x1130 1nMM Productions
  12/21/15     $2,800.00     x5270 Personal        x1130 1nMM Productions
  12/24/15     $15,000.00    Line of Credit        x5270 Personal
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  12/24/15     $10,000.00     x5270 Personal        x0290 1nMM Capital #1
  12/29/15     $3,087.50      Line of Credit        x5270 Personal
  12/29/15     $3,000.00      x5270 Personal        x0290 1nMM Capital #1
  12/30/15     $19,985.00     Line of Credit        x5270 Personal
  12/30/15     $19,985.00     x5270 Personal        x1130 1nMM Productions
  12/31/15     $20,000.00     Line of Credit        x5270 Personal
  12/31/15     $19,000.00     Line of Credit        x5270 Personal
  01/04/16    $550,000.00     x0290 1nMM Capital #1 x5270 Personal
  01/04/16    $550,000.00     x0290 1nMM Capital #1 x5270 Personal
  01/04/16     $10,000.00     x5270 Personal        x1130 1nMM Productions
  01/04/16      $100.00       x5270 Personal        x0616 OneNMM Productions
  01/04/16    $550,000.00     x5270 Personal        x0290 1nMM Capital #1
  01/04/16    $550,000.00     x5270 Personal        x0290 1nMM Capital #1
  01/04/16    $550,000.00     x5270 Personal        Line of Credit
  01/04/16    $550,000.00     x5270 Personal        Line of Credit
  01/05/16     $14,000.00     Line of Credit        x5270 Personal
  01/05/16     $20,000.00     Line of Credit        x5270 Personal
  01/05/16     $9,495.00      Line of Credit        x5270 Personal
  01/05/16     $9,495.00      x5270 Personal        x0290 1nMM Capital #1
  01/07/16     $10,000.00     Line of Credit        x5270 Personal
  01/07/16     $4,450.00      x5270 Personal        x0290 1nMM Capital #1
  01/07/16     $10,000.00     x5270 Personal        x1130 1nMM Productions
  01/08/16     $44,000.00     Line of Credit        x5270 Personal
  01/12/16     $2,000.00      x5270 Personal        x0290 1nMM Capital #1
  01/13/16     $2,000.00      x5270 Personal        x1130 1nMM Productions
  01/14/16     $3,476.94      Line of Credit        x5270 Personal
  01/14/16     $12,771.82     Line of Credit        x5270 Personal
  01/15/16    $739,462.50     Line of Credit        x5270 Personal
  01/15/16    $999,999.00     Line of Credit        x5270 Personal
  01/15/16    $739,462.50     x5270 Personal        x0290 1nMM Capital #1
  01/15/16    $999,999.00     x5270 Personal        Line of Credit
  01/19/16    $1,024,619.00   Line of Credit        x5270 Personal
  01/19/16     $7,000.00      Line of Credit        x5270 Personal
  01/19/16    $678,500.00     x0290 1nMM Capital #1 x5270 Personal
  01/19/16    $655,900.00     x0290 1nMM Capital #1 x5270 Personal
  01/19/16    $1,024,619.00   x5270 Personal        x0290 1nMM Capital #1
  01/19/16    $678,500.00     x5270 Personal        x0290 1nMM Capital #1
  01/19/16    $655,900.00     x5270 Personal        x0290 1nMM Capital #1
  01/19/16    $655,900.00     x5270 Personal        Line of Credit
  01/19/16    $678,500.00     x5270 Personal        Line of Credit
  01/20/16     $10,500.00     Line of Credit        x5270 Personal
  01/20/16     $3,500.00      x5270 Personal        x1130 1nMM Productions
  01/21/16     $20,000.00     Line of Credit        x5270 Personal
  01/27/16     $66,962.63     Line of Credit        x5270 Personal
  01/27/16    $690,500.00     x0290 1nMM Capital #1 x5270 Personal
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  01/27/16    $690,500.00    x5270 Personal        x0290 1nMM Capital #1
  01/27/16    $690,500.00    x5270 Personal        Line of Credit
  02/01/16     $14,000.00    Line of Credit        x5270 Personal
  02/02/16    $225,000.00    Line of Credit        x5270 Personal
  02/02/16     $1,500.00     x5270 Personal        x1130 1nMM Productions
  02/04/16    $566,305.00    Line of Credit        x5270 Personal
  02/04/16    $566,305.00    x5270 Personal        x0290 1nMM Capital #1
  02/05/16     $9,495.00     Line of Credit        x5270 Personal
  02/05/16     $9,495.00     x5270 Personal        x0290 1nMM Capital #1
  02/08/16     $4,300.00     Line of Credit        x5270 Personal
  02/08/16     $5,000.00     Line of Credit        x5270 Personal
  02/08/16     $23,502.00    Line of Credit        x5270 Personal
  02/08/16     $5,000.00     x5270 Personal        x1130 1nMM Productions
  02/08/16     $23,502.00    x5270 Personal        x1130 1nMM Productions
  02/10/16    $565,760.00    Line of Credit        x5270 Personal
  02/10/16     $10,000.00    Line of Credit        x5270 Personal
  02/10/16    $350,000.00    x0290 1nMM Capital #1 x5270 Personal
  02/10/16    $565,760.00    x5270 Personal        x0290 1nMM Capital #1
  02/10/16     $8,000.00     x5270 Personal        x1130 1nMM Productions
  02/10/16    $350,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/11/16     $10,000.00    x5270 Personal        x1130 1nMM Productions
  02/18/16     $4,876.22     x5270 Personal        x0616 OneNMM Productions
  02/24/16    $385,500.00    x0290 1nMM Capital #1 x5270 Personal
  02/24/16    $385,500.00    x5270 Personal        x0290 1nMM Capital #1
  03/03/16    $369,448.00    x5270 Personal        x0290 1nMM Capital #1
  03/04/16     $5,000.00     x5270 Personal        x1130 1nMM Productions
  03/08/16     $4,000.00     x5270 Personal        x1130 1nMM Productions
  03/08/16     $3,000.00     x5270 Personal        x1130 1nMM Productions
  03/10/16    $369,448.00    Line of Credit        x5270 Personal
  03/10/16    $369,448.00    x5270 Personal        x0290 1nMM Capital #1
  03/14/16    $271,988.00    Line of Credit        x5270 Personal
  03/14/16    $271,988.00    x5270 Personal        x0290 1nMM Capital #1
  03/15/16     $10,000.00    x5270 Personal        x1130 1nMM Productions
  03/24/16    $139,500.00    Line of Credit        x5270 Personal
  03/24/16    $139,500.00    x5270 Personal        x0290 1nMM Capital #1
  03/28/16    $690,750.00    x0290 1nMM Capital #1 x5270 Personal
  03/28/16    $725,500.00    x0290 1nMM Capital #1 x5270 Personal
  03/28/16    $690,750.00    x5270 Personal        x0290 1nMM Capital #1
  03/28/16    $725,500.00    x5270 Personal        x0290 1nMM Capital #1
  03/28/16    $476,392.00    x5270 Personal        Line of Credit
  03/31/16    $100,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/31/16    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/04/16    $212,500.00    x5270 Personal        x0290 1nMM Capital #1
  04/05/16    $780,250.00    x0290 1nMM Capital #1 x5270 Personal
  04/05/16    $780,250.00    x5270 Personal        x0290 1nMM Capital #1
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  04/06/16    $946,103.50    x5270 Personal        x0290 1nMM Capital #1
  04/06/16     $35,300.00    x5270 Personal        x1130 1nMM Productions
  04/08/16    $420,000.00    Line of Credit        x5270 Personal
  04/11/16    $420,000.00    x5270 Personal        Line of Credit
  04/11/16      $528.55      x5270 Personal        Line of Credit
  04/14/16     $25,000.00    Line of Credit        x5270 Personal
  04/18/16    $398,900.00    Line of Credit        x5270 Personal
  04/18/16    $526,450.00    x5270 Personal        x0290 1nMM Capital #1
  04/18/16    $398,900.00    x5270 Personal        x0290 1nMM Capital #1
  04/19/16    $680,750.00    x0290 1nMM Capital #1 x5270 Personal
  04/19/16    $680,750.00    x5270 Personal        x0290 1nMM Capital #1
  04/19/16    $423,900.00    x5270 Personal        Line of Credit
  04/22/16     $6,875.00     x5270 Personal        x0290 1nMM Capital #1
  04/25/16    $905,500.00    x0290 1nMM Capital #1 x5270 Personal
  04/25/16    $905,500.00    x5270 Personal        x0290 1nMM Capital #1
  04/26/16    $210,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/26/16    $210,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/03/16     $10,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/03/16     $11,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/10/16     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
  05/10/16     $5,000.00     x5270 Personal        x1130 1nMM Productions
  05/12/16    $615,000.00    x0290 1nMM Capital #1 x5270 Personal
  05/12/16    $635,000.00    x0290 1nMM Capital #1 x5270 Personal
  05/12/16    $300,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/12/16    $615,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/12/16    $635,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/13/16     $18,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/16/16    $812,500.00    x1130 1nMM Productionsx5270 Personal
  05/16/16    $812,500.00    x5270 Personal        x0290 1nMM Capital #1
  05/16/16     $46,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/16/16    $812,500.00    x5270 Personal        x1130 1nMM Productions
  05/16/16     $50,519.03    x5270 Personal        x1130 1nMM Productions
  05/16/16    $812,500.00    x5270 Personal        x1130 1nMM Productions
  05/20/16    $446,000.00    x0290 1nMM Capital #1 x5270 Personal
  05/20/16    $910,500.00    x0290 1nMM Capital #1 x5270 Personal
  05/20/16     $35,970.00    x5270 Personal        x0290 1nMM Capital #1
  05/20/16    $446,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/20/16    $910,500.00    x5270 Personal        x0290 1nMM Capital #1
  05/23/16    $933,540.00    x5270 Personal        x0290 1nMM Capital #1
  05/24/16    $355,211.11    x5270 Personal        x0290 1nMM Capital #1
  05/24/16    $200,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/25/16     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
  05/25/16    $814,200.00    x5270 Personal        x0290 1nMM Capital #1
  05/26/16    $350,000.00    x0290 1nMM Capital #1 x5270 Personal
  05/26/16    $350,000.00    x5270 Personal        x0290 1nMM Capital #1
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  05/27/16    $960,750.00    x0290 1nMM Capital #1 x5270 Personal
  05/27/16     $40,342.57    x5270 Personal        x0290 1nMM Capital #1
  05/27/16    $960,750.00    x5270 Personal        x0290 1nMM Capital #1
  05/31/16      $170.59      x5270 Personal        Line of Credit
  06/01/16     $10,500.00    x5270 Personal        x0290 1nMM Capital #1
  06/01/16    $675,053.00    x5270 Personal        x0290 1nMM Capital #1
  06/03/16    $518,190.00    x5270 Personal        x0290 1nMM Capital #1
  06/06/16     $20,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/06/16     $5,000.00     x5270 Personal        x1130 1nMM Productions
  06/07/16    $330,975.00    Line of Credit        x5270 Personal
  06/07/16     $44,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/10/16    $318,000.00    x0290 1nMM Capital #1 x5270 Personal
  06/10/16    $318,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/10/16    $318,000.00    x5270 Personal        Line of Credit
  06/14/16    $360,000.00    Line of Credit        x5270 Personal
  06/14/16    $360,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/14/16     $5,000.00     x5270 Personal        x1130 1nMM Productions
  06/15/16     $66,340.00    Line of Credit        x5270 Personal
  06/15/16     $26,340.00    x5270 Personal        x0290 1nMM Capital #1
  06/22/16     $10,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/23/16     $53,206.23    Line of Credit        x5270 Personal
  06/29/16    $912,565.00    x0290 1nMM Capital #1 x5270 Personal
  06/29/16    $912,565.00    x5270 Personal        x0290 1nMM Capital #1
  06/29/16       $0.23       x5270 Personal        Line of Credit
  06/29/16    $492,521.00    x5270 Personal        Line of Credit
  07/01/16     $20,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/01/16     $20,000.00    x5270 Personal        x1130 1nMM Productions
  07/05/16    $212,500.00    x5270 Personal        x0290 1nMM Capital #1
  07/05/16     $10,300.00    x5270 Personal        x1130 1nMM Productions
  07/06/16     $2,970.00     x5270 Personal        x0290 1nMM Capital #1
  07/13/16     $5,000.00     x5270 Personal        x1130 1nMM Productions
  07/18/16    $126,000.00    Line of Credit        x5270 Personal
  07/18/16    $126,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/22/16     $20,000.00    Line of Credit        x5270 Personal
  07/25/16    $350,000.00    Line of Credit        x5270 Personal
  07/25/16    $588,750.00    x0290 1nMM Capital #1 x5270 Personal
  07/25/16    $939,722.00    x5270 Personal        x0290 1nMM Capital #1
  07/25/16    $588,750.00    x5270 Personal        x0290 1nMM Capital #1
  07/26/16     $37,500.00    Line of Credit        x5270 Personal
  07/26/16     $37,500.00    x5270 Personal        x0290 1nMM Capital #1
  07/27/16     $37,500.00    Line of Credit        x5270 Personal
  07/27/16    $400,000.00    Line of Credit        x5270 Personal
  07/27/16    $740,105.00    x0290 1nMM Capital #1 x5270 Personal
  07/27/16    $600,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/27/16     $37,500.00    x5270 Personal        x0290 1nMM Capital #1
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  07/27/16    $740,105.00    x5270 Personal        x0290 1nMM Capital #1
  07/27/16    $533,500.00    x5270 Personal        Line of Credit
  07/27/16      $754.26      x5270 Personal        Line of Credit
  07/28/16    $605,900.00    x0290 1nMM Capital #1 x5270 Personal
  07/28/16    $605,900.00    x5270 Personal        x0290 1nMM Capital #1
  07/28/16    $437,500.00    x5270 Personal        Line of Credit
  08/01/16     $10,000.00    x5270 Personal        x1130 1nMM Productions
  08/04/16    $610,750.00    x0290 1nMM Capital #1 x5270 Personal
  08/04/16    $610,750.00    x5270 Personal        x0290 1nMM Capital #1
  08/11/16    $697,000.00    x0290 1nMM Capital #1 x5270 Personal
  08/11/16     $10,000.00    x5270 Personal        x1130 1nMM Productions
  08/11/16    $697,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/12/16    $300,000.00    Line of Credit        x5270 Personal
  08/12/16    $360,000.00    Line of Credit        x5270 Personal
  08/12/16    $360,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/12/16    $990,500.00    x5270 Personal        x0290 1nMM Capital #1
  08/16/16    $440,105.00    x0290 1nMM Capital #1 x5270 Personal
  08/16/16    $440,105.00    x5270 Personal        x0290 1nMM Capital #1
  08/19/16    $342,600.00    x0290 1nMM Capital #1 x5270 Personal
  08/19/16    $342,600.00    x5270 Personal        x0290 1nMM Capital #1
  08/19/16    $310,230.36    x5270 Personal        Line of Credit
  08/19/16    $350,000.00    x5270 Personal        Line of Credit
  08/22/16    $310,000.00    x0290 1nMM Capital #1 x5270 Personal
  08/22/16    $310,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/23/16    $537,770.00    Line of Credit        x5270 Personal
  08/23/16    $537,700.00    x5270 Personal        x0290 1nMM Capital #1
  08/23/16     $10,000.00    x5270 Personal        x1130 1nMM Productions
  08/23/16    $300,000.00    x5270 Personal        Line of Credit
  08/24/16    $550,240.00    x0290 1nMM Capital #1 x5270 Personal
  08/24/16    $550,240.00    x5270 Personal        x0290 1nMM Capital #1
  08/24/16      $70.00       x5270 Personal        Line of Credit
  08/24/16    $237,700.00    x5270 Personal        Line of Credit
  08/29/16    $390,000.00    x0290 1nMM Capital #1 x5270 Personal
  08/29/16    $390,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/06/16     $10,000.00    x5270 Personal        x1130 1nMM Productions
  09/20/16     $5,000.00     x5270 Personal        x1130 1nMM Productions
  09/23/16    $520,670.00    x0290 1nMM Capital #1 x5270 Personal
  09/23/16    $515,000.00    x0290 1nMM Capital #1 x5270 Personal
  09/23/16    $520,670.00    x5270 Personal        x0290 1nMM Capital #1
  09/23/16    $515,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/27/16    $427,230.00    x0290 1nMM Capital #1 x5270 Personal
  09/27/16    $427,230.00    x5270 Personal        x0290 1nMM Capital #1
  09/28/16    $964,280.00    x5270 Personal        x0290 1nMM Capital #1
  09/29/16      $464.54      x5270 Personal        Line of Credit
  09/30/16    $350,000.00    x0290 1nMM Capital #1 x5270 Personal
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  09/30/16    $390,800.00    x0290 1nMM Capital #1 x5270 Personal
  09/30/16     $30,000.00    x5270 Personal        x1130 1nMM Productions
  09/30/16    $350,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/30/16    $390,800.00    x5270 Personal        x0290 1nMM Capital #1
  10/03/16    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/03/16    $300,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/05/16    $994,000.00    Line of Credit        x5270 Personal
  10/05/16    $994,690.00    x5270 Personal        x0290 1nMM Capital #1
  10/05/16    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/05/16    $350,000.00    x5270 Personal        Line of Credit
  10/11/16    $636,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/11/16     $12,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/11/16    $636,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/11/16    $144,000.00    x5270 Personal        Line of Credit
  10/11/16    $500,000.00    x5270 Personal        Line of Credit
  10/12/16     $20,000.00    Line of Credit        x5270 Personal
  10/12/16     $20,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/13/16     $40,000.00    Line of Credit        x5270 Personal
  10/13/16    $990,820.00    x0290 1nMM Capital #1 x5270 Personal
  10/13/16     $40,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/13/16    $990,820.00    x5270 Personal        x0290 1nMM Capital #1
  10/13/16     $60,000.00    x5270 Personal        Line of Credit
  10/14/16     $15,000.00    x5270 Personal        x1130 1nMM Productions
  10/18/16    $860,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/18/16    $860,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/19/16    $949,646.00    x5270 Personal        x0290 1nMM Capital #1
  10/20/16     $7,500.00     x5270 Personal        x0290 1nMM Capital #1
  10/21/16    $200,000.00    Line of Credit        x5270 Personal
  10/21/16    $878,508.00    x5270 Personal        x0290 1nMM Capital #1
  10/24/16    $877,230.00    x0290 1nMM Capital #1 x5270 Personal
  10/24/16    $340,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/24/16    $877,230.00    x5270 Personal        x0290 1nMM Capital #1
  10/24/16    $340,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/24/16    $200,000.00    x5270 Personal        Line of Credit
  10/25/16    $200,000.00    Line of Credit        x5270 Personal
  10/25/16    $968,606.00    x5270 Personal        x0290 1nMM Capital #1
  10/25/16    $300,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/27/16    $292,740.00    Line of Credit        x5270 Personal
  10/27/16    $292,740.00    x5270 Personal        x0290 1nMM Capital #1
  10/31/16    $810,550.00    x0290 1nMM Capital #1 x5270 Personal
  10/31/16    $810,550.00    x5270 Personal        x0290 1nMM Capital #1
  10/31/16    $492,740.00    x5270 Personal        Line of Credit
  11/02/16    $762,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/02/16    $762,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/07/16     $5,000.00     x5270 Personal        x1130 1nMM Productions
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  11/08/16    $794,500.00    x0290 1nMM Capital #1 x5270 Personal
  11/08/16     $60,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/08/16     $20,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/08/16    $794,500.00    x5270 Personal        x0290 1nMM Capital #1
  11/10/16     $28,800.00    x5270 Personal        x0290 1nMM Capital #1
  11/14/16    $100,000.00    Line of Credit        x5270 Personal
  11/14/16    $130,000.00    Line of Credit        x5270 Personal
  11/14/16    $350,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/14/16    $854,850.00    x5270 Personal        x0290 1nMM Capital #1
  11/14/16    $885,825.00    x5270 Personal        x0290 1nMM Capital #1
  11/14/16    $350,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/14/16    $200,655.52    x5270 Personal        Line of Credit
  11/14/16     $30,000.00    x5270 Personal        Line of Credit
  11/22/16    $820,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/22/16    $820,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/25/16     $15,000.00    x5270 Personal        x1130 1nMM Productions
  11/28/16    $300,000.00    Line of Credit        x5270 Personal
  11/28/16    $300,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/28/16    $700,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/29/16    $431,812.00    Line of Credit        x5270 Personal
  11/29/16    $633,500.00    x0290 1nMM Capital #1 x5270 Personal
  11/29/16    $598,750.00    x0290 1nMM Capital #1 x5270 Personal
  11/29/16    $431,812.00    x5270 Personal        x0290 1nMM Capital #1
  11/29/16    $633,500.00    x5270 Personal        x0290 1nMM Capital #1
  11/29/16    $598,750.00    x5270 Personal        x0290 1nMM Capital #1
  11/29/16    $731,812.00    x5270 Personal        Line of Credit
  12/01/16    $271,500.00    x0290 1nMM Capital #1 x5270 Personal
  12/01/16    $271,500.00    x5270 Personal        x0290 1nMM Capital #1
  12/07/16     $10,000.00    x5270 Personal        x1130 1nMM Productions
  12/12/16    $200,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/14/16    $458,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/27/16     $40,000.00    Line of Credit        x5270 Personal
  12/27/16     $40,000.00    x0290 1nMM Capital #1 x5270 Personal
  12/27/16     $40,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/29/16      $28.68       x5270 Personal        Line of Credit
  01/03/17     $50,000.00    Line of Credit        x5270 Personal
  01/09/17    $377,252.00    Line of Credit        x5270 Personal
  01/09/17    $377,252.00    x5270 Personal        x0290 1nMM Capital #1
  01/09/17     $5,000.00     x5270 Personal        x1130 1nMM Productions
  01/09/17     $90,000.00    x5270 Personal        Line of Credit
  01/09/17      $47.20       x5270 Personal        Line of Credit
  01/11/17     $25,000.00    Line of Credit        x5270 Personal
  01/11/17     $25,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/12/17     $13,333.00    Line of Credit        x5270 Personal
  01/12/17     $22,000.00    Line of Credit        x5270 Personal
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  01/12/17     $13,333.00    x5270 Personal        x0290 1nMM Capital #1
  01/17/17    $350,000.00    Line of Credit        x5270 Personal
  01/17/17    $605,500.00    x0290 1nMM Capital #1 x5270 Personal
  01/17/17     $25,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/17/17    $605,500.00    x5270 Personal        x0290 1nMM Capital #1
  01/17/17    $437,585.00    x5270 Personal        Line of Credit
  01/18/17     $5,000.00     x5270 Personal        x1130 1nMM Productions
  01/23/17    $520,750.00    x0290 1nMM Capital #1 x5270 Personal
  01/23/17    $819,540.00    x5270 Personal        x0290 1nMM Capital #1
  01/23/17    $520,750.00    x5270 Personal        x0290 1nMM Capital #1
  01/23/17    $350,000.00    x5270 Personal        Line of Credit
  01/24/17    $730,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/24/17    $890,250.00    x0290 1nMM Capital #1 x5270 Personal
  01/24/17    $350,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/24/17    $730,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/24/17    $890,250.00    x5270 Personal        x0290 1nMM Capital #1
  01/24/17    $350,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/26/17    $548,750.00    x0290 1nMM Capital #1 x5270 Personal
  01/26/17    $921,344.00    x5270 Personal        x0290 1nMM Capital #1
  01/26/17    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/26/17    $548,750.00    x5270 Personal        x0290 1nMM Capital #1
  01/30/17     $14,000.00    Line of Credit        x5270 Personal
  01/30/17     $10,267.00    Line of Credit        x5270 Personal
  01/30/17     $10,000.00    Line of Credit        x5270 Personal
  01/30/17    $841,595.00    x5270 Personal        x0290 1nMM Capital #1
  01/31/17    $312,250.00    Line of Credit        x5270 Personal
  01/31/17    $100,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/31/17    $925,500.00    x0290 1nMM Capital #1 x5270 Personal
  01/31/17     $90,500.00    x5270 Personal        x0290 1nMM Capital #1
  01/31/17    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/31/17    $925,500.00    x5270 Personal        x0290 1nMM Capital #1
  01/31/17    $346,517.00    x5270 Personal        Line of Credit
  02/01/17     $15,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/02/17    $180,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/06/17    $350,000.00    Line of Credit        x5270 Personal
  02/06/17    $853,282.00    x5270 Personal        x0290 1nMM Capital #1
  02/06/17     $3,000.00     x5270 Personal        x1130 1nMM Productions
  02/07/17     $20,000.00    Line of Credit        x5270 Personal
  02/07/17     $5,000.00     x5270 Personal        x1130 1nMM Productions
  02/09/17    $400,000.00    x0290 1nMM Capital #1 x5270 Personal
  02/09/17    $935,950.00    x0290 1nMM Capital #1 x5270 Personal
  02/09/17    $400,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/09/17    $935,950.00    x5270 Personal        x0290 1nMM Capital #1
  02/09/17      $599.89      x5270 Personal        Line of Credit
  02/09/17    $370,000.00    x5270 Personal        Line of Credit
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  02/10/17    $520,310.00    x0290 1nMM Capital #1 x5270 Personal
  02/10/17    $520,310.00    x5270 Personal        x0290 1nMM Capital #1
  02/13/17    $977,405.00    x5270 Personal        x0290 1nMM Capital #1
  02/14/17    $625,450.00    x0290 1nMM Capital #1 x5270 Personal
  02/14/17    $710,560.00    x0290 1nMM Capital #1 x5270 Personal
  02/14/17    $625,450.00    x5270 Personal        x0290 1nMM Capital #1
  02/14/17    $710,560.00    x5270 Personal        x0290 1nMM Capital #1
  02/16/17    $360,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/21/17    $873,550.00    x0290 1nMM Capital #1 x5270 Personal
  02/21/17    $824,500.00    x0290 1nMM Capital #1 x5270 Personal
  02/21/17     $16,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/21/17    $300,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/21/17    $576,537.00    x5270 Personal        x0290 1nMM Capital #1
  02/21/17    $873,550.00    x5270 Personal        x0290 1nMM Capital #1
  02/21/17    $824,500.00    x5270 Personal        x0290 1nMM Capital #1
  02/22/17    $900,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/22/17     $10,000.00    x5270 Personal        x1130 1nMM Productions
  02/24/17    $715,862.00    x5270 Personal        x0290 1nMM Capital #1
  02/27/17     $10,000.00    x5270 Personal        x1130 1nMM Productions
  02/28/17    $610,700.00    x0290 1nMM Capital #1 x5270 Personal
  02/28/17    $514,800.00    x5270 Personal        x0290 1nMM Capital #1
  02/28/17    $610,700.00    x5270 Personal        x0290 1nMM Capital #1
  03/01/17    $845,100.00    x0290 1nMM Capital #1 x5270 Personal
  03/01/17    $845,100.00    x5270 Personal        x0290 1nMM Capital #1
  03/08/17    $800,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/13/17    $705,800.00    x0290 1nMM Capital #1 x5270 Personal
  03/13/17    $166,847.00    x0290 1nMM Capital #1 x5270 Personal
  03/13/17    $575,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/13/17    $705,800.00    x5270 Personal        x0290 1nMM Capital #1
  03/13/17    $166,847.00    x5270 Personal        x0290 1nMM Capital #1
  03/13/17    $575,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/23/17    $830,800.00    x0290 1nMM Capital #1 x5270 Personal
  03/23/17    $764,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/23/17    $830,800.00    x5270 Personal        x0290 1nMM Capital #1
  03/23/17    $764,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/29/17    $665,200.00    x0290 1nMM Capital #1 x5270 Personal
  03/29/17    $665,200.00    x5270 Personal        x0290 1nMM Capital #1
  03/29/17      $111.98      x5270 Personal        Line of Credit
  04/03/17    $790,655.00    x0290 1nMM Capital #1 x5270 Personal
  04/03/17    $790,655.00    x5270 Personal        x0290 1nMM Capital #1
  04/05/17    $548,870.00    x0290 1nMM Capital #1 x5270 Personal
  04/05/17    $705,980.00    x0290 1nMM Capital #1 x5270 Personal
  04/05/17    $946,500.00    x0290 1nMM Capital #1 x5270 Personal
  04/05/17    $597,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/05/17    $548,870.00    x5270 Personal        x0290 1nMM Capital #1
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  04/05/17    $705,980.00    x5270 Personal        x0290 1nMM Capital #1
  04/05/17    $946,500.00    x5270 Personal        x0290 1nMM Capital #1
  04/05/17    $597,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/06/17     $2,500.00     x5270 Personal        x1130 1nMM Productions
  04/13/17    $935,850.00    x0290 1nMM Capital #1 x5270 Personal
  04/13/17    $300,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/13/17    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/13/17    $935,850.00    x5270 Personal        x0290 1nMM Capital #1
  04/17/17    $921,720.00    x5270 Personal        x0290 1nMM Capital #1
  04/17/17    $400,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/28/17    $912,500.00    x0290 1nMM Capital #1 x5270 Personal
  04/28/17    $912,500.00    x5270 Personal        x0290 1nMM Capital #1
  05/12/17    $727,500.00    x0290 1nMM Capital #1 x5270 Personal
  05/12/17    $720,240.00    x0290 1nMM Capital #1 x5270 Personal
  05/12/17    $876,000.00    x0290 1nMM Capital #1 x5270 Personal
  05/12/17    $655,250.00    x0290 1nMM Capital #1 x5270 Personal
  05/12/17    $727,500.00    x5270 Personal        x0290 1nMM Capital #1
  05/12/17    $720,240.00    x5270 Personal        x0290 1nMM Capital #1
  05/12/17    $876,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/12/17    $655,250.00    x5270 Personal        x0290 1nMM Capital #1
  05/16/17     $20,000.00    x5270 Personal        x1130 1nMM Productions
  05/18/17    $850,650.00    x0290 1nMM Capital #1 x5270 Personal
  05/18/17    $850,650.00    x5270 Personal        x0290 1nMM Capital #1
  05/31/17     $35,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/05/17     $11,000.00    x5270 Personal        x1130 1nMM Productions
  07/07/17     $10,000.00    x5270 Personal        x1130 1nMM Productions
  10/23/17     $15,000.00    x5270 Personal        x1130 1nMM Productions
  11/06/17     $8,193.57     x5270 Personal        x1130 1nMM Productions
  12/18/17     $10,000.00    x5270 Personal        x1130 1nMM Productions
  01/08/18    $550,000.00    Line of Credit        x5270 Personal
  01/08/18    $550,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/08/18     $15,000.00    x5270 Personal        x1130 1nMM Productions
  01/11/18    $550,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/11/18    $550,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/11/18    $550,000.00    x5270 Personal        Line of Credit
  01/16/18    $990,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/16/18    $990,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/01/18      $203.42      x5270 Personal        Line of Credit
  03/14/18    $125,000.00    x2944 1nMM Capital #2 x5270 Personal
  03/14/18    $125,000.00    x5270 Personal        x2944 1nMM Capital #2
  03/21/18    $950,000.00    x2944 1nMM Capital #2 x5270 Personal
  03/21/18    $950,000.00    x5270 Personal        x2944 1nMM Capital #2
  03/22/18    $750,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/28/18    $800,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/28/18    $900,000.00    x0290 1nMM Capital #1 x5270 Personal
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  03/28/18    $900,000.00    x2944 1nMM Capital #2 x5270 Personal
  03/28/18    $700,000.00    x2944 1nMM Capital #2 x5270 Personal
  03/28/18    $800,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/28/18    $900,000.00    x5270 Personal        x2944 1nMM Capital #2
  03/28/18    $700,000.00    x5270 Personal        x2944 1nMM Capital #2
  03/28/18    $900,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/04/18    $150,000.00    Line of Credit        x5270 Personal
  04/05/18    $150,000.00    Line of Credit        x5270 Personal
  04/05/18    $150,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/09/18    $300,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/09/18     $15,000.00    x1130 1nMM Productionsx5270 Personal
  04/09/18    $300,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/09/18     $15,000.00    x5270 Personal        x1130 1nMM Productions
  04/09/18    $300,000.00    x5270 Personal        Line of Credit
  04/09/18      $19.52       x5270 Personal        Line of Credit
  04/11/18    $715,870.00    x0290 1nMM Capital #1 x5270 Personal
  04/11/18    $715,870.00    x5270 Personal        x0290 1nMM Capital #1
  04/11/18    $715,870.00    x5270 Personal        Line of Credit
  04/17/18    $650,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/17/18    $650,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/30/18    $107,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/30/18    $107,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/01/18    $185,000.00    x2944 1nMM Capital #2 x5270 Personal
  05/01/18    $185,000.00    x5270 Personal        x2944 1nMM Capital #2
  05/07/18    $105,000.00    x2944 1nMM Capital #2 x5270 Personal
  05/07/18    $105,000.00    x5270 Personal        x2944 1nMM Capital #2
  05/15/18    $957,500.00    x2944 1nMM Capital #2 x5270 Personal
  05/15/18    $957,500.00    x5270 Personal        x0290 1nMM Capital #1
  05/15/18    $957,500.00    x5270 Personal        x2944 1nMM Capital #2
  05/16/18    $900,000.00    Line of Credit        x5270 Personal
  05/16/18    $900,000.00    x0290 1nMM Capital #1 x5270 Personal
  05/16/18    $950,000.00    x2944 1nMM Capital #2 x5270 Personal
  05/16/18    $900,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/16/18    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/16/18    $900,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/16/18    $950,000.00    x5270 Personal        x2944 1nMM Capital #2
  05/16/18    $900,000.00    x5270 Personal        Line of Credit
  05/16/18      $156.16      x5270 Personal        Line of Credit
  05/17/18    $250,000.00    Line of Credit        x5270 Personal
  05/17/18    $750,000.00    Line of Credit        x5270 Personal
  05/17/18    $200,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/17/18    $900,000.00    x5270 Personal        Line of Credit
  05/17/18    $100,000.00    x5270 Personal        Line of Credit
  06/04/18    $100,000.00    x0290 1nMM Capital #1 x5270 Personal
  06/04/18    $200,000.00    x0290 1nMM Capital #1 x5270 Personal
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  06/04/18    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/04/18    $200,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/06/18    $150,000.00    x2944 1nMM Capital #2 x5270 Personal
  06/06/18    $150,000.00    x5270 Personal        x2944 1nMM Capital #2
  06/19/18    $550,000.00    x2944 1nMM Capital #2 x5270 Personal
  06/19/18    $550,000.00    x5270 Personal        x2944 1nMM Capital #2
  08/23/18    $400,000.00    Line of Credit        x5270 Personal
  08/23/18    $400,000.00    x5270 Personal        Line of Credit
  09/05/18    $400,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/17/18    $850,000.00    Line of Credit        x5270 Personal
  09/17/18    $100,000.00    Line of Credit        x5270 Personal
  09/17/18     $40,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/17/18    $300,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/17/18    $850,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/17/18     $20,000.00    x5270 Personal        x1130 1nMM Productions
  09/19/18    $950,000.00    x0290 1nMM Capital #1 x5270 Personal
  09/19/18    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/19/18      $383.56      x5270 Personal        Line of Credit
  09/19/18    $950,000.00    x5270 Personal        Line of Credit
  09/24/18    $125,000.00    x0290 1nMM Capital #1 x5270 Personal
  09/24/18    $125,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/02/18    $100,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/02/18    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/11/18    $450,000.00    Line of Credit        x5270 Personal
  10/15/18    $200,000.00    Line of Credit        x5270 Personal
  10/15/18    $300,000.00    Line of Credit        x5270 Personal
  10/15/18    $950,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/15/18    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/15/18    $950,000.00    x5270 Personal        Line of Credit
  10/16/18    $364,500.00    Line of Credit        x5270 Personal
  10/16/18    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/16/18      $260.67      x5270 Personal        Line of Credit
  10/17/18    $600,000.00    Line of Credit        x5270 Personal
  10/17/18    $600,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/17/18    $154,303.00    x5270 Personal        x0290 1nMM Capital #1
  10/19/18    $200,000.00    x5270 Personal        Line of Credit
  10/22/18    $300,000.00    Line of Credit        x5270 Personal
  10/22/18     $50,000.00    Line of Credit        x5270 Personal
  10/22/18     $30,000.00    x2944 1nMM Capital #2 x5270 Personal
  10/22/18    $735,000.00    x2944 1nMM Capital #2 x5270 Personal
  10/22/18    $390,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/22/18     $30,000.00    x5270 Personal        x2944 1nMM Capital #2
  10/22/18    $735,000.00    x5270 Personal        x2944 1nMM Capital #2
  10/22/18    $735,000.00    x5270 Personal        Line of Credit
  10/23/18    $115,075.00    Line of Credit        x5270 Personal
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  10/23/18    $270,000.00    Line of Credit        x5270 Personal
  10/23/18    $494,575.00    x0290 1nMM Capital #1 x5270 Personal
  10/23/18    $115,054.00    x5270 Personal        x0290 1nMM Capital #1
  10/23/18    $494,575.00    x5270 Personal        x0290 1nMM Capital #1
  10/23/18    $494,575.00    x5270 Personal        Line of Credit
  10/24/18    $270,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/24/18    $270,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/24/18    $270,000.00    x5270 Personal        Line of Credit
  10/26/18     $55,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/26/18     $55,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/30/18    $140,000.00    Line of Credit        x5270 Personal
  10/30/18    $995,750.00    Line of Credit        x5270 Personal
  10/30/18     $20,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/30/18    $995,750.00    x0290 1nMM Capital #1 x5270 Personal
  10/30/18    $140,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/30/18    $145,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/30/18    $995,750.00    x5270 Personal        x0290 1nMM Capital #1
  10/30/18     $20,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/30/18    $995,750.00    x5270 Personal        x0290 1nMM Capital #1
  10/30/18    $140,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/30/18    $995,750.00    x5270 Personal        Line of Credit
  10/30/18     $20,000.00    x5270 Personal        Line of Credit
  10/30/18    $120,000.00    x5270 Personal        Line of Credit
  11/02/18     $95,000.00    Line of Credit        x5270 Personal
  11/05/18    $400,000.00    Line of Credit        x5270 Personal
  11/05/18    $350,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/06/18     $40,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/09/18     $75,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/09/18    $495,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/09/18     $75,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/09/18    $495,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/09/18    $495,000.00    x5270 Personal        Line of Credit
  11/09/18     $1,052.74     x5270 Personal        Line of Credit
  11/14/18    $187,500.00    x0290 1nMM Capital #1 x5270 Personal
  11/14/18    $187,500.00    x5270 Personal        x0290 1nMM Capital #1
  11/16/18    $350,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/16/18    $350,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/19/18    $100,000.00    Line of Credit        x5270 Personal
  11/19/18     $75,000.00    Line of Credit        x5270 Personal
  11/19/18    $300,000.00    Line of Credit        x5270 Personal
  11/19/18    $550,000.00    x2944 1nMM Capital #2 x5270 Personal
  11/19/18     $75,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/19/18    $550,000.00    x5270 Personal        x2944 1nMM Capital #2
  11/20/18    $475,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/20/18    $475,000.00    x5270 Personal        x0290 1nMM Capital #1
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  11/20/18    $475,000.00    x5270 Personal        Line of Credit
  11/23/18    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/26/18    $995,000.00    Line of Credit        x5270 Personal
  11/26/18     $25,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/26/18    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/26/18    $995,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/26/18     $25,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/29/18    $995,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/29/18    $995,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/30/18    $995,000.00    x5270 Personal        Line of Credit
  12/07/18    $150,000.00    x0290 1nMM Capital #1 x5270 Personal
  12/07/18    $150,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/14/18    $450,000.00    Line of Credit        x5270 Personal
  12/14/18    $730,000.00    x2944 1nMM Capital #2 x5270 Personal
  12/14/18     $5,000.00     x5270 Personal        x1130 1nMM Productions
  12/14/18    $730,000.00    x5270 Personal        x2944 1nMM Capital #2
  12/14/18    $450,000.00    x5270 Personal        Line of Credit
  12/14/18      $925.56      x5270 Personal        Line of Credit
  12/20/18     $50,000.00    x0290 1nMM Capital #1 x5270 Personal
  12/20/18     $50,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/03/19    $850,000.00    Line of Credit        x5270 Personal
  01/03/19     $50,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/03/19    $850,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/03/19     $15,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/03/19    $850,000.00    x5270 Personal        Line of Credit
  01/07/19    $500,000.00    Line of Credit        x5270 Personal
  01/07/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/11/19     $15,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/14/19    $100,000.00    x2944 1nMM Capital #2 x5270 Personal
  01/14/19    $100,000.00    x5270 Personal        x2944 1nMM Capital #2
  01/15/19    $560,000.00    Line of Credit        x5270 Personal
  01/15/19     $40,000.00    Line of Credit        x5270 Personal
  01/15/19    $950,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/15/19    $430,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/15/19     $20,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/15/19     $42,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/15/19    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/15/19    $430,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/15/19    $950,000.00    x5270 Personal        Line of Credit
  01/17/19     $86,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/17/19    $150,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/17/19     $86,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/17/19    $150,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/17/19    $150,000.00    x5270 Personal        Line of Credit
  01/22/19    $450,000.00    x0290 1nMM Capital #1 x5270 Personal
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  01/22/19    $450,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/23/19    $650,000.00    Line of Credit        x5270 Personal
  01/23/19    $650,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/24/19    $650,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/24/19    $650,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/24/19    $650,000.00    x5270 Personal        Line of Credit
  01/25/19    $450,000.00    Line of Credit        x5270 Personal
  01/25/19    $350,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/28/19    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/30/19    $450,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/30/19    $450,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/30/19    $450,000.00    x5270 Personal        Line of Credit
  02/07/19    $350,000.00    Line of Credit        x5270 Personal
  02/07/19    $650,000.00    x0290 1nMM Capital #1 x5270 Personal
  02/07/19    $650,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/08/19    $200,000.00    x0290 1nMM Capital #1 x5270 Personal
  02/08/19    $200,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/08/19    $200,000.00    x5270 Personal        Line of Credit
  02/11/19    $152,000.00    x0290 1nMM Capital #1 x5270 Personal
  02/11/19    $152,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/11/19    $151,084.93    x5270 Personal        Line of Credit
  02/12/19    $350,000.00    x0290 1nMM Capital #1 x5270 Personal
  02/12/19    $350,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/19/19    $600,000.00    Line of Credit        x5270 Personal
  02/19/19    $300,000.00    x1130 1nMM Productionsx5270 Personal
  02/19/19    $600,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/19/19    $300,000.00    x5270 Personal        x1130 1nMM Productions
  02/19/19    $300,000.00    x5270 Personal        Line of Credit
  02/20/19    $100,000.00    Line of Credit        x5270 Personal
  02/20/19    $700,000.00    Line of Credit        x5270 Personal
  02/20/19    $950,000.00    x0290 1nMM Capital #1 x5270 Personal
  02/20/19    $150,000.00    x2944 1nMM Capital #2 x5270 Personal
  02/20/19    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/20/19    $700,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/20/19    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/20/19    $150,000.00    x5270 Personal        x2944 1nMM Capital #2
  02/20/19    $150,000.00    x5270 Personal        Line of Credit
  02/20/19    $950,000.00    x5270 Personal        Line of Credit
  02/22/19    $100,000.00    Line of Credit        x5270 Personal
  02/22/19    $300,000.00    Line of Credit        x5270 Personal
  02/22/19    $400,000.00    Line of Credit        x5270 Personal
  02/22/19    $800,000.00    x0290 1nMM Capital #1 x5270 Personal
  02/22/19    $300,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/22/19    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/22/19    $400,000.00    x5270 Personal        x0290 1nMM Capital #1
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  02/22/19    $800,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/22/19    $800,000.00    x5270 Personal        Line of Credit
  02/25/19    $350,000.00    Line of Credit        x5270 Personal
  02/25/19    $350,000.00    x0290 1nMM Capital #1 x5270 Personal
  02/25/19    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/25/19    $350,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/25/19    $350,000.00    x5270 Personal        x0290 1nMM Capital #1
  02/25/19    $350,000.00    x5270 Personal        Line of Credit
  03/01/19    $300,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/01/19    $300,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/13/19    $500,000.00    Line of Credit        x5270 Personal
  03/13/19    $600,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/13/19    $500,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/13/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/13/19    $600,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/13/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/14/19    $650,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/14/19    $650,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/14/19      $166.24      x5270 Personal        Line of Credit
  03/14/19    $500,000.00    x5270 Personal        Line of Credit
  03/18/19    $425,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/18/19    $425,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/20/19     $82,500.00    x0290 1nMM Capital #1 x5270 Personal
  03/20/19     $82,500.00    x5270 Personal        x0290 1nMM Capital #1
  03/26/19    $925,000.00    Line of Credit        x5270 Personal
  03/26/19    $370,000.00    x2944 1nMM Capital #2 x5270 Personal
  03/26/19    $925,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/26/19    $300,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/26/19    $370,000.00    x5270 Personal        x2944 1nMM Capital #2
  03/29/19    $210,000.00    Line of Credit        x5270 Personal
  03/29/19    $500,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/29/19     $70,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/29/19    $230,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/29/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/29/19     $70,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/29/19    $500,000.00    x5270 Personal        Line of Credit
  04/03/19    $635,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/03/19    $635,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/03/19    $635,000.00    x5270 Personal        Line of Credit
  04/08/19    $600,000.00    Line of Credit        x5270 Personal
  04/08/19    $650,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/08/19     $30,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/08/19    $570,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/08/19    $650,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/08/19      $971.91      x5270 Personal        Line of Credit
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  04/08/19    $600,000.00    x5270 Personal        Line of Credit
  04/09/19     $50,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/09/19     $50,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/15/19    $300,000.00    Line of Credit        x5270 Personal
  04/15/19    $840,000.00    Line of Credit        x5270 Personal
  04/15/19    $950,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/15/19    $790,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/15/19    $900,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/15/19    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/15/19    $790,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/17/19    $190,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/17/19    $950,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/17/19    $190,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/17/19    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/17/19    $950,000.00    x5270 Personal        Line of Credit
  04/17/19    $190,000.00    x5270 Personal        Line of Credit
  04/18/19    $190,000.00    Line of Credit        x5270 Personal
  04/18/19    $950,000.00    Line of Credit        x5270 Personal
  04/18/19    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/18/19    $190,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/22/19    $550,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/24/19    $950,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/24/19    $250,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/24/19    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/24/19    $250,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/24/19    $190,000.00    x5270 Personal        Line of Credit
  04/24/19     $75,000.00    x5270 Personal        Line of Credit
  04/24/19    $875,000.00    x5270 Personal        Line of Credit
  05/01/19    $600,000.00    Line of Credit        x5270 Personal
  05/01/19    $600,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/08/19    $600,000.00    x0290 1nMM Capital #1 x5270 Personal
  05/08/19    $600,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/08/19    $500,000.00    x5270 Personal        Line of Credit
  05/10/19    $102,000.00    x0290 1nMM Capital #1 x5270 Personal
  05/10/19    $102,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/10/19    $101,000.00    x5270 Personal        Line of Credit
  05/13/19     $75,000.00    Line of Credit        x5270 Personal
  05/13/19     $76,000.00    x0290 1nMM Capital #1 x5270 Personal
  05/13/19     $76,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/13/19     $75,735.89    x5270 Personal        Line of Credit
  05/20/19    $950,000.00    Line of Credit        x5270 Personal
  05/20/19    $950,000.00    x5270 Personal        Line of Credit
  05/22/19    $932,000.00    x0290 1nMM Capital #1 x5270 Personal
  05/22/19    $932,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/22/19    $932,000.00    x5270 Personal        x0290 1nMM Capital #1
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  05/28/19    $200,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/29/19     $50,000.00    x1130 1nMM Productionsx5270 Personal
  05/29/19     $50,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/29/19     $50,000.00    x5270 Personal        x1130 1nMM Productions
  05/31/19    $500,000.00    Line of Credit        x5270 Personal
  05/31/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  05/31/19    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/03/19    $800,000.00    Line of Credit        x5270 Personal
  06/03/19    $500,000.00    x0290 1nMM Capital #1 x5270 Personal
  06/03/19    $800,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/03/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/03/19    $500,000.00    x5270 Personal        Line of Credit
  06/10/19    $900,000.00    x0290 1nMM Capital #1 x5270 Personal
  06/10/19    $900,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/10/19      $769.34      x5270 Personal        Line of Credit
  06/10/19    $800,000.00    x5270 Personal        Line of Credit
  06/26/19    $400,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/03/19     $50,000.00    x0290 1nMM Capital #1 x5270 Personal
  07/03/19     $50,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/08/19    $140,000.00    Line of Credit        x5270 Personal
  07/08/19    $140,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/09/19    $500,000.00    Line of Credit        x5270 Personal
  07/09/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/10/19     $50,000.00    Line of Credit        x5270 Personal
  07/10/19    $690,000.00    x0290 1nMM Capital #1 x5270 Personal
  07/10/19    $690,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/10/19      $602.73      x5270 Personal        Line of Credit
  07/10/19    $690,000.00    x5270 Personal        Line of Credit
  07/12/19    $100,000.00    Line of Credit        x5270 Personal
  07/16/19    $880,000.00    Line of Credit        x5270 Personal
  07/16/19    $764,850.00    x0290 1nMM Capital #1 x5270 Personal
  07/16/19    $880,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/16/19    $764,850.00    x5270 Personal        x0290 1nMM Capital #1
  07/18/19    $150,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/18/19     $60,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/18/19    $980,000.00    x5270 Personal        Line of Credit
  07/31/19    $200,000.00    Line of Credit        x5270 Personal
  07/31/19    $200,000.00    x5270 Personal        x0290 1nMM Capital #1
  07/31/19     $1,000.00     x5270 Personal        x1130 1nMM Productions
  08/01/19    $750,000.00    Line of Credit        x5270 Personal
  08/01/19    $750,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/12/19     $75,000.00    Line of Credit        x5270 Personal
  08/12/19    $100,000.00    Line of Credit        x5270 Personal
  08/12/19    $900,000.00    x0290 1nMM Capital #1 x5270 Personal
  08/12/19    $227,000.00    x0290 1nMM Capital #1 x5270 Personal
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  08/12/19     $40,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/12/19    $900,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/12/19    $227,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/12/19    $226,049.86    x5270 Personal        Line of Credit
  08/12/19    $900,000.00    x5270 Personal        Line of Credit
  08/13/19    $500,000.00    Line of Credit        x5270 Personal
  08/13/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/21/19    $500,000.00    Line of Credit        x5270 Personal
  08/21/19    $250,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/21/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/21/19     $2,000.00     x5270 Personal        x1130 1nMM Productions
  08/22/19     $3,000.00     x5270 Personal        x1130 1nMM Productions
  08/23/19     $4,000.00     x5270 Personal        x1130 1nMM Productions
  08/27/19     $5,000.00     x5270 Personal        x1130 1nMM Productions
  08/28/19    $950,000.00    x0290 1nMM Capital #1 x5270 Personal
  08/28/19     $80,000.00    x0290 1nMM Capital #1 x5270 Personal
  08/28/19    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/28/19     $80,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/28/19    $950,000.00    x5270 Personal        Line of Credit
  08/28/19     $50,000.00    x5270 Personal        Line of Credit
  08/30/19     $50,000.00    x0290 1nMM Capital #1 x5270 Personal
  08/30/19     $50,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/09/19    $300,000.00    Line of Credit        x5270 Personal
  09/09/19    $750,000.00    Line of Credit        x5270 Personal
  09/09/19    $975,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/12/19    $950,000.00    x0290 1nMM Capital #1 x5270 Personal
  09/12/19    $105,000.00    x0290 1nMM Capital #1 x5270 Personal
  09/12/19    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/12/19    $105,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/12/19    $102,538.69    x5270 Personal        Line of Credit
  09/12/19    $950,000.00    x5270 Personal        Line of Credit
  09/13/19    $150,000.00    x0290 1nMM Capital #1 x5270 Personal
  09/13/19    $150,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/16/19    $850,000.00    Line of Credit        x5270 Personal
  09/16/19    $850,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/17/19    $856,000.00    x0290 1nMM Capital #1 x5270 Personal
  09/17/19    $856,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/17/19    $850,000.00    x5270 Personal        Line of Credit
  09/18/19    $500,000.00    Line of Credit        x5270 Personal
  09/18/19    $300,000.00    x0290 1nMM Capital #1 x5270 Personal
  09/18/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/18/19    $300,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/18/19    $200,000.00    x5270 Personal        Line of Credit
  09/18/19    $300,000.00    x5270 Personal        Line of Credit
  09/23/19    $940,000.00    Line of Credit        x5270 Personal
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  09/23/19    $940,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/24/19    $125,000.00    Line of Credit        x5270 Personal
  09/27/19     $50,000.00    Line of Credit        x5270 Personal
  09/27/19    $950,000.00    x0290 1nMM Capital #1 x5270 Personal
  09/27/19    $115,000.00    x0290 1nMM Capital #1 x5270 Personal
  09/27/19    $100,000.00    x0290 1nMM Capital #1 x5270 Personal
  09/27/19     $60,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/27/19     $10,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/27/19    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/27/19    $115,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/27/19    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/27/19    $950,000.00    x5270 Personal        Line of Credit
  09/27/19    $165,000.00    x5270 Personal        Line of Credit
  09/30/19    $900,000.00    Line of Credit        x5270 Personal
  09/30/19    $900,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/01/19    $240,000.00    Line of Credit        x5270 Personal
  10/01/19    $240,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/02/19    $200,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/02/19    $200,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/02/19    $200,000.00    x5270 Personal        Line of Credit
  10/03/19    $100,000.00    Line of Credit        x5270 Personal
  10/03/19    $940,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/03/19    $940,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/03/19    $940,000.00    x5270 Personal        Line of Credit
  10/07/19    $500,000.00    Line of Credit        x5270 Personal
  10/07/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/08/19    $500,000.00    Line of Credit        x5270 Personal
  10/08/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/09/19    $204,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/09/19    $900,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/09/19    $204,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/09/19    $900,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/09/19    $900,000.00    x5270 Personal        Line of Credit
  10/09/19    $201,577.39    x5270 Personal        Line of Credit
  10/15/19    $500,000.00    Line of Credit        x5270 Personal
  10/15/19    $600,000.00    Line of Credit        x5270 Personal
  10/15/19    $600,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/15/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/15/19    $600,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/16/19     $35,000.00    Line of Credit        x5270 Personal
  10/28/19     $50,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/28/19    $950,050.00    x5270 Personal        x0290 1nMM Capital #1
  10/28/19    $950,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/30/19    $230,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/30/19      $50.00       x5270 Personal        x1130 1nMM Productions
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  11/01/19     $5,000.00     Line of Credit        x5270 Personal
  11/04/19      $500.00      x5270 Personal        x1130 1nMM Productions
  11/12/19     $20,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/13/19    $500,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/13/19     $40,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/13/19     $2,000.00     x5270 Personal        x1130 1nMM Productions
  11/13/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/13/19     $40,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/13/19    $500,000.00    x5270 Personal        Line of Credit
  11/14/19    $300,000.00    Line of Credit        x5270 Personal
  11/14/19    $388,250.00    Line of Credit        x5270 Personal
  11/14/19     $29,000.00    Line of Credit        x5270 Personal
  11/14/19    $850,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/14/19    $300,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/14/19     $2,000.00     x5270 Personal        x1130 1nMM Productions
  11/14/19    $850,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/14/19    $850,000.00    x5270 Personal        Line of Credit
  11/15/19     $23,000.00    Line of Credit        x5270 Personal
  11/18/19    $500,000.00    Line of Credit        x5270 Personal
  11/18/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/20/19    $100,000.00    Line of Credit        x5270 Personal
  11/20/19    $100,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/21/19    $450,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/21/19     $1,500.00     x5270 Personal        x1130 1nMM Productions
  11/22/19    $500,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/27/19     $1,500.00     x5270 Personal        x1130 1nMM Productions
  12/10/19    $250,000.00    x0290 1nMM Capital #1 x5270 Personal
  12/10/19    $250,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/12/19     $6,000.00     Line of Credit        x5270 Personal
  12/12/19     $16,000.00    x0290 1nMM Capital #1 x5270 Personal
  12/12/19     $1,000.00     x2944 1nMM Capital #2 x5270 Personal
  12/12/19     $16,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/12/19     $1,000.00     x5270 Personal        x2944 1nMM Capital #2
  12/13/19     $11,000.00    x0290 1nMM Capital #1 x5270 Personal
  12/13/19     $85,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/13/19     $11,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/16/19     $50,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/18/19     $20,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/20/19     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
  12/23/19    $175,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/23/19     $2,000.00     x5270 Personal        x0290 1nMM Capital #1
  12/26/19     $5,000.00     x5270 Personal        x1130 1nMM Productions
  12/30/19     $4,027.59     x5270 Personal        Line of Credit
  01/13/20    $205,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/13/20    $205,000.00    x5270 Personal        x0290 1nMM Capital #1
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  01/21/20     $25,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/21/20     $25,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/29/20     $3,000.00     x0290 1nMM Capital #1 x5270 Personal
  01/29/20     $3,000.00     x5270 Personal        x0290 1nMM Capital #1
  01/29/20     $4,590.88     x5270 Personal        Line of Credit
  01/30/20     $3,000.00     x0290 1nMM Capital #1 x5270 Personal
  01/30/20     $3,000.00     x5270 Personal        x0290 1nMM Capital #1
  01/31/20     $3,000.00     x0290 1nMM Capital #1 x5270 Personal
  01/31/20     $3,000.00     x5270 Personal        x0290 1nMM Capital #1
  02/03/20     $2,000.00     x0290 1nMM Capital #1 x5270 Personal
  02/03/20     $8,000.00     x5270 Personal        x0290 1nMM Capital #1
  02/03/20     $2,000.00     x5270 Personal        x0290 1nMM Capital #1
  02/07/20     $2,000.00     x0290 1nMM Capital #1 x5270 Personal
  02/07/20     $2,000.00     x5270 Personal        x0290 1nMM Capital #1
  02/13/20     $1,000.00     x0290 1nMM Capital #1 x5270 Personal
  02/13/20     $1,000.00     x5270 Personal        x0290 1nMM Capital #1
  02/18/20     $5,500.00     x0290 1nMM Capital #1 x5270 Personal
  02/18/20     $5,500.00     x5270 Personal        x0290 1nMM Capital #1
  02/27/20     $1,000.00     x0290 1nMM Capital #1 x5270 Personal
  02/27/20     $1,000.00     x5270 Personal        x0290 1nMM Capital #1
  03/02/20     $4,585.40     x5270 Personal        Line of Credit
  03/03/20      $250.00      x0290 1nMM Capital #1 x5270 Personal
  03/03/20    $140,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/03/20      $100.00      x5270 Personal        x2944 1nMM Capital #2
  03/03/20      $250.00      x5270 Personal        x0290 1nMM Capital #1
  03/03/20    $140,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/05/20     $40,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/05/20     $40,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/09/20     $2,500.00     x5270 Personal        x1130 1nMM Productions
  03/11/20     $25,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/11/20     $25,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/30/20     $4,274.00     x5270 Personal        Line of Credit
  03/31/20     $7,000.00     x0290 1nMM Capital #1 x5270 Personal
  03/31/20     $7,000.00     x5270 Personal        x0290 1nMM Capital #1
  04/07/20     $5,000.00     x0290 1nMM Capital #1 x5270 Personal
  04/07/20     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
  04/13/20     $5,000.00     x0290 1nMM Capital #1 x5270 Personal
  04/13/20     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
  04/16/20     $5,000.00     x0290 1nMM Capital #1 x5270 Personal
  04/16/20     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
  04/24/20     $70,000.00    x0290 1nMM Capital #1 x5270 Personal
  04/24/20     $70,000.00    x5270 Personal        x0290 1nMM Capital #1
  04/29/20     $5,000.00     x0290 1nMM Capital #1 x5270 Personal
  04/29/20     $5,000.00     x0290 1nMM Capital #1 x5270 Personal
  04/29/20     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
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  04/29/20     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
  04/29/20     $3,479.92     x5270 Personal        Line of Credit
  05/06/20     $6,100.00     x0290 1nMM Capital #1 x5270 Personal
  05/06/20     $6,100.00     x5270 Personal        x0290 1nMM Capital #1
  05/14/20     $7,300.00     x0290 1nMM Capital #1 x5270 Personal
  05/14/20     $7,300.00     x5270 Personal        x0290 1nMM Capital #1
  05/29/20     $3,036.17     x5270 Personal        Line of Credit
  06/01/20     $15,000.00    x0290 1nMM Capital #1 x5270 Personal
  06/01/20     $15,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/10/20     $15,000.00    x0290 1nMM Capital #1 x5270 Personal
  06/10/20     $15,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/16/20     $15,000.00    x0290 1nMM Capital #1 x5270 Personal
  06/16/20     $1,500.00     x5270 Personal        x1130 1nMM Productions
  06/16/20     $15,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/17/20     $10,000.00    x0290 1nMM Capital #1 x5270 Personal
  06/17/20     $10,000.00    x5270 Personal        x0290 1nMM Capital #1
  06/29/20     $3,137.38     x5270 Personal        Line of Credit
  06/30/20     $5,000.00     x0290 1nMM Capital #1 x5270 Personal
  06/30/20     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
  07/08/20     $3,500.00     x1130 1nMM Productionsx5270 Personal
  07/08/20     $3,500.00     x5270 Personal        x1130 1nMM Productions
  07/29/20     $3,036.17     x5270 Personal        Line of Credit
  08/24/20     $18,000.00    x0290 1nMM Capital #1 x5270 Personal
  08/24/20     $18,000.00    x5270 Personal        x0290 1nMM Capital #1
  08/31/20     $25,000.00    x1130 1nMM Productionsx5270 Personal
  08/31/20     $25,000.00    x5270 Personal        x1130 1nMM Productions
  08/31/20     $3,137.38     x5270 Personal        Line of Credit
  09/01/20     $14,000.00    x1130 1nMM Productionsx5270 Personal
  09/01/20     $14,000.00    x5270 Personal        x1130 1nMM Productions
  09/14/20     $15,000.00    x0290 1nMM Capital #1 x5270 Personal
  09/14/20     $1,300.00     x5270 Personal        x1130 1nMM Productions
  09/14/20     $15,000.00    x5270 Personal        x0290 1nMM Capital #1
  09/15/20     $7,500.00     x0290 1nMM Capital #1 x5270 Personal
  09/15/20     $7,500.00     x5270 Personal        x0290 1nMM Capital #1
  09/21/20     $5,000.00     x0290 1nMM Capital #1 x5270 Personal
  09/21/20     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
  09/29/20     $3,137.38     x5270 Personal        Line of Credit
  10/02/20     $24,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/02/20     $24,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/07/20     $7,500.00     x0290 1nMM Capital #1 x5270 Personal
  10/07/20     $7,500.00     x5270 Personal        x0290 1nMM Capital #1
  10/13/20     $12,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/13/20     $1,800.00     x5270 Personal        x1130 1nMM Productions
  10/13/20     $12,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/21/20     $20,000.00    x0290 1nMM Capital #1 x5270 Personal
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  10/21/20     $20,000.00    x5270 Personal        x0290 1nMM Capital #1
  10/29/20     $3,036.17     x5270 Personal        Line of Credit
  10/30/20     $10,000.00    x0290 1nMM Capital #1 x5270 Personal
  10/30/20     $1,800.00     x5270 Personal        x1130 1nMM Productions
  10/30/20     $10,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/02/20     $20,000.00    x0290 1nMM Capital #1 x5270 Personal
  11/02/20     $20,000.00    x5270 Personal        x0290 1nMM Capital #1
  11/05/20     $5,000.00     x0290 1nMM Capital #1 x5270 Personal
  11/05/20     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
  11/10/20     $7,500.00     x0290 1nMM Capital #1 x5270 Personal
  11/10/20     $7,500.00     x5270 Personal        x0290 1nMM Capital #1
  11/13/20     $12,500.00    x1130 1nMM Productionsx5270 Personal
  11/13/20     $12,500.00    x5270 Personal        x1130 1nMM Productions
  11/18/20     $6,400.00     x0290 1nMM Capital #1 x5270 Personal
  11/18/20     $4,000.00     x5270 Personal        x1130 1nMM Productions
  11/18/20     $6,400.00     x5270 Personal        x0290 1nMM Capital #1
  11/30/20     $7,000.00     x0290 1nMM Capital #1 x5270 Personal
  11/30/20     $9,000.00     x0290 1nMM Capital #1 x5270 Personal
  11/30/20     $7,000.00     x5270 Personal        x0290 1nMM Capital #1
  11/30/20     $9,000.00     x5270 Personal        x0290 1nMM Capital #1
  11/30/20     $3,137.38     x5270 Personal        Line of Credit
  12/02/20     $25,000.00    x0290 1nMM Capital #1 x5270 Personal
  12/02/20      $15.00       x5270 Personal        x2944 1nMM Capital #2
  12/02/20     $25,000.00    x5270 Personal        x0290 1nMM Capital #1
  12/08/20     $7,500.00     x0290 1nMM Capital #1 x5270 Personal
  12/08/20     $7,500.00     x5270 Personal        x0290 1nMM Capital #1
  12/14/20     $11,057.00    x0290 1nMM Capital #1 x5270 Personal
  12/14/20     $11,057.00    x5270 Personal        x0290 1nMM Capital #1
  12/17/20      $610.00      x5270 Personal        x1130 1nMM Productions
  12/22/20     $12,497.03    x0290 1nMM Capital #1 x5270 Personal
  12/22/20     $12,497.03    x5270 Personal        x0290 1nMM Capital #1
  12/28/20     $5,000.00     x0290 1nMM Capital #1 x5270 Personal
  12/28/20     $5,000.00     x5270 Personal        x0290 1nMM Capital #1
  12/29/20     $3,036.17     x5270 Personal        Line of Credit
  01/04/21     $6,500.00     x0290 1nMM Capital #1 x5270 Personal
  01/04/21     $6,500.00     x5270 Personal        x0290 1nMM Capital #1
  01/07/21     $10,000.00    x0290 1nMM Capital #1 x5270 Personal
  01/07/21      $75.00       x5270 Personal        x1130 1nMM Productions
  01/07/21      $20.00       x5270 Personal        x2944 1nMM Capital #2
  01/07/21     $10,000.00    x5270 Personal        x0290 1nMM Capital #1
  01/29/21     $3,138.49     x5270 Personal        Line of Credit
  02/03/21     $1,000.00     x1130 1nMM Productionsx5270 Personal
  02/03/21     $1,000.00     x5270 Personal        x1130 1nMM Productions
  02/09/21     $2,500.00     x0290 1nMM Capital #1 x5270 Personal
  02/09/21     $1,000.00     x1130 1nMM Productionsx5270 Personal
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  02/09/21     $2,500.00     x5270 Personal        x0290 1nMM Capital #1
  02/09/21     $1,000.00     x5270 Personal        x1130 1nMM Productions
  02/12/21     $23,756.00    x2944 1nMM Capital #2 x5270 Personal
  02/12/21     $23,756.00    x5270 Personal        x2944 1nMM Capital #2
  02/17/21     $10,000.00    x5270 Personal        x1130 1nMM Productions
  02/24/21     $1,980.00     x5270 Personal        x1130 1nMM Productions
  03/01/21     $3,000.00     x0290 1nMM Capital #1 x5270 Personal
  03/01/21     $3,000.00     x5270 Personal        x0290 1nMM Capital #1
  03/01/21     $3,145.97     x5270 Personal        Line of Credit
  03/05/21     $2,000.00     x0290 1nMM Capital #1 x5270 Personal
  03/05/21     $2,000.00     x5270 Personal        x0290 1nMM Capital #1
  03/09/21     $49,975.00    x2944 1nMM Capital #2 x5270 Personal
  03/09/21     $4,400.00     x5270 Personal        x0290 1nMM Capital #1
  03/09/21     $49,975.00    x5270 Personal        x2944 1nMM Capital #2
  03/11/21     $12,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/11/21     $18,000.00    x0290 1nMM Capital #1 x5270 Personal
  03/11/21     $12,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/11/21     $18,000.00    x5270 Personal        x0290 1nMM Capital #1
  03/12/21     $4,000.00     x1130 1nMM Productionsx5270 Personal
  03/12/21     $4,000.00     x5270 Personal        x1130 1nMM Productions
  03/15/21     $4,000.00     x1130 1nMM Productionsx5270 Personal
  03/15/21     $4,000.00     x5270 Personal        x1130 1nMM Productions
  03/16/21     $3,300.00     x1130 1nMM Productionsx5270 Personal
  03/16/21     $3,300.00     x5270 Personal        x1130 1nMM Productions
  03/18/21     $2,500.00     x1130 1nMM Productionsx5270 Personal
  03/18/21     $2,500.00     x5270 Personal        x1130 1nMM Productions
  03/22/21     $1,700.00     x1130 1nMM Productionsx5270 Personal
  03/22/21     $1,700.00     x5270 Personal        x1130 1nMM Productions
  03/29/21     $2,841.52     x5270 Personal        Line of Credit
  04/02/21     $6,000.00     x1130 1nMM Productionsx5270 Personal
  04/02/21      $100.00      x5270 Personal        x0290 1nMM Capital #1
  04/02/21      $25.00       x5270 Personal        x2944 1nMM Capital #2
  04/02/21     $6,000.00     x5270 Personal        x1130 1nMM Productions
